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 HOLLI CARTER, on her own behalf and as Parent and       COURT OF COMMON PLEAS
 Natural Guardian of J.C., a Minor                       PHILADELPHIA COUNTY

                      Plaintiff                          CIVIL DIVISION

 v.                                                      MARCH TERM, 2022
                                                         NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                      Defendants.


                                           ORDER

       AND NOW, this              day of                     2024, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine              Second Amended Complaint, and any Response

thereto, it is hereby ORDERED that the Preliminary Objections are SUSTAINED. It is further

ORDERED that all claims against Defendants the Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine are hereby DISMISSED with prejudice.



                                                 BY THE COURT:



                                                 ____________________________________
                                                                               J.
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 HOLLI CARTER, on her own behalf and as Parent and         COURT OF COMMON PLEAS
 Natural Guardian of J.C., a Minor                         PHILADELPHIA COUNTY

                      Plaintiff                            CIVIL DIVISION

 v.                                                        MARCH TERM, 2022
                                                           NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                      Defendants.


                                    ALTERNATIVE ORDER

       AND NOW, this              day of                       2024, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine               Second Amended Complaint, and any Response

thereto, it is hereby ORDERED that the Preliminary Objections are SUSTAINED. It is further

ORDERED that:

       1.                                         DISMISSED with prejudice;

       2.                                          DISMISSED with prejudice;

       3.                                                             The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious, outrageous, intentional and/or fraudulent conduct;

       4.                                                        DISMISSED with prejudice;
              and

       5.                Second Amended Complaint is STRICKEN for lack of an appropriate
              verification.
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                                          BY THE COURT:



                                          ____________________________________
                                                                        J.




                                      2
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 HOLLI CARTER, on her own behalf and as Parent and          COURT OF COMMON PLEAS
 Natural Guardian of J.C., a Minor                          PHILADELPHIA COUNTY

                        Plaintiff                           CIVIL DIVISION

 v.                                                         MARCH TERM, 2022
                                                            NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
                          SECOND AMENDED COMPLAINT

         Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

                                                                                    (hereinafter

                                                              Second Amended Complaint, and,

in support thereof, aver as follows:

I.       INTRODUCTION

         1.    Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead

Johnson Nutritional Company (collective
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                          A true and correct copy of              Original Complaint is attached

hereto

         2.

Complaint, seeking the Court to: 1) dismiss Counts VI and VII for lack of specificity; 2) strike



                                                              d sufficient facts; 4) strike Plaintiff-



and based on the applicable statute of limitations; and 5) strike the Complaint for lack of an

appropriate verification. A true and correct copy of the Preliminary Objections to the Original



         3.    On September 8, 2023, Plaintiffs filed an Amended Complaint, which still

contained substantially all of the fatal flaws that Moving Defendants raised in their first set of

preliminary objections. A true and correct copy of              Amended Complaint is attached

hereto as         C

         4.    On September 27, 2023, Moving Defendants filed preliminary objections to

                      Complaint. A true and correct copy of the Preliminary Objections to the



         5.    On March 20, 2024, the Court su

objections, and ordered Plaintiffs to file an Amended Complai        setting forth the claims and

                                                                  A true and correct copy of the

                attached hereto




                                                2
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         6.       On July 17, 2024, Plaintiffs filed a Second Amended Complaint, which includes

some additional factual allegations, but the same fatal flaws are still present. A true and correct

                                                                                      F

         7.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania



milk-based infant products by premature infants following their birth. 1

         8.       Plaintiffs allege that Plaintiff-minors, including J.C. in this case, were diagnosed

with necrotizing enterocolitis (NEC), a gastrointestinal disorder that premature infants are at

increased risk to develop. See Exhibit F, ¶¶ 17, 23. Plaintiffs allege that premature infants fed with

                                                                      decreased risk of developing NEC as

                                                -based infant formula and fortifiers added to human milk. 2

         9.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 3

         10.                                                                                                 [u]pon

information and belief                                        breast milk fortified with bovine-based human

                                                                                   See id., ¶¶ 11, 13.


1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania,
Temple University Hospital, Albert Einstein Medical Center, Jefferson Abington Hospital and Thomas
Jefferson University Hospital.
2
                                                                                                -based
infant formula and fortifiers, as discussed infra and in the accompanying Memorandum of Law, Plaintiffs

milk-based products.
3
  As is discussed infra, infant formulas are regulated by the United States Food and Drug Administration and are
require to include specified vitamins and nutrients, including infant formulas intended for low birth weight infants.
                                                    -based infant formula for premature or low birth weight infants.
                                     -based infant formula should never be given to premature infants is not supported
by the FDA.

                                                          3
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        11.

                                                       -

Pennsylvania Hospital following his birth

                                                           . See id., ¶ 16, 18.

        12.    According to Plaintiffs, J.C. was diagnosed with Stage 1 Medical NEC on

                                                                                             See id.,

¶ 17.

        13.    Plaintiffs allege that J.C. was treated for NEC with vancomycin and zosyn for

fourteen days. See id.

        14.    Plaintiffs generally                                    including a diagnosis of NEC,

treatment with antibiotics and blood transfusions, and suffers from developmental delay secondary

          See id., ¶ 21.

        15.                                                              Second Amended Complaint

for the reasons stated below and as set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.

II.     ARGUMENT

        A.     DEMURRER TO COUNT VI: FAILURE TO WARN

        16.    Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a

complaint, in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant

a demurrer where, accepting as true all well pled facts, a legal cause of action cannot be maintained

upon those facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss

Fund, 702 A.2d 850, 853 (Pa. 1997).




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       17.      In alleging a Failure to Warn claim against Moving Defendants, Plaintiffs appear

to conflate a cause of action for negligent failure to warn, with a cause of action for failing to

obtain informed consent. Under either theory, Count VI is legally deficient and must be dismissed.

               i.   Plaintiffs failed to state a cause of action for negligent failure to warn
                                                                                           are
                                                              -based products at issue were
                    unreasonably dangerous, are not support with sufficient factual
                    allegations.

       18.      Plaintiffs allege in Count VI of the Amended Complaint that Moving Defendants,



and the public a duty to provide products that were free of unreasonable risk of harm. See id., ¶

155.

       19.      Taking the facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants because they have failed to plead



products at issue were

       20.      Pennsylvania courts have adopted Restatement (Second) of Torts § 388 in cases

                                                      Dauphin Deposit Bank & Trust Co. v. Toyota

Motor Corp., 596 A.2d 845, 850 (Pa. Super. 1991).

       21.      Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and
                                                  5
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             (c) fails to exercise reasonable care to inform them of its dangerous
                 condition or of the facts which make it likely to be dangerous.

       22.                                                                               -based

products under § 388 because medical providers are

the stream of commerce. Thus, Count VI should be dismissed for this reason alone.

       23.      Additionally, Plaintiffs must aver sufficient facts demonstrating the Defendant

                                                   ous for their intended use, triggering Moving



       24.

                                                      Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).

       25.

                                                                                          Id. at

308.

       26.      At the outset of their Second Amended Complaint, Plaintiffs appropriately

                                     -birth-weight infants are especially susceptible to NEC See

Exhibit F, ¶ 23 (emphasis added). Following this, Plaintiffs make the core claim of their Second

Amended Complaint                       -based feeding products cause NEC in preterm and low

birth weight infants

                                     See id.

       27.      Howev

                                        -based feeding products cause NEC in preterm and low

birth weight infant.



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          28.   Plaintiffs appear to base this core claim on flawed studies cited in the original

Complaint that Plaintiffs subsequently omitted in their Amended Complaint and Second Amended

Complaint.

          29.   In their original Complaint, in support of their assertion that the products at issue

were dangerous to Plaintiff-minor, Plaintiffs r                                                -based

products to breast milk, a Surgeon General report on the subject, and a statement by the American

Academy of Pediatrics. See Exhibit A, ¶¶ 17-23.

          30.   As Moving Defendants argued in their Preliminary Objections

Complaint (which the Court sustained on March 22, 2024), the studies cited by Plaintiffs

demonstrate only, assuming the facts as true as stated by Plaintiffs, that premature infants are at

high risk of NEC, and that feeding such infants with breast milk may be better at reducing the risk

                          -based alternatives. See id.

          31.   Plaintiffs appear to concede that the aforementioned studies did not support their

allegations because Plaintiffs removed all references to the studies and deleted paragraphs 17

through 23 in their Amended Complaint, and again in their Second Amended Complaint.

          32.   In lieu of relying on the studies originally cited by Plaintiffs in their Complaint,

Plaintiffs generally allege in their Second Amended Co                              research

                                -based products cause NEC. See, e.g., Exhibit F, ¶¶ 23. However,

                                                                                           research

exists.

          33.   Further                                                     -based products at issue

were                                                                    such products are carefully




                                                  7
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                                                                                             s are not

alleging that Moving Defendants did anything contrary to the applicable federal regulations.

       34.         The

                                 See Pub. L. No. 96-359, 94 Stat. 1190.

       35.         The IFA and its implementing regulations outline the requirements that infant

formula must meet, including how infant formula is made, its contents and ingredients, and the

labels used on its packages. See 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07.

       36.



infants by reason of its simulation                                       21 U.S.C. § 350a; 21 C.F.R.

§§ 107.50.

       37.         Plaintiffs have not alleged any facts that would justify overlooking an entire

regulatory framework dedicated to ensuring the safety of infant formula in the United States.

       38.         Thus, Plaintiffs have failed to state a claim for negligent failure to warn against

                                                                                      -based products

are unreasonably dangerous for its intended purpose.

       39.         Alternatively, even if the products at issue here can be viewed as unreasonably

dangerous, Plaintiffs still have failed to plead sufficient facts that Moving Defendants are a

supplier of products that are ancillary to the medical services provided to Plaintiffs.


             ii.      Count VI is also deficient to the extent
                      is based on an alleged failure to obtain informed consent.

       40.                                                                                  Plaintiffs

are alleging that Moving Defendants, in providing medical care to Plaintiff-minor, failed to obtain



                                                    8
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Plaintiff-                                                -based products and failed to warn of the

purported risks and alternatives of such products.

         41.      Plaintiffs are impliedly asserting that Moving Defendants failed to obtain Plaintiff-

p                                                                          -based products to feed her

                                                      -based products. However, such a claim is not

cognizable under Pennsylvania law.

         42.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

               (a) Duty of Physicians.--Except in emergencies, a physician owes a
               duty to a patient to obtain the informed consent of the patient or the

               procedures:

               (1) Performing surgery, including the related administration of
               anesthesia.

               (2) Administering radiation or chemotherapy.

               (3) Administering a blood transfusion.

               (4) Inserting a surgical device or appliance.

               (5) Administering an experimental medication, using an experimental
               device or using an approved medication or device in an experimental
               manner.

               (b) Description of procedure.--Consent is informed if the patient has
               been given a description of a procedure set forth in subsection (a) and
               the risks and alternatives that a reasonably prudent patient would require
               to make an informed decision as to that procedure. The physician shall
               be entitled to present evidence of the description of that procedure and
               those risks and alternatives that a physician acting in accordance with
               accepted standards of medical practice would provide.

40 P.S. §1303.504 (emphasis added).

         43.      The language of the statute above reveals two significant tenets.



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       44.     The first is that the informed consent statute does not apply to the use of

milk-based products

       45.     Informed consent has not been extended to any type of therapeutic treatment



examination by the treating physician, where any change of condition can be diagnosed and

             Boyer v. Smith, 497 A.2d 646, 648 (Pa. Super. 1985).

       46.     The Superior Court ruled that the informed consent doctrine is premised upon the

legal theory that the performance of a medical procedure without a patient's informed consent

constitutes a technical assault or battery, and that merely prescribing an oral medication, which

does not involve touching, does not amount to battery and therefore, obtaining informed consent

is not required under those circumstances. Id. at 649.

       47.     The same principles clearly apply to infant feeding because, just like when a

                                                                                                or

human milk fortifier are

       48.     Thus, there is no basis for Plaintiffs to contend that Plaintiff-

required for the use of            -based products to feed her infant, including warning her of the

risks or alternatives of same.

       49.     Second, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See 40 P.S. § 1303.504; see also Valles v. Albert Einstein

Medical Center, 805 A.2d 1232, 1239 (Pa. 2002) (holding that duty to obtain informed consent

                                                                                          ble for a

failure to obtain informed consent); Isaac v. Jameson Mem. Hosp., 932 A.2d 924, 930 (Pa. Super.




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medical facility cannot maintain control over this aspect of the physician-

Kelly v. Methodist Hosp., 664 A.2d 148 (Pa. Super. 1995) (holding that generally only the

physician who performs the operation on the patient has the duty of obtaining his consent for the

procedure).

       50.

to obtain proper informed consent, nor can they be liable for any alleged failure to obtain informed



       51.

Preliminary Objections to Count VI.

       B.          DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
                   CARE PROVIDER

              i.     Moving Defendants cannot be held liable under a theory of corporate
                                                                     -based products, which
                     is regulated by the FDA and not precluded for use in premature or low
                     birth weight infants.

       52.     In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

       53.

for failure to warn, since both claims are based on the alleged failure to provide warnings to

                                          -based products.

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       54.          Infant formula is regulated by the FDA, and there is no legal restriction on the use

               -based products for feeding of premature infants, as discussed supra.

       55.          Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

               -milk based products to low birth weight infants.

       56.                                                                                      k-based

products are unreasonably dangerous products.

       57.          Thus, there is no legal basis to contend that Moving Defendants can be held liable

                                                                                                 -based

products in the feeding of premature infants in the hospital.

              ii.
                        as required to bring a claim for corporate negligence.

       58.          Courts considering the application of the duties set forth in Thompson have insisted

on more than a simple finding of a negligent act by someone for whom the hospital is purportedly

responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

       59.          In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

             The Thompson theory of corporate liability will not be triggered every time
             something goes wrong in a hospital which harms a patient . . . To establish
             corporate negligence, a plaintiff must show more than an act of negligence by
             an individual for whom the hospital is responsible. Rather, Thompson requires
             a plaintiff to show that the hospital itself is breaching a duty and is somehow
                             Thompson                             systemic negligence

Id. at 1386-87 (citations omitted and emphasis added).

       60.          C                                                                    Id. As noted by

the court in Edwards                                             Thompson is the only way to logically

construe its holding, as hospitals are already held vicariously liable for the negligent acts of their

                                                     12
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                                             Thompson requires a plaintiff to show that the hospital itself

                                                        Id. at 1387; see also MacDonald v. Chestnut Hill

Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa. C.P. 2005) (granting nonsuit to the hospital

                                        vidence that protocols were routinely ignored to the detriment of

patients or that the kind of systematic negligence on the part of CHH required by the Edwards decision



        61.          Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

        62.                                                                                  -based infant

products was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-

considering the paucity of the allegations in the Second Amended Complaint, such evidence cannot

support a finding of corporate liability.

        63.          For the

should be dismissed with prejudice.

              iii.      Plaintiffs are precluded from bringing a corporate negligence claim
                        against Defendant Trustees of the University of Pennsylvania, which is
                        merely a non-hospital, corporate parent of Pennsylvania Hospital.

        64.      Even assuming Plaintiffs had a viable corporate negligence claim against

Pennsylvania Hospital, any such claim is precluded against the Trustees of the University of

Pennsylvania since it is not a hospital.

        65.      The Thompson holding has been extended to HMOs and nursing home facilities,

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).
                                                      13
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          66.   However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

          67.   There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

          68.   Indeed, the Scampone Court cautioned that the trial court should ensure that

                                                                           -

at 606-07.

          69.   Thus, the corporate negligence count against Trustees must be dismissed as a matter

of law.


          C.                                  SECOND AMENDED COMPLAINT
                FOR INSUFFICIENT SPECIFICITY AS TO THE FACTS AND ALLEGED
                INJURIES

          70.   Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.

          71.

                                                                                 must also formulate

the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).




                                                  14
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         72.    Pennsylvania Rule of Civil Procedure 1019(a)



Pa.R.C.P. 1019(a). As the Superior Court has noted,

         Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
         to disclose the material facts sufficient to enable the adverse party to prepare his
         case. A complaint therefore must do more than give the defendant fair notice
         of what the plaintiff's claim is and the grounds upon which it rests. It should
         formulate the issues by fully summarizing the material facts. Material facts
         are ultimate facts, i.e., those facts essential to support the claim. Evidence from
         which such facts may be inferred not only need not but should not be alleged.
         Allegations will withstand challenge under 1019(a) if (1) they contain
         averments of all of the facts a plaintiff will eventually have to prove in order
         to recover, and (2) they are sufficiently specific so as to enable defendant to
         prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

         73.    Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953).                                   set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.

Perrige, 71 Pa. D. & C.2d 476, 479 80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.



than a generalized averment under which any injuries whatever could be proved at the trial.



         74.

allegations of the relevant facts and injuries at issue in this case.

         75.

paragraphs address material facts relating to the Plaintiff-
                                                   15
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and injuries, which are utterly insufficient to enable Moving Defendants to prepare their defenses.

See id., ¶¶ 11-21.

       76.     Plaintiffs aver tha

                                                                                       -based human

                                                                       See id., ¶¶ 11, 13.

       77.     Plaintiffs allege that the HMF fed to Plaintiff-minor was Similac Human Milk

Fortifier Powder, manufactured by Defendant Abbott.

       78.

                                      and/or                       -

staff at Pennsylvania Hospital following birth. See id., ¶ 16, 18. This vague and generic description

of the products given to Plaintiff-minor does not comply with the fact-pleading requirements of

Rule 1019(a), since such allegations do not provide Moving Defendants with appropriate notice of

the facts as to whether and when the minor actually ingested these               -based products.

       79.     Plaintiffs also failed to state sufficient facts concerning the nature of the injuries,

including any factual support for the vague allegation

                     See Exhibit F, ¶ 21.

       80.

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.

       81.     These omissions are fatal defects.                                            Amended

Complaint should be stricken in its entirety.




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       D.                                                        CLAIMS        FOR    PUNITIVE
               DAMAGES

       82.     In the Ad Damnum clauses of Counts VI and VII of the Second Amended

Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged in outrageous,

oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of

punitive damages.

       83.     However, the Second Amended Complaint contains no specific allegations of

conduct that would permit recovery of punitive damages as to Moving Defendants.

       84.                                                                           J.C. may have

                         -based infant product following birth, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in J.C.

condition following birth.

       85.     For example, the Second Amended Complaint does not give any indication whether

Plaintiff-parent refused or was unable to provide breast milk and provides no information as to

discussions between her and any health care providers regarding the purporte                      -

based products.

       86.

must be rejected as mere boilerplate. As discussed above, the FDA specifically approves the use

of infant formula in care of low birth wei                                                        -

based products for such infants.

       87.     Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-

milk-based infant products.


                                                17
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       88.     Absent specific factual allegations to jus                                          -

based products in J.C.      e was extreme and outrageous, there is no basis for an award of punitive

damages in this case.

       89.      Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

       90.     Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsyl

                                                                     Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584



heap an additional punishment on a defendant who is found to have acted in a fashion which is

                         Wagner at *12.

       91.     Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.

Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).

       92.     Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:



                                                  18
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       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
       of the h
       the rights of others. In assessing punitive damages, the trier of fact can properly

       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

40 P.S. §1303.505.

       93.       The Supreme Court has made clear that when assessing the propriety of the



                                              Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

       94.

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

           Id.

       95.       Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not

                                                                                              plicable

standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.

       96.       Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries



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or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

      the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

                                                                              Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an



                                              McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was

                                                                       gence that is of consideration,

                                                                  Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that



where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).

       97.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his



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absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-

                                                                             gistration as a sexual

                                                                                      Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       98.

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.

       99.     Pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

See 40 P.S. §1303.505(c).




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       100.    Plaintiffs allege in this action that J.C.                      -based products while



                                                 f NEC. See Exhibit F, ¶ 16.

       101.    Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it, but they have not done so. See Zazzera v. Roche, 54 D. & C. 4th 225,

238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       102.    In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       103.                                                   nitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.


       E.          MOTION TO DISMISS, OR IN THE ALTERNATIVE STRIKE,
                   PLAINTIFF-

              i.     Plaintiff-                                        r failure to articulate a
                     cause of action, or alternatively, Plaintiff-
                     stricken for failure to comply with Pa.R.C.P. 1020(b).

       104.    Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of J.C.

       105.                        Amended Complaint includes allegations in each count against

Moving Defendants that Plaintiff-

and/or other harms. Her life has been significantly affected by the Injured                      See

Exhibit F, ¶¶ 167, 193.



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        106.         However, no specific cause of action is asserted as to any damages sought by and

on behalf of Plaintiff-parent, who is not alleged in the Second Amended Complaint to have

suffered any physical injuries as a result of the alleged negligent conduct of Moving Defendants.

For this reason, Plaintiff-

        107.         Further, even if Plaintiff-parent had properly articulated a cause of action in the

Second Amended Complaint to allow her to recover damages in her own right, the Second

Amended Complaint should be stricken pursuant to Pa.R.C.P. 1020(b), which provides as follows:

        If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint shall
        state the cause of action, any special damage, and the demand for relief of each
        plaintiff in a separate count, preceded by a heading naming the parties to the causes
        of action therein set forth.

        108.         Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Second Amended Complaint

filed herein. Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the

Second Amended Complaint, specifically identifying the cause of action asserted and relief sought

in each count.

               ii.      Plaintiff-                                                            -
                        barred and she has not alleged sufficient facts to demonstrate that the
                        limitations period should be tolled.

        109.         Although the statute of limitations for claims asserted on behalf of minors are tolled

until the age of majority, Plaintiff-

have been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561

A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.

        110.         Plaintiffs allege that J.C. was born on October 6, 2014, was fed the Defendant

                                                                               See Exhibit F, ¶¶ 11-21.




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        111.                             original Complaint was filed on March 24, 2022, Plaintiff-

                                         -barred based on the applicable statute of limitations.

        112.     In an attempt to circumvent the statute of limitations issues for the Plaintiff-parent,

Plaintiffs go to great lengths in their Second Amended Complaint to essentially assert that

Plaintiff-

        113.     In particular, Plaintiffs allege that Plaintiff-parent did not discover a factual basis

for Plainti

                                            J.C.                         thus Plaintiff-

                                      products at issue in this case allegedly caused J.C.          See

id., ¶¶ 32-51.

        114.     The discovery rule, which is a narrow exception that extends the limitation period

in certain limited circumstances, does not apply here.

        115.     The discovery rule provides that where the existence of the injury is not known to

the complaining party and such knowledge cannot reasonably be ascertained within the prescribed

period, the period of limitation does not begin to run until discovery of the injury is reasonably

possible. Hayward v. Medical Center of Beaver County, 608 A.2d 1040, 1043 (Pa. 1992)

(abrogated on other grounds).

        116.

plaintiff knows or reasonably should know (1) that he or she has been injured, and (2) that this

injury has been cau                                     See Levenson v. Souser, 557 A.2d 1081, 1086,

87 (Pa. Super. Ct. 1989).

        117.     The party asserting the discovery rule bears the burden of establishing that he or

she falls within it. See Cochran v. GAF Corp., 666 A.2d 245, 249 (Pa. 1995).



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       118.             well-settled that the reasonable diligence standard is objective, as the

question is not what the plaintiff actually knew of the injury or its cause, but what he might have

                                                         Nicolaou v. Martin, 195 A.3d 880, 893 (Pa.

2018) (citations omitted).

       119.    Plaintiffs allege boilerplate accusations that Plaintiff-parent was unable to discover

the cause of       NEC diagnosis earlier, and therefore, the limitations period is tolled, because

                                                     -

of NEC from Def                                      See id., ¶¶ 32-51.

       120.    Plaintiffs do not allege any

information from Plaintiff-

       121.                                          discovery rule argument is that is presupposes

that a risk existed, and Moving Defendants were aware of that risk.

       122.    However, Plaintiffs have not plead sufficient facts to support this claim, which is

also belied by FDA regulations and other statutory frameworks that exist for the purpose of

ensuring the safety of infant formula in the United States.

       123.                                                        -based products for premature or



unsupported and baseless.

       124.    Based on the foregoing, Plaintiffs have failed to plead sufficient facts to

demonstrate that the applicable limitations period should be tolled.




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       F.                                  SECOND AMENDED COMPLAINT
               FOR FAILURE TO COMPLY WITH PA.R.C.P. 1024

       125.    Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every



and belief.

       126.    Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

       127.    In this case, no verification is attached to the Second Amended Complaint in

violation of Rule 1024. See Exhibit F.

       128.    Accordingly, the Second Amended Complaint should be stricken for lack of an

appropriate verification.

       WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.

                                              Respectfully submitted:



                                              BURNS WHITE LLC


                                         BY: /s/ Meredith A. Lowry
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                                             RICHARD S. MARGULIES, ESQ.
                                             MEREDITH A. LOWRY, ESQ.
                                             Attorneys for Defendants,
                                             The Pennsylvania Hospital of the University of
                                             Pennsylvania Health System d/b/a Pennsylvania
                                             Hospital and The Trustees of the University of
                                             Pennsylvania d/b/a Penn Medicine
Dated: August 6, 2024


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 HOLLI CARTER, on her own behalf and as Parent and       COURT OF COMMON PLEAS
 Natural Guardian of J.C., a Minor                       PHILADELPHIA COUNTY

                      Plaintiff                          CIVIL DIVISION

 v.                                                      MARCH TERM, 2022
                                                         NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                      Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
   DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
 PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY
                                SECOND AMENDED COMPLAINT

       Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System



                                    by and through counsel Burns White LLC, hereby file the

wit

aver as follows:
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  I.   MATTER BEFORE THE COURT

       Preliminary Objections of Defendants The Pennsylvania Hospital of the University of




 II.   STATEMENT OF QUESTIONS PRESENTED

       1.

Complaint with prejudice because Pl

                      -based products are unreasonably dangerous?

       Suggested answer in the affirmative.

       2.

Amended Complaint with prejudice because Moving Defendants cannot be held liable for

negligent failure to warn on the basis that they are a supplier of such products?

       Suggested answer in the affirmative.

       3.                                                                                    econd

Amended Complaint with prejudice because it improperly alleges that Moving Defendants were

required to obtain Plaintiff-                                                   -based products for

feeding of Plaintiff-minor and warn her of the risks and/or alternatives of same?

       Suggested answer in the affirmative.

       4.

Amended Complaint with prejudice because Moving Defendants cannot be held liable on a

corporate negligence theory for a product which is regulated by the FDA and which is not

precluded for use in premature or low birth weight infants, and where a hospital cannot be held



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liable for corporate negligence based on the alleged negligence of an individual health care

provider?

       Suggested answer in the affirmative.

       5.

Amended Complaint with prejudice as to the Trustees of the University of Pennsylvania since it is

not a hospital and because corporate negligence duties are non-delegable?

       Suggested answer in the affirmative.

       6.

Complaint in its entirety for insufficient specificity of the facts and alleged injuries?

       Suggested answer in the affirmative.

       7.

as to Moving Defendants because the Second Amended Complaint fails to plead facts providing a

basis for an award of punitive damages?

       Suggested answer in the affirmative.

       8.      Whether this Honorable Court should strike Plaintiff-

state a cause of action and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020?

       Suggested answer in the affirmative.

       9.      Whether this Honorable Court should strike Plaintiff-

are time-barred and Plaintiff-parent has failed to allege sufficient facts to demonstrate that the

limitations period should be tolled?

       Suggested answer in the affirmative.

       10.     Whether t

Complaint for lack of an appropriate verification?



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       Suggested answer in the affirmative.


III.   INTRODUCTION AND FACTUAL BACKGROUND

       Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022 against

Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead Johnson



                                                              mplaint is attached hereto as Exhibit




Complaint in its entirety for insufficient specificity of the facts and alleged injuries; 3) strike

                                                                                                   -

                                                                              rate causes of action,

and based on the applicable statute of limitations; and 5) strike the Complaint for lack of an

appropriate verification. A true and correct copy of the Preliminary Objections to the Original



       On September 8, 2023, Plaintiffs filed an Amended Complaint, which still contained

substantially all of the fatal flaws that Moving Defendants raised in their first set of preliminary

                                                                       is attached hereto as Exhibit



Amended Complaint. A true and correct copy of the Preliminary Objections to the Amended

                                                On March 20, 2024, the Court sustained Moving




correct copy of t                                                 On July 17, 2024, Plaintiffs filed


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a Second Amended Complaint, which includes some additional factual allegations, but the same

fatal flaws are still present. A true and correct copy of the Second Amended Complaint is attached



         Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

                                                                                                                     -

based infant products by premature infants following their birth. 1 Plaintiffs allege that Plaintiff-

minors, including J.C. in this case, were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See Exhibit F, ¶¶



                                                                                                              -based

infant formula and fortifiers added to human milk. 2 In addition to asserting product liability claims

against the infant formula manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that

Moving Defendants are liable based on theories of failure to warn and corporate liability. 3

         Plaintiffs a

                                                                                                    -based human

                                                                                    See id., ¶¶ 11, 13. Plaintiffs




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania,
Temple University Hospital, Albert Einstein Medical Center, Jefferson Abington Hospital and Thomas
Jefferson University Hospital.
2
                                                                                                -based
infant formula and fortifiers, as discussed infra and in the accompanying Memorandum of Law, Plaintiffs

milk-based products.
3
  As is discussed infra, infant formulas are regulated by the United States Food and Drug Administration and are
require to include specified vitamins and nutrients, including infant formulas intended for low birth weight infants.
                                                  k-based infant formula for premature or low birth weight infants.
                                     -based infant formula should never be given to premature infants is not supported
by the FDA.

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                      -

                                                             oped NEC after ingesting Defendant

                           See id., ¶ 16, 18. According to Plaintiffs, J.C. was diagnosed with Stage



            See id., ¶ 17. Plaintiffs allege that J.C. was treated for NEC with vancomycin and zosyn

for fourteen days. See id.

diagnosis of NEC, treatment with antibiotics and blood transfusions, and suffers from

                                           See id., ¶ 21.



reasons stated below and as set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.


IV.    ARGUMENT

       A.        DEMURRER TO COUNT VI: FAILURE TO WARN

       Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997). In alleging a Failure to Warn claim against Moving Defendants,

Plaintiffs appear to conflate a cause of action for negligent failure to warn, with a cause of action

for failing to obtain informed consent. Under either theory, Count VI is legally deficient and must

be dismissed.

                i.   Plaintiffs failed to state a cause of action for negligent failure to warn

                                                                -based products at issue were


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                   unreasonably dangerous, are not support with sufficient factual
                   allegations.



                                                                                           iffs and

the public a duty to provide products that were free of unreasonable risk of harm. See Exhibit F, ¶

155. Taking the facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a claim for

negligent failure to warn against Moving Defendants because they have failed to plead sufficient

                                                                                  products at issue

were

       Pennsylvania courts have adopted Restatement (Second) of Torts § 388 in cases involving

                                      Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

           One who supplies directly or through a third person a chattel for another to
           use is subject to liability to those whom the supplier should expect to use
           the chattel with the consent of the other or to be endangered by its probable
           use, for physical harm caused by the use of the chattel in the manner for
           which and by a person for whose use it is supplied, if the supplier

           (d) knows or has reason to know that the chattel is or is likely to be
               dangerous for the use for which it is supplied, and

           (e) has no reason to believe that those for whose use the chattel is supplied
               will realize its dangerous condition, and

           (f) fails to exercise reasonable care to inform them of its dangerous
               condition or of the facts which make it likely to be dangerous.

                                                                                   -based products



of commerce. Thus, Count VI should be dismissed for this reason alone.

       Additionally, Plaintiffs must aver sufficient facts demonstrating the Defendant



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liability cases is whether there is a defect which rendere

Weiner v. American Honda Motor Co., Inc., 718 A.2d 305, 307 (Pa. Super. 1998).

          129.

the supplier's control lacking any element neces                                                  Id. at

308. At the outset of their Second Amended Complaint, Plaintiffs appropriately acknowledge that

                      -birth-weight infants are especially susceptible to NEC      See Exhibit F, ¶ 23

(emphasis added). Following this, Plaintiffs make the core claim of their Second Amended

Complaint                      -based feeding products cause NEC in preterm and low birth weight

infants                                                                                          rolled

                            See id. However, Plaintiffs do not allege any facts to support their claim

                                                             -based feeding products cause NEC in

preterm and low birth weight infant.

          Plaintiffs appear to base this core claim on flawed studies cited in the original Complaint

that Plaintiffs subsequently omitted in their Amended Complaint and Second Amended Complaint.

In their original Complaint, in support of their assertion that the products at issue were dangerous

to Plaintiff-minor                                                                 -based products to

breast milk, a Surgeon General report on the subject, and a statement by the American Academy

of Pediatrics. See Exhibit A, ¶¶ 17-23. As Moving Defendants argued in their Preliminary



studies cited by Plaintiffs demonstrate only, assuming the facts as true as stated by Plaintiffs, that

premature infants are at high risk of NEC, and that feeding such infants with breast milk may be

                                                       -based alternatives. See id. Plaintiffs appear to



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concede that the aforementioned studies did not support their allegations because Plaintiffs

removed all references to the studies and deleted paragraphs 17 through 23 in their Amended

Complaint, and again in their Second Amended Complaint.

          In lieu of relying on the studies originally cited by Plaintiffs in their Complaint, Plaintiffs

                                                                                       research

                                  -based products cause NEC. See, e.g., Exhibit F, ¶¶ 23. However,

                                                                                               research

exists.

                                                                        -based products at issue were

                                                    ith the reality that such products are carefully

                                                                                               s are not

alleging that Moving Defendants did anything contrary to the applicable federal regulations.

          The Infant Formula

                    See Pub. L. No. 96-359, 94 Stat. 1190. The IFA and its implementing regulations

outline the requirements that infant formula must meet, including how infant formula is made, its

contents and ingredients, and the labels used on its packages. See 21 U.S.C. § 350a; 21 C.F.R. §§

106-



reason of its simulation                                        21 U.S.C. § 350a; 21 C.F.R. §§ 107.50.

Plaintiffs have not alleged any facts that would justify overlooking an entire regulatory framework

dedicated to ensuring the safety of infant formula in the United States.

          Thus, Plaintiffs have failed to state a claim for negligent failure to warn against Moving

                                                                              milk-based products are



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unreasonably dangerous for its intended purpose. Alternatively, even if the products at issue here

can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts that

Moving Defendants are a supplier of products that are ancillary to the medical services provided

to Plaintiffs.

                 ii.
                       is based on an alleged failure to obtain informed consent.

                                                imilarly precluded to the extent that Plaintiffs are

alleging that Moving Defendants, in providing medical care to Plaintiff-minor, failed to obtain

Plaintiff-                                              -based products and failed to warn of the

purported risks and alternatives of such products. Plaintiffs are impliedly asserting that Moving

Defendants failed to obtain Plaintiff-

milk-                                                                        s milk-based products.

However, such a claim is not cognizable under Pennsylvania law.

        Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the

             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.


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             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and
             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

40 P.S. §1303.504 (emphasis added).

        The language of the statute above reveals two significant tenets. The first is that the

                                                                         -based products in feeding



any type of therapeutic treatment involving an ingestible therapeutic drug, which the court defined

                                                          treating physician, where any change of

                                               Boyer v. Smith, 497 A.2d 646, 648 (Pa. Super. 1985).

The Superior Court ruled that the informed consent doctrine is premised upon the legal theory that

the performance of a medical procedure without a patient's informed consent constitutes a technical

assault or battery, and that merely prescribing an oral medication, which does not involve touching,

does not amount to battery and therefore, obtaining informed consent is not required under those

circumstances. Id. at 649.

        The same principles clearly apply to infant feeding because, just like when a provider



fortifier are ordered fo

Plaintiff-                                                         -based products to feed her infant,

including warning her of the risks or alternatives of same.

        Second, the informed consent statute only applies to physicians, not hospitals, in the

context of medical procedures. See 40 P.S. § 1303.504; see also Valles v. Albert Einstein Medical



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Center, 805 A.2d 1232, 1239 (Pa. 2002) (holding that duty to obtain informed consent belongs



obtain informed consent); Isaac v. Jameson Mem. Hosp., 932 A.2d 924, 930 (Pa. Super. 2007)

                                                            as a technical battery, hospitals cannot be



facility cannot maintain control over this aspect of the physician-                            Kelly v.

Methodist Hosp., 664 A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who

performs the operation on the patient has the duty of obtaining his consent for the procedure).

                                                                                               ailure to

obtain proper informed consent, nor can they be liable for any alleged failure to obtain informed



Accordingly, it is respectfully requested this Court sustain

Objections to Count VI.

        B.         DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
                   CARE PROVIDER

              i.     Moving Defendants cannot be held liable under a theory of corporate
                                                                     -based products, which
                     is regulated by the FDA and not precluded for use in premature or low
                     birth weight infants.

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.

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                                         m fails based on the same rationale as the claim for failure

to warn, since both claims are based on the alleged failure to provide warnings to patients related

                         -based products. Infant formula is regulated by the FDA, and there is no

                                            -based products for feeding of premature infants, as

discussed supra. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

                -milk based products to low birth weight infants. Further, as discussed above,

                                                   -based products are unreasonably dangerous

products. Thus, there is no legal basis to contend that Moving Defendants can be held liable

                                                                                              -based

products in the feeding of premature infants in the hospital.

             ii.   Pl
                   as required to bring a claim for corporate negligence.

       Courts considering the application of the duties set forth in Thompson have insisted on

more than a simple finding of a negligent act by someone for whom the hospital is purportedly

responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In considering

whether the plaintiff could sustain corporate negligence claims based on these allegations, the

Edwards court analyzed the Thompson decision and delineated the standards required to sustain

such a claim:

           The Thompson theory of corporate liability will not be triggered every time
           something goes wrong in a hospital which harms a patient . . . To establish
           corporate negligence, a plaintiff must show more than an act of negligence by
           an individual for whom the hospital is responsible. Rather, Thompson requires
           a plaintiff to show that the hospital itself is breaching a duty and is somehow
                           Thompson                             systemic negligence

Id. at 1386-87 (citations omitted and emphasis added).

       C                                                                        Id. As noted by the

court in Edwards, this reading of the C                     Thompson is the only way to logically

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construe its holding, as hospitals are already held vicariously liable for the negligent acts of their

                                         Thompson requires a plaintiff to show that the hospital itself

                                                    Id. at 1387; see also MacDonald v. Chestnut Hill

Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa. C.P. 2005) (granting nonsuit to the hospital

                                                           were routinely ignored to the detriment of

patients or that the kind of systematic negligence on the part of CHH required by the Edwards decision



        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

                     -based infant products was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-

been pleaded by Plaintiffs considering the paucity of the allegations in the Second Amended

Complaint, such evidence cannot support a finding of corporate liability. For the reasons stated above,

Count

             iii.   Plaintiffs are precluded from bringing a corporate negligence claim
                    against Defendant Trustees of the University of Pennsylvania, which is
                    merely a non-hospital, corporate parent of Pennsylvania Hospital.

        Even assuming Plaintiffs had a viable corporate negligence claim against Pennsylvania

Hospital, any such claim is precluded against the Trustees of the University of Pennsylvania since

it is not a hospital. The Thompson holding has been extended to HMOs and nursing home facilities,

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

        However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See
                                                  14
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Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007). There is no

legal basis for holding that the purported corporate parent of a hospital, such as the Trustees of the

University of Pennsylvania, can be held liable under a theory of corporate negligence. Indeed, the

Scampone

to liability for breach of the same non-                                    -07. Thus, the corporate

negligence count against Trustees must be dismissed as a matter of law.

       C.
               FOR INSUFFICIENT SPECIFICITY AS TO THE FACTS AND ALLEGED
               INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of




rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that



                                      As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
                                                 15
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       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953).

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479 80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.



averment under which any injuries whatever could be proved at the trial. Defendant would have




Amended Complaint, only ten paragraphs address material facts relating to the Plaintiff-

care and treatment, diagnosis and injuries, which are utterly insufficient to enable Moving

Defendants to prepare their defenses. See id., ¶¶ 11-21. Plaintiffs aver that J.C. was born

prematurely on October 6, 2014 and t

breast milk fortified with bovine-

October 31, 2014. See id.

be                                                              and/or                         -based

                                                                             See id., ¶ 16, 18. This

vague and generic description of the products given to Plaintiff-minor does not comply with the


                                                 16
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fact-pleading requirements of Rule 1019(a), since such allegations do not provide Moving

Defendants with appropriate notice of the facts as to whether and when the minor actually ingested

                 -based products.

       Plaintiffs also failed to state sufficient facts concerning the nature of the injuries, including



            See Exhibit F, ¶ 21.                                           ated with particularity, is

amorphous, vague, and open-ended. Pursuant to Pennsylvania pleading requirements, Moving

Defendants should not be compelled to defend a claim for which the statement of injury is

unspecified and subject to change. These omissions are fatal defects.

Amended Complaint should be stricken in its entirety.

       D.
               DAMAGES

       In the Ad Damnum clauses of Counts VI and VII of the Second Amended Complaint,

Plaintiffs make baseless accusations that Moving Defendants engaged in outrageous, oppressive,

reckless, malicious and/or fraudulent conduct that allegedly justify an award of punitive damages.

However, the Second Amended Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants. Rather, Plaintiffs merely allege

                                                                                -based infant product

following birth, absent any context to indicate that such an action was inappropriate based on the

                                                                                      For example, the

Second Amended Complaint does not give any indication whether Plaintiff-parent refused or was

unable to provide breast milk and provides no information as to discussions between her and any

                                                                   -based products.




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                                                                                                st be

rejected as mere boilerplate. As discussed above, the FDA specifically approves the use of infant

                                                                                              -based

products for such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at

least five hospitals in Philadelphia based on identical claims belies the contention that Moving

Defendants engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor

                -based infant products. Absent specific factual allegations to justify the claim that

                     -

for an award of punitive damages in this case. Merely contending that punitive damages should be

awarded with no supporting factual justification requires dismissal of the claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,



available in only the most exception              Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.

LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883



punishment on a defendant who is found to have acted in a fashion which is particularly

            Wagner at *12.

       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the



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mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984). Specifically, with regard to punitive damages in the context of claims

against health care providers, the Medical Care and Reduction of Error (MCARE) Act permits

punitive damages only to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result

       the rights of others. In assessing punitive damages, the trier of fact can properly

       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of

                                                       r is vital. The act or failure to act, must be

                                      Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.

             nitive damages claim must be supported by evidence sufficient to establish that (1) a

defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

that (2) he acted, or failed to act, as the case may be, in conscious d                     Id.

       Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in

malpractice actions unless the medical pro

so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.




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        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

surgery that left the plaintiff                                                     the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

                                                  Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted

                                                             icient to support an award of punitive

              McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

negligence in the prenatal care

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct

                                   Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl.



to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

        Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd



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Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-                                     where he repeatedly raped her, since



                                                                                       Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).



do not even remotely meet the requisite standard under Pennsylvania law that would permit an

award of punitive damages. Pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.



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See 40 P.S. §1303.505(c).

                                                                    -based products while she was



that these products increased the risk of NEC. See Exhibit F, ¶ 16. Even if such actions were

claimed to be egregious or malicious such that punitive damages were permissible, which is denied

for the reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had

actual knowledge of the alleged wrongful conduct and nevertheless allowed it, but they have not

done so. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds,

Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any

facts to suggest that Moving Defendants were aware of any alleged misconduct by any individual

alleged to be an agent and allowed such conduct to continue.

                                                                                           en with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.


       E.          MOTION TO DISMISS, OR IN THE ALTERNATIVE STRIKE,
                   PLAINTIFF-

              i.     Plaintiff-
                     cause of action, or alternatively, Plaintiff-
                     stricken for failure to comply with Pa.R.C.P. 1020(b).

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of J.C.                    Amended Complaint includes allegations in each count against

Moving Defendants that Plaintiff-

                                                                                                 See

Exhibit F, ¶¶ 167, 193. However, no specific cause of action is asserted as to any damages sought

by and on behalf of Plaintiff-parent, who is not alleged in the Second Amended Complaint to have



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suffered any physical injuries as a result of the alleged negligent conduct of Moving Defendants.

For this reason, Plaintiff-

         Further, even if Plaintiff-parent had properly articulated a cause of action in the Second

Amended Complaint to allow her to recover damages in her own right, the Second Amended

Complaint should be stricken pursuant to Pa.R.C.P. 1020(b), which provides as follows:

         If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint shall
         state the cause of action, any special damage, and the demand for relief of each
         plaintiff in a separate count, preceded by a heading naming the parties to the causes
         of action therein set forth.

         Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both

the Plaintiff-minor and the Plaintiff-parent, as was done in the Second Amended Complaint filed

herein. Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Second

Amended Complaint, specifically identifying the cause of action asserted and relief sought in each

count.

               ii.   Plaintiff-                                                            -
                     barred and she has not alleged sufficient facts to demonstrate that the
                     limitations period should be tolled.

         Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that J.C. was born on October 6, 2014,

                                                                                                   See

Exhibit F, ¶¶ 11-21. Thus,

Plaintiff-                                             -barred based on the applicable statute of

limitations.




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        In an attempt to circumvent the statute of limitations issues for the Plaintiff-parent,

Plaintiffs go to great lengths in their Second Amended Complaint to essentially assert that

Plaintiff-                                             by way of the discovery rule. In particular,

Plaintiffs allege that Plaintiff-parent did not discover a factual b



                                                   -

the products at issue in this                                    See id., ¶¶ 32-51.

        The discovery rule, which is a narrow exception that extends the limitation period in certain

limited circumstances, does not apply here. The discovery rule provides that where the existence

of the injury is not known to the complaining party and such knowledge cannot reasonably be

ascertained within the prescribed period, the period of limitation does not begin to run until

discovery of the injury is reasonably possible. Hayward v. Medical Center of Beaver County, 608

A.2d 1040, 1043 (Pa. 1992) (abrogated on other grounds).



or reasonably should know (1) that he or she has been injured, and (2) that this injury has been

                                     See Levenson v. Souser, 557 A.2d 1081, 1086, 87 (Pa. Super.

Ct. 1989). The party asserting the discovery rule bears the burden of establishing that he or she

falls within it. See Cochran v. GAF Corp., 666 A.2d 245, 249 (Pa. 1995).              well-settled that

the reasonable diligence standard is objective, as the question is not what the plaintiff actually

knew of the injury or its cause, but what he might have known by exercising the diligence required

by law. Nicolaou v. Martin, 195 A.3d 880, 893 (Pa. 2018) (citations omitted).

        Plaintiffs allege boilerplate accusations that Plaintiff-parent was unable to discover the

                                                                                                   use



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                                                       -

                                                       See id., ¶¶ 32-51. Plaintiffs do not allege any

                                                                       tion from Plaintiff-parent or




risk existed, and Moving Defendants were aware of that risk. However, Plaintiffs have not plead

sufficient facts to support this claim, which is also belied by FDA regulations and other statutory

frameworks that exist for the purpose of ensuring the safety of infant formula in the United States.

                                                  -based products for premature or low birth weight

infants, and any of Plai

Based on the foregoing, Plaintiffs have failed to plead sufficient facts to demonstrate that the

applicable limitations period should be tolled.

       F.                                       ND AMENDED COMPLAINT
               FOR FAILURE TO COMPLY WITH PA.R.C.P. 1024

       Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading



belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

pleading. In this case, no verification is attached to the Second Amended Complaint in violation

of Rule 1024. See Exhibit F. Accordingly, the Second Amended Complaint should be stricken for

lack of an appropriate verification.




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 V.    REQUESTED RELIEF

       For the foregoing reasons, Defendants the Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and the Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                            BURNS WHITE LLC




                                       BY: /s/ Meredith A. Lowry
                                          JAMES A. YOUNG, ESQ.
                                          RICHARD S. MARGULIES, ESQ.
                                          MEREDITH A. LOWRY, ESQ.
                                          Attorneys for Defendants,
                                          The Pennsylvania Hospital of the University of
                                          Pennsylvania Health System d/b/a Pennsylvania
                                          Hospital and The Trustees of the University of
                                          Pennsylvania d/b/a Penn Medicine

Dated: August 6, 2024




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                                 CERTIFICATE OF SERVICE

       I, Meredith A. Lowry, Esquire, do hereby certify that on this day I caused a true and correct

copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the

University of Pennsylvania d/b/a Penn Medicine                      Second Amended Complaint, to be

served via the electronic filing system to all counsel of record.




                                                      BY:     /s/ Meredith A. Lowry
                                                              MEREDITH A. LOWRY, ESQ.


Dated: August 6, 2024
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                       EXHIBIT B
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 Holli Carter, on her own behalf and as Parent and Natural COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                 PHILADELPHIA COUNTY

                       Plaintiff                            CIVIL DIVISION

 v.                                                         MARCH TERM, 2022
                                                            NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.



                                            ORDER

       AND NOW, this               day of                       2023, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that all

claims against Defendants the Pennsylvania Hospital of the University of Pennsylvania Health

System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine are hereby DISMISSED with prejudice.



                                                    BY THE COURT:



                                                    ____________________________________
                                                                                  J.
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 Holli Carter, on her own behalf and as Parent and Natural   COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                   PHILADELPHIA COUNTY

                       Plaintiff                             CIVIL DIVISION

 v.                                                          MARCH TERM, 2022
                                                             NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.


                                     ALTERNATIVE ORDER

       AND NOW, this               day of                       2023, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that:

       1.     Count VI of Plaintiffs’ Complaint is DISMISSED with prejudice;

       2.     Count VII of Plaintiffs’ Complaint is DISMISSED with prejudice;

       3.     Plaintiffs’ claims for punitive damages as to Defendants The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious and/or fraudulent conduct;

       4.     Plaintiff Holli Carter’s claims in her own right are DISMISSED with prejudice;
              and

       5.     Plaintiffs’ Complaint is STRICKEN for lack of an appropriate verification.


                                                    BY THE COURT:

                                                    ____________________________________
                                                                                  J.
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 BURNS WHITE LLC                                 Attorneys For Defendants,
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 Holli Carter, on her own behalf and as Parent and        COURT OF COMMON PLEAS
 Natural Guardian of J.C., a minor                        PHILADELPHIA COUNTY

                        Plaintiff                         CIVIL DIVISION

 v.                                                       MARCH TERM, 2022
                                                          NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
                    TO PLAINTIFFS’ COMPLAINT

       Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

(“Pennsylvania Hospital”) and the Trustees of the University of Pennsylvania (hereinafter

“Moving Defendants”) hereby preliminarily object to Plaintiffs’ Complaint, and, in support

thereof, aver as follows:

I.     INTRODUCTION

       1.      Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead
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Johnson Nutritional Company (collectively referred to as “Mead Johnson”) and Abbott

Laboratories (“Abbott”). See Plaintiff’s Complaint, attached as Exhibit “A.”1

         2.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania

Hospital and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s

milk-based infant formula by premature infants following their birth. 2

         3.       Plaintiffs allege that “upon information and belief” the Plaintiff-minors, including

J.C., were diagnosed with necrotizing enterocolitis (NEC), a gastrointestinal disorder that

premature infants are at increased risk to develop. See Plaintiffs’ Complaint, attached as Exhibit

“A,” ¶ 13. Plaintiffs allege that premature infants fed with their mother’s breast milk or donor

breast milk are at decreased risk of developing NEC as compared with infants given cow’s milk-

based infant formula.3

         4.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 4




1
  Shortly after the filing of the Complaint, this case was removed to federal court. Following briefing and a hearing,
the case was remanded to this Honorable Court. There was then an effort by all Defendants to transfer these cases to
this Court’s Mass Tort Program. Plaintiffs opposed this request, and same was denied by this Honorable Court.
These preliminary objections were timely filed after the initial filing of the Complaint, but never ruled upon.
2
  Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
3
  Although Plaintiffs aver in the Complaint that NEC is caused by cow’s milk-based infant formula, as discussed
infra and in the accompanying Memorandum of Law, the allegations in the Complaint refer to research and studies
that indicate only that NEC is more common in premature and low birth weight infants fed with cow’s milk-based
products as compared with similar infants fed with breast milk. See Exhibit “A,” ¶¶ 17-23. Plaintiffs do not cite any
study or statement in the Complaint that indicates NEC is caused by cow’s milk-based infant formula.
4
 As is discussed in detail in the accompanying Memorandum of Law, infant formulas are regulated by the United
States Food and Drug Administration and require to include specified vitamins and nutrients, including infant
formulas intended for low birth weight infants. The FDA permits does not restrict the use of cow’s milk-based infant
formula for premature or low birth weight infants. Plaintiff’s contention that cow’s milk-based infant formula should
never be given to premature infants is not supported by the FDA.


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        5.       The factual background regarding the Plaintiff-minor’s birth, diagnosis and injuries

are limited to four paragraphs in the Complaint.

        6.       Plaintiffs aver that J.C. was born prematurely on October 6, 2014 and that “upon

information and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at

Pennsylvania Hospital from shortly after his birth.” Id., ¶¶ 11-12.

        7.       Plaintiffs further allege that “upon information and belief” J.C. developed NEC

shortly after first ingesting the Defendant manufacturers’ products. Id., ¶ 13.

        8.       Plaintiffs generally allege that J.C. “suffered injuries and has continued to suffer

long-term health effects,” with no specific description of those alleged injuries or long-term health

effects. Id., ¶ 14.

        9.       Moving Defendants Preliminarily Object to Plaintiffs’ Complaint for the reasons

stated below and as more fully set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.

II.     ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

        10.      Plaintiffs allege in Count VI of the Complaint that Moving Defendants, “as

purchaser, supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and

the public a duty to provide products that were free of unreasonable risk of harm.

        11.      Plaintiffs’ theory against Moving Defendants is that they were aware cow’s milk-

based products made by the Defendant Manufacturers cause NEC in premature and low birth

weight infants and negligently failed to warn the parents of those infants of this danger.




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       12.      In support of this theory, Plaintiffs cite to five studies comparing cow’s milk-based

products to breast milk, a Surgeon General report on the subject, and a statement by the American

Academy of Pediatrics. See Exhibit “A,” ¶¶ 17-23.

       13.      Taking these facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the product in question is indeed unreasonably dangerous.

       14.      Further, to the extent the product at issue was provided in the context of medical

care, rather than commerce, there can be no claim against Moving Defendants for a product-

liability based theory of failure to warn.

       15.      “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a

claim of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and

             (c) fails to exercise reasonable care to inform them of its dangerous
             condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388.

       16.      “The threshold inquiry in all products liability cases is whether there is a defect

which rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).

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       17.     “A product is defective when it is not safe for its intended use, i.e., the product left

the supplier's control lacking any element necessary to make it safe for its intended use.” Id. At

308.

       18.     Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the

Defendant Manufacturers’ products are unreasonably dangerous for their intended use, triggering

Moving Defendants’ duty to warn.

       19.     Although Plaintiffs cite in their Complaint to research studies relating to the

purported risks of cow’s milk-based products in premature infants, the studies demonstrate only,

assuming the facts as true as stated by Plaintiffs, that premature infants are at high risk of NEC,

and that feeding such infants with breast milk may be better at reducing the risk of NEC than cow’s

milk-based alternatives. See Exhibit “A,” ¶¶ 17-23.

       20.     At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-

weight infants are especially susceptible to NEC.” See Exhibit “A” at ¶ 16 (emphasis added).

Following this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding

products cause NEC in preterm and low birth weight infants – and that “[e]xtensive scientific

research, including numerous randomized controlled trials” confirm this claim. Id. However,

reviewing the portions of the research and trials cited by Plaintiffs in their Complaint belie their

core claim.

       21.     The first study cited by Plaintiffs states, according to the Complaint, that “NEC was

six to ten times more common in exclusively cow’s milk formula-fed babies than in exclusively

breast milk-fed babies and three times more common in babies who received a combination of

formula and breast milk.” Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants

fed cow’s milk-based products than those fed breast milk is to say that NEC still occurs in infants



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fed exclusively breast milk, but only at a lower rate. Thus, Plaintiffs’ first study does not state

cow’s milk-based feeding products causes NEC.

        22.     As averred in the Complaint, the second study cited by Plaintiffs states that

“preterm babies fed an exclusive breast milk-based diet were 90% less likely to develop surgical

NEC compared to preterm babies fed a diet that included some cow’s milk-based products.” Id. at

¶ 18. To state that preterm infants fed only breast milk are less likely to develop a form of NEC is

to admit that NEC still develops in preterm infants regardless of the diet. Thus, Plaintiffs’ second

study likewise does not state that cow’s milk-based feeding products cause NEC.

        23.     The third study cited by Plaintiffs concluded, per the Complaint, “fortification of

breast milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk of NEC and a

5.1-fold increased risk of surgical NEC or death compared to fortification with a breast milk-based

fortifier.” Id. at ¶ 19. What the study does not state, as alleged in the Complaint, is that cow’s milk-

based fortifiers cause NEC.

        24.     The Surgeon General report cited by Plaintiffs is alleged in the Complaint to

reiterate the principle made in the prior three studies and states that “formula feeding is associated

with higher rates” of NEC in preterm infants and that “premature infants who are not breastfed

are 138% more likely to develop NEC." Id. at ¶ 20 (emphasis added). If cow’s milk-based formula

caused NEC as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead,

the Surgeon General report, as described in Plaintiffs’ Complaint at ¶ 20, makes the same

acknowledgment as Plaintiffs – that preterm infants are highly susceptible to NEC regardless of

their diet, and that NEC occurs in different rates in preterm infants fed cow’s milk-based products

and breast milk. The report does not state that the former causes NEC.




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       25.     According to the Complaint, the American Academy of Pediatrics makes a nearly

identical statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a

recommendation that “all premature infants should be fed either their mother’s milk or, if their

mother’s milk is unavailable, pasteurized donor milk,” which recommendation is alleged to be

related in part to “lower rates… of NEC.” Id. This statement acknowledges that NEC still occurs

in preterm infants fed only breast milk, but simply at a lower rate. According to the Complaint, the

Academy does not claim that cow’s milk-based feeding products cause NEC.

       26.     The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint, a study “found that premature and low-birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.”

In another study, as alleged in the Complaint, “babies given exclusively breast milk products

suffered NEC 5% of the time,” whereas “babies given cow’s milk products suffered NEC 17% of

the time.” Id. at ¶ 22-23. Once again, these studies, based on the allegations in Plaintiffs’

Complaint, do not state that cow’s milk-based formula causes NEC.

       27.     Thus, Plaintiffs have failed to state a claim for negligent failure to warn against

Moving Defendants as they have failed to state facts to establish that cow’s milk-based infant

formula is unreasonably dangerous for its intended purpose.

       28.     Further, assuming arguendo that the Defendant Manufacturers’ cow’s milk-based

feeding products can be seen as unreasonably dangerous for their intended use as opposed to

simply being a less effective alternative to breast milk products, Moving Defendants still had no

duty to warn of the nature of cow’s milk-based products under § 388 because medical providers

are not “supplying” a product to a patient within the stream of commerce.



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       29.      Plaintiffs’ failure to warn claim is similarly precluded to the extent that Plaintiffs

are alleging that Defendants, in providing medical care to Plaintiff-minor, failed to obtain Plaintiff-

parent’s consent to the use of cow’s milk-based products and failed to warn of the purported risks

and alternatives of such products.

       30.      The sole basis upon which Plaintiffs can proceed against Moving Defendants for

“failure to warn” in the context of providing medical care is to assert such a claim under a theory

of failure to obtain informed consent.

       31.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the
             patient’s authorized representative prior to conducting the following
             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.

             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and
             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

   40 P.S. §1303.504 (emphasis added).



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       32.     Since the use of infant formula in feeding premature infants is not a “procedure,”

there is no basis for Plaintiffs to contend that Plaintiff-parent’s consent was required for the use of

infant formula to feed her infant, including warning her of the risks or alternatives of same.

       33.     Further, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See Morgan v. MacPhail, 550 Pa. 202, 205 (1997).

       34.     Thus, a hospital cannot be held liable for a physician’s failure to obtain proper

informed consent. Valles v. Albert Einstein Medical Center, 805 A.2d 1232 (2002).

       B.      DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
               CARE PROVIDER

       35.     In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

       36.     Plaintiffs’ corporate liability claim fails based on the same rationale as the claim

for failure to warn, since both claims are based on the alleged failure to provide warnings to

patients related to the use of cow’s milk-based infant formula.

       37.     Infant formula is regulated by the FDA, and there is no legal restriction on the use

of cow’s milk-based products for feeding of premature infants.

       38.     Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

provide cow’s-milk based products to low birth weight infants.




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        39.      Further, as discussed above, Plaintiffs cannot demonstrate that cow’s milk-based

formula is an unreasonably dangerous product.

        40.      Thus, there is no legal basis to contend that Moving Defendants can be held liable

pursuant to a theory of corporate liability for failing to prevent the use of cow’s milk-based

products in the feeding of premature infants in the hospital.

        41.      Additionally, Courts considering the application of the duties set forth in Thompson

have insisted on more than a simple finding of a negligent act by someone for whom the hospital

is purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

        42.      In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

              The Thompson theory of corporate liability will not be triggered every time
              something goes wrong in a hospital which harms a patient . . . To establish
              corporate negligence, a plaintiff must show more than an act of negligence by
              an individual for whom the hospital is responsible. Rather, Thompson requires
              a plaintiff to show that the hospital itself is breaching a duty and is somehow
              substandard…Thompson contemplates a kind of ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added).

        43.      Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

        44.      Accordingly, even if Plaintiffs could establish that the use of cow’s milk-based infant

formula was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-minor’s case herein, which has not been pleaded by Plaintiffs

considering the paucity of the allegations in the Complaint, such evidence cannot support a finding

of corporate liability.




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       45.     Additionally, even assuming Plaintiffs had a viable corporate negligence claim

against Pennsylvania Hospital, any such claim is precluded against the Trustees of the University

of Pennsylvania since it is not a hospital.

       46.     The Thompson holding has been extended to HMO’s and nursing home facilities,

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

       47.     However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       48.     There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

       49.     Indeed, the Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07.

       C.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
               SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       50.     Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.




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       51.     A plaintiff’s Complaint is required to provide a defendant with notice of what the

plaintiff’s claims are and the grounds upon which they rest, and the complaint must also formulate

the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).

       52.     Pennsylvania Rule of Civil Procedure 1019(a) provides that “the material facts on

which a cause of action or defense is based shall be stated in a concise and summary form.”

Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       53.     Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953). A plaintiff’s Complaint must set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.

Perrige, 71 Pa. D. & C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.

& C.2d 713, 714 (Pa. Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more

than a generalized averment under which any injuries whatever could be proved at the trial.

Defendant would have no knowledge in advance of the trial of what they are.”)
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        54.     Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case.

        55.     Plaintiffs’ description of the material facts relating to the minor’s care and

treatment, diagnosis and injuries is limited to four paragraphs, which are utterly insufficient to

enable defendants to prepare their defenses. See Exhibit “A,” ¶¶ 11-14.

        56.     Plaintiffs aver that the minor was born prematurely but do not identify the

gestational age at which the child was born or his birth weight. Plaintiffs’ allegation that “upon

information and belief,” the minor was fed Similac and/or Enfamil shortly after his birth (Id. at ¶

12) does not comply with the fact-pleading requirements of Rule 1019(a), since such allegations

do not provide defendants with appropriate notice of the facts as to whether the minor actually

ingested cow’s milk-based products.

        57.     Further, plaintiffs have failed to identify which of the numerous products sold by

Abbott and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

Id. at ¶¶ 37-38.

        58.     Plaintiffs’ Complaint further fails to provide a description of the material facts as

to the period of time in which such products were ingested, when the minor was allegedly

diagnosed with NEC and what treatment was provided for that condition.

        59.     The Complaint further fails to state the nature of the injuries and “long-term health

effects” that are alleged to have resulted from the diagnosis of NEC.

        60.     Plaintiffs’ damages claim is not stated with particularity, is amorphous, vague, and

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.




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       61.     These omissions are fatal defects in Plaintiff’s Complaint. Therefore, Plaintiffs’

Complaint should be stricken in its entirety.

       D.      MOTION TO           STRIKE       PLAINTIFFS’       CLAIMS       FOR     PUNITIVE
               DAMAGES

       62.     In the Ad Damnum clauses of Counts VI and VII of the Complaint, Plaintiffs make

baseless accusations that Moving Defendants engaged in oppressive, reckless, malicious and/or

fraudulent conduct that allegedly justify an award of punitive damages. See Exhibit “A,” pp. 38,

46.

       63.     However, the Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants.

       64.     Rather, Plaintiffs merely allege that “upon information and belief” J.C. may have

been given a cow’s milk-based infant formula following birth, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in J.C.’s medical care and

condition following birth.

       65.     For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers regarding the purported use of cow’s milk-based products.

       66.     Plaintiff’s allegations of oppressive, malicious and similar conduct must be rejected

as mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula

in care of low birth weight infants, with no restriction as to the use of cow’s milk-based products

for such infants.

       67.     Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants




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engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula.

        68.    Absent specific factual allegations to justify the claim that the use of infant formula

in J.C.’s case was extreme and outrageous, there is no basis for an award of punitive damages in

this case.

        69.     Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

        70.    Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsylvania Supreme Court decisions establish that “punitive damages are an

‘extreme remedy’ available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584

Pa. 179, 188, 883 A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to

heap an additional punishment on a defendant who is found to have acted in a fashion which is

particularly egregious.” Wagner at *12.

        71.    Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.

Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).




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        72.       Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:

        (a)     Award. -- Punitive damages may be awarded for conduct that is the result
        of the health care provider’s willful or wanton conduct or reckless indifference to
        the rights of others. In assessing punitive damages, the trier of fact can properly
        consider the character of the health care provider’s act, the nature and extent of the
        harm to the patient that the health care provider caused or intended to cause and the
        wealth of the health care provider.

        (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
        support an award of punitive damages.

40 P.S. §1303.505.

        73.       The Supreme Court has made clear that when assessing the propriety of the

imposition of punitive damages, “the state of mind of the actor is vital. The act or failure to act,

must be intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

        74.       Thus, “a punitive damages claim must be supported by evidence sufficient to

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

that risk.” Id.

        75.       Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not

recoverable in malpractice actions unless the medical provider’s deviation from the applicable

standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.



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       76.     Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries

or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

that “the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

that an award of punitive damages was warranted.”) (emphasis added); Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an

infectious disease consult constituted “nothing more than ordinary negligence and are insufficient

to support an award of punitive damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was

stillborn and holding that “[i]t is not the outcome of the alleged negligence that is of consideration,

but rather the alleged conduct of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that

plaintiffs were not “capable of pleading the requisite behavior” for an award of punitive damages

where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).

       77.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd



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Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       78.     The facts underlying Plaintiffs’ bare assertions of reckless, outrageous or similar

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.

       79.     Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)    Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that



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       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).

       80.     Plaintiffs allege in this action that unidentified “staff” fed J.C. Similac and/or

Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent of the

alleged risks of such products. See Exhibit “A,” ¶ 12.

       81.     Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001);

Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       82.     In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       83.     For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E.      MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

       84.     Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of J.C.

       85.     Plaintiffs’ Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-parent “suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly altered by the Injured Infant’s

injuries.” See Exhibit “A,” ¶¶ 126, 139 and 147.




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       86.       However, no specific cause of action is asserted as to any damages sought by behalf

of Plaintiff-parent, who is not alleged in the Complaint to have suffered any physical injuries as a

result of the alleged negligent conduct of Moving Defendants. For this reason, Plaintiff-parent’s

claim should be dismissed.

       87.       Further, even if Plaintiff-parent had properly articulated a cause of action in the

Complaint to allow her to recover damages in her own right, the Complaint should be stricken

pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       88.       Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein.

Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint,

specifically identifying the cause of action asserted and relief sought in each count.

       89.       Additionally, although the statute of limitations for claims asserted on behalf of

minors are tolled until the age of majority, Plaintiff-parent’s claims were not similarly tolled and

were required to have been brought within two years of the alleged injury. See Hathi v. Krewstown

Park Apts, 561 A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.

       90.       Plaintiffs allege that J.C. was born on October 6, 2014, was fed the Defendant

manufacturers’ products shortly after his birth, and developed NEC shortly thereafter. See Exhibit

“A,” ¶¶ 11-13.

       91.       Thus, since the Complaint herein was filed on March 24, 2022, Plaintiff-parent’s

claims herein are clearly time-barred based on the applicable statute of limitations.




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        F.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
                COMPLY WITH Pa.R.C.P. 1024

        92.     Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every

pleading containing a factual averment based upon the signer’s personal knowledge or information

and belief.

        93.     Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

        94.     In this case, Plaintiffs’ counsel signed the verification for the Complaint, in

violation of Rule 1024. See Exhibit “A.”

        95.     Accordingly, the Complaint should be stricken for lack of an appropriate

verification.

        WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.



                                              BURNS WHITE LLC


                                        BY:
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 Holli Carter, on her own behalf and as Parent and Natural     COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                     PHILADELPHIA COUNTY

                        Plaintiff                              CIVIL DIVISION

 v.                                                            MARCH TERM, 2022
                                                               NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
     PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY
               OF PENNSYLVANIA TO PLAINTIFFS’ COMPLAINT

I.      MATTER BEFORE THE COURT

        Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System (“Pennsylvania Hospital”) and The Trustees of the University of

Pennsylvania to Plaintiffs’ Complaint.

        While patently obvious that Plaintiffs’ Complaint must be dismissed for clear and

important violations of the procedural requirements governing pleadings and verification of the

accuracy of the factual averments of the Complaint (there are not separate counts identified for the

causes of action of each of the Plaintiffs attempts to allege), most of which are averred “upon

information and belief,” the substance of Plaintiffs’ allegations do not support any legally
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recognized cause of action against Moving Defendants, under Pennsylvania law. Our procedural

rules do not permit a plaintiff to simply identify allegedly tortious conduct by a defendant without

pleading the necessary facts to satisfy the elements of the tortious conduct.

       Here, Plaintiffs plead that Moving Defendants permitted Co-Defendants’ cow’s milk-based

infant formula to be fed to prematurely born infants, which allegedly caused those infants to

develop necrotizing enterocolitis (“NEC”). Plaintiffs then plead themselves out of Court by

attempting to support a “failure to warn” claim by referencing various articles that, as pleaded and

for purposes of these Preliminary Objections accepted as true, do not support the contention that

cow’s milk-based infant formulas cause NEC. Thus, distinct from the Complaint’s procedural

shortcomings, Plaintiffs have failed to plead facts that support the “failure to warn” and corporate

liability causes of action that they attempt to assert against Moving Defendants. It is further

noteworthy that there is no viable “failure to warn” cause of action that is recognized under

Pennsylvania law against Moving Defendants, as explained in this submission by Moving

Defendants.

II.    STATEMENT OF QUESTIONS PRESENTED

       1.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Complaint

“Failure to Warn” cause of action with prejudice because Plaintiffs’ Complaint does not support

the claim that cow’s milk-based products are unreasonably dangerous and Moving Defendants

cannot be held liable for negligent failure to warn on the basis that they are a supplier of such

products?

       Suggested answer in the affirmative.

       2.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Complaint

“Failure to Warn” cause of action with prejudice because it improperly alleges that Moving



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Defendants were required to obtain Plaintiff-parent’s informed consent to use of cow’s milk-based

products for feeding of Plaintiff-minor and warn her of the risks and/or alternatives of same?

       Suggested answer in the affirmative.

       3.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Complaint

“Corporate Negligence” cause of action with prejudice because Moving Defendants cannot be held

liable on such a theory for a product which is regulated by the FDA and which is not precluded for

use in premature or low birth weight infants, and where a hospital cannot be held liable for

corporate negligence based on the alleged negligence of an individual health care provider?

       Suggested answer in the affirmative.

       4.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Complaint

“Corporate Negligence” cause of action with prejudice as to the Trustees of the University of

Pennsylvania since it is not a hospital and because corporate negligence duties are non-delegable?

       Suggested answer in the affirmative.

       5.      Whether this Honorable Court should strike Plaintiffs’ Complaint in its entirety for

insufficient specificity of the facts and alleged injuries?

       Suggested answer in the affirmative.

       6.      Whether this Honorable Court should strike Plaintiffs’ claims for punitive damages

as to Moving Defendants because the Complaint fails to plead facts providing a basis for an award

of punitive damages?

       Suggested answer in the affirmative.

       7.      Whether this Honorable Court should strike Plaintiff-parent’s claims for failure to

state a cause of action, and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020

and based on the applicable statute of limitations?



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         Suggested answer in the affirmative.

         8.      Whether this Honorable Court should strike Plaintiffs’ Complaint for failure to

provide a client verification as required by Pa.R.C.P. 1024?

         Suggested answer in the affirmative.

III.     INTRODUCTION AND FACTUAL BACKGROUND

         Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s milk-

based products by premature infants in the hospital following their birth. 1 Plaintiffs allege that the

Plaintiff-minors, including J.C., were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See Plaintiffs’

Complaint, attached as Exhibit “A” at ¶ 13. Plaintiffs aver that premature infants fed with their

mother’s breast milk or donor breast milk are at decreased risk of developing NEC as compared

with infants given cow’s milk-based products (infant formula). Many of the allegations of the

Complaint are pleaded “upon information and belief,” including the allegations that Plaintiff-

minors received infant formula and that they developed NEC shortly after being fed with infant

formula.

         In addition to asserting product liability claims against the infant formula manufacturers

Mead Johnson & Company, LLC, Mead Johnson Nutritional Company (collectively referred to as

“Mead Johnson”) and Abbott Laboratories (“Abbott”)2, Plaintiffs have alleged that Moving

Defendants are liable based on theories of failure to warn and corporate liability. See Plaintiff’s




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
 Mead Johnson and Abbott have been the subject of similar lawsuits in other states, including Connecticut, Illinois
and California.

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Complaint, attached as Exhibit “A” at Counts VI and VII. As is discussed in detail below,

Plaintiffs’ claims against Moving Defendants are legally and factually deficient.

         Although Plaintiffs aver that NEC is caused by cow’s milk-based products, Plaintiffs refer

in their Complaint to research studies and reports that, as alleged by Plaintiffs, indicate only that

NEC is more common in premature and low birth weight infants fed with cow’s milk-based

products as compared with similar infants fed with breast milk. See Exhibit “A,” ¶¶ 17-23. As

discussed in detail supra, assuming the truth of the factual allegations stated in Plaintiffs’

Complaint, the research studies cited by Plaintiffs do not support the conclusion that NEC is caused

by cow’s milk-based products. As such, there is no basis to contend that cow’s milk-based products

are dangerous for premature infants, such that Moving Defendants had a duty to warn Plaintiff-

parents of any risks or alternatives related to infant formula.

         Plaintiffs’ Complaint provides scant information regarding the factual background of this

case. Plaintiffs aver that J.C. was born prematurely on October 6, 2014 and that “upon information

and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at Pennsylvania

Hospital from shortly after his birth.” Id., ¶¶ 11-12. Plaintiffs further allege that “upon information

and belief” J.C. developed NEC shortly after first ingesting the Defendant manufacturers’

products. Id., ¶ 13. No details are provided regarding the extent of her prematurity, his birth weight,

or his condition following birth other than that he developed NEC on an unidentified date. Further,

no facts are provided by Plaintiffs as to any medical care J.C. received for what period of time J.C.

allegedly ingested cow’s milk-based products, and which product(s) he allegedly ingested. 3




3
  Plaintiffs aver that Abbott sells at least seven types of products directed to preterm and/or low birth weight infants,
six of which use the name Similac, and that Mead Johnson sells eight types of infant formulas using the Enfamil
brand name. Id., ¶¶ 37-38.

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Finally, the Complaint is silent as to the nature and extent of J.C.’s alleged injuries other than a

vague reference to “long term health effects.” Id. ¶ 14.

       Further, the Complaint does not provide any details whatsoever regarding communications

between Plaintiff-parent and medical providers at Pennsylvania Hospital regarding the allegations

that J.C. may have been fed with Mead Johnson and/or Abbott cow’s milk-based products in the

hospital. Plaintiffs conceded in the Complaint that mothers are encouraged by their healthcare

professionals to breastfeed. Id. ¶ 41. However, Plaintiffs do not provide any information regarding

discussions between Plaintiff-parent and any health care providers at Pennsylvania Hospital related

to breastfeeding and/or using cow’s milk-based products in this case, including whether or not she

was encouraged to breastfeed and/or was unable or declined to do so. As noted, Plaintiffs plead

that Plaintiff Minor ingested formula “on information and belief” only, and similarly plead “on

information and belief” that Plaintiff Minor developed NEC as a result.

       Plaintiffs further fail to disclose in their Complaint that infant formula is regulated by the

United States Food and Drug Administration (FDA) and that there is no restriction on the use of

cow’s milk-based products for premature infants. The federal Infant Formula Act of 1980 (“IFA”)

was enacted “to assure the safety and nutrition of infant formulas.” Pub. L. No. 96-359, 94 Stat.

1190. The IFA and its implementing regulations outline the requirements that infant formula must

meet, including how infant formula is made, its contents and ingredients, and the labels used on its

packages. 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07. The IFA provides that infant formulas may only

contain “substances that are safe and suitable for use in infant formula.” 21 C.F.R. § 106.40(a).

Neither the IFA nor the regulations exclude cow milk as an ingredient, and many infant formulas

for sale include cow milk. (Exhibit “A,” ¶¶ 37-38); 21 C.F.R. § 106.3 (“infant formula” is a “food

for infants by reason of its simulation of human milk”) (emphasis added). 21 U.S.C. § 350a; 21



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C.F.R. §§ 107.50. Before selling any “new infant formula,” a manufacturer must (1) register with

the FDA, and (2) submit a notice to the FDA at least 90 days before marketing such formula. The

notice must also state that the formula contains the required vitamins and nutrients, as

demonstrated by testing. 21 U.S.C. § 350a(b). These same FDA review procedures apply when a

manufacturer makes a “major change” to an existing formula. 21 U.S.C. § 350a(c)(2)(B); 21 C.F.R.

§ 106.3.

       Further, the FDA recognizes that certain infant formulas are intended for low birth weight

babies (such as infants born prematurely) or infants with unusual medical or dietary problems.

Indeed, such formulas have special review requirements. 21 U.S.C. § 350a(h); 21 C.F.R. §

107.50(a). For those formulas – known as “exempt” formulas because they may be exempted from

certain requirements – the required 90-day notice must include “the label and other labeling of the

infant formula, a complete quantitative formulation for the infant formula, and a detailed

description of the medical conditions for which the infant formula is represented.” 21 C.F.R. §

107.50(b)(3). As with other formulas, the regulations do not exclude cow milk as an ingredient for

infant formulas intended for use by an infant with a low birth weight.

       Thus, since Plaintiffs do not allege that the product did not meet federal requirements, there

is no basis for any claim that the product is unreasonably dangerous and/or should not be given

under any circumstances to premature or low birth weight infants.




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IV.    ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

                1. Moving Defendants Cannot Be Held Liable to Plaintiffs Based on a Theory
                   of Failure to Warn Because the Infant Formula is Not Unreasonably
                   Dangerous

        Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997).

        Plaintiffs allege in Count VI of the Complaint that Moving Defendants, “as purchaser,

supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and the public

a duty to provide products that were free of unreasonable risk of harm. Plaintiffs’ theory against

Moving Defendants is that they were aware cow’s milk-based products manufactured by Mead

Johnson and Abbott cause NEC in premature and low birth weight infants and negligently failed

to warn the parents of those infants of this danger. In support of this theory, Plaintiffs cite to five

studies comparing cow’s milk-based products to breast milk, a Surgeon General report on the

subject, and a statement by the American Academy of Pediatrics. Taking these facts as pleaded by

Plaintiffs as true, Plaintiffs have failed to state a claim for negligent failure to warn against Moving

Defendants as they have failed to demonstrate the products in question are indeed unreasonably

dangerous. Further, to the extent the product at issue was provided in the context of medical care,

rather than commerce, there can be no claim against Moving Defendants for a product-liability

based theory of failure to warn.




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       “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a claim

of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp., 596 A.2d

845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

           One who supplies directly or through a third person a chattel for another to
           use is subject to liability to those whom the supplier should expect to use
           the chattel with the consent of the other or to be endangered by its probable
           use, for physical harm caused by the use of the chattel in the manner for
           which and by a person for whose use it is supplied, if the supplier

           (a) knows or has reason to know that the chattel is or is likely to be
               dangerous for the use for which it is supplied, and

           (b) has no reason to believe that those for whose use the chattel is supplied
               will realize its dangerous condition, and

           (c) fails to exercise reasonable care to inform them of its dangerous
           condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388. To survive preliminary objections, Plaintiffs must aver

sufficient facts, together with the documents and exhibits attached thereto, to make out a prima

facie case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co.,

130 A.3d 19, 35 (Pa. Super. 2015).

       “The threshold inquiry in all products liability cases is whether there is a defect which

rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc., 718

A.2d 305, 307 (Pa. Super. 1998). “A product is defective when it is not safe for its intended use,

i.e., the product left the supplier's control lacking any element necessary to make it safe for its

intended use.” Id. At 308. Whether a product is “unreasonably dangerous” is a question of law. Id.

Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use, triggering Moving

Defendants’ duty to warn. They have not done so as the studies they cite in their Complaint do not




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say – based on the very allegations in the Complaint - what Plaintiffs claim they do. Therefore,

Moving Defendants had no corresponding duty to warn.

         At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-weight

infants are especially susceptible to NEC.” See Exhibit “A” at ¶ 16 (emphasis added). Following

this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding products

cause NEC in preterm and low birth weight infants – and that “[e]xtensive scientific research,

including numerous randomized controlled trials” confirm this claim. Id. Admittedly, if a product

directly causes NEC in preterm and low birth weight infants, that product would certainly be

dangerous. However, reviewing the portions of the research and trials cited by Plaintiffs in their

Complaint belie their core claim.4

         The first study cited by Plaintiffs states, according to the Complaint, that “NEC was six to

ten times more common in exclusively cow’s milk formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

and breast milk.” Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants fed

cow’s milk-based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus, Plaintiffs’ first study does not state

cow’s milk-based feeding products causes NEC.

         As averred in the Complaint, the second study cited by Plaintiffs states that “preterm babies

fed an exclusive breast milk-based diet were 90% less likely to develop surgical NEC compared

to preterm babies fed a diet that included some cow’s milk-based products.” Id. at ¶ 18. To state


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  To the extent Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based products increased the risk of NEC
in preterm and low-birth-weight infants, they still fail to plead sufficient facts to support this claim. The portions of
the studies relied upon by Plaintiffs, taken as true at this juncture, show only that NEC can be more common in
preterm and low-birth-weight infants fed cow’s milk-based products than in those fed breast or donor milk. These
studies do not show the cow’s milk-based products caused any increase in risk. To the extent Plaintiffs’ state the
studies do reflect an increased risk of NEC in the infants, this is a legal conclusion without factual basis, which is
impermissible under Pa. R. Civ. P. 1019 (see discussion supra at p. 19).

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that preterm infants fed only breast milk are less likely to develop a form of NEC is to admit that

NEC still develops in preterm infants regardless of the diet. Thus, Plaintiffs’ second study

likewise does not state that cow’s milk-based feeding products cause NEC.

       The third study cited by Plaintiffs concluded, per the Complaint, “fortification of breast

milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk of NEC and a 5.1-fold

increased risk of surgical NEC or death compared to fortification with a breast milk-based

fortifier.” Id. at ¶ 19. As Plaintiffs admitted in the Complaint, preterm and low-weight-birth infants

are especially susceptible to NEC. Put another way, these infants are already at an increased

risk of NEC regardless of their diet. This study, as described in Plaintiffs’ Complaint, reflects

this in explaining different rates of risk of developing NEC when using cow’s milk-based or breast

milk-based fortifiers. What the study does not state, as alleged in the Complaint, is that cow’s

milk-based fortifiers cause NEC.

       The Surgeon General report cited by Plaintiffs is alleged in the Complaint to reiterate the

principle made in the prior three studies and states that “formula feeding is associated with higher

rates” of NEC in preterm infants and that “premature infants who are not breastfed are 138% more

likely to develop NEC." Id. at ¶ 20 (emphasis added). If cow’s milk-based formula caused NEC

as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead, the Surgeon

General report, as described in Plaintiffs’ Complaint at ¶ 20, makes the same acknowledgment as

Plaintiffs – that preterm infants are highly susceptible to NEC regardless of their diet, and that

NEC occurs in different rates in preterm infants fed cow’s milk-based products and breast milk.

The report does not state that the former causes NEC.

       According to the Complaint, the American Academy of Pediatrics makes a nearly identical

statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a recommendation that



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“all premature infants should be fed either their mother’s milk or, if their mother’s milk is

unavailable, pasteurized donor milk,” which recommendation is alleged to be related in part to

“lower rates… of NEC.” Id. This statement acknowledges that NEC still occurs in preterm infants

fed only breast milk, but simply at a lower rate. According to the Complaint, the Academy does

not state that cow’s milk-based feeding products cause NEC.

       The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint, a study “found that premature and low-birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.”

In another study, as alleged in the Complaint, “babies given exclusively breast milk products

suffered NEC 5% of the time,” whereas “babies given cow’s milk products suffered NEC 17% of

the time.” Id. at ¶ 22-23. Once again, these studies, based on the allegations in Plaintiffs’

Complaint, do not state that cow’s milk-based formula causes NEC.

       Ultimately, Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based feeding

products cause NEC and are therefore unreasonably dangerous rests upon the notion that

correlation equals causation. The numerous studies and reports cited by Plaintiffs in their

Complaint purportedly show higher rates of NEC in preterm and low birth weight infants fed cow’s

milk-based diets than those fed breast milk, but this data exists in a world where Plaintiffs admit

these infants are at a high risk of developing NEC regardless of diet. All that Plaintiffs’ Complaint

demonstrates, as pleaded under these facts, is that breast milk may be better at reducing that already

high risk of NEC in these infants than cow’s milk-based alternatives. This proposition does not

make the Defendant Manufacturers’ cow’s milk-based alternatives unreasonably dangerous within




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the meaning of § 388 of the Restatement (Second) of Torts and, accordingly, does not trigger a

duty to warn on the part of Moving Defendants.

               2. Moving Defendants Are Not a “Supplier” and, Therefore, Cannot Be Held
                  Liable for Negligent Failure to Warn

       Assuming arguendo that the Defendant Manufacturers’ cow’s milk-based feeding products

can be seen as dangerous for their intended use as opposed to simply being a less effective

alternative to breast milk products, Moving Defendants still had no duty to warn of the nature of

cow’s milk-based products under § 388 because they are not considered a supplier of cow’s milk-

based feeding products. Plaintiffs cite to no caselaw in Pennsylvania holding that a hospital is

considered a supplier under § 388. Indeed, extensive research into this topic turns up no prior

decisions where a Pennsylvania court has found a hospital to be a supplier in a products liability

case for negligent failure to warn.

       To determine a hospital may be defined as supplier of products ancillary to and following

medical services within the meaning of § 388 would be to impose on the hospital a duty to warn

about every conceivable object a patient may encounter in a hospital, right down to the napkins

available in the hospital cafeteria. Imposing such a duty does nothing to advance the purpose of

products liability law, i.e. to protect consumers from dangerous products in the stream of

commerce. Moving Defendants are not in the best position to determine what products are

available in the market for premature and low weight birth infants. In light of this, Plaintiffs have

not sufficiently pleaded that Moving Defendants are a supplier under § 388.

       For the foregoing reasons, Plaintiffs have not pleaded sufficient facts to aver the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use and thus have not

established Moving Defendants had a duty to warn. Alternatively, even if the products at issue

here can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts

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that Moving Defendants are a supplier of products that are ancillary to the medical services

provided to Plaintiffs. Accordingly, it is respectfully requested this Court sustain Moving

Defendants’ Preliminary Objections to Count VI: Failure to Warn of Plaintiffs’ Complaint.

               3. There is no Legal Basis for Plaintiffs to Present an Informed Consent
                  Claim Regarding the Use of Cow’s milk-based products

       Plaintiffs’ failure to warn claim is couched in language of product liability related to

Moving Defendants’ alleged duty “as a purchaser, supplier and/or distributor” to provide a product

(cow’s milk-based infant formula) that was free of unreasonable risk of harm to consumers

(parents and their premature infants). This theory fails for the reasons stated above. However, to

the extent that Plaintiffs are alleging that Moving Defendants, in providing medical care to

Plaintiff-minor, failed to obtain Plaintiff-parent’s consent to the use of cow’s milk-based products

and failed to warn of the purported risks and alternatives of such products, such a claim is also

clearly precluded by Pennsylvania law.

       Plaintiffs broadly allege that Moving Defendants failed to warn of the alleged dangers of

cow’s milk-based products and provide them with information necessary “to make an informed

choice about whether to allow their baby to be fed the Defendant Manufacturers’ products.” See

Exhibit “A” at ¶ 121. This purported failure to warn/inform allegedly led Plaintiff-minor to be fed

a cow’s milk-based product that Plaintiffs’ contend caused and/or increased the risk of NEC. Id.

at ¶ 125. The sole basis upon which Plaintiffs can proceed against Moving Defendants for “failure

to warn” in the context of providing medical care is to assert such a claim under a theory of failure

to obtain informed consent. Plaintiffs are impliedly asserting that Moving Defendants failed to

obtain Plaintiff-parent’s informed consent as to whether she should use cow’s milk-based infant

formula to feed her child as opposed to breastfeeding or using breast donor milk, based on the




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alleged risks of cow’s milk-based products. However, such a claim is not cognizable under

Pennsylvania law.

       Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:

           (a) Duty of Physicians.--Except in emergencies, a physician owes a
           duty to a patient to obtain the informed consent of the patient or the
           patient’s authorized representative prior to conducting the following
           procedures:

               (1) Performing surgery, including the related administration of
               anesthesia.

               (2) Administering radiation or chemotherapy.

               (3) Administering a blood transfusion.

               (4) Inserting a surgical device or appliance.

               (5) Administering an experimental medication, using an
               experimental device or using an approved medication or device in
               an experimental manner.

               (b) Description of procedure.--Consent is informed if the patient has
               been given a description of a procedure set forth in subsection (a)
               and the risks and alternatives that a reasonably prudent patient
               would require to make an informed decision as to that procedure.
               The physician shall be entitled to present evidence of the description
               of that procedure and those risks and alternatives that a physician
               acting in accordance with accepted standards of medical practice
               would provide.

40 P.S. §1303.504 (emphasis added).

       The clear language of the statute above reveals two significant tenets. The first is that the

informed consent statute does not apply to the use of infant formula in feeding premature infants,

since that is not a “procedure.” Thus, there is no basis for Plaintiffs to contend that Plaintiff-

parent’s consent was required for the use of infant formula to feed her infant, including warning

her of the risks or alternatives of same. Second, the informed consent statute only applies to

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physicians, not hospitals, in the context of medical procedures. See Morgan v. MacPhail, 550 Pa.

202, 205 (1997).

       Informed consent has not been extended to any type of therapeutic treatment involving an

ingestible therapeutic drug, which the court defined as “an ongoing treatment upon examination

by the treating physician, where any change of condition can be diagnosed and controlled.” Boyer

v. Smith, 345 Pa. Super. 66, 71, 497 A.2d 646, 648 (1985). The Superior Court ruled that the

informed consent doctrine is premised upon the legal theory that the performance of a medical

procedure without a patient's informed consent constitutes a technical assault or battery and that

merely prescribing an oral medication does not involve a touching so not battery can occur and no

informed consent is needed. Id. at 649. The same principles clearly apply to administration of

infant formula to a newborn.

       Further, an informed consent claim is only applicable to a physician and not the hospital

and/or other health care entities. See 40 P.S. § 1303.504; see also Kelly v. Methodist Hosp., 664

A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who performs the operation

on the patient has the duty of obtaining his consent for the procedure). The Pennsylvania Supreme

Court has held that informed consent involves the relationship between a physician and the patient

and that the failure to obtain proper informed consent is deemed a battery, and the institution plays

no role in the communications involved in obtaining the same. See Valles v. Albert Einstein

Medical Center, 805 A.2d 1232 (2002). In Valles, the Court decisively ruled that:

       We find that a battery which results from a lack of informed consent is not the type
       of action that occurs within the scope of employment. In our view, a medical facility
       cannot maintain control over this aspect of the physician-patient relationship. Our
       lower courts have recognized that the duty to obtain informed consent belongs
       solely to the physician. (Citations omitted). Informed consent flows from the
       discussions each patient has with his physician, based on the facts and
       circumstances each case presents. We decline to interject an element of a hospital’s
       control into this highly individualized and dynamic relationship. We agree with the

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        lower court that to do so would be both improvident and unworkable. Thus, we
        hold that as a matter of law, a medical facility lacks the control over the manner in
        which the physician performs his duty to obtain informed consent so as to render
        the facility vicariously liable.

Id., 805 A.2d at 1239 (emphasis added). The Valles case remains the prevailing law in

Pennsylvania. Pennsylvania courts have repeatedly applied this doctrine, recognizing and

acknowledging that “[i]n a claim alleging lack of informed consent, it is the conduct of the

unauthorized procedure that constitutes the tort.” Isaac v. Jameson Mem. Hosp., 932 A.2d 924,

929 (Pa. Super. 2007) (citing Moure v. Raeuchle, 604 A.2d 1003, 1008 (Pa. Super. 1992). Further,

“[g]iven the unique nature of the doctrine and its origins as a technical battery, hospitals cannot be

held vicariously liable for a physician’s failure to obtain informed consent because ‘a medical

facility cannot maintain control over this aspect of the physician-patient relationship.’” Isaac, 932

A.2d at 930. As such, it is clear that the instant cause of action cannot be sustained against Moving

Defendants as a matter of law.

        B. DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
           CARE PROVIDER

                1. Moving Defendants Cannot be Held Liable for Corporate Negligence
                   Regarding a Food Product Which is Permitted for its Intended Use
                   Pursuant to Federal Law

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.



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        Plaintiffs’ corporate liability claim fails based on the same rationale as the claim for failure

to warn. Both claims are based on the alleged failure to provide warnings to patients related to the

use of cow’s milk-based infant formula. As noted above, infant formula is regulated by the FDA,

and there is no legal restriction on the use of cow’s milk-based products for feeding of premature

infants. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to provide

cow’s-milk based products to low birth weight infants. Further, as discussed above, Plaintiffs

cannot demonstrate that cow’s milk-based formula is a dangerous product. Thus, there is no legal

basis to contend that Moving Defendants can be held liable pursuant to a theory of corporate

liability for failing to preclude the use of cow’s milk-based products in the feeding of premature

infants in the hospital.

        Additionally, Courts considering the application of the duties set forth in Thompson have

insisted on more than a simple finding of a negligent act by someone for whom the hospital is

purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In

considering whether the plaintiff could sustain corporate negligence claims based on these

allegations, the court analyzed the Thompson decision and delineated the standards required to

sustain such a claim:

               The Thompson theory of corporate liability will not be triggered every time
               something goes wrong in a hospital which harms a patient . . . To
               establish corporate negligence, a plaintiff must show more than an act of
               negligence by an individual for whom the hospital is responsible. Rather,
               Thompson requires a plaintiff to show that the hospital itself is breaching a
               duty and is somehow substandard…Thompson contemplates a kind of
               ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added). Thus, corporate liability requires “more than

individual acts of negligence.” Id. As noted by the court in Edwards, this reading of the Court’s

opinion in Thompson is the only way to logically construe its holding, as hospitals are already held

vicariously liable for the negligent acts of their employees and ostensible agents, while “Thompson
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requires a plaintiff to show that the hospital itself is breaching a duty and is somehow substandard.”

Id. at 1387; see also MacDonald v. Chestnut Hill Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa.

C.P. 2005) (granting nonsuit to the hospital defendant where “[t]here was no evidence that protocols

were routinely ignored to the detriment of patients or that the kind of systematic negligence on the

part of CHH required by the Edwards decision was present.”)

        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

the use of cow’s milk-based infant formula was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-minor’s case herein, which has not

been pleaded by Plaintiffs considering the paucity of the allegations in the Complaint, such evidence

cannot support a finding of corporate liability.

        For the reasons stated above, Count VII of Plaintiffs’ Complaint should be dismissed with

prejudice.

                2. Plaintiffs Are Precluded From Pursuing Corporate Negligence Claims as
                   to The Trustees of the University of Pennsylvania

        As noted infra, the Pennsylvania Supreme Court set forth certain nondelegable duties of

hospitals, which if violated may support a finding of corporate negligence. The Thompson holding

has been extended to HMO’s and nursing home facilities, where it was determined that such

entities performed similar functions as hospitals. See Shannon v. Health America Pennsylvania,

Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland Park Care Center, LLC, 57 A.3d 582

(Pa. 2012). However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

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& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       There is no legal basis for holding that the purported corporate parent of a hospital can be

held liable under a theory of corporate negligence. The Trustees of the University of Pennsylvania

is not a hospital and cannot be held liable under a theory of corporate liability, regardless of its

relationship with Pennsylvania Hospital. Moreover, as Pennsylvania Courts have consistently

held, corporate negligence duties are “non-delegable,” i.e., only one entity can be held liable for a

breach of these duties. The Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07. Thus, even if a corporate negligence claim were permissible as to Pennsylvania

Hospital, which is denied for the reasons stated above, The Trustees of the University of

Pennsylvania, which is not a hospital, cannot also be exposed to liability for an alleged breach of

the same, non-delegable duties arising out of the same factual allegations. Accordingly, even

accepting as true all well pled facts in Plaintiffs’ Complaint, the corporate negligence claims as to

the non-hospital Defendant, the Trustees of the University of Pennsylvania, are legally insufficient

and must therefore be dismissed.

       C. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
          SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of

a motion to strike for insufficient specificity in a pleading. A plaintiff’s Complaint is required to

provide a defendant with notice of what the plaintiff’s claims are and the grounds upon which they

rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that

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“the material facts on which a cause of action or defense is based shall be stated in a concise and

summary form.” Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953). A plaintiff’s

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.

Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more than a generalized

averment under which any injuries whatever could be proved at the trial. Defendant would have

no knowledge in advance of the trial of what they are.”)

       Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the allegations

of the relevant facts and injuries at issue in this case. Plaintiffs’ description of the material facts

relating to the minor’s care and treatment, diagnosis and injuries is limited to four paragraphs,

which are utterly insufficient to enable defendants to prepare their defenses. See Exhibit “A,” ¶¶

11-14. Plaintiffs aver that the minor was born prematurely but do not identify the gestational age
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at which the child was born or his birth weight. Plaintiffs’ allegation that “upon information and

belief,” the minor was fed Similac and/or Enfamil shortly after his birth (Id. at ¶ 12) does not

comply with the fact-pleading requirements of Rule 1019(a), since such allegations do not provide

Moving Defendants with appropriate notice of the facts as to whether the minor actually ingested

cow’s milk-based products. Further, plaintiffs have failed to identify which of the numerous

products sold by Abbott and Mead Johnson under the Similac and Enfamil brand names were

ingested by the minor. Id. at ¶¶ 37-38. Plaintiffs’ Complaint further fails to provide a description

of the material facts as to the period of time in which such products were ingested, when the minor

was allegedly diagnosed with NEC and what treatment was provided for that condition.

        The Complaint further fails to state the nature of the injuries and “long-term health effects”

that are alleged to have resulted from the diagnosis of NEC. Plaintiffs’ damages claim is not stated

with particularity, is amorphous, vague, and open-ended. Pursuant to Pennsylvania pleading

requirements, Moving Defendants should not be compelled to defend a claim for which the

statement of injury is unspecified and subject to change.

        In short, Plaintiffs’ Complaint is inconsistent with the requirements of the Pennsylvania

Rules of Civil Procedure as to the necessary specificity for the description of the facts and alleged

injuries sustained. The facts in the Complaint are pleaded almost entirely “on information and

belief.” These omissions are fatal defects in Plaintiff’s Complaint. Therefore, Plaintiffs’ Complaint

should be stricken in its entirety.

        D. MOTION TO STRIKE PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

        As in the other infant formula cases, In the Ad Damnum clauses of Counts VI and VII of

the Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged in

oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of



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punitive damages. See Exhibit “A,” pp. 38, 46. However, the Complaint contains no specific

allegations of conduct that would permit recovery of punitive damages as to Moving Defendants.

Rather, Plaintiffs merely allege that “upon information and belief” J.C. may have been given a

cow’s milk-based infant formula following birth, absent any context to indicate that such an action

was inappropriate based on the specific issues involved in J.C.’s medical care and condition

following birth. For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers regarding the purported use of cow’s milk-based products.

       Plaintiff’s allegations of oppressive, malicious and similar conduct must be rejected as

mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula in

care of low birth weight infants, with no restriction as to the use of cow’s milk-based products for

such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least four

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula. Absent specific factual allegations to justify the claim that the use of

infant formula in J.C.’s case was extreme and outrageous, there is no basis for an award of punitive

damages in this case. Merely contending that punitive damages should be awarded with no

supporting factual justification requires dismissal of this claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania Supreme Court decisions establish that “punitive damages are an ‘extreme remedy’

available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.



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LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883

A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly

egregious.” Wagner at *12.

       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the

mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Specifically, with regard to punitive damages in the context of claims against health care

providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages only

to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
       of the health care provider’s willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly
       consider the character of the health care provider’s act, the nature and extent of the
       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of

punitive damages, “the state of mind of the actor is vital. The act or failure to act, must be

intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.



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Thus, “a punitive damages claim must be supported by evidence sufficient to establish that (1) a

defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

that (2) he acted, or failed to act, as the case may be, in conscious disregard of that risk.” Id.

        Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in

malpractice actions unless the medical provider’s deviation from the applicable standard of care is

so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.

        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

surgery that left the plaintiff with severe neurological defects, and noting that “the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

damages was warranted.”) (emphasis added); Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted

“nothing more than ordinary negligence and are insufficient to support an award of punitive

damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

negligence in the prenatal care of her child that led to the child was stillborn and holding that “[i]t

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct



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of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl. 1992) (sustaining preliminary objections and finding that plaintiffs were not “capable of

pleading the requisite behavior” for an award of punitive damages where a hospital allegedly failed

to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

       Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical




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insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       All of the cases in the paragraph above set forth examples of egregious conduct, completely

inapposite to the facts of the instant case. The facts underlying Plaintiffs’ bare assertions of

reckless, outrageous or similar behavior do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Even assuming the allegations

in the Complaint were true for the purposes of this argument only, the outcome in this case was

not the result of any intentional wrongdoing or deliberate misconduct on the part of Moving

Defendants or any medical provider at Pennsylvania Hospital, nor does the Complaint contain any

such allegations.

       Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c). Plaintiffs allege in this action that unidentified “staff” fed J.C. Similac

and/or Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent

of the alleged risks of such products. See Exhibit “A,” ¶ 12. Even if such actions were claimed to

be egregious or malicious such that punitive damages were permissible, which is denied for the

reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had actual

knowledge of the alleged wrongful conduct and nevertheless allowed it. See Zazzera v. Roche, 54

D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637

(Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any facts to suggest that Moving



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Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E. MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

               1. Plaintiff-Parent has Failed to State a Cause of Action

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of J.C. Plaintiffs’ Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-parent “suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly altered by the Injured Infant’s

injuries.” See Exhibit “A,” ¶¶ 126, 139 and 147. However, no specific cause of action is asserted

as to any damages sought by Plaintiff-parent in her own right, who is not alleged in the Complaint

to have suffered any physical injuries as a result of the alleged negligent conduct of Moving

Defendants. For this reason, Plaintiff-parent’s claim should be dismissed.

               2. Plaintiffs are Required to Plead Separate Claims Pursuant to
                  Pa.R.C.P. 1020

       Further, even if Plaintiff-parent had properly articulated a cause of action in the Complaint

to allow her to recover damages in her own right, the Complaint should be stricken pursuant to

Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both the

Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein. Claims on



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behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint, specifically

identifying the cause of action asserted and relief sought in each count.

               3. Plaintiff-Parent’s Claim Is Precluded Pursuant to the Statute of Limitations

       Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-parent’s claims were not similarly tolled and were required to have

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that J.C. was born on October 6, 2014,

was fed the Defendant manufacturers’ products shortly after his birth, and developed NEC shortly

thereafter. See Exhibit “A,” ¶¶ 11-13. Thus, since the Complaint herein was filed on March 24,

2022, Plaintiff-parent’s claims herein are clearly time-barred based on the applicable statute of

limitations.

       F. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
          COMPLY WITH Pa.R.C.P. 1024

       Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading

containing a factual averment based upon the signer’s personal knowledge or information and

belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

pleading. In this case, Plaintiffs’ counsel signed the verification for the Complaint, in violation of

Rule 1024. See Exhibit “A.” Accordingly, the Complaint should be stricken for lack of an

appropriate verification.




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V,     REQUESTED RELIEF

       For the foregoing reasons, Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                             BURNS WHITE LLC


                                       BY:
                                             JAMES A. YOUNG, ESQ.
                                             RICHARD S. MARGULIES, ESQ.
                                             Attorneys for Defendants,
                                             The Pennsylvania Hospital of the University of
                                             Pennsylvania Health System d/b/a Pennsylvania
                                             Hospital and The Trustees of the University of
                                             Pennsylvania d/b/a Penn Medicine




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                                 CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, do hereby certify that on this day I caused a true and

correct copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of

the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine to Plaintiff’s Complaint, to be served via the

electronic filing system to all counsel of record.




                                          BY:
                                                RICHARD S. MARGULIES, ESQ.


Dated: June , 2023
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                       EXHIBIT C
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                                                                             :   IN THE COURT OF COMMON PLEAS
 HOLLI CARTER, on her own behalf and as Parent                               :   PHILADELPHIA COUNTY
 and Natural Guardian of J.C., a Minor,                                      :
                                                                             :   CIVIL TRIAL DIVISION
                                              Plaintiff,                     :
                                                                             :   MARCH TERM 2022
             v.
                                                                             :   NO. 2588
                                                                             :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                                             :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                                             :
 LABORATORIES, THE TRUSTEES OF THE
                                                                             :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                                             :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                                             :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                                             :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                                             :
                                                                             :
                                               Defendants.
                                                                             :
                                                                             :
                                                                             :

                                           NOTICE TO PLEAD AND DEFEND

                               NOTICE                                                                 ADVISO
You have been sued in court. If you wish to defend against the     Le han demandado a used en la corte. Si usted quiere defenderse de estas
claims set forth in the following pages, you must take action      demandas expuestas en las paginas siguientes, usted tiene veinte (20) dias
within twenty (20) days after this complaint and notice are        de plazo al partir de la fecha de la demanda y la notificacion. Hace falta
served, by entering a written appearance personally or by          asentar una comparencia escrita o en persona o con un abogado y entregar a
attorney and filing in writing with the court your defenses or     la corte en forma escrita sus defensas o sus objeciones a las demandas en
objections to the claims set forth against you. You are warned     contra de su persona. Sea avisado que si usted no se defiende, la corte
that if you fail to do so the case may proceed without you and a   tomara medidas y puede continuar la demanda en contra suya sin previo
judgment may be entered against you by the court without           aviso o notificacion. Ademas, la corte pueda decidir a favor del
further notice for any money claimed in the complaint or for       demandante y requiere que usted cumpla con todas las provisiones de esta
any other claim or relief requested by the plaintiff. You may      demanda. Usted puede perder dinero o sus propiedades u otros derechos
lose money or property or other rights important to you.           importantes para usted.


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YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER     LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE, SI
AT ONCE. IF YOU DO NOT HAVE A LAWYER, GO TO   NO TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE
OR TELEPHONE THE OFFICE SET FORTH BELOW TO    PAGAR TAL SERVICIO, VAYA EN PERSONA O LLAME POR
FIND OUT WHERE YOU CAN GET LEGAL HELP.        TELEFONO A LA OFICINA CUYA DIRECCION SE ENCUENTRA
                                              ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE
              Lawyer Referral Service         CONSEGUIR ASISTENCIA LEGAL.
            Philadelphia Bar Association                        Lawyer Referral Service
            1101 Market Street, 11th Floor                    Philadelphia Bar Association
               Philadelphia, PA 19107                         1101 Market Street, 11th Floor
                   (215) 238-6338                                Philadelphia, PA 19107
                                                                     (215) 238-6338




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                                                    :   IN THE COURT OF COMMON PLEAS
 HOLLI CARTER, on her own behalf and as Parent      :   PHILADELPHIA COUNTY
 and Natural Guardian of J.C., a Minor,             :
                                                    :   CIVIL TRIAL DIVISION
                             Plaintiff,             :
                                                    :   MARCH TERM 2022
        v.
                                                    :   NO. 2588
                                                    :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                    :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                    :
 LABORATORIES, THE TRUSTEES OF THE
                                                    :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                    :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                    :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                    :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                    :
                                                    :
                              Defendants.
                                                    :
                                                    :
                                                    :


                             FIRST AMENDED COMPLAINT

       Plaintiff brings this Amended Complaint and Demand for Jury Trial (the “Amended

Complaint”) against Mead Johnson & Company, LLC, Mead Johnson Nutrition Company, and

Abbott Laboratories (collectively “the Defendant Manufacturers”), and The Trustees of the

University of Pennsylvania d/b/a Penn Medicine and Pennsylvania Hospital of the University of

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Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively “Penn Medicine” or

“Pennsylvania Hospital”), together “Defendants.” Plaintiff alleges the following upon personal

knowledge as to Plaintiff’s own acts and experiences and upon information and belief, including

investigation conducted by Plaintiff’s attorneys, as to all other matters.

                                    I.         INTRODUCTION

1.     This action arises out of the injuries suffered by a premature infant (the “Injured Infant”)

who was given the Defendant Manufacturers’ cow’s milk-based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant Manufacturers’ products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.         This caused the Injured Infant to

develop necrotizing enterocolitis (“NEC”), a life-altering and potentially deadly disease that

largely affects premature babies who are given cow’s milk-based feeding products.         As a result,

the Injured Infant was seriously injured, resulting in long term health effects and accompanying

harm to their parent (“the Plaintiff Parent”).

2.     Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant’s consumption of the Defendant Manufacturers’

unreasonably dangerous cow’s milk-based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                         II.     PARTIES

3.     Plaintiff Holli Carter is a natural adult person and a resident of New Jersey. Ms. Carter is

the parent and natural guardian of J.C., a minor. Ms. Carter’s address is 16 Carmen Drive, Cape

May Court House, New Jersey 08210-2563.



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4.      Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws

of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead

Johnson Nutrition Company and Mead Johnson & Company, LLC, (together, “Mead”) are

manufacturers of cow’s milk-based infant feeding products and market many of these products

under the “Enfamil” brand name.

5.      Defendant Abbott Laboratories (“Abbott”) is a corporation, incorporated under the laws of

the State of Illinois. Its principal place of business is in Illinois. Abbott is a manufacturer of cow’s

milk-based infant feeding products and markets many of its products under the “Similac” brand

name.

6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.               Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                              III.    JURISDICTION AND VENUE



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8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants

conduct authorized business in the Commonwealth of Pennsylvania.              They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

This suit arises out of Defendants’ forum-related activities, such that the Court of Common Pleas

of Philadelphia County’s exercise of jurisdiction would be consistent with traditional notions of

fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia

County, which is also the county where Plaintiff’s causes of action arose, and the county where

the occurrences took place out of which Plaintiff’s causes of action arose.

10.     This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.    FACTUAL ALLEGATIONS

                                       J.C.’s NEC Diagnosis

11.     J.C. was born prematurely at Pennsylvania Hospital in Philadelphia, Pennsylvania on

October 6, 2014.

12.     At birth, J.C.’s gestational age was approximately 24 weeks and he weighed 655 grams.

Upon information and belief, J.C. was fed Similac and/or Enfamil cow’s milk-based products

by staff at Pennsylvania Hospital after his birth.

13.     Upon information and belief, J.C. developed NEC after ingesting Defendant

Manufacturers’ products.



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14.    J.C.’s diagnosis of NEC occurred during his course of treatment at Defendant Hospital’s

NICU. J.C. suffered injuries, including but not limited to, a diagnosis of NEC, treatment with

antibiotics and blood transfusions, and suffers from neurological injuries, as well as other long-

term health effects.

                       Cow’s Milk-Based Feeding Products Are Known to Cause
                                               NEC

15.    NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

16.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow’s milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.

         Safer, Nutritionally Superior Alternatives to Cow’s Milk-Based Products Exist

17.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition. For example, in addition to the mother’s own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

18.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow’s milk-based products.

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19.    The Defendant Manufacturers’ products not only pose a threat to infants’ health, but also

displace the breast milk they could otherwise receive. This displacement only increases infants’

vulnerability to NEC.

20.    Breast milk-based nutrition nourishes infants while creating a significantly lower risk of

NEC.

21.    At the time the Injured Infant was fed the Defendant Manufacturers’ products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the

likelihood that a baby will develop NEC, leading to severe injury and often death.

22.    Despite the scientific consensus that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products’ packaging, guidelines,

instructions, or warnings.    Instead, they have continued to sell their unreasonably dangerous

products.   In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge. And, in fact,

the Defendant Manufacturers offer contracts to hospitals—which the hospitals accept—that

actually prevent the health care providers from offering alternative products—even safer ones—

on pain of risking the hospital’s advantageous formula pricing strategy.

                                 Ms. Carter Discovers Her Claim

23.    Because of the Defendants’ concealment and misrepresentations, described more fully

herein, Ms. Carter did not know, and had no reason to know or suspect, that J.C.’s NEC could have

been caused by the Defendant Manufacturers’ products.




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         Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and
                      Would Not Have Revealed a Factual Basis Earlier
                 Because Defendants Hid the Cause of NEC from Ms. Carter

24.     Despite exercising reasonable diligence, Ms. Carter was unable to have made the discovery

earlier via a reasonable investigation because the Defendants in this litigation concealed the

wrongful cause of J.C.’s injuries.

25.     Amidst the physical and emotional trauma of preterm childbirth, and having her child in

the neonatal intensive care unit, shortly after learning of J.C.’s NEC diagnosis, Ms. Carter

undertook an investigation into the cause of the NEC by asking the doctors the cause of his NEC.

26.     The health care providers at Penn Medicine responded only that J.C. had gotten NEC

because he was born premature. Penn Medicine’s response did not indicate that his NEC was

caused by the Defendant Manufacturers’ products.

27.     Not one person at Penn Medicine mentioned that the Defendant Manufacturers’ formula

products could have caused J.C.’s injuries. Penn Medicine’s response at the time did not give Ms.

Carter any reason to suspect any wrongdoing on the part of the Defendants.

28.     Ms. Carter is a layperson with no medical background or training that would have given

her any reason to doubt the response she received from her Penn Medicine health care providers

at the time.

29.     Given that Penn Medicine’s health care providers were in charge of the care of her newborn

infant, Ms. Carter had no reason to doubt their word.

30.     Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling or

packaging of any of the Defendant Manufacturers’ products.

31.     What is more, necrotizing enterocolitis is a disease that can occur in children who are not

fed the Defendant Manufacturers’ products, and the Defendant Manufacturers have worked to



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mislead parents into a false sense of security about the use of those products.                        Publicly

disseminated materials from each Defendant Manufacturer disguise the role their products play in

causing the disease—and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.

32.      For example, Abbott’s website stays that “[t]he specific cause of NEC is unknown, but it’s

most often seen in very low birth weight premature babies,” and that “about 10% of babies who

are born prematurely develop NEC.” The website suggests that “new preliminary studies” suggest

for the first time that “NEC prevention may . . . be possible” with the use of human milk

oligosaccharides to “dramatically curb intestinal inflammation” and reduce the risk of NEC.

Abbott states that these human milk oligosaccharides are found in “certain Similac formulas”

although they are “not currently available in Similac’s premature infant formulas.” 1 Likewise, the

website for Mead Johnson’s products states that necrotizing enterocolitis is “one of the most

common and serious intestinal disease[s] among premature babies.” And it deflects responsibility

from Mead Johnson’s products: “Necrotizing enterocolitis happens when tissue in the small or

large intestine is injured or inflamed.” 2

33.      Because of the misleading information distributed by the Defendant Manufacturers, as

further detailed in below, any research conducted by Ms. Carter immediately after J.C.’s diagnosis,

or at any time prior to seeing an advertisement, would not have led a reasonable person to suspect

that the Defendant Manufacturers’ products could have caused J.C.’s injuries.



1
 The Role of HMOs in Reducing NEC, https://www.nutritionnews.abbott/pregnancy-childhood/prenatal-
breastfeeding/the-promising-role-of-hmos-in-reducing-risk-of-nec/ (last visited July 28, 2023).

2
  Special Feeding Concerns for Preemies, https://www.enfamil.com/articles/special-feeding-concerns-for-preemies/
(last visited July 29, 2023).

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34.    Ms. Carter also did not know, and had no reason to know or suspect, that Penn Medicine

breached its duty of care by distributing the Defendant Manufacturers’ products to him. Not only

was Ms. Carter unaware that the Defendant Manufacturers’ products caused J.C.’s injuries and

death, but the Defendant Manufacturers’ distribution agreements with Penn Medicine—which

allowed Penn Medicine to secure sweetheart deals for otherwise expensive premature infant

formula in exchange for product placement and access to the hospital staff—were also not public

or knowable to Ms. Carter, nor could any reasonable investigation outside of litigation have

uncovered the terms of those agreements.

Despite Exercising Reasonable Diligence, the Defendants’ Fraudulently Concealed the Risks
 of NEC from Defendant Manufacturers’ Products to Divert, Prevent, and Mislead Plaintiff
                    Regarding the Cause of Her Child’s NEC Diagnosis

35.    In addition to the averments above, the Defendants have acted in concert to fraudulently

convey false and misleading information concerning the risk of NEC, and potentially death, caused

by Defendant Manufacturers’ preterm infant formula products.

36.    The Defendants’ actions as set forth herein constitute knowing misrepresentation,

omission, suppression, and concealment of material facts, made with the intent that Plaintiff would

rely upon such concealment, suppression, or omission, in connection with the use of Defendants’

preterm infant products.

37.    Plaintiff did not know, and could not learn, the truth concerning the uses, risks and benefits

of Defendant Manufacturers’ preterm infant products due to Defendants’ deliberate

misrepresentations and concealment, suppression and omission of material facts and important

information regarding the risks of NEC, and potentially death, from the products.

38.    Moreover, Defendant Hospital further participated in the intentional concealment—on

information and belief, it allowed the Defendant Manufacturers’ sales representatives into its



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hospital to provide samples and free products that did not warn of their serious dangers, and to

provide “education” to its NICU staff that was incomplete as to the true risks of feeding their

patients the Defendant Manufacturers’ products.

39.     Additionally, Defendant Hospital failed to inform Ms. Carter that the Defendant

Manufacturers’ products caused Plaintiff’s NEC, even when she directly asked the cause. As noted

above, after learning of Plaintiff’s NEC diagnosis, Ms. Carter was understandably concerned about

the degrading health of her newborn infant. As any concerned parent would do, Ms. Carter asked

Plaintiff’s health care providers at Defendant Hospital why a premature infant like J.C. was

suddenly diagnosed with a terrible disease like necrotizing enterocolitis; that is, she asked

Defendant Hospital what caused Plaintiff’s injury. But even though Defendant Hospital knew of

the increased risk of NEC from formula, it did not disclose that the formula provided to J.C. could

increase the risk of NEC to preterm infants, responding only that J.C. had gotten NEC solely

because he was born premature. Not one person at the NICU mentioned that the Defendant

Manufacturers’ formula products could have been the cause of Plaintiff’s injuries.

40.     Defendant Hospital was aware that the Defendant Manufacturers’ products caused NEC in

premature infants. Defendant Hospital was also aware that the Defendant Manufacturers did not

provide warnings on their products. However, Defendant Hospital did not warn Ms. Carter of the

risks of the products. Instead, and notwithstanding the sweetheart deal Defendant Hospital agreed

to in exchange for preterm infant formula at little to no cost, Defendant Hospital repeatedly

informed Ms. Carter that it would do everything it could possibly do to keep her infant safe.

Though this was clearly not true given the known risks of preterm formula for babies like J.C., it

was enough for Ms. Carter to trust that Defendant Hospital was providing preterm formula in the

best interest of her child.



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41.    Defendants’ affirmative acts of fraud and concealment, as averred herein, diverted,

prevented, and/or mislead Plaintiff from discovering the medical cause of her child’s NEC

diagnosis.

   The Defendant Manufacturers’ False and Misleading Marketing Regarding Cow’s Milk-
                                 Based Infant Products

42.     Abbott and Mead have aggressively marketed their cow’s milk-based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

Injured Infant’s birth.

43.    Abbott’s and Mead’s marketing approach includes targeting the parents of preterm infants

while they are still in the hospital with messages that the Defendant Manufacturers’ cow’s milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother’s

supply of breast milk. None of the Defendant Manufacturers’ marketing materials, including their

promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

44.     Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message.

45.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes (“the Code”), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

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46.    While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers’ aggressive marketing exploits new parents’ darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

47.     For example, Abbott’s website, on a paged titled “Infant Formula Marketing,” states: “We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recognize that for infants who aren’t

breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe

alternative to meet babies’ nutritional needs.” This statement ignores the existence of donor milk,

as well as human milk-based formula.

48.     Abbott markets and sells multiple products specifically targeting preterm and low-

birthweight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products’

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac NeoSure, Abbott noted: “Your premature baby didn’t

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help support her development.” Yet, no mention was made of the accompanying

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.



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49.    Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-edited webpage for Enfamil Enfacare stated: “Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants” and noted that Enfamil formulas include “expert-recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and

eye development.”

50.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil’s formula to breast milk, without any mention

of the product’s extreme risks. Indeed, the terms “human milk” and “breast milk” are used 13 times

in the advertisement, including in such statements as “for decades human milk has inspired the

advancements in Enfamil formulas and now through extensive global research, we are taking an

even closer look at human milk” and “only Enfamil NeuroPro has a fat blend of MFGM and DHA

previously found only in breast milk.” The webpage for the product has made similar manipulative

claims, stating “Enfamil is backed by decades of breast milk research and multiple clinical studies”

and it claims that “to create our best formulas, we collaborated on some of the most extensive

breast milk studies to date[.]”

51.    Formula manufacturers have long used their relationships with hospitals and the discharge


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process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,

and even entire gift baskets to parents before their infants’ discharge from the NICU or hospital.

52.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a “medical blessing,” in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant Manufacturers’ giveaways and

gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

53.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called “Similac Human Milk Fortifier,” and Mead developed “Enfamil Human Milk Fortifier.”

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow’s milk-based products. The packaging appears as:




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54.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that: (1) cow’s milk-based products are safe, including for preterm

infants; (2) cow’s milk-based products are equal, or even superior, substitutes to breast milk; (3)

cow’s milk-based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant Manufacturers’ cow’s milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death that cow’s milk-based products pose to preterm infants like

the Injured Infant.

55.    The Defendant Manufacturers have also designed powerful marketing campaigns to both

the general public and health care providers at hospitals like Pennsylvania Hospital.          The

Defendant Manufacturers know that sales made to hospitals are key drivers of brand loyalty, and


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thus are a key opportunity to drive better downstream business—i.e., retail purchases by parents

after they have left the hospital. On information and belief, the Defendant Manufacturers know

that the formula products used in a hospital’s NICU are related to getting and keeping the overall

hospital contracts.    And the Defendant Manufacturers know that, just like any celebrity

endorsement, when mothers of newborn infants see medical professionals using a certain brand,

the mothers are more likely to continue to purchase that same brand after discharge. The

Defendant Manufacturers are thus heavily motivated to ensure that NICU departments are using

their products.

56.     Abbott and Mead Johnson focus their sales teams and training heavily on hospital NICU

departments. They train their sales representatives how to increase the number of babies on their

formula, and they emphasize the need to be the dominant formula manufacturer in the NICU so

they can own that profitable ground and secure a great return on their substantial investment in

NICU formula and other products.

57.     To leverage hospitals’ NICUs and secure babies in the hospital and at retail, the

Manufacturer Defendants pull out all the stops to convince hospitals, including Defendant

Hospital, to purchase their products. For example: Abbott and Mead Johnson provide samples of

their products to hospitals for free.

58.     On information and belief, to get the hospitals on board with supplying their formula for

premature infants, Abbott and Mead Johnson work with hospitals to secure contracts that have

special pricing discounts if a certain level of the formula-fed babies in the hospital receive just that

one manufacturer’s products; similar to a restaurant being a Coke or Pepsi restaurant. And

notwithstanding the increased risk of the Defendant Manufacturers’ products for the hospitals’




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most fragile patients—the preterm infants—the decision makers at these hospitals seek out these

types of contracts to better the hospitals’ own bottom lines.

59.    On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective company’s

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

60.    Prior to J.C.’s birth, Abbott sent sales representatives to Defendant Hospital. Those sales

representatives provided information about Abbott’s products to Defendant Hospital’s staff via

conversations, presentations, and written pamphlets. This information indicated that Abbott’s

products were safe to give to preterm infants like J.C. Abbott maintains call logs that detail which

sales representatives visited the hospitals, which days they visited, and which products they

discussed. These sales representatives did not disclose that Abbott’s products could cause NEC in

preterm infants.

61.    Prior to J.C.’s birth, Mead Johnson sent sales representatives to Defendant Hospital. Those

sales representatives provided information about Mead Johnson’s products to Defendant

Hospital’s staff via conversations, presentations, and written pamphlets. This information

indicated that Mead Johnson’s products were safe to give to preterm infants like J.C. Mead

Johnson maintains call logs that detail which sales representatives visited the hospitals, which days

they visited, and which products they discussed. These sales representatives did not disclose that

Mead Johnson’s products could cause NEC in preterm infants.



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62.    Mead Johnson and Abbott believed and intended that the misrepresentations that its sale

representatives shared with Defendant Hospital would be used to make feeding decisions for

preterm infants like J.C.

                      The Defendant Manufacturers’ Inadequate Warnings

63.    Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow’s milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

64.    The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

65.    Despite knowing of the risk of NEC, the packaging of Mead’s products does not warn of

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

with Mead’s products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.

66.    Mead cites no medical literature or research to guide the use of its products.

67.    Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

68.    Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.




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69.    Mead Johnson failed to provide, and continues to fail to provide, a full accounting of the

risk of NEC as documented, by underrepresenting and misrepresenting the risk to the public and

the medical community.

70.    Despite knowing that its products were being fed to premature infants, often without the

parents’ informed consent, Mead failed to require or recommend that medical professionals inform

parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies. Like Mead, Abbott promotes an aggressive marketing campaign

designed to make parents believe that its products are safe and necessary for the growth of

premature infants, despite the products in fact being extremely dangerous for premature infants.

Abbott’s products significantly increase the chances of a premature infant getting potentially fatal

NEC.

71.    The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

72.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

73.    Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

74.    Despite knowing of studies documenting an increased risk of NEC from its products,

Abbott did not act to make parents or the medical community aware of those risks, and instead

took steps to conceal or prevent those risks from becoming public. Despite knowing that its



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products were being fed to premature infants, often without the parents’ informed consent, Abbott

failed to require or recommend that medical professionals inform parents of the significant risk of

NEC or to require that parental consent be obtained prior to the products being fed to their babies.

                                 Penn Medicine’s Failure to Warn

75.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing Abbott’s and

Mead’s cow’s milk-based products to its premature infant patients. It knew or should have known

that feeding these cow’s milk-based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. However, instead of warning of the

dangers, or supplying breast milk-based feeding products to preterm infants like the Injured Infant,

Penn Medicine has continued to source, distribute, and supply the Defendant Manufacturers’

products in its hospitals without any adequate warning.

76.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates.               The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

“changing hospital systems and influencing policy,” and its findings were unequivocal:

       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

Other Penn Medicine research has similarly concluded that “[h]uman milk decreases the incidence

and severity of . . . necrotizing enterocolitis (NEC).”

77.    Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

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The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

78.    Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant Manufacturers’ cow’s milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:

                 Donor milk is not inexpensive. It costs about $4.25 per ounce, but
                 the return on investment is huge. “Preemies given mother’s milk
                 get discharged three to four days sooner and also have a six to 10
                 times lower risk of getting a gastrointestinal complication called
                 necrotizing enterocolitis,” Carpenter said, adding that the
                 infection can cost up to $250,000 to treat. The average cost to
                 provide a preemie with donor milk: $125.

79.    These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk of NEC for premature infants posed by the Defendant Manufacturers’ products.

80.    Although Penn Medicine knew or should have known of the serious danger of the

Defendant Manufacturers’ products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.


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81.    Penn Medicine’s failure to warn of the risks posed by the Defendant Manufacturers’

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

Manufacturers’ cow’s milk-based products for free and/or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers’ own marketing strategies” and use of salespersons.

                                    Safer Alternative Designs

82.    The Defendant Manufacturers’ cow’s milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of cow’s milk in their products, which would have produced a safer

product.

83.    Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow’s milk. This alternative design

provides all the necessary nutrition for growth and development that cow’s milk-based products

provide, without the same unreasonably dangerous and deadly effects.

84.    On information and belief, Abbott and Mead were aware of the significantly increased risk

of NEC and death associated with their cow’s milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow’s milk as the

foundation of their products.




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                                  CAUSES OF ACTION
                    COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                                (Against Abbott and Mead)

85.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

86.       Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

87.       Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.

88.       Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow’s milk-based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer’s expectations.         Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

89.       The Injured Infant ingested Abbott and/or Mead’s unreasonably dangerous cow’s milk-

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

90.       Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

91.       Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

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facility.

92.     Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

93.     Abbott’s and/or Mead’s products were fed to the Injured Infant, which caused and/or

increased the risk of their NEC and injuries.

94.     As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of the Defendants Manufacturers’

                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

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                           limit resulting from the Defendant Manufacturers’ oppressive, fraudulent,

                           and/or malicious conduct, as permitted by law;

                 e.        For interest as permitted by law;

                 f.        For attorney’s fees, expenses, and recoverable costs incurred in connection

                           with this action; and

                 g.        For such other and further relief as the Court deems proper.

                 COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                              (Against Abbott and Mead)

95.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

96.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of

their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

97.       Abbott’s and Mead’s duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.           By

designing their products with cow’s milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death.          The failure to warn makes the

products at issue in this litigation unreasonably dangerous.

98.                   Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks

of the infant products at issue in this litigation because they knew or should have known that their

cow’s milk-based premature infant products would be fed to premature infants like the Injured

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Infant, and that their products might cause the Injured Infant to develop NEC, severe injury, or

death, yet they failed to provide adequate warnings of those risks.       Among other risks, the

Defendant Manufacturers:

              a.      Failed to warn that cow’s milk-based products significantly increase the risk

                      of NEC, severe injury, and death for the Injured Infant; and/or

              b.      Failed to warn that cow’s milk-based products are unsafe and/or

                      contraindicated for premature infants like the Injured Infant; and/or

              c.      Inserted warnings and instructions on their products that are severely

                      inadequate, vague, confusing, and provide a false sense of security in that

                      they warn and instruct specifically on certain conditions, but do not warn of

                      the significantly increased risk of NEC and death; and/or

              d.      “Black box”-type warning that their cow’s milk-based products are known

                      to significantly increase the risk of NEC and death when compared to breast

                      milk in premature infant; and/or

              e.      Failed to disclose well-researched and well-established studies that linked

                      cow’s milk-based products to NEC and death in premature infants; and/or

              f.      Failed to insert a warning or instruction to healthcare professionals and

                      other medical staff in the hospital that parents should be provided

                      information necessary to make an informed choice about whether to allow

                      their babies to be fed the Defendant Manufacturers’ products,

                      notwithstanding their substantial risks; and/or

              g.      Failed to provide a warning in a method reasonably calculated or expected

                      to reach the parents of newborns, like the Plaintiff Parent; and/or


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               h.      Failed to provide statistical evidence showing the magnitude of increased

                       risk of NEC in premature infants associated with cow’s milk-based

                       products.

99.     Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

facility.

100.    As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing campaigns suggesting the safety and necessity of the Defendant Manufacturers’

products, the Injured Infant were fed cow’s milk-based products, which caused and/or increased

risk of their developing NEC.

101.    The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow’s milk-based formula, they would not have fed the Injured Infant those products.         Had the

Plaintiff Parent known of the significant risks of feeding the Injured Infant cow’s milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

102.    As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.     Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-



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                         economic losses sustained as a result of the Defendants Manufacturers’

                         conduct;

                 c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                         revenue, and/or lost profits, and/or lost business opportunity, lost earning

                         capacity, and costs related to medical or mental health treatment which have

                         or may be recommended;

                 d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

                         limit resulting from the Defendants Manufacturers’ oppressive, fraudulent,

                         and/or malicious conduct, as permitted by law;

                 e.      For interest as permitted by law;

                 f.      For attorney’s fees, expenses, and recoverable costs incurred in connection

                         with this action; and

                 g.      For such other and further relief as the Court deems proper.

                                     COUNT III: NEGLIGENCE
                                      (Against Abbott and Mead)

103.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

104.      Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

105.      At all times relevant to this action, the Injured Infant’s healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

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106.   Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, and/or distributed the cow’s milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

107.   Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

               a.      Failing to warn that cow’s milk-based products significantly increase the

                       risk of NEC, severe injury, and death for the Injured Infant; and/or

               b.      Failing to warn that cow’s milk-based products are unsafe and/or

                       contraindicated for premature infants like the Injured Infant; and/or

               c.      Inserting warnings and instructions that are severely inadequate, vague,

                       confusing, and provide a false sense of security in that they warn and

                       instruct specifically on certain conditions, but do not warn of the

                       significantly increased risk of NEC and death; and/or

               d.      Failing to insert a large and prominent “black box”-type warning that their

                       cow’s milk-based products are known to significantly increase the risk of

                       NEC and death when compared to breast milk in premature infants; and/or

               e.      Failing to provide well-researched and well-established studies that linked

                       cow’s milk-based products to NEC and death in premature infants; and/or

               f.      Failing to insert a warning or instruction to healthcare professionals and

                       other medical staff in the hospital that parents should be provided


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                       information necessary to make an informed choice about whether to allow

                       their babies to be fed the Defendant Manufacturers’ products,

                       notwithstanding their substantial risks; and/or

               g.      Failing to provide a warning in a method reasonably calculated/expected to

                       reach the parents of newborns, like the Plaintiff Parent; and/or

               h.      Failing to provide statistical evidence showing the magnitude of increased

                       risk of NEC in premature infants associated with cow’s milk-based

                       products.

108.    In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.

109.    As a direct and proximate result of the Defendant Manufacturers’ failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow’s milk-based

products, which caused and/or increased the risk of their developing NEC.

110.    Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow’s milk-based products.

111.    As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:



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                 a.      For compensatory damages in an amount to be proven at trial and in

                         excess of $50,000 and this Court’s arbitrational limit;

                 b.      For damages for past, present, and future emotional distress, loss of

                         enjoyment of life, pain and suffering, mental anguish, and other non-

                         economic losses sustained as a result of the Defendants Manufacturers’

                         conduct;

                 c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                         revenue, and/or lost profits, and/or lost business opportunity, lost earning

                         capacity, and costs related to medical or mental health treatment which have

                         or may be recommended;

                 d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

                         limit resulting from the Defendants Manufacturers’ oppressive, fraudulent,

                         and/or malicious conduct, as permitted by law;

                 e.      For interest as permitted by law;

                 f.      For attorney’s fees, expenses, and recoverable costs incurred in connection

                         with this action; and

                 g.      For such other and further relief as the Court deems proper.

                      COUNT IV: INTENTIONAL MISREPRESENTATION
                                 (Against Abbott and Mead)

112.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

113.      At all times relevant to this action, the Injured Infant consumed the Defendant

Manufacturers’ products in their intended manner and for their intended purpose.

114.      Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this


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litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

115.   Abbott and Mead breached their duty through misrepresentations made to consumers,

physicians, and medical staff in their advertising and promotional materials, as described in

previous paragraphs and incorporated herein, each of whom were foreseeable and intended

recipients of this information.

116.   Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

               a.      That their cow’s milk-based products were safe and beneficial for premature

                       infants when they knew or should have known that their products were

                       unreasonably dangerous and cause NEC, serious injury, and death in

                       premature infants; and/or

               b.      That their cow’s milk-based products were necessary to the growth and

                       nutrition of premature infants, when they knew or should have known that

                       their products were not necessary to achieve adequate growth; and/or

               c.      That their products have no serious side effects, when they knew or should

                       have known the contrary to be true; and/or

               d.      That cow’s milk-based products were safe for premature infants; and/or

               e.      That cow’s milk-based products were necessary for optimum growth; and/or

               f.      That cow’s milk-based products were similar or equivalent to breast milk;

                       and/or



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                g.      That their products were safe and more like breast milk than other infant

                        products and that they had removed the harmful ingredients of cow’s milk

                        when, in fact, the cow’s milk in their products was still capable of causing

                        NEC, serious injury, and death; and/or

                h.      That their products were based on up-to-date science, which made them safe

                        for premature infants; and/or

                i.      Omitting the material fact that their products significantly increased the risk

                        of NEC in premature infants.

117.    Abbott and Mead had actual knowledge, or, at a minimum, a reckless indifference, to

whether the aforementioned misrepresentations were false.            The Defendant Manufacturers’

misrepresentations were intended to, and in fact did, mislead physicians and medical staff, including

the Injured Infant’s physicians and medical staff, to provide their infant products to babies, including

the Injured Infant.

118.    The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant Manufacturers’ misrepresentations induced the Plaintiff Parent to

allow their children to be fed Abbott’s and Mead’s infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

Manufacturers’ messaging.          Had Abbott and Mead not committed these intentional

misrepresentations, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products.

119.    As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

120.    As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss



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of income, and/or other harms.     Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of the Defendants Manufacturers’

                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

                       limit resulting from the Defendant Manufacturers’ oppressive, fraudulent,

                       and/or malicious conduct, as permitted by law;

               e.      For interest as permitted by law;

               f.      For attorney’s fees, expenses, and recoverable costs incurred in connection

                       with this action; and

               g.      For such other and further relief as the Court deems proper.

                     COUNT V: NEGLIGENT MISREPRESENTATIONS
                               (Against Abbott and Mead)

121.    Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

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herein.

122.      At all times relevant to this action, the Injured Infant consumed the products at issue in

their intended manner and for their intended purpose.

123.      Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

124.      In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, physicians, and medical staff in their advertising and

promotional materials, as described in previous paragraphs and incorporated herein, each of whom

were foreseeable recipients of this information.

125.      Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

                 a.      That their cow’s milk-based products were safe and beneficial for premature

                         infants when they knew or should have known that their products were

                         unreasonably dangerous and cause NEC, serious injury, and death in

                         premature infants; and/or

                 b.      That their cow’s milk-based products were necessary to the growth and

                         nutrition of premature infants, when they knew or should have known that

                         their products were not necessary to achieve adequate growth; and/or

                 c.      That their products have no serious side effects, when they knew or should

                         have known the contrary to be true; and/or



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                d.     That cow’s milk-based products were safe for premature infants; and/or

                e.     That cow’s milk-based products were necessary for optimum growth; and/or

                f.     That cow’s milk-based products were similar or equivalent to breast milk;

                       and/or

                g.     That their products were safe and more like breast milk than other infant

                       products and that they had removed the harmful ingredients of cow’s milk

                       when, in fact, the cow’s milk in their products was still capable of causing

                       NEC, serious injury, and death; and/or

                h.     That their products were based on up-to-date science, which made them safe

                       for premature infants; and/or

                i.     Omitting the material fact that their products significantly increased the risk

                       of NEC in premature infants.

126.     Abbott and Mead were negligent or careless in not determining those representations to be

false.

127.     The Defendant Manufacturers’ misrepresentations were intended to and did in fact induce

physicians and medical staff, including the Injured Infant’s physicians and medical staff, to provide

their products to babies, including the Injured Infant.

128.     The Defendant Manufacturers’ misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott’s and Mead’s infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

the Defendant Manufacturers’ messaging. Had Abbott and Mead not committed these negligent

misrepresentations, the Injured Infant would not have been exposed to their unreasonably

dangerous cow’s milk-based products.



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129.    As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

130.    As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.     Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of the Defendants Manufacturers’

                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

                       limit resulting from the Defendant Manufacturers’ oppressive, fraudulent,

                       and/or malicious conduct, as permitted by law;

               e.      For interest as permitted by law;

               f.      For attorney’s fees, expenses, and recoverable costs incurred in connection

                       with this action; and



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                 g.      For such other and further relief as the Court deems proper.

                              COUNT VI: FAILURE TO WARN
                       (Against Penn Medicine and Pennsylvania Hospital)

131.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

132.      Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

133.      At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

134.      Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

treatment of the Injured Infant.

135.      Penn Medicine and Pennsylvania Hospital negligently, outrageously, and recklessly

supplied and distributed the Defendant Manufacturers’ milk-based infant feeding products to these

healthcare professionals and medical staff for use on premature infants, including the Injured

Infant.

136.      Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.          The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals


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and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products to consumers, such as the Plaintiff Parent.

137.     Penn Medicine and Pennsylvania also knowingly, and intentionally, allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

138.     Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant Manufacturers’ cow’s milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

139.     Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

                a.     Failing to warn that cow’s milk-based products significantly increase the

                       risk of NEC, severe injury, and death in those babies; and/or

                b.     Failing to warn that cow’s milk-based products are unsafe and/or

                       contraindicated for premature infants like the Injured Infant; and/or

                c.     Failing to warn or instruct its healthcare professionals and medical staff

                       on the information that should be provided to parents in order to make an

                       informed choice about whether to allow their babies to be fed the Defendant

                       Manufacturers’ products, notwithstanding their substantial risk; and/or



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               d.     Failing to provide its healthcare professionals and medical staff with the

                      well- researched and well-established studies that link cow’s milk-based

                      products to NEC and death in premature infants; and/or

               e.     Failing to provide a warning in a method reasonably calculated/expected to

                      reach the parents of newborns; and/or

               f.     Failing to provide statistical evidence showing the magnitude of increased

                      risk of NEC in premature infants associated with cow’s milk-based

                      products; and/or

               g.     Failing to prevent the Defendant Manufacturers’ sales representatives from

                      misrepresenting to Pennsylvania Hospital’s healthcare professionals and

                      medical staff that premature babies would not grow adequately with human

                      milk and human milk products and that use of donor milk was not advised

                      for premature infants.

140.   Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers’ products, and would have restricted the

ability of the Defendant Manufacturers’ sales representatives to market the Defendant

Manufacturers’ unreasonably dangerous products without adequate warning.

141.   Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

142.   Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant Manufacturers’ unreasonably



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dangerous products, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ cow’s milk-based products.

143.   As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

warn of the danger posed by the Defendant Manufacturers’ unreasonably dangerous cow’s milk-

based products, the Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based

products, which caused and/or increased the risk of developing NEC and significant injuries.

144.   As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

failure to warn of the Defendant Manufacturers’ unreasonably dangerous products, the Plaintiff

Parent suffered significant emotional distress, loss of income, and/or other harms.   Her life has

been significantly affected by the Injured Infant’s injuries.

       WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of Penn Medicine’s conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

                       limit resulting from Penn Medicine and Pennsylvania Hospital’s



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                         oppressive, outrageous, reckless, and/or malicious conduct, as permitted by

                         law;

                 e.      For interest as permitted by law;

                 f.      For attorney’s fees, expenses, and recoverable costs incurred in connection

                         with this action; and

                 g.      For such other and further relief as the Court deems proper.

          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                   (Against Penn Medicine and Pennsylvania Hospital)

145.      Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

146.      At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

147.      Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

148.      At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.


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149.   Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.         The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products.

150.   Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

151.   Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant Manufacturers’ cow’s milk-based infant products, including the access afforded

the Defendant Manufacturer’s sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.

152.   Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

153.   Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:



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            a.    Failing to formulate, adopt, and enforce adequate rules and policies that

                  would have restricted the use of cow’s milk-based products for feeding

                  premature babies; and/or

            b.    Failing to formulate, adopt, and enforce adequate rules and policies that

                  warned the Plaintiff Parent that cow’s milk-based products significantly

                  increase the risk of NEC, severe injury, and death in premature babies, like

                  the Injured Infant; and/or

            c.    Failing to formulate, adopt, and enforce adequate rules and policies that

                  warned its healthcare professionals and medical staff that cow’s milk-based

                  products are unsafe and/or contraindicated for premature babies like the

                  Injured Infant; and/or

            d.    Failing to formulate, adopt, and enforce adequate rules and policies to

                  instruct its healthcare professionals and medical staff on the information

                  that should be provided to parents in order to make an informed choice

                  about whether to allow their babies to be fed the Defendant Manufacturers’

                  products, notwithstanding their substantial risk; and/or

            e.    Failing to formulate, adopt, and enforce adequate rules and policies to

                  provide its healthcare professionals and medical staff with the well-

                  researched and well- established studies that link cow’s milk-based

                  products to NEC and death in premature infants; and/or

            f.    Failing to formulate, adopt, and enforce adequate rules and policies to

                  ensure a warning in a method reasonably calculated/expected to reach the

                  parents of newborns, like the Plaintiff Parent; and/or



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                  g.   Failing to formulate, adopt, and enforce adequate rules and policies to

                       prevent the Defendant         Manufacturers’   sales   representative   from

                       misrepresenting to Pennsylvania Hospital’s healthcare professionals and

                       medical staff that premature babies would not grow adequately with human

                       milk and human milk products and that use of donor milk was not advised

                       for premature infants; and/or

                  h.   Failing to establish a donor milk program that was sufficient to meet the

                       needs of the premature babies, like the Injured Infant.

154.   A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow’s milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers’ cow’s

milk-based products, and restricting the marketing of the Defendant Manufacturers’ unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.

155.   Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its

patients, the Injured Infant would not have been exposed to the Defendant Manufacturers’ cow’s

milk-based products.

156.   As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of



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developing NEC and significant injuries.

157.    As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent, reckless, and outrageous conduct the Plaintiff Parent suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly affected by the Injured

Infant’s injuries.

158.    In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical

staff that provided the products at issue to infants under Pennsylvania Hospital’s care, including

the Injured Infant.

159.    Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

160.    Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly, and

outrageously breached its duty by:

                a.     Failing to oversee its healthcare professionals and medical staff on their use

                       of cow’s milk-based products for feeding premature babies; and/or

                b.     Failing to warn or instruct its healthcare professionals and medical staff that

                       cow’s milk-based products significantly increase the risk of NEC, severe

                       injury, and death in those babies; and/or

                c.     Failing to warn or instruct its healthcare professionals and medical staff that

                       cow’s milk-based products are unsafe and/or contraindicated for premature

                       babies like the Injured Infant; and/or

                d.     Failing to oversee its healthcare professionals and medical staff to restrict



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                       their feeding of cow’s milk-based products to premature babies; and/or

               e.      Failing to warn or instruct its healthcare professionals and medical staff on

                       the information that should be provided to parents in order to make an

                       informed choice about whether to allow their babies to be fed the Defendant

                       Manufacturers’ products, notwithstanding their substantial risk; and/or

               f.      Failing to provide its healthcare professionals and medical staff with the

                       well- researched and well-established studies that link cow’s milk-based

                       products to NEC and death in premature infants; and/or

               g.      Failing to provide its healthcare professionals and medical staff with

                       warnings about the dangers of the Defendants’ Manufacturers products in a

                       method reasonably calculated/expected to reach the parents of newborns;

                       and/or

               h.      Failing to provide statistical evidence to its healthcare professionals and

                       medical staff showing the magnitude of increased risk of NEC in premature

                       infants associated with cow’s milk-based products; and/or

               i.      Failing to oversee its healthcare professionals and medical staff to ensure

                       that the Defendant Manufacturers’ sales representatives’ misrepresentations

                       that premature babies would not grow adequately with human milk and

                       human milk products and that use of donor milk was not advised for

                       premature infants had not influenced the use and/or misuse of the Defendant

                       Manufacturers’ products.

161.   A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of



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the Defendant Manufacturers’ products, and would have restricted the ability of the Defendant

Manufacturers’ sales representatives to market the Defendant Manufacturers’ unreasonably

dangerous products without adequate warning.

162.    A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with feeding cow’s milk-based formula to premature infants.

163.    Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant Manufacturers’ cow’s milk-based products.

164.    As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

165.    As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of



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                      enjoyment of life, pain and suffering, mental anguish, and other non-

                      economic losses sustained as a result of Penn Medicine and Pennsylvania

                      Hospital’s conduct;

              c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                      revenue, and/or lost profits, and/or lost business opportunity, lost earning

                      capacity, and costs related to medical or mental health treatment which have

                      or may be recommended;

              d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

                      limit resulting from Penn Medicine’s oppressive, fraudulent, and/or

                      malicious conduct, as permitted by law;

              e.      For interest as permitted by law;

              f.      For attorney’s fees, expenses, and recoverable costs incurred in connection

                      with this action; and

              g.      For such other and further relief as the Court deems proper.

                                 DEMAND FOR JURY TRIAL
166.   Plaintiff hereby demands a jury trial for all claims triable.


        Dated: __9/8/2023_
                                                      Respectfully submitted,

                                                      KLINE & SPECTER, P.C.


                                              By:     ____/s/ Timothy A. Burke__________
                                                      Thomas R. Kline, Esq.
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                                                      320927 / 205677


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                       EXHIBIT D
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 Holli Carter, on her own behalf and as Parent and Natural COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                 PHILADELPHIA COUNTY

                      Plaintiff                          CIVIL DIVISION

 v.                                                      MARCH TERM, 2022
                                                         NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                      Defendants.



                                           ORDER

       AND NOW, this              day of                     2023, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Amended Complaint, and any Response thereto,

it is hereby ORDERED that the Preliminary Objections are SUSTAINED. It is further

ORDERED that all claims against Defendants the Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine are hereby DISMISSED with prejudice.



                                                 BY THE COURT:



                                                 ____________________________________
                                                                               J.
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 Holli Carter, on her own behalf and as Parent and Natural   COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                   PHILADELPHIA COUNTY

                       Plaintiff                             CIVIL DIVISION

 v.                                                          MARCH TERM, 2022
                                                             NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.


                                     ALTERNATIVE ORDER

       AND NOW, this               day of                      2023, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Amended Complaint, and any Response thereto,

it is hereby ORDERED that the Preliminary Objections are SUSTAINED. It is further

ORDERED that:

       1.     Count VI of Plaintiffs’ Complaint is DISMISSED with prejudice;

       2.     Count VII of Plaintiffs’ Complaint is DISMISSED with prejudice;

       3.     Plaintiffs’ claims for punitive damages as to Defendants The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious, outrageous, intentional and/or fraudulent conduct;

       4.     Plaintiff Holli Carter’s claims in her own right are DISMISSED with prejudice;
              and

       5.     Plaintiffs’ Complaint is STRICKEN for lack of an appropriate verification.

                                                   BY THE COURT:

                                                   ____________________________________
                                                                                 J.
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 BURNS WHITE LLC                                 Attorneys For Defendants,
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 Holli Carter, on her own behalf and as Parent and        COURT OF COMMON PLEAS
 Natural Guardian of J.C., a minor                        PHILADELPHIA COUNTY

                        Plaintiff                         CIVIL DIVISION

 v.                                                       MARCH TERM, 2022
                                                          NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
                TO PLAINTIFFS’ AMENDED COMPLAINT

       Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

(“Pennsylvania Hospital”) and the Trustees of the University of Pennsylvania (hereinafter

“Moving Defendants”) hereby preliminarily object to Plaintiffs’ Amended Complaint, and, in

support thereof, aver as follows:

I.     INTRODUCTION

       1.      Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead

Johnson Nutritional Company (collectively referred to as “Mead Johnson”) and Abbott
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Laboratories (“Abbott”). See Plaintiffs’ Complaint, attached as Exhibit “A.” 1 On September 8,

2023, Plaintiffs filed an Amended Complaint. See Plaintiffs’ Amended Complaint, attached as

Exhibit “B.”

         2.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania

Hospital and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s

milk-based infant formula by premature infants following their birth. 2

         3.       Plaintiffs allege that “upon information and belief” the Plaintiff-minors, including

J.C., were diagnosed with necrotizing enterocolitis (NEC), a gastrointestinal disorder that

premature infants are at increased risk to develop. See Plaintiffs’ Amended Complaint, attached as

Exhibit “B,” ¶ 13. Plaintiffs allege that premature infants fed with their mother’s breast milk or

donor breast milk are at decreased risk of developing NEC as compared with infants given cow’s

milk-based infant formula.3

         4.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 4



1
  Shortly after the filing of the Complaint, this case was removed to federal court. Following briefing and a hearing,
the case was remanded to this Honorable Court. There was then an effort by all Defendants to transfer these cases to
this Court’s Mass Tort Program. Plaintiffs opposed this request, and same was denied by this Honorable Court.
These preliminary objections were timely filed after the initial filing of the Complaint, but never ruled upon.
2
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
3
 Although Plaintiffs aver in the Amended Complaint that NEC is caused by cow’s milk-based infant formula, as
discussed infra and in the accompanying Memorandum of Law, Plaintiffs do not cite any study or statement in the
Amended Complaint that indicates NEC is caused by cow’s milk-based infant formula.
4
 As is discussed in detail in the accompanying Memorandum of Law, infant formulas are regulated by the United
States Food and Drug Administration and require to include specified vitamins and nutrients, including infant
formulas intended for low birth weight infants. The FDA permits does not restrict the use of cow’s milk-based infant
formula for premature or low birth weight infants. Plaintiffs’ contention that cow’s milk-based infant formula should
never be given to premature infants is not supported by the FDA.


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        5.      The factual background regarding the Plaintiff-minor’s birth, diagnosis and injuries

are limited to four paragraphs in the Amended Complaint.

        6.      Plaintiffs aver that J.C. was born prematurely on October 6, 2014 and that “upon

information and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at

Pennsylvania Hospital from shortly after his birth.” Id., ¶¶ 11-12.

        7.      Plaintiffs further allege that “upon information and belief” J.C. developed NEC

shortly after first ingesting the Defendant manufacturers’ products. Id., ¶ 13.

        8.      Plaintiffs generally allege that J.C. “suffered injuries, including but not limited to a

diagnosis of NEC, treatment with antibiotics and blood transfusions, and suffers from neurological

injuries, as well as other long-term health effects.” Id., ¶ 14.

        9.      Moving Defendants Preliminarily Object to Plaintiffs’ Amended Complaint for the

reasons stated below and as more fully set forth in the accompanying Memorandum of Law, which

is incorporated herein by reference.

II.     ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

        10.     Plaintiffs allege in Count VI of the Amended Complaint that Moving Defendants,

“as purchaser, supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs

and the public a duty to provide products that were free of unreasonable risk of harm.

        11.     Plaintiffs’ theory against Moving Defendants is that they were aware cow’s milk-

based products made by the Defendant Manufacturers cause NEC in premature and low birth

weight infants and negligently failed to warn the parents of those infants of this danger.

        12.     In support of this theory, Plaintiffs simply aver that “(e)xtensive scientific research,

including numerous randomized controlled trials, has confirmed that cow’s milk-based feeding



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products cause NEC in preterm and low-birth-weight infants, which may in turn lead to other

medical complications, surgeries, long-term health problems, and death.” See Exhibit “B,” ¶16.

       13.      Taking these facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the product in question is indeed unreasonably dangerous.

       14.      Further, to the extent the product at issue was provided in the context of medical

care, rather than commerce, there can be no claim against Moving Defendants for a product-

liability based theory of failure to warn.

       15.      “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a

claim of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and

             (c) fails to exercise reasonable care to inform them of its dangerous
             condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388.

       16.      “The threshold inquiry in all products liability cases is whether there is a defect

which rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).




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       17.     “A product is defective when it is not safe for its intended use, i.e., the product left

the supplier's control lacking any element necessary to make it safe for its intended use.” Id. At

308.

       18.     Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the

Defendant Manufacturers’ products are unreasonably dangerous for their intended use, triggering

Moving Defendants’ duty to warn.

       19.     Although Plaintiffs vaguely refer in their Amended Complaint to research studies

and trials relating to the purported risks of cow’s milk-based products in premature infants, no

such studies have been cited for the proposition that feeding premature infants cow’s milk-based

formula causes NEC in preterm and low-birth-weight infants.

       20.     At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-

weight infants are especially susceptible to NEC.” See Exhibit “B” at ¶ 16 (emphasis added).

Following this, Plaintiffs make the core claim of their Amended Complaint – that cow’s milk-

based feeding products cause NEC in preterm and low birth weight infants – and that “[e]xtensive

scientific research, including numerous randomized controlled trials” confirm this claim. Id.

However, Plaintiffs fail to cite any such research or trials with specificity to support their claim.

       21.     Simply put, Plaintiffs have failed to state a claim for negligent failure to warn

against Moving Defendants as they have failed to state facts to establish that cow’s milk-based

infant formula is unreasonably dangerous for its intended purpose.

       22.     Further, assuming arguendo that the Defendant Manufacturers’ cow’s milk-based

feeding products can be seen as unreasonably dangerous for their intended use as opposed to

simply being a less effective alternative to breast milk products, Moving Defendants still had no




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duty to warn of the nature of cow’s milk-based products under § 388 because medical providers

are not “supplying” a product to a patient within the stream of commerce.

       23.      Plaintiffs’ failure to warn claim is similarly precluded to the extent that Plaintiffs

are alleging that Defendants, in providing medical care to Plaintiff-minor, failed to obtain Plaintiff-

parent’s consent to the use of cow’s milk-based products and failed to warn of the purported risks

and alternatives of such products.

       24.      The sole basis upon which Plaintiffs can proceed against Moving Defendants for

“failure to warn” in the context of providing medical care is to assert such a claim under a theory

of failure to obtain informed consent.

       25.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the
             patient’s authorized representative prior to conducting the following
             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.

             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and



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             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

   40 P.S. §1303.504 (emphasis added).

       26.      Since the use of infant formula in feeding premature infants is not a “procedure,”

there is no basis for Plaintiffs to contend that Plaintiff-parent’s consent was required for the use of

infant formula to feed her infant, including warning her of the risks or alternatives of same.

       27.      Further, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See Morgan v. MacPhail, 550 Pa. 202, 205 (1997).

       28.      Thus, a hospital cannot be held liable for a physician’s failure to obtain proper

informed consent. Valles v. Albert Einstein Medical Center, 805 A.2d 1232 (2002).

       B.       DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
                CARE PROVIDER

       29.      In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

       30.      Plaintiffs’ corporate liability claim fails based on the same rationale as the claim

for failure to warn, since both claims are based on the alleged failure to provide warnings to

patients related to the use of cow’s milk-based infant formula.

       31.      Infant formula is regulated by the FDA, and there is no legal restriction on the use

of cow’s milk-based products for feeding of premature infants.



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       32.      Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

provide cow’s-milk based products to low birth weight infants.

       33.      Further, as discussed above, Plaintiffs cannot demonstrate that cow’s milk-based

formula is an unreasonably dangerous product.

       34.      Thus, there is no legal basis to contend that Moving Defendants can be held liable

pursuant to a theory of corporate liability for failing to prevent the use of cow’s milk-based

products in the feeding of premature infants in the hospital.

       35.      Additionally, Courts considering the application of the duties set forth in Thompson

have insisted on more than a simple finding of a negligent act by someone for whom the hospital

is purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

       36.      In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

             The Thompson theory of corporate liability will not be triggered every time
             something goes wrong in a hospital which harms a patient . . . To establish
             corporate negligence, a plaintiff must show more than an act of negligence by
             an individual for whom the hospital is responsible. Rather, Thompson requires
             a plaintiff to show that the hospital itself is breaching a duty and is somehow
             substandard…Thompson contemplates a kind of ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added).

       37.      Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

       38.      Accordingly, even if Plaintiffs could establish that the use of cow’s milk-based infant

formula was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-minor’s case herein, which has not been pleaded by Plaintiffs




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considering the paucity of the allegations in the Amended Complaint, such evidence cannot support

a finding of corporate liability.

        39.     Additionally, even assuming Plaintiffs had a viable corporate negligence claim

against Pennsylvania Hospital, any such claim is precluded against the Trustees of the University

of Pennsylvania since it is not a hospital.

        40.     The Thompson holding has been extended to HMO’s and nursing home facilities,

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

        41.     However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

        42.     There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

        43.     Indeed, the Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07.




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       C.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
               SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       44.     Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.

       45.     A plaintiff’s Complaint is required to provide a defendant with notice of what the

plaintiff’s claims are and the grounds upon which they rest, and the complaint must also formulate

the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).

       46.     Pennsylvania Rule of Civil Procedure 1019(a) provides that “the material facts on

which a cause of action or defense is based shall be stated in a concise and summary form.”

Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       47.     Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953). A plaintiff’s Complaint must set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.


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Perrige, 71 Pa. D. & C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.

& C.2d 713, 714 (Pa. Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more

than a generalized averment under which any injuries whatever could be proved at the trial.

Defendant would have no knowledge in advance of the trial of what they are.”)

        48.     Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case.

        49.     Plaintiffs’ description of the material facts relating to the minor’s care and

treatment, diagnosis and injuries is limited to four paragraphs, which are utterly insufficient to

enable defendants to prepare their defenses. See Exhibit “B,” ¶¶ 11-14.

        50.     Plaintiffs aver that the minor was born prematurely, the gestational age, and birth

weight; however, Plaintiffs’ allegation that “upon information and belief,” the minor was fed

Similac and/or Enfamil shortly after his birth (Id. at ¶ 12) does not comply with the fact-pleading

requirements of Rule 1019(a), since such allegations do not provide defendants with appropriate

notice of the facts as to whether the minor actually ingested cow’s milk-based products.

        51.     Further, Plaintiffs have failed to identify which of the numerous products sold by

Abbott and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

        52.     Plaintiffs’ Amended Complaint further fails to provide a description of the material

facts as to the period of time in which such products were ingested, when the minor was allegedly

diagnosed with NEC and what treatment was provided for that condition.

        53.     The Amended Complaint further fails to state the nature of the injuries and “long-

term health effects” that are alleged to have resulted from the diagnosis of NEC with specificity.




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       54.     Plaintiffs’ damages claim is not stated with particularity, is amorphous, vague, and

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.

       55.     These omissions are fatal defects in Plaintiffs’ Amended Complaint. Therefore,

Plaintiffs’ Amended Complaint should be stricken in its entirety.

       D.      MOTION TO           STRIKE      PLAINTIFFS’          CLAIMS     FOR     PUNITIVE
               DAMAGES

       56.     In the Ad Damnum clauses of Counts VI and VII of the Amended Complaint,

Plaintiffs make baseless accusations that Moving Defendants engaged in oppressive, reckless,

malicious and/or fraudulent conduct that allegedly justify an award of punitive damages.

       57.     However, the Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants.

       58.     Rather, Plaintiffs merely allege vaguely that Moving Defendants “negligently,

outrageously, and recklessly supplied and distributed the Defendant Manufacturers’ milk-based

infant feeding products to these healthcare professionals and medical staff for use on premature

infants, including the Injured Infant,” See Exhibit “B” at ¶135, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in J.C.’s medical care and

condition following birth.

       59.     For example, the Amended Complaint gives no indication of whether Plaintiff-

parent refused or was unable to provide breast milk and provides no information as to discussions

between her and any health care providers regarding the purported use of cow’s milk-based

products.

       60.     Plaintiffs’ allegations of oppressive, malicious and similar conduct must be rejected

as mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula

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in care of low birth weight infants, with no restriction as to the use of cow’s milk-based products

for such infants.

        61.    Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula.

        62.    Absent specific factual allegations to justify the claim that the use of infant formula

in J.C.’s case was extreme and outrageous, there is no basis for an award of punitive damages in

this case.

        63.     Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

        64.    Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsylvania Supreme Court decisions establish that “punitive damages are an

‘extreme remedy’ available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584

Pa. 179, 188, 883 A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to

heap an additional punishment on a defendant who is found to have acted in a fashion which is

particularly egregious.” Wagner at *12.

        65.    Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.



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Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).

        66.       Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:

        (a)     Award. -- Punitive damages may be awarded for conduct that is the result
        of the health care provider’s willful or wanton conduct or reckless indifference to
        the rights of others. In assessing punitive damages, the trier of fact can properly
        consider the character of the health care provider’s act, the nature and extent of the
        harm to the patient that the health care provider caused or intended to cause and the
        wealth of the health care provider.

        (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
        support an award of punitive damages.

40 P.S. §1303.505.

        67.       The Supreme Court has made clear that when assessing the propriety of the

imposition of punitive damages, “the state of mind of the actor is vital. The act or failure to act,

must be intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

        68.       Thus, “a punitive damages claim must be supported by evidence sufficient to

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

that risk.” Id.

        69.       Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not



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recoverable in malpractice actions unless the medical provider’s deviation from the applicable

standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.

       70.     Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries

or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

that “the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

that an award of punitive damages was warranted.”) (emphasis added); Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an

infectious disease consult constituted “nothing more than ordinary negligence and are insufficient

to support an award of punitive damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was

stillborn and holding that “[i]t is not the outcome of the alleged negligence that is of consideration,

but rather the alleged conduct of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that

plaintiffs were not “capable of pleading the requisite behavior” for an award of punitive damages

where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).



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       71.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       72.     The facts underlying Plaintiffs’ bare assertions of reckless, outrageous or similar

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.




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       73.     Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).

       74.     Plaintiffs allege in this action that unidentified “staff” fed J.C. Similac and/or

Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent of the

alleged risks of such products. See Exhibit “B,” ¶ 12.

       75.     Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001);

Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       76.     In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       77.     For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E.      MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

       78.     Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of J.C.




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       79.     Plaintiffs’ Amended Complaint includes allegations in each count asserted as to

Moving Defendants in which it is averred that Plaintiff-parent “suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly altered by the Injured

Infant’s injuries.” See Exhibit “B,” ¶¶ 144, and 165.

       80.     However, no specific cause of action is asserted as to any damages sought on behalf

of Plaintiff-parent, who is not alleged in the Amended Complaint to have suffered any physical

injuries as a result of the alleged negligent conduct of Moving Defendants. For this reason,

Plaintiff-parent’s claim should be dismissed.

       81.     Further, even if Plaintiff-parent had properly articulated a cause of action in the

Complaint to allow her to recover damages in her own right, the Complaint should be stricken

pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       82.     Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Amended Complaint filed

herein. Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the

Complaint, specifically identifying the cause of action asserted and relief sought in each count.

       83.     Additionally, although the statute of limitations for claims asserted on behalf of

minors are tolled until the age of majority, Plaintiff-parent’s claims were not similarly tolled and

were required to have been brought within two years of the alleged injury. See Hathi v. Krewstown

Park Apts, 561 A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.




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         84.     Plaintiffs allege that J.C. was born on October 6, 2014, was fed the Defendant

manufacturers’ products shortly after his birth, and developed NEC shortly thereafter. See Exhibit

“B,” ¶¶ 11-13.

         85.     Thus, since the Complaint herein was filed on March 24, 2022, Plaintiff-parent’s

claims herein are clearly time-barred based on the applicable statute of limitations.

         86.     In an attempt to circumvent the statute of limitations issues for the Plaintiff-parent,

Plaintiffs go to great lengths in their Amended Complaint to essentially assert that Plaintiff-

parent’s claims are somehow preserved by way of the discovery rule. See, Exhibit “B” ¶¶ 23 – 41.

         87.     However, it is well established in Pennsylvania that a plaintiff need not know the

precise extent of injuries before the statutory period begins to run. Levenson v. Souser, 384 Pa.

Super. 132, 557 A.2d 1081, 1090 (1989).

         88.     Furthermore, any contention by Plaintiffs that the statute of limitations must be

tolled until such time that a plaintiff first suspected that there had been medical negligence with

regard to her infant’s treatment must similarly be rejected.

         89.     It is well settled law that, in accordance with the discovery rule, a plaintiff need not

know that she has a cause of action or suspects there has been negligence before the statute of

limitations commences. Colonna v. Rice, 664 A.2d 979, 981 (Pa. Super. 1995); Bigansky v.

Thomas Jefferson Univ. Hosp., 658 A.2d 423, 427, 431 n.5 (Pa. Super. 1995); Brooks v. Sagovia,

636 A.2d 1201, 1204 (Pa. Super. 1994); E.J.M. v. Archdiocese of Phila., 622 A.2d 1388, 1394 (Pa.

Super. 1993); DeMartino v. Albert Einstein Med. Center, 460 A.2d 295, 298-299 (Pa. Super.

1983).

         90.     Indeed, it has been expressly held that “[k]nowledge of the negligence is not part

of the discovery rule.” DeMartino, supra, 460 A.2d at 299.



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        91.     A plaintiff need only know that there was an injury and who caused that injury, a

plaintiff need not know the full extent of the injury or even suspect negligence. Nicolaou v. Martin,

195 A.3d 880, 892-93 (Pa. 2018); Gleason v. Borough of Moosic, 15 A.3d 479, 484 (Pa. 2011);

Wilson v. El-Daief, 964 A.2d 354, 364 (Pa. 2009).

        92.     Based upon the facts plead by Plaintiffs, J.C. is alleged to have developed NEC

shortly after his birth. See Exhibit “B” ¶¶11 – 14. Accordingly, Plaintiff-parent knew of an injury

in 2014, making any claim in her own right clearly time barred, regardless of whether she knew

the extent of any claimed injury and/or when she suspected that the injury was caused by

negligence.

        F.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
                COMPLY WITH Pa.R.C.P. 1024

        93.     Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every

pleading containing a factual averment based upon the signer’s personal knowledge or information

and belief.

        94.     Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

        95.     In this case, no verification is attached to the Amended Complaint in violation of

Rule 1024. See Exhibit “B.”

        96.     Accordingly, the Amended Complaint should be stricken for lack of an appropriate

verification.

        WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.

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                                       BURNS WHITE LLC


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 Holli Carter, on her own behalf and as Parent and Natural     COURT OF COMMON PLEAS
 Guardian of J.C., a minor                                     PHILADELPHIA COUNTY

                        Plaintiff                              CIVIL DIVISION

 v.                                                            MARCH TERM, 2022
                                                               NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
     PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY
               OF PENNSYLVANIA TO PLAINTIFFS’ COMPLAINT

I.      MATTER BEFORE THE COURT

        Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System (“Pennsylvania Hospital”) and The Trustees of the University of

Pennsylvania to Plaintiffs’ Amended Complaint.

        While patently obvious that Plaintiffs’ Amended Complaint must be dismissed for clear

and important violations of the procedural requirements governing pleadings and verification of

the accuracy of the factual averments of the Amended Complaint (there are not separate counts

identified for the causes of action of each of the Plaintiffs attempts to allege), most of which are

averred “upon information and belief,” the substance of Plaintiffs’ allegations do not support any
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legally recognized cause of action against Moving Defendants, under Pennsylvania law. Our

procedural rules do not permit a plaintiff to simply identify allegedly tortious conduct by a

defendant without pleading the necessary facts to satisfy the elements of the tortious conduct.

       Here, Plaintiffs plead that Moving Defendants permitted Co-Defendants’ cow’s milk-based

infant formula to be fed to prematurely born infants, which allegedly caused those infants to

develop necrotizing enterocolitis (“NEC”). Plaintiffs then plead themselves out of Court by

attempting to support a “failure to warn” claim by referencing unnamed studies and trials in an

attempt to establish that cow’s milk-based infant formulas cause NEC. Thus, distinct from the

Amended Complaint’s procedural shortcomings, Plaintiffs have failed to plead facts that support

the “failure to warn” and corporate liability causes of action that they attempt to assert against

Moving Defendants. It is further noteworthy that there is no viable “failure to warn” cause of action

that is recognized under Pennsylvania law against Moving Defendants, as explained in this

submission by Moving Defendants.

II.    STATEMENT OF QUESTIONS PRESENTED

       1.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Amended

Complaint “Failure to Warn” cause of action with prejudice because Plaintiffs’ Amended

Complaint does not support the claim that cow’s milk-based products are unreasonably dangerous

and Moving Defendants cannot be held liable for negligent failure to warn on the basis that they

are a supplier of such products?

       Suggested answer in the affirmative.

       2.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Amended

Complaint “Failure to Warn” cause of action with prejudice because it improperly alleges that

Moving Defendants were required to obtain Plaintiff-parent’s informed consent to use of cow’s



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milk-based products for feeding of Plaintiff-minor and warn her of the risks and/or alternatives of

same?

        Suggested answer in the affirmative.

        3.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Amended

Complaint “Corporate Negligence” cause of action with prejudice because Moving Defendants

cannot be held liable on such a theory for a product which is regulated by the FDA and which is

not precluded for use in premature or low birth weight infants, and where a hospital cannot be held

liable for corporate negligence based on the alleged negligence of an individual health care

provider?

        Suggested answer in the affirmative.

        4.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Amended

Complaint “Corporate Negligence” cause of action with prejudice as to the Trustees of the

University of Pennsylvania since it is not a hospital and because corporate negligence duties are

non-delegable?

        Suggested answer in the affirmative.

        5.      Whether this Honorable Court should strike Plaintiffs’ Amended Complaint in its

entirety for insufficient specificity of the facts and alleged injuries?

        Suggested answer in the affirmative.

        6.      Whether this Honorable Court should strike Plaintiffs’ claims for punitive damages

as to Moving Defendants because the Amended Complaint fails to plead facts providing a basis

for an award of punitive damages?

        Suggested answer in the affirmative.




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         7.       Whether this Honorable Court should strike Plaintiff-parent’s claims for failure to

state a cause of action, and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020

and based on the applicable statute of limitations?

         Suggested answer in the affirmative.

         8.       Whether this Honorable Court should strike Plaintiffs’ Amended Complaint for

failure to provide a client verification as required by Pa.R.C.P. 1024?

         Suggested answer in the affirmative.

III.     INTRODUCTION AND FACTUAL BACKGROUND

         Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s milk-

based products by premature infants in the hospital following their birth. 1 Plaintiffs allege that the

Plaintiff-minors, including J.C., were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See Plaintiffs’

Amended Complaint, attached as Exhibit “B” at ¶ 14. Plaintiffs aver that premature infants fed

with their mother’s breast milk or donor breast milk are at decreased risk of developing NEC as

compared with infants given cow’s milk-based products (infant formula). Many of the allegations

of the Complaint are pleaded “upon information and belief,” including the allegations that

Plaintiff-minors received infant formula and that they developed NEC shortly after being fed with

infant formula.

         In addition to asserting product liability claims against the infant formula manufacturers

Mead Johnson & Company, LLC, Mead Johnson Nutritional Company (collectively referred to as



1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.


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“Mead Johnson”) and Abbott Laboratories (“Abbott”)2, Plaintiffs have alleged that Moving

Defendants are liable based on theories of failure to warn and corporate liability. See Plaintiffs’

Amended Complaint, attached as Exhibit “B” at Counts VI and VII. As is discussed in detail

below, Plaintiffs’ claims against Moving Defendants are legally and factually deficient.

         Although Plaintiffs baldly aver that NEC is caused by cow’s milk-based products, Plaintiffs

refer in their Amended Complaint only to research studies and trials with no specificity

whatsoever. As discussed in detail supra, even assuming the truth of the factual allegations stated

in Plaintiffs’ Amended Complaint, Plaintiffs’ allegations do not support the conclusion that NEC

is caused by cow’s milk-based products. As such, there is no basis to contend that cow’s milk-

based products are dangerous for premature infants, such that Moving Defendants had a duty to

warn Plaintiff-parents of any risks or alternatives related to infant formula.

         Plaintiffs’ Complaint provides scant information regarding the factual background of this

case. Plaintiffs aver that J.C. was born prematurely on October 6, 2014 and that “upon information

and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at Pennsylvania

Hospital from shortly after his birth.” Id., ¶¶ 11-12. Plaintiffs further allege that “upon information

and belief” J.C. developed NEC shortly after first ingesting the Defendant manufacturers’

products. Id., ¶ 13. No specific details are provided regarding the infant’s condition following birth

other than that he developed NEC on an unidentified date, that he was treated with antibiotics and

blood transfusions, and suffers from neurological injuries as well as other long-term health effects.

Id at ¶14. No specific facts are provided by Plaintiffs as to any medical care J.C. received, for

what period of time J.C. allegedly ingested cow’s milk-based products, and which product(s) he




2
 Mead Johnson and Abbott have been the subject of similar lawsuits in other states, including Connecticut, Illinois
and California.

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allegedly ingested.3 Finally, the Amended Complaint is silent as to the nature and extent of J.C.’s

alleged injuries other than a vague reference to “ neurological injuries” and “long term health

effects.” Id. ¶ 14.

         Further, the Amended Complaint does not provide any details whatsoever regarding

communications between Plaintiff-parent and medical providers at Pennsylvania Hospital

regarding the allegations that J.C. may have been fed with Mead Johnson and/or Abbott cow’s

milk-based products in the hospital. Plaintiffs do not provide any information regarding

discussions between Plaintiff-parent and any health care providers at Pennsylvania Hospital related

to breastfeeding and/or using cow’s milk-based products in this case, including whether or not she

was encouraged to breastfeed and/or was unable or declined to do so. As noted, Plaintiffs plead

that Plaintiff Minor ingested formula “on information and belief” only, and similarly plead “on

information and belief” that Plaintiff Minor developed NEC as a result.

         Plaintiffs further fail to disclose in their Complaint that infant formula is regulated by the

United States Food and Drug Administration (FDA) and that there is no restriction on the use of

cow’s milk-based products for premature infants. The federal Infant Formula Act of 1980 (“IFA”)

was enacted “to assure the safety and nutrition of infant formulas.” Pub. L. No. 96-359, 94 Stat.

1190. The IFA and its implementing regulations outline the requirements that infant formula must

meet, including how infant formula is made, its contents and ingredients, and the labels used on its

packages. 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07. The IFA provides that infant formulas may only

contain “substances that are safe and suitable for use in infant formula.” 21 C.F.R. § 106.40(a).

Neither the IFA nor the regulations exclude cow milk as an ingredient, and many infant formulas



3
  Plaintiffs aver that Abbott sells at least seven types of products directed to preterm and/or low birth weight infants,
six of which use the name Similac, and that Mead Johnson sells eight types of infant formulas using the Enfamil
brand name. Id., ¶¶ 48, 49.

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for sale include cow milk; 21 C.F.R. § 106.3 (“infant formula” is a “food for infants by reason of

its simulation of human milk”) (emphasis added). 21 U.S.C. § 350a; 21 C.F.R. §§ 107.50. Before

selling any “new infant formula,” a manufacturer must (1) register with the FDA, and (2) submit

a notice to the FDA at least 90 days before marketing such formula. The notice must also state that

the formula contains the required vitamins and nutrients, as demonstrated by testing. 21 U.S.C. §

350a(b). These same FDA review procedures apply when a manufacturer makes a “major change”

to an existing formula. 21 U.S.C. § 350a(c)(2)(B); 21 C.F.R. § 106.3.

       Further, the FDA recognizes that certain infant formulas are intended for low birth weight

babies (such as infants born prematurely) or infants with unusual medical or dietary problems.

Indeed, such formulas have special review requirements. 21 U.S.C. § 350a(h); 21 C.F.R. §

107.50(a). For those formulas – known as “exempt” formulas because they may be exempted from

certain requirements – the required 90-day notice must include “the label and other labeling of the

infant formula, a complete quantitative formulation for the infant formula, and a detailed

description of the medical conditions for which the infant formula is represented.” 21 C.F.R. §

107.50(b)(3). As with other formulas, the regulations do not exclude cow milk as an ingredient for

infant formulas intended for use by an infant with a low birth weight.

       Thus, since Plaintiffs do not allege that the product did not meet federal requirements, there

is no basis for any claim that the product is unreasonably dangerous and/or should not be given

under any circumstances to premature or low birth weight infants.




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IV.    ARGUMENT

       A. DEMURRER TO COUNT VI: FAILURE TO WARN

               1. Moving Defendants Cannot Be Held Liable to Plaintiffs Based on a Theory
                  of Failure to Warn Because the Infant Formula is Not Unreasonably
                  Dangerous

       Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997).

       Plaintiffs allege in Count VI of the Amended Complaint that Moving Defendants, “as

purchaser, supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and

the public a duty to provide products that were free of unreasonable risk of harm. Plaintiffs’ theory

against Moving Defendants is that they were aware cow’s milk-based products manufactured by

Mead Johnson and Abbott cause NEC in premature and low birth weight infants and negligently

failed to warn the parents of those infants of this danger. However, Plaintiffs do not cite any study

or statement in the Amended Complaint that indicates that NEC is caused by cow’s milk-based

infant formula. Taking the facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the products in question are indeed unreasonably dangerous. Further, to the extent the product at

issue was provided in the context of medical care, rather than commerce, there can be no claim

against Moving Defendants for a product-liability based theory of failure to warn.




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       “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a claim

of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp., 596 A.2d

845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

           One who supplies directly or through a third person a chattel for another to
           use is subject to liability to those whom the supplier should expect to use
           the chattel with the consent of the other or to be endangered by its probable
           use, for physical harm caused by the use of the chattel in the manner for
           which and by a person for whose use it is supplied, if the supplier

           (a) knows or has reason to know that the chattel is or is likely to be
               dangerous for the use for which it is supplied, and

           (b) has no reason to believe that those for whose use the chattel is supplied
               will realize its dangerous condition, and

           (c) fails to exercise reasonable care to inform them of its dangerous
           condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388. To survive preliminary objections, Plaintiffs must aver

sufficient facts, together with the documents and exhibits attached thereto, to make out a prima

facie case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co.,

130 A.3d 19, 35 (Pa. Super. 2015).

       “The threshold inquiry in all products liability cases is whether there is a defect which

rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc., 718

A.2d 305, 307 (Pa. Super. 1998). “A product is defective when it is not safe for its intended use,

i.e., the product left the supplier's control lacking any element necessary to make it safe for its

intended use.” Id. At 308. Whether a product is “unreasonably dangerous” is a question of law. Id.

Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use, triggering Moving

Defendants’ duty to warn. They have not done so as the studies they cite in their Complaint do not




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say – based on the very allegations in the Complaint - what Plaintiffs claim they do. Therefore,

Moving Defendants had no corresponding duty to warn.

       At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-weight

infants are especially susceptible to NEC.” See Exhibit “B” at ¶ 16 (emphasis added). Following

this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding products

cause NEC in preterm and low birth weight infants – a claim that is unsupported by any specific

studies or trials in the Amended Complaint. Id. Admittedly, if a product directly causes NEC in

preterm and low birth weight infants, that product would certainly be dangerous. However,

Plaintiffs’ Amended Complaint does nothing to support this bald allegation.

       Ultimately, Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based feeding

products cause NEC and are therefore unreasonably dangerous rests upon the notion that

correlation equals causation. However, Plaintiffs have not, and cannot, establish causation.

Plaintiffs readily admit at paragraph 16 of the Amended Complaint that preterm and low-birth-

weight infants are especially susceptible to NEC because of their underdeveloped digestive

systems. All that Plaintiffs’ Amended Complaint demonstrates, as pleaded under these facts, is

that breast milk may be better at reducing that already high risk of NEC in these infants than cow’s

milk-based alternatives. This proposition does not make the Defendant Manufacturers’ cow’s

milk-based alternatives unreasonably dangerous within the meaning of § 388 of the Restatement

(Second) of Torts and, accordingly, does not trigger a duty to warn on the part of Moving

Defendants.

               2. Moving Defendants Are Not a “Supplier” and, Therefore, Cannot Be Held
                  Liable for Negligent Failure to Warn

       Assuming arguendo that the Defendant Manufacturers’ cow’s milk-based feeding products

can be seen as dangerous for their intended use as opposed to simply being a less effective

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alternative to breast milk products, Moving Defendants still had no duty to warn of the nature of

cow’s milk-based products under § 388 because they are not considered a supplier of cow’s milk-

based feeding products. Plaintiffs cite to no caselaw in Pennsylvania holding that a hospital is

considered a supplier under § 388. Indeed, extensive research into this topic turns up no prior

decisions where a Pennsylvania court has found a hospital to be a supplier in a products liability

case for negligent failure to warn.

       To determine a hospital may be defined as supplier of products ancillary to and following

medical services within the meaning of § 388 would be to impose on the hospital a duty to warn

about every conceivable object a patient may encounter in a hospital, right down to the napkins

available in the hospital cafeteria. Imposing such a duty does nothing to advance the purpose of

products liability law, i.e. to protect consumers from dangerous products in the stream of

commerce. Moving Defendants are not in the best position to determine what products are

available in the market for premature and low weight birth infants. In light of this, Plaintiffs have

not sufficiently pleaded that Moving Defendants are a supplier under § 388.

       For the foregoing reasons, Plaintiffs have not pleaded sufficient facts to aver the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use and thus have not

established Moving Defendants had a duty to warn. Alternatively, even if the products at issue

here can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts

that Moving Defendants are a supplier of products that are ancillary to the medical services

provided to Plaintiffs. Accordingly, it is respectfully requested this Court sustain Moving

Defendants’ Preliminary Objections to Count VI: Failure to Warn of Plaintiffs’ Amended

Complaint.

               3. There is no Legal Basis for Plaintiffs to Present an Informed Consent
                  Claim Regarding the Use of Cow’s milk-based products

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       Plaintiffs’ failure to warn claim is couched in language of product liability related to

Moving Defendants’ alleged duty “as a purchaser, supplier and/or distributor” to provide a product

(cow’s milk-based infant formula) that was free of unreasonable risk of harm to consumers

(parents and their premature infants). This theory fails for the reasons stated above. However, to

the extent that Plaintiffs are alleging that Moving Defendants, in providing medical care to

Plaintiff-minor, failed to obtain Plaintiff-parent’s consent to the use of cow’s milk-based products

and failed to warn of the purported risks and alternatives of such products, such a claim is also

clearly precluded by Pennsylvania law.

       Plaintiffs broadly allege that Moving Defendants failed to warn of the alleged dangers of

cow’s milk-based products and provide them with information necessary “to make an informed

choice about whether to allow their baby to be fed the Defendant Manufacturers’ products.” See

Exhibit “B” at ¶ 139. This purported failure to warn/inform allegedly led Plaintiff-minor to be fed

a cow’s milk-based product that Plaintiffs’ contend caused and/or increased the risk of NEC. Id.

at ¶ 143. The sole basis upon which Plaintiffs can proceed against Moving Defendants for “failure

to warn” in the context of providing medical care is to assert such a claim under a theory of failure

to obtain informed consent. Plaintiffs are impliedly asserting that Moving Defendants failed to

obtain Plaintiff-parent’s informed consent as to whether she should use cow’s milk-based infant

formula to feed her child as opposed to breastfeeding or using breast donor milk, based on the

alleged risks of cow’s milk-based products. However, such a claim is not cognizable under

Pennsylvania law.

       Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:




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           (a) Duty of Physicians.--Except in emergencies, a physician owes a
           duty to a patient to obtain the informed consent of the patient or the
           patient’s authorized representative prior to conducting the following
           procedures:

               (1) Performing surgery, including the related administration of
               anesthesia.

               (2) Administering radiation or chemotherapy.

               (3) Administering a blood transfusion.

               (4) Inserting a surgical device or appliance.

               (5) Administering an experimental medication, using an
               experimental device or using an approved medication or device in
               an experimental manner.

               (b) Description of procedure.--Consent is informed if the patient has
               been given a description of a procedure set forth in subsection (a)
               and the risks and alternatives that a reasonably prudent patient
               would require to make an informed decision as to that procedure.
               The physician shall be entitled to present evidence of the description
               of that procedure and those risks and alternatives that a physician
               acting in accordance with accepted standards of medical practice
               would provide.

40 P.S. §1303.504 (emphasis added).

       The clear language of the statute above reveals two significant tenets. The first is that the

informed consent statute does not apply to the use of infant formula in feeding premature infants,

since that is not a “procedure.” Thus, there is no basis for Plaintiffs to contend that Plaintiff-

parent’s consent was required for the use of infant formula to feed her infant, including warning

her of the risks or alternatives of same. Second, the informed consent statute only applies to

physicians, not hospitals, in the context of medical procedures. See Morgan v. MacPhail, 550 Pa.

202, 205 (1997).

       Informed consent has not been extended to any type of therapeutic treatment involving an

ingestible therapeutic drug, which the court defined as “an ongoing treatment upon examination

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by the treating physician, where any change of condition can be diagnosed and controlled.” Boyer

v. Smith, 345 Pa. Super. 66, 71, 497 A.2d 646, 648 (1985). The Superior Court ruled that the

informed consent doctrine is premised upon the legal theory that the performance of a medical

procedure without a patient's informed consent constitutes a technical assault or battery and that

merely prescribing an oral medication does not involve a touching so not battery can occur and no

informed consent is needed. Id. at 649. The same principles clearly apply to administration of

infant formula to a newborn.

       Further, an informed consent claim is only applicable to a physician and not the hospital

and/or other health care entities. See 40 P.S. § 1303.504; see also Kelly v. Methodist Hosp., 664

A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who performs the operation

on the patient has the duty of obtaining his consent for the procedure). The Pennsylvania Supreme

Court has held that informed consent involves the relationship between a physician and the patient

and that the failure to obtain proper informed consent is deemed a battery, and the institution plays

no role in the communications involved in obtaining the same. See Valles v. Albert Einstein

Medical Center, 805 A.2d 1232 (2002). In Valles, the Court decisively ruled that:

       We find that a battery which results from a lack of informed consent is not the type
       of action that occurs within the scope of employment. In our view, a medical facility
       cannot maintain control over this aspect of the physician-patient relationship. Our
       lower courts have recognized that the duty to obtain informed consent belongs
       solely to the physician. (Citations omitted). Informed consent flows from the
       discussions each patient has with his physician, based on the facts and
       circumstances each case presents. We decline to interject an element of a hospital’s
       control into this highly individualized and dynamic relationship. We agree with the
       lower court that to do so would be both improvident and unworkable. Thus, we
       hold that as a matter of law, a medical facility lacks the control over the manner in
       which the physician performs his duty to obtain informed consent so as to render
       the facility vicariously liable.

Id., 805 A.2d at 1239 (emphasis added). The Valles case remains the prevailing law in

Pennsylvania. Pennsylvania courts have repeatedly applied this doctrine, recognizing and

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acknowledging that “[i]n a claim alleging lack of informed consent, it is the conduct of the

unauthorized procedure that constitutes the tort.” Isaac v. Jameson Mem. Hosp., 932 A.2d 924,

929 (Pa. Super. 2007) (citing Moure v. Raeuchle, 604 A.2d 1003, 1008 (Pa. Super. 1992). Further,

“[g]iven the unique nature of the doctrine and its origins as a technical battery, hospitals cannot be

held vicariously liable for a physician’s failure to obtain informed consent because ‘a medical

facility cannot maintain control over this aspect of the physician-patient relationship.’” Isaac, 932

A.2d at 930. As such, it is clear that the instant cause of action cannot be sustained against Moving

Defendants as a matter of law.

        B. DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
           CARE PROVIDER

                1. Moving Defendants Cannot be Held Liable for Corporate Negligence
                   Regarding a Food Product Which is Permitted for its Intended Use
                   Pursuant to Federal Law

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.

        Plaintiffs’ corporate liability claim fails based on the same rationale as the claim for failure

to warn. Both claims are based on the alleged failure to provide warnings to patients related to the

use of cow’s milk-based infant formula. As noted above, infant formula is regulated by the FDA,

and there is no legal restriction on the use of cow’s milk-based products for feeding of premature

infants. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to provide

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cow’s-milk based products to low birth weight infants. Further, as discussed above, Plaintiffs

cannot demonstrate that cow’s milk-based formula is a dangerous product. Thus, there is no legal

basis to contend that Moving Defendants can be held liable pursuant to a theory of corporate

liability for failing to preclude the use of cow’s milk-based products in the feeding of premature

infants in the hospital.

        Additionally, Courts considering the application of the duties set forth in Thompson have

insisted on more than a simple finding of a negligent act by someone for whom the hospital is

purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In

considering whether the plaintiff could sustain corporate negligence claims based on these

allegations, the court analyzed the Thompson decision and delineated the standards required to

sustain such a claim:

               The Thompson theory of corporate liability will not be triggered every time
               something goes wrong in a hospital which harms a patient . . . To
               establish corporate negligence, a plaintiff must show more than an act of
               negligence by an individual for whom the hospital is responsible. Rather,
               Thompson requires a plaintiff to show that the hospital itself is breaching a
               duty and is somehow substandard…Thompson contemplates a kind of
               ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added). Thus, corporate liability requires “more than

individual acts of negligence.” Id. As noted by the court in Edwards, this reading of the Court’s

opinion in Thompson is the only way to logically construe its holding, as hospitals are already held

vicariously liable for the negligent acts of their employees and ostensible agents, while “Thompson

requires a plaintiff to show that the hospital itself is breaching a duty and is somehow substandard.”

Id. at 1387; see also MacDonald v. Chestnut Hill Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa.

C.P. 2005) (granting nonsuit to the hospital defendant where “[t]here was no evidence that protocols

were routinely ignored to the detriment of patients or that the kind of systematic negligence on the

part of CHH required by the Edwards decision was present.”)
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        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

the use of cow’s milk-based infant formula was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-minor’s case herein, which has not

been pleaded by Plaintiffs considering the paucity of the allegations in the Complaint, such evidence

cannot support a finding of corporate liability.

        For the reasons stated above, Count VII of Plaintiffs’ Complaint should be dismissed with

prejudice.

                2. Plaintiffs Are Precluded From Pursuing Corporate Negligence Claims as
                   to The Trustees of the University of Pennsylvania

        As noted infra, the Pennsylvania Supreme Court set forth certain nondelegable duties of

hospitals, which if violated may support a finding of corporate negligence. The Thompson holding

has been extended to HMO’s and nursing home facilities, where it was determined that such

entities performed similar functions as hospitals. See Shannon v. Health America Pennsylvania,

Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland Park Care Center, LLC, 57 A.3d 582

(Pa. 2012). However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

        There is no legal basis for holding that the purported corporate parent of a hospital can be

held liable under a theory of corporate negligence. The Trustees of the University of Pennsylvania

is not a hospital and cannot be held liable under a theory of corporate liability, regardless of its

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relationship with Pennsylvania Hospital. Moreover, as Pennsylvania Courts have consistently

held, corporate negligence duties are “non-delegable,” i.e., only one entity can be held liable for a

breach of these duties. The Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07. Thus, even if a corporate negligence claim were permissible as to Pennsylvania

Hospital, which is denied for the reasons stated above, The Trustees of the University of

Pennsylvania, which is not a hospital, cannot also be exposed to liability for an alleged breach of

the same, non-delegable duties arising out of the same factual allegations. Accordingly, even

accepting as true all well pled facts in Plaintiffs’ Complaint, the corporate negligence claims as to

the non-hospital Defendant, the Trustees of the University of Pennsylvania, are legally insufficient

and must therefore be dismissed.

       C. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
          SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of

a motion to strike for insufficient specificity in a pleading. A plaintiff’s Complaint is required to

provide a defendant with notice of what the plaintiff’s claims are and the grounds upon which they

rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that

“the material facts on which a cause of action or defense is based shall be stated in a concise and

summary form.” Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts

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       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953). A plaintiff’s

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.

Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more than a generalized

averment under which any injuries whatever could be proved at the trial. Defendant would have

no knowledge in advance of the trial of what they are.”)

       Plaintiffs’ Amended Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case. Plaintiffs’ description of the

material facts relating to the minor’s care and treatment, diagnosis and injuries is limited to four

paragraphs, which are utterly insufficient to enable Defendants to prepare their defenses. See

Exhibit “B,” ¶¶ 11-14. Plaintiffs aver that the minor was born prematurely, the gestational age and

birth weight. Plaintiffs’ allegation that “upon information and belief,” the minor was fed Similac

and/or Enfamil shortly after his birth (Id. at ¶ 12) does not comply with the fact-pleading

requirements of Rule 1019(a), since such allegations do not provide Moving Defendants with

appropriate notice of the facts as to whether the minor actually ingested cow’s milk-based


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products. Further, Plaintiffs have failed to identify which of the numerous products sold by Abbott

and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

Plaintiffs’ Amended Complaint further fails to provide a description of the material facts as to the

period of time in which such products were ingested, when the minor was allegedly diagnosed

with NEC, what specific treatment was provided for that condition, and for how long.

       The Amended Complaint further fails to state the nature of the “neurological injuries” and

“long-term health effects” that are alleged to have resulted from the diagnosis of NEC. Plaintiffs’

damages claim is not stated with particularity, is amorphous, vague, and open-ended. Pursuant to

Pennsylvania pleading requirements, Moving Defendants should not be compelled to defend a

claim for which the statement of injury is unspecified and subject to change.

       In short, Plaintiffs’ Amended Complaint is inconsistent with the requirements of the

Pennsylvania Rules of Civil Procedure as to the necessary specificity for the description of the

facts and alleged injuries sustained. The facts in the Complaint are pleaded almost entirely “on

information and belief.” These omissions are fatal defects in Plaintiffs’ Amended Complaint.

Therefore, Plaintiffs’ Amended Complaint should be stricken in its entirety.

       D. MOTION TO STRIKE PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

       As in the other infant formula cases, In the Ad Damnum clauses of Counts VI and VII of

the Amended Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged

in oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of

punitive damages. However, the Amended Complaint contains no specific allegations of conduct

that would permit recovery of punitive damages as to Moving Defendants. Rather, Plaintiffs

merely allege that “upon information and belief” J.C. may have been given a cow’s milk-based

infant formula following birth, absent any context to indicate that such an action was inappropriate



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based on the specific issues involved in J.C.’s medical care and condition following birth. For

example, the Amended Complaint gives no indication of whether Plaintiff-parent refused or was

unable to provide breast milk and provides no information as to discussions between her and any

health care providers regarding the purported use of cow’s milk-based products.

       Plaintiffs’ allegations of oppressive, malicious and similar conduct must be rejected as

mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula in

care of low birth weight infants, with no restriction as to the use of cow’s milk-based products for

such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least four

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula. Absent specific factual allegations to justify the claim that the use of

infant formula in J.C.’s case was extreme and outrageous, there is no basis for an award of punitive

damages in this case. Merely contending that punitive damages should be awarded with no

supporting factual justification requires dismissal of this claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania Supreme Court decisions establish that “punitive damages are an ‘extreme remedy’

available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.

LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883

A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly

egregious.” Wagner at *12.



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       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the

mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Specifically, with regard to punitive damages in the context of claims against health care

providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages only

to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
       of the health care provider’s willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly
       consider the character of the health care provider’s act, the nature and extent of the
       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of

punitive damages, “the state of mind of the actor is vital. The act or failure to act, must be

intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.

Thus, “a punitive damages claim must be supported by evidence sufficient to establish that (1) a

defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

that (2) he acted, or failed to act, as the case may be, in conscious disregard of that risk.” Id.




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        Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in

malpractice actions unless the medical provider’s deviation from the applicable standard of care is

so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.

        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

surgery that left the plaintiff with severe neurological defects, and noting that “the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

damages was warranted.”) (emphasis added); Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted

“nothing more than ordinary negligence and are insufficient to support an award of punitive

damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

negligence in the prenatal care of her child that led to the child was stillborn and holding that “[i]t

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct

of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl. 1992) (sustaining preliminary objections and finding that plaintiffs were not “capable of

pleading the requisite behavior” for an award of punitive damages where a hospital allegedly failed



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to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

       Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       All of the cases in the paragraph above set forth examples of egregious conduct, completely

inapposite to the facts of the instant case. The facts underlying Plaintiffs’ bare assertions of



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reckless, outrageous or similar behavior do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Even assuming the allegations

in the Complaint were true for the purposes of this argument only, the outcome in this case was

not the result of any intentional wrongdoing or deliberate misconduct on the part of Moving

Defendants or any medical provider at Pennsylvania Hospital, nor does the Complaint contain any

such allegations.

       Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c). Plaintiffs allege in this action that unidentified “staff” fed J.C. Similac

and/or Enfamil at Pennsylvania Hospital shortly after his birth and failed to warn Plaintiff-parent

of the alleged risks of such products. See Exhibit “B,” ¶ 12. Even if such actions were claimed to

be egregious or malicious such that punitive damages were permissible, which is denied for the

reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had actual

knowledge of the alleged wrongful conduct and nevertheless allowed it. See Zazzera v. Roche, 54

D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637

(Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.



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       E. MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

               1. Plaintiff-Parent has Failed to State a Cause of Action

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of J.C. Plaintiffs’ Amended Complaint includes allegations in each count asserted as to

Moving Defendants in which it is averred that Plaintiff-parent “suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly altered by the Injured

Infant’s injuries.” See Exhibit “B,” ¶¶ 144, 157 and 165. However, no specific cause of action is

asserted as to any damages sought by Plaintiff-parent in her own right, who is not alleged in the

Amended Complaint to have suffered any physical injuries as a result of the alleged negligent

conduct of Moving Defendants. For this reason, Plaintiff-parent’s claim should be dismissed.

               2. Plaintiffs are Required to Plead Separate Claims Pursuant to
                  Pa.R.C.P. 1020

       Further, even if Plaintiff-parent had properly articulated a cause of action in the Amended

Complaint to allow her to recover damages in her own right, the Amended Complaint should be

stricken pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both the

Plaintiff-minor and the Plaintiff-parent, as was done in the Amended Complaint filed herein.

Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Amended

Complaint, specifically identifying the cause of action asserted and relief sought in each count.

               3. Plaintiff-Parent’s Claim Is Precluded Pursuant to the Statute of Limitations




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        Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-parent’s claims were not similarly tolled and were required to have

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that J.C. was born on October 6, 2014,

was fed the Defendant manufacturers’ products shortly after his birth, and developed NEC shortly

thereafter. See Exhibit “B,” ¶¶ 11-13. Thus, since the Amended Complaint herein was filed on

March 24, 2022, Plaintiff-parent’s claims herein are clearly time-barred based on the applicable

statute of limitations.



        In an attempt to circumvent the statute of limitations issues for the Plaintiff-parent,

Plaintiffs go to great lengths in their Amended Complaint to essentially assert that Plaintiff-

parent’s claims are somehow preserved by way of the discovery rule. See, Exhibit “B” ¶¶ 23 – 41.

More specifically, Plaintiffs have attempted to invoke the Pennsylvania “discovery rule” by

arguing that the applicable statute of limitations did not commence until Plaintiff-parent saw an

advertisement related to litigation concerning cow’s milk-based infant formula and NEC. See

Exhibit “B” at ¶33.

        The discovery rule is a recognized exception to the general rule that a statute of limitations

begins to run from the date that a negligent act occurs. The discovery rule provides that where the

existence of the injury is not known to the complaining party and such knowledge cannot

reasonably be ascertained within the prescribed period, the period of limitation does not begin to

run until discovery of the injury is reasonably possible. Hayward v. Medical Center of Beaver

County, 608 A.2d 1040, 1043 (Pa. 1992). However, in accordance with the discovery rule, a

plaintiff need not know the precise medical cause of the injury for the statute of limitations to begin


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running; she need only to have known that an injury occurred. Groover v. Riddle Memorial

Hospital, 357 Pa. Super. 420, 516 A.2d 53 (1986).

       Any contention by Plaintiffs that the statute of limitations must be tolled until such time

that a plaintiff first suspected that there had been medical negligence with regard to her infant’s

treatment must similarly be rejected. It is well established in Pennsylvania that a plaintiff need not

know the precise extent of injuries before the statutory period begins to run. Levenson v. Souser,

384 Pa. Super. 132, 557 A.2d 1081, 1090 (1989). Further, it is well settled law that, in accordance

with the discovery rule, a plaintiff need not know that she has a cause of action or suspects there

has been negligence before the statute of limitations commences. Colonna v. Rice, 664 A.2d 979,

981 (Pa. Super. 1995); Bigansky v. Thomas Jefferson Univ. Hosp., 658 A.2d 423, 427, 431 n.5 (Pa.

Super. 1995); Brooks v. Sagovia, 636 A.2d 1201, 1204 (Pa. Super. 1994); E.J.M. v. Archdiocese

of Phila., 622 A.2d 1388, 1394 (Pa. Super. 1993); DeMartino v. Albert Einstein Med. Center, 460

A.2d 295, 298-299 (Pa. Super. 1983). Indeed, it has been expressly held that “[k]nowledge of the

negligence is not part of the discovery rule.” DeMartino, supra, 460 A.2d at 299. A plaintiff need

only know that there was an injury and who caused that injury, a plaintiff need not know the full

extent of the injury or even suspect negligence. Nicolaou v. Martin, 195 A.3d 880, 892-93 (Pa.

2018); Gleason v. Borough of Moosic, 15 A.3d 479, 484 (Pa. 2011); Wilson v. El-Daief, 964 A.2d

354, 364 (Pa. 2009).

       Based upon the facts plead by Plaintiffs, J.C. is alleged to have developed NEC shortly

after his birth. See Exhibit “B” ¶¶11 – 14. Accordingly, Plaintiff-parent knew of an injury in

2014, making any claim in her own right clearly time barred, regardless of whether she knew the

extent of any claimed injury and/or when she suspected that the injury was caused by negligence.




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The statute of limitations for Plaintiff-parent had clearly expired by the time this action was

commenced on March 24, 2022.

        F. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
           COMPLY WITH Pa.R.C.P. 1024

        Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading

containing a factual averment based upon the signer’s personal knowledge or information and

belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

pleading. In this case, Plaintiffs’ Amended Complaint is unverified in violation of Rule 1024. See

Exhibit “B.” Accordingly, the Amended Complaint should be stricken for lack of an appropriate

verification.

V,      REQUESTED RELIEF

        For the foregoing reasons, Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                               BURNS WHITE LLC


                                         BY:
                                               JAMES A. YOUNG, ESQ.
                                               RICHARD S. MARGULIES, ESQ.
                                               Attorneys for Defendants,
                                               The Pennsylvania Hospital of the University of
                                               Pennsylvania Health System d/b/a Pennsylvania
                                               Hospital and The Trustees of the University of
                                               Pennsylvania d/b/a Penn Medicine




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                                 CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, do hereby certify that on this day I caused a true and

correct copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of

the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Amended Complaint, to be served

via the electronic filing system to all counsel of record.




                                          BY:
                                                RICHARD S. MARGULIES, ESQ.


Dated: September 27, 2023
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                       EXHIBIT E
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                       EXHIBIT F
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By:




Timothy.burke@klinespecter.com


                                                 :   IN THE COURT OF COMMON PLEAS
HOLLI CARTER, on her own behalf and as           :   PHILADELPHIA COUNTY
Parent and Natural Guardian of J.C., a Minor,    :
                                                 :   CIVIL TRIAL DIVISION
                            Plaintiff,           :
                                                 :   MARCH TERM 2022
       v.
                                                 :   NO. 02588
                                                 :
MEAD JOHNSON & COMPANY, LLC, MEAD
                                                 :
JOHNSON NUTRITION COMPANY, ABBOTT
                                                 :
LABORATORIES, THE TRUSTEES OF THE
                                                 :
UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                 :
MEDICINE, and THE TRUSTEES OF THE
                                                 :
UNIVERSITY OF PENNSYLVANIA d/b/a
                                                 :
PENNSYLVANIA HOSPITAL,
                                                 :
                                                 :
                             Defendants.
                                                 :
                                                 :
                                                 :

                                         NOTICE TO DEFEND
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 NOTICE                                               ADVISO
 You have been sued in court. If you wish to defend Le han demandado a used en la corte. Si usted
 against the claims set forth in the following pages, quiere defenderse de estas demandas expuestas en
 you must take action within twenty (20) days after las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and notificacion. Hace falta asentar una comparencia
 filing in writing with the court your defenses or    escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You corte en forma escrita sus defensas o sus objeciones
 are warned that if you fail to do so the case may    a las demandas en contra de su persona. Sea avisado
 proceed without you and a judgment may be            que si usted no se defiende, la corte tomara medidas
 entered against you by the court without further     y puede continuar la demanda en contra suya sin
 notice for any money claimed in the complaint or previo aviso o notificacion. Ademas, la corte pueda
 for any other claim or relief requested by the       decidir a favor del demandante y requiere que usted
 plaintiff. You may lose money or property or other cumpla con todas las provisiones de esta demanda.
 rights important to you.                             Usted puede perder dinero o sus propiedades u otros
 YOU SHOULD TAKE THIS PAPER TO YOUR derechos importantes para usted.
 LAWYER AT ONCE. IF YOU DO NOT HAVE LLEVE ESTA DEMANDA A UN ABOGADO
 A LAWYER, GO TO OR TELEPHONE THE                     INMEDIATAMENTE, SI NO TIENE ABOGADO
 OFFICE SET FORTH BELOW. THIS OFFICE O SI NO TIENE EL DINERO SUFICIENTE DE
 CAN PROVIDE YOU WITH INFORMATION                     PAGAR TAL SERVICIO, VAYA EN PERSONA O
 ABOUT HIRING A LAWYER.                               LLAME POR TELEFONO A LA OFICINA CUYA
 IF YOU CANNOT AFFORD TO HIRE A                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
 LAWYER, THIS OFFICE MAY BE ABLE TO                   PARA AVERIGUAR DONDE SE PUEDE
 PROVIDE YOU WITH INFORMATION ABOUT CONSEGUIR ASISTENCIA LEGAL.
 AGENCIES THAT MAY OFFER LEGAL
 SERVICES TO ELIGIBLE PERSONS AT A                    Colegio de Abogados del Lackawanna
 REDUCED FEE OR NO FEE.                               233 Penn Avenue, Scranton, PA 18503
                                                      (570) 961-2714
 Lackawanna Bar Association
 233 Penn Avenue
 Scranton, PA 18503
  (570) 961-2714
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                                                     :   IN THE COURT OF COMMON PLEAS
 HOLLI CARTER, on her own behalf and as Parent       :   PHILADELPHIA COUNTY
 and Natural Guardian of J.C., a Minor,              :
                                                     :   CIVIL TRIAL DIVISION
                             Plaintiff,              :
                                                     :   MARCH TERM 2022
        v.
                                                     :   NO. 02588
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                     :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                     :
 LABORATORIES, THE TRUSTEES OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                     :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                     :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                     :
                                                     :
                              Defendants.
                                                     :


                            SECOND AMENDED COMPLAINT

       Plaintiff brings this Second Amended Complaint and Demand for Jury Trial (the “Second

Amended Complaint”) against Mead Johnson & Company, LLC, Mead Johnson Nutrition

Company, and Abbott Laboratories (collectively “the Defendant Manufacturers”), and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine and Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively “Penn


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Medicine” or “Pennsylvania Hospital”), together “Defendants.”         Plaintiff alleges the following

upon personal knowledge as to Plaintiff’s own acts and experiences and upon information and

belief, including investigation conducted by Plaintiff’s attorneys, as to all other matters.

                                    I.         INTRODUCTION

1.     This action arises out of the injuries suffered by a premature infant (the “Injured Infant”)

who was given the Defendant Manufacturers’ cow’s milk-based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant Manufacturers’ products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.         This caused the Injured Infant to

develop necrotizing enterocolitis (“NEC”), a life-altering and potentially deadly disease that

largely affects premature babies who are given cow’s milk-based feeding products.         As a result,

the Injured Infant was seriously injured, resulting in long term health effects and accompanying

harm to their parent (“the Plaintiff Parent”).

2.     Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant’s consumption of the Defendant Manufacturers’

unreasonably dangerous cow’s milk-based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                         II.     PARTIES

3.     Plaintiff Holli Carter is a natural adult person and a resident of New Jersey. Ms. Carter is

the parent and natural guardian of J.C., a minor. Ms. Carter’s address is 16 Carmen Drive, Cape

May Court House, New Jersey 08210-2563.

4.     Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws


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of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead

Johnson Nutrition Company and Mead Johnson & Company, LLC, (together, “Mead”) are

manufacturers of cow’s milk-based infant feeding products and market many of these products

under the “Enfamil” brand name.

5.      Defendant Abbott Laboratories (“Abbott”) is a corporation, incorporated under the laws of

the State of Illinois. Its principal place of business is in Illinois. Abbott is a manufacturer of cow’s

milk-based infant feeding products and markets many of its products under the “Similac” brand

name.

6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.               Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                              III.    JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants


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conduct authorized business in the Commonwealth of Pennsylvania.              They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

This suit arises out of Defendants’ forum-related activities, such that the Court of Common Pleas

of Philadelphia County’s exercise of jurisdiction would be consistent with traditional notions of

fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia

County, which is also the county where Plaintiff’s causes of action arose, and the county where

the occurrences took place out of which Plaintiff’s causes of action arose.

10.     This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.   FACTUAL ALLEGATIONS

                                       J.C.’s NEC Diagnosis

11.     J.C. was born prematurely at Pennsylvania Hospital in Philadelphia, Pennsylvania on

October 6, 2014.

12.     At birth, J.C.’s gestational age was approximately 24 weeks and he weighed 655 grams.

13.     J.C. was fed breast milk from October 11, 2014 until October 22, 2014.

14.     On October 23, 2014 the Pennsylvania Hospital NICU physicians changed J.C.’s

nutritional orders to be breast milk fortified with bovine-based human milk fortifier (“HMF”),

fortified to 24 cal/oz. Upon in formation and belief, J.C. was exclusively fed this fortified breast

milk from October 23, 2014 to October 31, 2014.


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15.     Upon information and belief, the bovine based Human Milk Fortifier that was fed to infant

J.C. was “Similac Human Milk Fortifier Powder 24 cal/oz”, manufactured by Defendant Abbott.

16.     Upon information and belief, J.C. was fed Similac and/or Enfamil cow’s milk-based

products by staff at Pennsylvania Hospital after his birth despite the fact that Pennsylvania Hospital

knew or should have known that cow’s milk-based products increase the risk of NEC and that

human milk decreases the risk of NEC.

17.     On November 1, 2014 J.C. was diagnosed with stage I necrotizing enterocolitis (“NEC”)

after he developed sepsis, gaseous distention and ileus replogle. He was treated for fourteen days

for Stage I Medical NEC with vancomycin and zosyn from November 1, 2014 to November 14,

2014.

18.     Upon information and belief, J.C. developed NEC after ingesting Defendant

Manufacturers’ products.

19.     J.C. was discharged from the Pennsylvania Hospital NICU on February 22, 2015.

20.     At discharge Plaintiff Holli Carter was instructed to continue feeding J.C. with fortified

breast milk to 24 calories and was provided with Abbott’s Similac Human Milk Fortifier samples

by Defendant Hospital at the time of discharge for use going forward, along with instructions as

to how to procure that herself going forward.

21.     J.C.’s diagnosis of NEC occurred during his course of treatment at Defendant Hospital’s

NICU. J.C. suffered injuries including a diagnosis of NEC, treatment with antibiotics and blood

transfusions, and suffers from developmental delay secondary to NEC.

                    Cow’s Milk-Based Feeding Products Are Known to Cause
                                            NEC

22.     NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

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causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

23.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow’s milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.

        Safer, Nutritionally Superior Alternatives to Cow’s Milk-Based Products Exist

24.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition. For example, in addition to the mother’s own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

25.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow’s milk-based products.

26.    The Defendant Manufacturers’ products not only pose a threat to infants’ health, but also

displace the human milk they could otherwise receive. This displacement only increases infants’

vulnerability to NEC.

27.    Human milk-based nutrition nourishes infants while creating a significantly lower risk of

NEC.

28.    At the time the Injured Infant was fed the Defendant Manufacturers’ products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the


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likelihood that a baby will develop NEC, leading to severe injury and often death.

29.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products’ packaging, guidelines,

instructions, or warnings.    Instead, they have continued to sell their unreasonably dangerous

products.   In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge. And, in fact,

the Defendant Manufacturers offer contracts to hospitals—which the hospitals accept—that

actually prevent the health care providers from offering alternative products—even safer ones—

on pain of risking the hospital’s advantageous formula pricing strategy.

30.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital fed Similac

and/or Enfamil cow’s milk-based products after her birth instead of mother’s human milk and/or

donor human milk.

31.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital did not properly

warn Ms. Wiger of those risks and alternatives to have avoided the cow’s milk-based products.

                                 Ms. Carter Discovers Her Claim

32.    Because of the Defendants’ concealment and misrepresentations, described more fully

herein, Ms. Carter did not know, and had no reason to know or suspect, that J.C.’s NEC could


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have been caused by the Defendant Manufacturers’ products.

         Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and
                      Would Not Have Revealed a Factual Basis Earlier
                 Because Defendants Hid the Cause of NEC from Ms. Carter

33.     Despite exercising reasonable diligence, Ms. Carter was unable to have made the discovery

earlier via a reasonable investigation because the Defendants in this litigation concealed the

wrongful cause of J.C.’s injuries.

34.     Amidst the physical and emotional trauma of preterm childbirth, and having her child in

the neonatal intensive care unit, shortly after learning of J.C.’s NEC diagnosis, Ms. Carter

undertook an investigation into the cause of the NEC by asking the doctors the cause of her NEC.

35.     The health care providers at Penn Medicine responded only that J.C. had gotten NEC

because she was born premature. Penn Medicine’s response did not indicate that her NEC was

caused by the Defendant Manufacturers’ products.

36.     Not one person at Penn Medicine mentioned that the Defendant Manufacturers’ formula

products could have caused J.C.’s injuries. Penn Medicine’s response at the time did not give Ms.

Carter any reason to suspect any wrongdoing on the part of the Defendants.

37.     Ms. Carter is a layperson with no medical background or training that would have given

her any reason to doubt the response she received from her Penn Medicine health care providers

at the time.

38.     Given that Penn Medicine’s health care providers were in charge of the care of her newborn

infant, Ms. Carter had no reason to doubt their word.

39.     Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling or

packaging of any of the Defendant Manufacturers’ products.




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40.       What is more, necrotizing enterocolitis is a disease that can occur in children who are not

fed the Defendant Manufacturers’ products, and the Defendant Manufacturers have worked to

mislead parents into a false sense of security about the use of those products.                        Publicly

disseminated materials from each Defendant Manufacturer disguise the role their products play in

causing the disease—and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.

41.       For example, Abbott’s website stays that “[t]he specific cause of NEC is unknown, but it’s

most often seen in very low birth weight premature babies,” and that “about 10% of babies who

are born prematurely develop NEC.” The website suggests that “new preliminary studies” suggest

for the first time that “NEC prevention may . . . be possible” with the use of human milk

oligosaccharides to “dramatically curb intestinal inflammation” and reduce the risk of NEC.

Abbott states that these human milk oligosaccharides are found in “certain Similac formulas”

although they are “not currently available in Similac’s premature infant formulas.” 1 Likewise, the

website for Mead Johnson’s products states that necrotizing enterocolitis is “one of the most

common and serious intestinal disease[s] among premature babies.” And it deflects responsibility

from Mead Johnson’s products: “Necrotizing enterocolitis happens when tissue in the small or

large intestine is injured or inflamed.” 2

    42.   Because of the misleading information distributed by the Defendant Manufacturers, as

further detailed infra, any research conducted by Ms. Carter immediately after J.C.’s diagnosis, or



1
 The Role of HMOs in Reducing NEC, https://www.nutritionnews.abbott/pregnancy-childhood/prenatal-
breastfeeding/the-promising-role-of-hmos-in-reducing-risk-of-nec/ (last visited July 28, 2023).

2
  Special Feeding Concerns for Preemies, https://www.enfamil.com/articles/special-feeding-concerns-for-preemies/
(last visited July 29, 2023).
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at any time prior to seeing an advertisement, would not have led a reasonable person to suspect

that the Defendant Manufacturers’ products could have caused J.C.’s injuries.

43.    Ms. Carter also did not know, and had no reason to know or suspect, that Penn Medicine

breached its duty of care by distributing the Defendant Manufacturers’ products to her. Not only

was Ms. Carter unaware that the Defendant Manufacturers’ products caused J.C.’s injuries, but the

Defendant Manufacturers’ distribution agreements with Penn Medicine—which allowed Penn

Medicine to secure sweetheart deals for otherwise expensive premature infant formula in exchange

for product placement and access to the hospital staff—were also not public or knowable to Ms.

Carter, nor could any reasonable investigation outside of litigation have uncovered the terms of

those agreements.

Despite Exercising Reasonable Diligence, the Defendants’ Fraudulently Concealed the Risks
 of NEC from Defendant Manufacturers’ Products to Divert, Prevent, and Mislead Plaintiff
                    Regarding the Cause of Her Child’s NEC Diagnosis

44.    In addition to the averments above, the Defendants have acted in concert to fraudulently

convey false and misleading information concerning the risk of NEC, and potentially death, caused

by Defendant Manufacturers’ preterm infant formula products.

45.    The Defendants’ actions as set forth herein constitute knowing misrepresentation,

omission, suppression, and concealment of material facts, made with the intent that Plaintiff would

rely upon such concealment, suppression, or omission, in connection with the use of Defendants’

preterm infant products.

46.    Plaintiff did not know, and could not learn, the truth concerning the uses, risks and benefits

of Defendant Manufacturers’ preterm infant products due to Defendants’ deliberate

misrepresentations and concealment, suppression and omission of material facts and important

information regarding the risks of NEC, and potentially death, from the products.


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47.    Moreover, Defendant Hospital further participated in the intentional concealment—on

information and belief, it allowed the Defendant Manufacturers’ sales representatives into its

hospital to provide samples and free products that did not warn of their serious dangers, and to

provide “education” to its NICU staff that was incomplete as to the true risks of feeding their

patients the Defendant Manufacturers’ products.

48.    Based upon information and belief, during the relevant time period, Pennsylvania Hospital,

Penn Medicine, and the Hospital of the University of Pennsylvania stocked formula products from

both Abbott and Mead.

 49.   Additionally, Defendant Hospital failed to inform Ms. Carter that the Defendant

Manufacturers’ products caused Plaintiff’s NEC, even when she directly asked the cause. As noted

above, after learning of Plaintiff’s NEC diagnosis, Ms. Carter was understandably concerned about

the degrading health of her newborn infant. As any concerned parent would do, Ms. Carter asked

Plaintiff’s health care providers at Defendant Hospital why a premature infant like J.C. was

suddenly diagnosed with a terrible disease like necrotizing enterocolitis; that is, she asked

Defendant Hospital what caused Plaintiff’s injury. But even though Defendant Hospital knew of

the increased risk of NEC from formula, it did not disclose that the formula provided to J.C. could

increase the risk of NEC to preterm infants, responding only that J.C. had gotten NEC solely

because she was born premature. Not one person at the NICU mentioned that the Defendant

Manufacturers’ formula products could have been the cause of Plaintiff’s injuries.

 50.   Defendant Hospital was aware that the Defendant Manufacturers’ products caused NEC in

premature infants. Defendant Hospital was also aware that the Defendant Manufacturers did not

provide warnings on their products. However, Defendant Hospital did not warn Ms. Carter of the

risks of the products. Instead, and notwithstanding the sweetheart deal Defendant Hospital agreed


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to in exchange for preterm infant formula at little to no cost, Defendant Hospital repeatedly

informed Ms. Carter that it would do everything it could possibly do to keep her infant safe.

Though this was clearly not true given the known risks of preterm formula for babies like J.C., it

was enough for Ms. Carter to trust that Defendant Hospital was providing preterm formula in the

best interest of her child.

51.     Defendants’ affirmative acts of fraud and concealment, as averred herein, diverted,

prevented, and/or mislead Plaintiff from discovering the medical cause of her child’s NEC

diagnosis.

   The Defendant Manufacturers’ False and Misleading Marketing Regarding Cow’s Milk-
                                 Based Infant Products

52.     Abbott and Mead have aggressively marketed their cow’s milk-based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

Injured Infant’s birth.

53.     Abbott’s and Mead’s marketing approach includes targeting the parents of preterm infants

while they are still in the hospital with messages that the Defendant Manufacturers’ cow’s milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother’s

supply of breast milk. None of the Defendant Manufacturers’ marketing materials, including their

promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

54.     For example, upon information and belief, Mead creates information booklets for parents

of premature infants to help answer some of their questions and concerns about having a premature

infant in the NICU that it provides to hospitals for dissemination to parents. While Mead’s

booklets explain feeding options for premature infants, including formula, they do not mention

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that Mead’s premature formula and fortifier products increase the risk of premature infants

developing necrotizing enterocolitis.     Instead, the booklets advise parents that sometimes a

combination of breast milk and formula may be best and that premature infants will be happy and

healthy or nourished and healthy regardless of whether they are receiving breast milk or formula.

55.    Similarly, upon information and belief, Abbott publishes a pediatric nutrition product guide

that is available online for anyone, including parents, to access wherein Abbott advises that

“human milk alone does not meet all the nutritional needs of preterm infants” and that the

formulations of its products, which are based on decades of research and scientific publications,

are “specially designed to meet the nutritional requirements of preterm infants and can be fed with

confidence to most of the preterm infants in the NICU.” Nowhere in its product guide does Abbott

reference that its products increase the risk of necrotizing enterocolitis.

56.    Abbott also has a consumer-facing website accessible to anyone online, including parents,

that specifically discusses nutrition for premature infants, wherein Abbott tells parents of

premature infants that “your baby’s nutrient needs are greater than what breast milk alone can

provide” and that a “human milk fortifier” may be added to breastmilk to “add[] proteins, vitamins,

and minerals to help support a preemie’s high nutrition needs for growth and development.”

Nowhere in its discussion of preterm infant fortifiers or formulas does Abbott state that its products

increase the risk of necrotizing enterocolitis or that they pose more of a risk that just providing

preterm infants with breast milk only. Nor does Abbott disclose that the “human milk fortifier” is

actually a cow’s milk based product and not a human milk-based product, which misleads

consumers.

57.    Upon information and belief, both Mead and Abbott also provide materials and programs

to the hospitals and the physicians and medical staff who are treating premature infants about the


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manufacturers’ preterm products. Upon information and belief, these materials represent that the

manufacturers’ preterm products are safe and necessary for preterm infants. Mead and Abbott rely

on the physicians and medical staff to not only use their products in the NICU, but to convey these

messages to the parents of premature infants in their care.

58.     Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message.

59.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes (“the Code”), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

60.     While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers’ aggressive marketing exploits new parents’ darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

61.    For example, Abbott’s website, on a paged titled “Infant Formula Marketing,” states: “We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recognize that for infants who aren’t

breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe




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alternative to meet babies’ nutritional needs.” This statement ignores the existence of donor milk,

as well as human milk-based formula.

62.    Abbott markets and sells multiple products specifically targeting preterm and low-

birthweight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products’

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac NeoSure, Abbott noted: “Your premature baby didn’t

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help support her development.” Yet, no mention was made of the accompanying

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.

63.    Abbott’s website also contains product information and a downloadable guide for each of

its products specifically targeting preterm and low-birth-weight infants, including Liquid Protein

Fortifier, Similac NeoSure, Similac Human Milk Fortifiers, Similac Special Care 20, Similac

Special Care 24, Similac Special Care 24 High Protein, and Similac Special Care 30. None of

these pages or guides contain any mention of NEC or that the products specifically increase the

risk of NEC. Indeed, a search of Abbott’s website for “necrotizing enterocolitis” returns no hits.

Instead, Abbott states that “enteral feeding” – which includes breast milk and donor milk – have

been “associated with” things like “[s]pitting up, abdominal distension” or “other signs of

intestinal dysfunction.” This statement is entirely misleading, as it improperly indicates that the


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risk of things like “spitting up” are the same for premature infants using Abbott’s products and

premature infants receiving breast milk or donor milk, equates formula to non-cow’s milk-based

feeding options like breast milk and donor milk, fails to mention NEC, and minimizes the risk of

its products.

64.    Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-edited webpage for Enfamil Enfacare stated: “Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants” and noted that Enfamil formulas include “expert-recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and

eye development.”

65.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil’s formula to breast milk, without any mention

of the product’s extreme risks. Indeed, the terms “human milk” and “breast milk” are used 13 times

in the advertisement, including in such statements as “for decades human milk has inspired the

advancements in Enfamil formulas and now through extensive global research, we are taking an

even closer look at human milk” and “only Enfamil NeuroPro has a fat blend of MFGM and DHA

previously found only in breast milk.” The webpage for the product has made similar manipulative


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claims, stating “Enfamil is backed by decades of breast milk research and multiple clinical studies”

and it claims that “to create our best formulas, we collaborated on some of the most extensive

breast milk studies to date[.]”

66.    Mead’s website also contains product information for each of its products specifically

targeting preterm and low-birth-weight infants, including Enfamil NeuroPro EnfaCare Infant

Formula, Enfamil Premature Infant Formula 24 Cal High Protein, Enfamil Premature Infant

Formula 30 Cal with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, Enfamil Premature

Infant Formula 20 Cal with Iron, Enfamil 24 Cal Infant Formula, and Enfamil Human Milk

Fortifier (acidified liquid and powder). None of these pages contain any mention of NEC or that

the products specifically increase the risk of NEC. Indeed, a search of Mead’s website for

“necrotizing enterocolitis” returns no hits. Instead, Mead advertises on its website that it “has led

the way in developing safe, high-quality, innovative products” – including preterm products – “to

help meet the nutritional needs of infants.”

67.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,

and even entire gift baskets to parents before their infants’ discharge from the NICU or hospital.

68.    Here, S.P was discharged from CHOP with the recommendation to continue use of

Abbott’s Similac Special Care 24 formula.

69.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a “medical blessing,” in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant Manufacturers’ giveaways and


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gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

70.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called “Similac Human Milk Fortifier,” and Mead developed “Enfamil Human Milk Fortifier.”

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow’s milk-based products. The packaging appears as:




71.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that: (1) cow’s milk-based products are safe, including for preterm

infants; (2) cow’s milk-based products are equal, or even superior, substitutes to breast milk; (3)

cow’s milk-based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant Manufacturers’ cow’s milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death that cow’s milk-based products pose to preterm infants like

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the Injured Infant.

72.     The Defendant Manufacturers have also designed powerful marketing campaigns to both

the general public and health care providers at hospitals like Pennsylvania Hospital.         The

Defendant Manufacturers know that sales made to hospitals are key drivers of brand loyalty, and

thus are a key opportunity to drive better downstream business—i.e., retail purchases by parents

after they have left the hospital. On information and belief, the Defendant Manufacturers know

that the formula products used in a hospital’s NICU are related to getting and keeping the overall

hospital contracts.    And the Defendant Manufacturers know that, just like any celebrity

endorsement, when mothers of newborn infants see medical professionals using a certain brand,

the mothers are more likely to continue to purchase that same brand after discharge. The

Defendant Manufacturers are thus heavily motivated to ensure that NICU departments are using

their products.

73.     Abbott and Mead Johnson focus their sales teams and training heavily on hospital NICU

departments. They train their sales representatives how to increase the number of babies on their

formula, and they emphasize the need to be the dominant formula manufacturer in the NICU so

they can own that profitable ground and secure a great return on their substantial investment in

NICU formula and other products.

74.     To leverage hospitals’ NICUs and secure babies in the hospital and at retail, the

Manufacturer Defendants pull out all the stops to convince hospitals, including Defendant

Hospital, to purchase their products. For example: Abbott and Mead Johnson provide samples of

their products to hospitals for free.

75.     On information and belief, to get the hospitals on board with supplying their formula for

premature infants, Abbott and Mead Johnson work with hospitals to secure contracts that have


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special pricing discounts if a certain level of the formula-fed babies in the hospital receive just that

one manufacturer’s products; similar to a restaurant being a Coke or Pepsi restaurant. And

notwithstanding the increased risk of the Defendant Manufacturers’ products for the hospitals’

most fragile patients—the preterm infants—the decision makers at these hospitals seek out these

types of contracts to better the hospitals’ own bottom lines.

76.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective company’s

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

77.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective companies’

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

78.     On information and belief, prior to J.C.’s birth, Abbott sent sales representatives to

Defendant Hospital. Those sales representatives provided information about Abbott’s products to

Defendant Hospital’s staff via conversations, presentations, and written pamphlets. This

information indicated that Abbott’s products were safe to give to preterm infants like J.C. Abbott


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maintains call logs that detail which sales representatives visited the hospitals, which days they

visited, and which products they discussed. These sales representatives did not disclose that

Abbott’s products could cause NEC in preterm infants.

79.    On information and belief, prior to J.C.’s birth, Mead Johnson sent sales representatives to

Defendant Hospital. Those sales representatives provided information about Mead Johnson’s

products to Defendant Hospital’s staff via conversations, presentations, and written pamphlets.

This information indicated that Mead Johnson’s products were safe to give to preterm infants like

J.C. Mead Johnson maintains call logs that detail which sales representatives visited the hospitals,

which days they visited, and which products they discussed. These sales representatives did not

disclose that Mead Johnson’s products could cause NEC in preterm infants.

80.    Mead Johnson and Abbott believed and intended that the misrepresentations that its sale

representatives shared with Defendant Hospital would be used to make feeding decisions for

preterm infants like J.C.

                      The Defendant Manufacturers’ Inadequate Warnings

81.    Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow’s milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

82.    The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

83.    Despite knowing of the risk of NEC, the packaging of Mead’s products does not warn of

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

with Mead’s products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.
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84.    Mead cites no medical literature or research to guide the use of its products.

85.    Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

86.    Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

87.    Mead Johnson failed to provide, and continues to fail to provide, a full accounting of the

risk of NEC as documented, by underrepresenting and misrepresenting the risk to the public and

the medical community.

88.    Despite knowing that its products were being fed to premature infants, often without the

parents’ informed consent, Mead failed to require or recommend that medical professionals inform

parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies. Like Mead, Abbott promotes an aggressive marketing campaign

designed to make parents believe that its products are safe and necessary for the growth of

premature infants, despite the products in fact being extremely dangerous for premature infants.

Abbott’s products significantly increase the chances of a premature infant getting potentially fatal

NEC.

89.    The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

90.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the


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magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

91.    Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

92.    Despite knowing of studies documenting an increased risk of NEC from its products,

Abbott did not act to make parents or the medical community aware of those risks, and instead

took steps to conceal or prevent those risks from becoming public. Despite knowing that its

products were being fed to premature infants, often without the parents’ informed consent, Abbott

failed to require or recommend that medical professionals inform parents of the significant risk of

NEC or to require that parental consent be obtained prior to the products being fed to their babies.

                                Penn Medicine’s Failure to Warn

93.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing Abbott’s and

Mead’s cow’s milk-based products to its premature infant patients. It knew or should have known

that feeding these cow’s milk-based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. It also knew or should have known that

human milk decreases the risk of NEC for premature infants. However, instead of warning of

the dangers, or supplying human milk-based feeding products to preterm infants like the Injured

Infant, Penn Medicine has continued to source, distribute, and supply the Defendant

Manufacturers’ products in its hospitals without any adequate warning. Further, the Defendant

Hospital created a study putting infants, such as J.C. at great risk by providing them with bovine

based formula instead of exclusive human milk-based products.


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94.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates. The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

“changing hospital systems and influencing policy,” and its findings were unequivocal:

       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

95.    Other Penn Medicine research has similarly concluded that “[h]uman milk decreases the

incidence and severity of . . . necrotizing enterocolitis (NEC).”

96.    Given it was known that human milk decreases the incidence and severity of NEC, it was

also known or should have been known that cows milk-based formula increases the incidence and

severity of NEC.

97.    Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 98.   Given it was known since at least the early 2000s, and as far back as the 1990s, that human

milk decreases the incidence and severity of NEC, it was also known or should have been known

that cows milk-based formula increases the incidence and severity of NEC.

 99.   Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.
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The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 100. Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant Manufacturers’ cow’s milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:

                 Donor milk is not inexpensive. It costs about $4.25 per ounce, but
                 the return on investment is huge. “Preemies given mother’s milk
                 get discharged three to four days sooner and also have a six to 10
                 times lower risk of getting a gastrointestinal complication called
                 necrotizing enterocolitis,” Carpenter said, adding that the
                 infection can cost up to $250,000 to treat. The average cost to
                 provide a preemie with donor milk: $125.

 101. These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk of NEC for premature infants posed by the Defendant Manufacturers’ products.

 102. Although Penn Medicine knew or should have known of the serious danger of the

Defendant Manufacturers’ products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.


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 103. Penn Medicine’s failure to warn of the risks posed by the Defendant Manufacturers’

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

Manufacturers’ cow’s milk-based products for free and/or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers’ own marketing strategies” and use of salespersons.

                                    Safer Alternative Designs

 104. The Defendant Manufacturers’ cow’s milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of cow’s milk in their products, which would have produced a safer

product.

 105. Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow’s milk. This alternative design

provides all the necessary nutrition for growth and development that cow’s milk-based products

provide, without the same unreasonably dangerous and deadly effects.

 106. On information and belief, Abbott and Mead were aware of the significantly increased risk

of NEC and death associated with their cow’s milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow’s milk as the

foundation of their products.




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                                CAUSES OF ACTION
                  COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

 107. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 108. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

 109. Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.

 110. Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow’s milk-based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer’s expectations.         Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

 111. The Injured Infant ingested Abbott and/or Mead’s unreasonably dangerous cow’s milk-

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

 112. Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

 113. Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

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facility.

 114. Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

 115. Abbott’s and/or Mead’s products were fed to the Injured Infant, which caused and/or

increased the risk of their NEC and injuries.

 116. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of the Defendants Manufacturers’

                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

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                         limit resulting from the Defendant Manufacturers’ oppressive, fraudulent,

                         and/or malicious conduct, as permitted by law;

               e.        For interest as permitted by law;

               f.        For attorney’s fees, expenses, and recoverable costs incurred in connection

                         with this action; and

               g.        For such other and further relief as the Court deems proper.

               COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                            (Against Abbott and Mead)

 117. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 118. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of

their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

 119. Abbott’s and Mead’s duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.         By

designing their products with cow’s milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death.        The failure to warn makes the

products at issue in this litigation unreasonably dangerous.

 120.               Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks

of the infant products at issue in this litigation because they knew or should have known that their

cow’s milk-based premature infant products would be fed to premature infants like the Injured

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Infant, and that their products might cause the Injured Infant to develop NEC, severe injury, or

death, yet they failed to provide adequate warnings of those risks.        Among other risks, the

Defendant Manufacturers:

           a. Failed to warn that cow’s milk-based products significantly increase the risk of

              NEC, severe injury, and death for the Injured Infant; and/or

           b. Failed to warn that cow’s milk-based products are unsafe and/or contraindicated

              for premature infants like the Injured Infant; and/or

           c. Inserted warnings and instructions on their products that are severely inadequate,

              vague, confusing, and provide a false sense of security in that they warn and instruct

              specifically on certain conditions, but do not warn of the significantly increased

              risk of NEC and death; and/or

           d. “Black box”-type warning that their cow’s milk-based products are known to

              significantly increase the risk of NEC and death when compared to breast milk in

              premature infant; and/or

           e. Failed to disclose well-researched and well-established studies that linked cow’s

              milk-based products to NEC and death in premature infants; and/or

           f. Failed to insert a warning or instruction to healthcare professionals and other

              medical staff in the hospital that parents should be provided information necessary

              to make an informed choice about whether to allow their babies to be fed the

              Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g. Failed to provide a warning in a method reasonably calculated or expected to reach

              the parents of newborns, like the Plaintiff Parent; and/or

           h. Failed to provide statistical evidence showing the magnitude of increased risk of


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               NEC in premature infants associated with cow’s milk-based products.

 121. Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

facility.

 122. As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing campaigns suggesting the safety and necessity of the Defendant Manufacturers’

products, the Injured Infant were fed cow’s milk-based products, which caused and/or increased

risk of their developing NEC.

 123. The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow’s milk-based formula, they would not have fed the Injured Infant those products.        Had the

Plaintiff Parent known of the significant risks of feeding the Injured Infant cow’s milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

 124. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.     Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,


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               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendants Manufacturers’ oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                                   COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

 125. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 126. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

 127. At all times relevant to this action, the Injured Infant’s healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

 128. Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, and/or distributed the cow’s milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

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 129. Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

           a. Failing to warn that cow’s milk-based products significantly increase the risk of

               NEC, severe injury, and death for the Injured Infant; and/or

           b. Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or

           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

               and provide a false sense of security in that they warn and instruct specifically on

               certain conditions, but do not warn of the significantly increased risk of NEC and

               death; and/or

           d. Failing to insert a large and prominent “black box”-type warning that their cow’s

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-established studies that linked cow’s

               milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed the

               Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns, like the Plaintiff Parent; and/or


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            h. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products.

 130. In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.

 131. As a direct and proximate result of the Defendant Manufacturers’ failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow’s milk-based

products, which caused and/or increased the risk of their developing NEC.

 132. Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow’s milk-based products.

 133. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs
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               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendants Manufacturers’ oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                   COUNT IV: INTENTIONAL MISREPRESENTATION
                              (Against Abbott and Mead)

 134. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 135. At all times relevant to this action, the Injured Infant consumed the Defendant

Manufacturers’ products in their intended manner and for their intended purpose.

 136. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

 137. Abbott and Mead breached their duty through misrepresentations made to consumers in

their advertising and promotional materials, as described in previous paragraphs and incorporated

herein, each of whom were foreseeable and intended recipients of this information.

 138. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including patient

consumers and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their

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products:

            a. That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

            b. That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

            c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

            d. That cow’s milk-based products were safe for premature infants; and/or

            e. That cow’s milk-based products were necessary for optimum growth; and/or

            f. That cow’s milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

            h. That their products were safe for and provided better nutrition and growth to

               premature infants than donor milk, a non-cow’s milk-based alternative to breast

               milk; and/or

            i. That their products can fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and health or nourished and

               health on their products; and/or

            j. That their products were based on up-to-date science, which made them safe for


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               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 139. Abbott and Mead had actual knowledge, or, at a minimum, a reckless indifference, to

whether the aforementioned misrepresentations were false.

 140. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent:

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

               Infant that their products significantly increased the risk of NEC in premature

               infants; and/or

           c. Representing that their cow’s milk-based products were safe and beneficial for

               premature infants on coupons, gift bags, other promotional materials, and the

               packaging and labeling of their product samples provided to Plaintiff Parent when

               they knew or should have known that their products were unreasonably dangerous

               and cause NEC, serious injury, and death in premature infants; and/or

           d. Representing that their cow’s milk-based products were safe and beneficial for

               premature infants on the packaging and labeling of their products provided to

               Injured Infant when they knew or should have known that their products were




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            unreasonably dangerous and cause NEC, serious injury, and death in premature

            infants; and/or

        e. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on coupons, gift bags, other promotional

            materials, and the packaging and labeling of their product samples provided to

            Plaintiff Parent when they knew or should have known that their products were not

            necessary to achieve adequate growth; and/or

        f. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on the packaging and labeling of their products

            provided to Injured Infant when they knew or should have known that their products

            were not necessary to achieve adequate growth; and/or

        g. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent; and/or

        h. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant; and/or

        i. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on coupons,

            gift bags, other promotional materials, and the packaging and labeling of their

            product samples provided to Plaintiff Parent; and/or




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        j. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on the

            packaging and labeling of their products provided to Injured Infant; and/or

        k. Representing that their cow’s milk-based products have no serious side effects on

            coupons, gift bags, other promotional materials, and the packaging and labeling of

            their product samples provided to Plaintiff Parent when they knew or should have

            known the contrary to be true; and/or

        l. Representing that their cow’s milk-based products have no serious side effects on

            the packaging and labeling of their products provided to Injured Infant when they

            knew or should have known the contrary to be true; and/or

        m. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent when they knew

            or should have known the contrary to be true; and/or

        n. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant when they knew or should have known the contrary to be true; and/or

        o. Representing that their cow’s milk-based products were safe for premature infants

            on coupons, gift bags, other promotional materials, and the packaging and labeling

            of their product samples provided to Plaintiff Parent; and/or

        p. Representing that their cow’s milk-based products were safe for premature infants

            on the packaging and labeling of their products provided to Injured Infant; and/or


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           q. Representing that their cow’s milk-based products were necessary for optimum

               growth on coupons, gift bags, other promotional materials, and the packaging and

               labeling of their product samples provided to Plaintiff Parent; and/or

           r. Representing that their cow’s milk-based products were necessary for optimum

               growth on the packaging and labeling of their products provided to Injured Infant;

               and/or

           s. Representing that their products were based on up-to-date science, which made

               them safe for premature infants on coupons, gift bags, other promotional materials,

               and the packaging and labeling of their product samples provided to Plaintiff

               Parent; and/or

           t. Representing that their products were based on up-to-date science, which made

               them safe for premature infants on the packaging and labeling of their products

               provided to Injured Infant.

 141. The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant Manufacturers’ misrepresentations induced the Plaintiff Parent to

allow their children to be fed Abbott’s and Mead’s infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

Manufacturers’ messaging.         Had Abbott and Mead not committed these intentional

misrepresentations, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products.

 142. As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

 143. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss


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of income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

          WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

             a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this Court’s arbitrational limit;

             b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained

                as a result of the Defendants Manufacturers’ conduct;

             c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

             d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                resulting from the Defendant Manufacturers’ oppressive, fraudulent, and/or

                malicious conduct, as permitted by law;

             e. For interest as permitted by law;

             f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

                this action; and

             g. For such other and further relief as the Court deems proper.

                     COUNT V: NEGLIGENT MISREPRESENTATIONS
                               (Against Abbott and Mead)

 144. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 145. At all times relevant to this action, the Injured Infant consumed the products at issue in

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their intended manner and for their intended purpose.

 146. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

 147. In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, in their advertising and promotional materials, as described

in previous paragraphs and incorporated herein, each of whom were foreseeable recipients of this

information.

 148. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including consumers,

and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their products:

           a. That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

           b. That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

           c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

           d. That cow’s milk-based products were safe for premature infants; and/or

           e. That cow’s milk-based products were necessary for optimum growth; and/or

           f. That cow’s milk-based products were similar or equivalent to breast milk; and/or


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           g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

           h. That their products were safe for and provided better nutrition and growth to

               premature infants that donor milk, a non-cow’s milk-based alternative to breast

               milk; and/or

           i. Thet their products can be fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and healthy or nourished and

               health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 149. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent.

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

               Infant that their products significantly increased the risk of NEC in premature

               infants; and/or


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        c. Representing that their cow’s milk-based products were safe and beneficial for

            premature infants on coupons, gift bags, other promotional materials, and the

            packaging and labeling of their product samples provided to Plaintiff Parent when

            they knew or should have known that their products were unreasonably dangerous

            and cause NEC, serious injury, and death in premature infants; and/or

        d. Representing that their cow’s milk-based products were safe and beneficial for

            premature infants on the packaging and labeling of their products provided to

            Injured Infant when they knew or should have known that their products were

            unreasonably dangerous and cause NEC, serious injury, and death in premature

            infants; and/or

        e. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on coupons, gift bags, other promotional

            materials, and the packaging and labeling of their product samples provided to

            Plaintiff Parent when they knew or should have known that their products were not

            necessary to achieve adequate growth; and/or

        f. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on the packaging and labeling of their products

            provided to Injured Infant when they knew or should have known that their products

            were not necessary to achieve adequate growth; and/or

        g. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent; and/or




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        h. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant; and/or

        i. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on coupons,

            gift bags, other promotional materials, and the packaging and labeling of their

            product samples provided to Plaintiff Parent; and/or

        j. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on the

            packaging and labeling of their products provided to Injured Infant; and/or

        k. Representing that their cow’s milk-based products have no serious side effects on

            coupons, gift bags, other promotional materials, and the packaging and labeling of

            their product samples provided to Plaintiff Parent when they knew or should have

            known the contrary to be true; and/or

        l. Representing that their cow’s milk-based products have no serious side effects on

            the packaging and labeling of their products provided to Injured Infant when they

            knew or should have known the contrary to be true; and/or

        m. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent when they knew

            or should have known the contrary to be true; and/or


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          n. Representing that their cow’s milk-based products were similar or equivalent to

              breast milk on the packaging and labeling of their products provided to Injured

              Infant when they knew or should have known the contrary to be true; and/or

          o. Representing that their cow’s milk-based products were safe for premature infants

              on coupons, gift bags, other promotional materials, and the packaging and labeling

              of their product samples provided to Plaintiff Parent; and/or

          p. Representing that their cow’s milk-based products were safe for premature infants

              on the packaging and labeling of their products provided to Injured Infant; and/or

          q. Representing that their cow’s milk-based products were necessary for optimum

              growth on coupons, gift bags, other promotional materials, and the packaging and

              labeling of their product samples provided to Plaintiff Parent; and/or

          r. Representing that their cow’s milk-based products were necessary for optimum

              growth on the packaging and labeling of their products provided to Injured Infant;

              and/or

          s. Representing that their products were based on up-to-date science, which made

              them safe for premature infants on coupons, gift bags, other promotional materials,

              and the packaging and labeling of their product samples provided to Plaintiff

              Parent; and/or

          t. Representing that their products were based on up-to-date science, which made

              them safe for premature infants on the packaging and labeling of their products

              provided to Injured Infant.

 150. Abbott and Mead were negligent or careless in not determining those representations to be

false.


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 151. The Defendant Manufacturers’ misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott’s and Mead’s infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

the Defendant Manufacturers’ messaging. Had Abbott and Mead not committed these negligent

misrepresentations, the Injured Infant would not have been exposed to their unreasonably

dangerous cow’s milk-based products.

 152. As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

 153. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendant Manufacturers’ oppressive, fraudulent, and/or


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               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                             COUNT VI: FAILURE TO WARN
                      (Against Penn Medicine and Pennsylvania Hospital)

 154. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 155. Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

 156. At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 157. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

treatment of the Injured Infant.

 158. Penn Medicine and Pennsylvania Hospital negligently, outrageously, and recklessly

supplied and distributed the Defendant Manufacturers’ milk-based infant feeding products to these

healthcare professionals and medical staff for use on premature infants, including the Injured

Infant.

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 159. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.        The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products to consumers, such as the Plaintiff Parent.

 160. Penn Medicine and Pennsylvania also knowingly, and intentionally, allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 161. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant Manufacturers’ cow’s milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

 162. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to warn that cow’s milk-based products significantly increase the risk of

               NEC, severe injury, and death in those babies; and/or

           b. Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or


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           c. Failing to warn or instruct its healthcare professionals and medical staff on the

               information that should be provided to parents in order to make an informed choice

               about whether to allow their babies to be fed the Defendant Manufacturers’

               products, notwithstanding their substantial risk; and/or

           d. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link cow’s milk-based products to NEC

               and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns; and/or

           f. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products; and/or

           g. Failing to prevent the Defendant Manufacturers’ sales representatives from

               misrepresenting to Pennsylvania Hospital’s healthcare professionals and medical

               staff that premature babies would not grow adequately with human milk and human

               milk products and that use of donor milk was not advised for premature infants.

 163. Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers’ products, and would have restricted the

ability of the Defendant Manufacturers’ sales representatives to market the Defendant

Manufacturers’ unreasonably dangerous products without adequate warning.

 164. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.


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 165. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant Manufacturers’ unreasonably

dangerous products, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ cow’s milk-based products.

 166. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

warn of the danger posed by the Defendant Manufacturers’ unreasonably dangerous cow’s milk-

based products, the Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based

products, which caused and/or increased the risk of developing NEC and significant injuries.

 167. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

failure to warn of the Defendant Manufacturers’ unreasonably dangerous products, the Plaintiff

Parent suffered significant emotional distress, loss of income, and/or other harms.      Her life has

been significantly affected by the Injured Infant’s injuries.

       WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine’s conduct;

           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit


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               resulting from Penn Medicine and Pennsylvania Hospital’s oppressive, outrageous,

               reckless, and/or malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.

          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                   (Against Penn Medicine and Pennsylvania Hospital)

 168. Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

 169. At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

 170. Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

 171. At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

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 172. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.         The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products.

 173. Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 174. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant Manufacturers’ cow’s milk-based infant products, including the access afforded

the Defendant Manufacturer’s sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.

 175. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that premature babies are increased risk for NEC.

 176. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that NEC increases the risk of permanent injury and death.

 177. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have


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known prior to that human milk (mother’s milk) was safest and best for premature infants.

 178. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have

known that human milk (mother’s milk) decreased the risk of NEC, serious injury, and death for

premature infants.

 179. By no later than 2012, Penn Medicine and Pennsylvania Hospital knew or reasonably

should have known that donor human milk decreased the risk of NEC, serious injury, and death

for premature infants.

 180. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

 181. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               required human milk (mother’s milk and/or donor milk) to be recommended to

               premature babies; and/or

           b. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               restricted or prevented the use of cow’s milk-based products for feeding premature

               babies; and/or

           c. Failing to formulae, adopt, and enforce adequate rules and policies that informed the

               Plaintiff Parent that human milk (mother’s milk and/or donor milk) significantly

               decrease the risk of NEC, severe injury, and death in premature babies, like the

               Injured Infant; and/or

           d. Failing to formulate, adopt, and enforce adequate rules and policies that warned the


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            Plaintiff Parent that cow’s milk-based products significantly increase the risk of

            NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

        e. Failing to formulate, adopt, and enforce adequate rules and policies that discussed

            the risks of cow’s milk-based products significantly increasing the risk of NEC,

            severe injury, and death in premature babies, like the Injured Infant; and/or

        f. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

            healthcare professionals and medical staff that cow’s milk-based products are

            unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

        g. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed the Defendant Manufacturers’ products, notwithstanding their

            substantial risk; and/or

        h. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

            healthcare professionals and medical staff with the well-researched and well-

            established studies that link cow’s milk-based products to NEC and death in

            premature infants; and/or

        i. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

            warning in a method reasonably calculated/expected to reach the parents of

            premature newborns, like the Plaintiff Parent; and/or

        j. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

            Defendant    Manufacturers’ sales      representative from     misrepresenting   to

            Pennsylvania Hospital’s healthcare professionals and medical staff that premature


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                  babies would not grow adequately with human milk and human milk products

                  and/or that use of donor milk was not advised for premature infants; and/or

           k. Failing to establish a donor milk program that was sufficient to meet the needs of

                  the premature babies, like the Injured Infant.

           l. Failing to formulate, adopt, and enforce adequate rules and policies regarding the

                  feeding of premature infants leaving it to the discretion of the medical team and

                  parent without a discussion of risks and benefits.

           m. Allowing parental preference to be the standard for feeding premature infants;

           n. Failing to follow the American Academy of Pediatrics recommendations relating

                  to feeding premature infants;

           o. Failing to follow the American Academy of Pediatrics recommendations to use

                  donor milk if mother’s milk was unavailable instead of cow’s milk-based products;

           p. Failing to recommend donor milk if mother’s milk was unavailable by no later than

                  2012; and

           q. Failing to transfer to a hospital by no later than 2012 where donor milk was

                  available if there was no donor milk available.

 182. A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow’s milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers’ cow’s

milk-based products, and restricting the marketing of the Defendant Manufacturers’ unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.


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 183. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its

patients, the Injured Infant would not have been exposed to the Defendant Manufacturers’ cow’s

milk-based products.

 184. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 185. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent, reckless, and outrageous conduct the Plaintiff Parent suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly affected by the Injured

Infant’s injuries.

 186. In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical

staff that provided the products at issue to infants under Pennsylvania Hospital’s care, including

the Injured Infant.

 187. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

 188. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly, and

outrageously breached its duty by:

            a. Failing to oversee its healthcare professionals and medical staff on their use of


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            cow’s milk-based products for feeding premature babies; and/or

        b. Failing to warn or instruct its healthcare professionals and medical staff that cow’s

            milk-based products significantly increase the risk of NEC, severe injury, and death

            in those babies; and/or

        c. Failing to warn or instruct its healthcare professionals and medical staff that cow’s

            milk-based products are unsafe and/or contraindicated for premature babies like the

            Injured Infant; and/or

        d. Failing to oversee its healthcare professionals and medical staff to restrict their

            feeding of cow’s milk-based products to premature babies; and/or

        e. Failing to warn or instruct its healthcare professionals and medical staff on the

            information that should be provided to parents in order to make an informed choice

            about whether to allow their babies to be fed the Defendant Manufacturers’

            products, notwithstanding their substantial risk; and/or

        f. Failing to provide its healthcare professionals and medical staff with the well-

            researched and well-established studies that link cow’s milk-based products to NEC

            and death in premature infants; and/or

        g. Failing to provide its healthcare professionals and medical staff with warnings

            about the dangers of the Defendants’ Manufacturers products in a method

            reasonably calculated/expected to reach the parents of newborns; and/or

        h. Failing to provide statistical evidence to its healthcare professionals and medical

            staff showing the magnitude of increased risk of NEC in premature infants

            associated with cow’s milk-based products; and/or

        i. Failing to oversee its healthcare professionals and medical staff to ensure that the


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               Defendant Manufacturers’ sales representatives’ misrepresentations that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants had not influenced the

               use and/or misuse of the Defendant Manufacturers’ products.

 189. A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

the Defendant Manufacturers’ products, and would have restricted the ability of the Defendant

Manufacturers’ sales representatives to market the Defendant Manufacturers’ unreasonably

dangerous products without adequate warning.

 190. A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with feeding cow’s milk-based formula to premature infants.

 191. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant Manufacturers’ cow’s milk-based products.

 192. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 193. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s


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injuries.

        WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine and Pennsylvania Hospital’s conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from Penn Medicine’s oppressive, fraudulent, and/or malicious conduct,

               as permitted by law;

            e. For interest as permitted by law;

            f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.

                                  DEMAND FOR JURY TRIAL
 194. Plaintiff hereby demands a jury trial for all claims triable.



Dated: July 16, 2024

                                                        Respectfully submitted,

                                                        KLINE & SPECTER, P.C.
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                                     By:    /s/ Tobias L. Millrood
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HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
J.C., a Minor                         :
                                      : MARCH TERM, 2022
                        Plaintiff,    : No. 02588
        v.                            :
                                      :
MEAD JOHNSON & COMPANY, LLC,          :
et al.,                               :
                                      :
                        Defendants.   :

                                     ORDER

      AND NOW, this      day of                    2024, upon consideration of the

Preliminary Objections of Defendants Mead Johnson & Company, LLC and Mead

Johnson Nutrition Company (collectively, “Mead Johnson” or “Moving Defendants”) to

Plaintiffs’ Second Amended Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that

all claims against Defendants Mead Johnson & Company, LLC and Mead Johnson

Nutrition Company are hereby DISMISSED with prejudice.




                                            BY THE COURT:




                                                                          J.
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 HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
 and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
 J.C., a Minor                         :
                                       : MARCH TERM, 2022
                         Plaintiff,    : No. 02588
         v.                            :
                                       :
 MEAD JOHNSON & COMPANY, LLC,          :
 et al.,                               :
                                       :
                         Defendants.   :

                                     ORDER

      AND NOW, this      day of                   , 2024, upon consideration of the

Preliminary Objections of Defendants Mead Johnson & Company, LLC and Mead

Johnson Nutrition Company (collectively, “Mead Johnson” or “Moving Defendants”) to

Plaintiffs’ Second Amended Complaint (“Second Amended Complaint”), and any

Response thereto, it is hereby ORDERED that the Preliminary Objections are

SUSTAINED. It is further ORDERED that:

      1.     Count I of Plaintiffs’ Second Amended Complaint is DISMISSED with

prejudice;

      2.     Count II of Plaintiffs’ Second Amended Complaint is DISMISSED with

prejudice;

      3.     Count III of Plaintiffs’ Second Amended Complaint is DISMISSED with

prejudice;

      4.     Count IV of Plaintiffs’ Second Amended Complaint is DISMISSED with

prejudice;

      5.     Count V of Plaintiffs’ Second Amended Complaint is DISMISSED with

prejudice;


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      6.     Plaintiffs’ Second Amended Complaint is STRICKEN for lack of specificity;

      7.     Plaintiffs’ claims for punitive damages as to Defendants Mead Johnson &

Company, LLC and Mead Johnson Nutrition Company are DISMISSED with prejudice,

along with all allegations of oppressive, reckless, malicious and/or fraudulent conduct;

and

      8.     Plaintiff Holli Carter’s claims in her own right are DISMISSED with

prejudice;


                                               BY THE COURT:




                                                                                   J.




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                                        NOTICE TO PLEAD:

                                        To Plaintiff: You are hereby notified to
                                        file a written response to the enclosed
                                        Preliminary Objections within twenty
                                        (20) days from service hereof or a
                                        judgement may be entered against you.

                                        /s/ Kenneth A. Murphy__
                                        Attorney for Defendants, Mead
                                        Johnson & Company, LLC and Mead
                                        Johnson Nutrition Company

                                        ATTORNEYS FOR DEFENDANTS
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HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
J.C., a Minor                         :
                                      : MARCH TERM, 2022
                        Plaintiff,    : No. 02588
        v.                            :
                                      :
MEAD JOHNSON & COMPANY, LLC,          :
et al.,                               :
                                      :
                        Defendants.   :



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     PRELIMINARY OBJECTIONS OF DEFENDANTS MEAD JOHNSON & COMPANY,
      LLC AND MEAD JOHNSON NUTRITION COMPANY TO PLAINTIFFS’ SECOND
                          AMENDED COMPLAINT

        Defendants Mead Johnson & Company, LLC and Mead Johnson Nutrition

Company (hereinafter “Moving Defendants” or “Mead Johnson”) hereby preliminarily

object to Plaintiffs’ Second Amended Complaint (“Second Amended Complaint”), and, in

support thereof, aver as follows:

I.      INTRODUCTION

        1.    This case against Mead Johnson involves allegations that minor Plaintiff,

J.C., developed a condition known as necrotizing enterocolitis (“NEC”) following a

hospital’s decision to administer Similac human milk fortifier – an Abbott product.

Nowhere in their sixty-three-page Second Amended Complaint do Plaintiffs identify any

Mead Johnson product that doctors administered to J.C. This is an error that Plaintiffs

have had more than two years—and two rounds of preliminary objections— to correct.

See 7/25/2023 Order Setting Am. Compl. Deadlines and 5/20/2024 Order Setting Am.

Compl. Deadlines. Plaintiffs chose not to correct it. Instead, Plaintiffs decided to sue

Mead Johnson, again, without identifying a Mead Johnson product, and, at least in this

case, affirmatively identifying a different company’s product. Further, Plaintiffs’ claims

rest entirely on the unsupported conclusion that the product or products the hospital

decided to feed J.C. cause NEC. They do not, and Plaintiffs do not sufficiently allege

anything to the contrary. The Court should dismiss these claims.

        2.    Plaintiffs acknowledge that premature infants such as J.C. have an

inherently high risk of developing NEC. See Second Amended Complaint, attached as

Exhibit A, at ¶ 23 (“Preterm and low-birth-weight infants are especially susceptible to NEC



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because of their underdeveloped digestive systems.”). Not only is the Second Amended

Complaint entirely devoid of any claims regarding specific Mead Johnson products fed to

J.C., the Complaint also lacks factual support for Plaintiffs’ claim that any Mead Johnson’s

product caused J.C. to develop NEC. Indeed, Plaintiffs allege that J.C. was born on

October 6, 2014 and was fed breast milk before being “exclusively fed” breast milk

fortified with “‘Similac Human Milk Fortifier Powder 24 cal/oz’, manufactured by

Defendant Abbott” until being diagnosed with stage I NEC on November 1, 2014. Id. at

¶¶ 12-17 (emphasis added). This alone is grounds for dismissal.

       3.     Even beyond the lack of Mead Johnson product identification, nowhere do

plaintiffs allege how cow’s milk, or cow’s milk-based products (of which Mead Johnson

sells multiple varieties for different purposes), purportedly cause NEC, or how the facts of

J.C.’s case square with any mechanism of action. Pennsylvania’s procedural rules do

not allow for such gaps in logic and omissions of material facts in a complaint. Northern

Forests II, Inc. v. Keta Realty Co., 130 A.3d 19, 35 (Pa. Super. 2015) (requiring plaintiffs

to aver sufficient facts, together with the documents and exhibits attached thereto, to

make out a prima facie case as to all elements of the cause of action, in order to survive

preliminary objections). Plaintiffs’ Second Amended Complaint should be dismissed.

       4.     Plaintiffs instituted this action via the filing of a Complaint on March 24,

2022, against Moving Defendants as well as Co-Defendant Abbott, The Pennsylvania

Hospital of the University of Pennsylvania and The Trustees of the University of

Pennsylvania (“HUP”).

       5.     On June 15, 2023, Moving Defendants filed Preliminary Objections to

Plaintiffs’ Complaint arguing that, among other things, Plaintiffs failed to adequately allege



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information about the products Plaintiff-minor allegedly received, the basis for their belief

that those products are unreasonably dangerous, and the injuries they allegedly

sustained. At the Court’s urging, see 7/24/2023 Order Setting Amended Complaint

Deadlines, Plaintiffs filed their First Amended Complaint on September 8, 2023. Plaintiffs

did not address any of these issues in the amended pleading. The First Amended

Complaint did not clarify what Mead Johnson or Abbott product—if any—was fed to J.C.,

nor did it correct fatal pleading deficiencies in establishing causation and alleging

sufficient facts to support their claims. Mead Johnson raised these objections for the

second time in their Preliminary Objections to Plaintiffs’ Amended Complaint, filed

September 28, 2023, in Case No. 2606, Christina Taylor v. Mead Johnson & Co., LLC, et

al. (See Preliminary Objections of Defendants Mead Johnson & Co., LLC and Mead

Johnson Nutrition Co. to Plaintiffs’ Am. Compl. at ¶ 5 (“Mead Johnson has filed these

preliminary objections in the instant action and advances them in each of the additional

20 actions where plaintiffs have filed an Amended Complaint”).

       6.     Due to Plaintiffs’ ongoing and significant failure in identifying any specific

products allegedly fed to J.C., on May 20, 2024, this Court ordered Plaintiffs to file, within

sixty days, a second Amended Complaint that addresses ongoing, significant product

identification deficiencies. The revisions would, in part, aim to correct the fact that the

approximately 30 NEC-related complaints then pending in Philadelphia had the same

impermissibly broad product allegation of “Mead Johnson and/or Abbott” products.

Plaintiffs served their Second Amended Complaint, to which Mead Johnson replies

herein, on July 18, 2024. Notably, the Second Amended Complaint—filed more than two




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years from Plaintiffs’ filing of their original Complaint—is a blatantly deficient third attempt

at product allegation as it pertains to Mead Johnson.

       7.      There are currently 27 pending, substantively similar claims in this Court,

against Moving Defendants, Abbott, HUP, and other hospitals in Philadelphia based on

claims relating to alleged ingestion of cow’s milk-based products by premature infants

following their birth.

       8.      Plaintiffs allege that “upon information and belief,” the Plaintiff-minors,

including J.C., developed NEC, a gastrointestinal disorder that occurs in premature

infants, caused by either Moving Defendants’ products “and/or” the products of co-

defendant Abbott. See Ex. A, at ¶¶ 1, 16.

       9.      In addition to asserting product liability claims against Moving Defendants

and Abbott, as the infant formula manufacturers, Plaintiffs have brought claims against

The Pennsylvania Hospital of the University of Pennsylvania and The Trustees of the

University of Pennsylvania (“HUP”) alleging liability on theories of failure to warn and

corporate liability.

       10.     The factual background regarding the Plaintiff-minor’s birth, diagnosis and

injuries is set out in eleven paragraphs in the Second Amended Complaint.

       11.     Plaintiffs aver that J.C. was born prematurely at Pennsylvania Hospital on

October 6, 2014. Id. at ¶ 11. At birth, J.C.’s gestational age was approximately 24 weeks

and he weighed 655 grams. Id. at ¶ 12.

       12.     Plaintiffs further aver that J.C. was fed breast milk from October 11, 2014

until October 22, 2014. Id. at ¶ 13.




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       13.    Plaintiffs allege that “On October 23, 2014, the Pennsylvania Hospital NICU

physicians changed J.C.’s nutritional orders to be breast milk fortified with bovine-based

human milk fortifier (“HMF”), fortified to 24 cal/oz. Upon information and belief, J.C. was

exclusively fed this fortified breast milk from October 23, 2014 to October 31, 2014.” Id.

at ¶ 14.

       14.   Plaintiffs further allege “Upon information and belief, the bovine based

Human Milk Fortifier that was fed to infant J.C. was ‘Similac Human Milk Fortifier

Powder 24 cal/oz’, manufactured by Defendant Abbott.” Id. at ¶ 15 (emphasis added).

       15.   Plaintiffs aver on November 1, 2014, “J.C. was diagnosed with stage I

necrotizing enterocolitis (“NEC”) after he developed sepsis, gaseous distension and ileus

replogle. He was treated for fourteen days for Stage I Medical NEC with vancomycin and

zosyn from November 1, 2014 to November 14, 2014.” Id. at ¶ 17.

       16.   Plaintiffs state that J.C. was discharged from the Pennsylvania Hospital

NICU on February 22, 2015. Id. at ¶ 19.

       17.   Plaintiffs aver that “At discharge Plaintiff Holli Carter was instructed to

continue feeding J.C. with fortified breast milk to 24 calories and was provided with

Abbott’s Similac Human Milk Fortifier samples by Defendant Hospital at the time of

discharge for use going forward.” Id. at ¶ 20 (emphasis added).

       18.   Plaintiffs generally allege that J.C. “suffered injuries including a diagnosis of

NEC, treatment with antibiotics and blood transfusions, and suffers from developmental

delay secondary to NEC.” Id. at ¶ 21.




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       19.     Moving Defendants Preliminarily Object to Plaintiffs’ Second Amended

Complaint for the reasons stated below and as more fully set forth in the accompanying

Memorandum of Law, which is incorporated herein by reference.

II.    ARGUMENT

       A.      DEMURRER FOR FAILURE TO STATE A CLAIM AS TO COUNTS I, II,
               III, IV, & V

       20.     To survive preliminary objections, Plaintiffs must aver sufficient facts,

together with the documents and exhibits attached thereto, to make out a prima facie

case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty

Co., 130 A.3d 19, 35 (Pa. Super. 2015). They have failed to do so with respect to all

counts against the Moving Defendants on the issue of whether cow’s milk-based products

are unreasonably dangerous.

       21.     The threshold inquiry in all products liability cases is whether there is a

defect which rendered the product unreasonably dangerous.” Weiner v. American Honda

Motor Co., Inc., 718 A.2d 305, 307 (Pa. Super. 1998). “A product is defective when it is

not safe for its intended use, i.e., the product left the supplier's control lacking any element

necessary to make it safe for its intended use.” Id. at 308. Whether a product is

“unreasonably dangerous” is a question of law. Id.

       22.     It is black-letter law that a plaintiff must show a causal connection between

a defendant’s product and the alleged injury in order to sustain a product liability claim.

See, e.g., Lilley v. Johns-Manville Corp., 408 Pa. Super. 83, 96 (Pa. Super. Ct. 1991) ("in

order for liability to attach in a products liability action, a plaintiff must establish that his or

her injuries were caused by a particular product of a defendant manufacturer.")




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       23.    Plaintiffs allege in Counts I and II of the Second Amended Complaint that

Moving Defendants, “as the manufacturers and/or sellers of the products at issue in this

litigation,” owed Plaintiffs and the public a duty to manufacture, sell, and distribute their

products in a manner that was not unreasonably dangerous and to warn of unreasonable

risk of harm posed by their products. Ex. A at ¶¶ 108, 118.

       24.    Plaintiffs similarly allege in Count III (Negligence) that Moving Defendants,

owed Plaintiffs and the public a duty to exercise reasonable care to design, test,

manufacture, inspect, and distribute products that were free of unreasonable risk of harm,

id. at ¶ 126, and in in Count IV (Intentional Misrepresentation) and Count V (Negligent

Misrepresentation) that they owed Plaintiffs and the public a duty to provide truthful,

accurate, and fulsome information about their cow’s milk-based products. Id. at ¶¶ 136

(Count IV), 146 (Count V).

       25.    Each count brought against Moving Defendants therefore rests on Plaintiffs’

theory that cow’s milk-based products are unreasonably dangerous, and for strict liability

purposes in Counts I & II, defective.

       26.    In fact, the Moving Defendants’ cow’s milk-based products are regulated by

the FDA and legally marketed for use in preterm infants. Moreover, in Plaintiffs’ own

Second Amended Complaint, they acknowledge that “[p]reterm and low-birth-weight

infants are especially susceptible to NEC.” See Ex. A at ¶ 23 (emphasis added).

       27.    In support of their theories and claims, Plaintiffs offer only vague references

to unidentified “[e]xtensive scientific research, including numerous randomized controlled

trials” that purportedly prove Moving Defendants’ cow’s milk-based products cause NEC

in preterm and low-birth-weight infants. See Id. Plaintiffs neither cite specifically to any



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randomized trial or consensus statement, nor do they explain the purported method of

action by which cow’s milk-based formula products allegedly cause NEC.

         28.    In their original complaint, Plaintiffs did specifically cite five publicly available

studies comparing cow’s milk-based products to breast milk, a Surgeon General report

on the subject, and a statement by the American Academy of Pediatrics. Compl. at ¶¶ 17

– 23. Those studies, the report and the statement purportedly reference higher rates of

NEC in preterm and low birth weight infants fed cow’s milk-based diets than those fed

breast milk. They do not establish or prove causation. At best, they provide support for

what neonatologists around the country already know: “Using human breast milk to feed

preterm infants may reduce the risk of NEC, but it does not eliminate this risk.” News

Release, Am. Academy of Pediatrics, AAP Statement In Response to NEC Lawsuits. 1

         29.    Moreover, as Weiner notes, Plaintiffs must aver sufficient facts

demonstrating the Moving Defendants’ products are unreasonably dangerous for their

intended use, triggering Moving Defendants’ duty to warn. The only factual reference



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 On July 27, 2024, the American Academy of Pediatrics issued a news release that further
explained:

         “Part of what is so challenging about NEC is that the causes are multifaceted and
         not completely understood. Our science does not tell us exactly how to prevent it.
         . . Special formulas designed for preterm infants provide an essential source of
         nutrition. Using human breast milk to feed preterm infants may reduce the risk of
         NEC, but it does not eliminate this risk. Donated human milk is also used when the
         mother’s own milk is not available in sufficient quantities, but there is not enough
         donated human milk to be used as the only source of nutrition for these infants.
         Providing special formula is a routine and necessary part of care of these preterm
         infants.”

News Release, Am. Acad. of Pediatrics, AAP Statement in Response to NEC Lawsuit
Verdicts (July 27, 2024), https://www.aap.org/en/news-room/news-
releases/aap/2024/aap-statement-in-response-to-nec-lawsuit-
verdicts/?_ga=2.95418713.417221795.1722442775-1510920779.1722442775.
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Plaintiffs make with regard to intended use is to marketing campaigns, where Defendant

Manufacturers allegedly advertised that “cow’s milk-based products are necessary for

proper growth and development of preterm infants.” See Ex. A, at ¶ 54. Plaintiffs have not

averred sufficient facts to demonstrate that cow’s milk-based products are unreasonably

dangerous for this purpose.

       30.     Given that Plaintiffs have offered nothing but the bald assertion that there is

“extensive scientific research” that Moving Defendants’ products cause NEC, Plaintiffs

have failed to adequately allege that the products are unreasonably dangerous.

Accordingly, they have failed to state claims for defective design and failure-to-warn.

Counts I through V should be stricken.

       B.      DEMURRER FOR FAILURE TO STATE A CLAIM AS TO COUNTS
               IV & V

       31.     Plaintiffs’ claims for intentional and negligent misrepresentation (Counts IV

and V) fail because Plaintiffs once again fail to plead their allegations with particularity, as

required by Pa. R. Civ. P. 1019(b). Specifically, Plaintiffs do not allege that they received

and relied upon any particular false representation from Moving Defendants. See Bortz

v. Noon, 729 A.2d 555, 560 (Pa. 1999) (setting forth the elements of intentional and

negligent misrepresentation and noting that both require a false representation upon

which the plaintiff ultimately relied).

       32.     Intentional misrepresentation requires: “(1) a representation; (2) which is

material to the transaction at hand; (3) made falsely with knowledge of its falsity or

recklessness as to whether it is true or false; (4) with the intent of misleading another into

relying on it; (5) justifiable reliance on the misrepresentation; and (6) the resulting injury




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was proximately caused by the reliance.” Bortz, 729 A.2d at 560 (citing Gibbs v. Ernst,

647 A.2d 882, 889 (Pa. 1994)).

         33.    Negligent misrepresentation similarly requires a false representation and

reliance, “though the speaker need not know his or her words are untrue.” Id. at 561.

         34.    To adequately plead a claim for fraud, Pennsylvania law requires that “(1)

the pleadings must adequately explain the nature of the claim to the opposing party so

as to permit the preparation of a defense, and (2) they must be sufficient to convince the

court that the averments are not merely subterfuge.” Pezzano v. Mosesso, 2014 WL

5421587, at *5 (Pa. Commw. Oct. 24, 2014) (quoting Martin v. Lancaster Battery Co., Inc.,

606 A.2d 444, 448 (Pa. 1992)). Plaintiffs’ Second Amended Complaint fails on the first

prong.

         35.    Despite another opportunity to amend their Complaint to cure the pleading

deficiencies, Plaintiffs still do not allege any specific representation upon which they

relied. Nor do Plaintiffs identify the allegedly defective Mead Johnson product that J.C.

received.      Ex. A at ¶ 64 (alleging that Mead Johnson “markets and sells multiple

products specifically targeting premature infants) (emphasis added).         Instead, the

Second Amended Complaint is devoid of any allegation that J.C. received any Mead

Johnson product at all. See id. at ¶ 16 (alleging feeding of “Similac and/or Enfamil”

products) (emphasis added); see also id. at ¶ 14, 15 (explaining J.C. was “exclusively

fed” breast milk fortified with “’Similac Human Milk Fortifier Powder 24 cal/oz’,

manufactured by Defendant Abbott”). Plaintiffs cannot claim reliance on an alleged

misrepresentation when there is no identified product to misrepresent. Kepner v. Tine,

No. 835 EDA 2015, 2015 Pa. Super. Unpub. LEXIS 4257, at *6 (Pa. Super. Nov. 25, 2015)



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(affirming dismissal of a fraudulent misrepresentation claim for failure to plead a particular

misrepresentation). And, crucially, the Moving Defendants are left wondering which, if

any, product they should defend and what alleged “misrepresentations” to contest.

Pezzano, 2014 WL 5421587, at *5.

       36.    Pennsylvania law demands more. See Pa. R. Civ. P. 1019(b). Other courts

around the country have dismissed similar misrepresentation claims for lack of specificity.

E.g., Ex. B, In re Mead Johnson Product Cases, CJC-23-005257, at 6–8 (Cal. Sup. Ct.

July 7, 2023); Casino v. Bank of Am., 224 Cal. App. 4th 1462, 1469 (Cal. Ct. App. 2014)

(“[W]hen a plaintiff asserts fraud against a corporation, the plaintiff must allege the names

of the persons who made the allegedly fraudulent representations, their authority to

speak, to whom they spoke, what they said or wrote, and when it was said or written.”)

(internal quotation marks omitted); Peterson v. Clark Lake Homes Inc., 2022 WL

16910578, at *4 (Minn. Ct. App. (Nov. 14, 2022) (requiring identification of the “who, what,

when, where, and how” for a claim of fraud).

       37.    Moreover, failure to allege         any relationship between        a specific

misrepresentation (which they do not identify), a specific product (which they do not

identify), and an injury means there can be no inference of proximate causation. See

Kepner, No. 835 EDA 2015, 2015 Pa. Super. Unpub. LEXIS 4257, at *6 (requiring a

particular misrepresentation); Cummins v. Firestone Tire & Rubber Co., 495 A.2d 963,

969 (Pa. Super. Ct. 1985) (affirming dismissal of negligence claim where plaintiff failed to

properly identify the product or its manufacturer). Causation is a hallmark of any tort

action in Pennsylvania, including misrepresentation. Bortz, 729 A.2d at 560 (citing Gibbs

v. Ernst, 647 A.2d 882, 889 (Pa. 1994)). See also Soldo v. Sandoz Pharms. Corp., 244



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F. Supp. 2d 434, 524 (W.D. Pa. 2003) (“Proof of causation is a necessary element in a

products liability action. Absent a causal relationship between the defendant’s product

and the plaintiff’s injury the defendant cannot be held liable on a theory of negligence,

strict product liability, or misrepresentation”) (applying Pennsylvania law) (citing O’Brien

v. Sofamar, S.N.C., No. CIV. A. 96–8015, 1999 WL 239414 (E.D. Pa.1999)). Absent

identification of the manufacturer of the allegedly defective product, “there can be no

allegations of . . . legal causation, and hence there can be no liability.” Cummins, 495

A.2d at 968–69 (citing Hamil v. Bashline, 392 A.2d 1280 (Pa. 1978)).

       38.    Thus, Plaintiffs’ intentional and negligent misrepresentation claims against

Moving Defendants must be dismissed.

       C.     MOTION TO DISMISS MEAD JOHNSON PLAINTIFFS’ COMPLAINT
              FOR INSUFFICIENT SPECIFICITY AS TO THE FACTS AND ALLEGED
              INJURIES

       39.    Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in

the nature of a motion to strike for insufficient specificity in a pleading. Plaintiffs’ failure

to specify any specific Mead Johnson products J.C. received and the exact nature of his

ongoing injuries serves as an alternative ground on which all of their claims should be

stricken.

       40.    A plaintiff’s Complaint is required to provide a defendant with notice of what

the plaintiff’s claims are and the grounds upon which they rest, and the Complaint must

also formulate the issues by summarizing the facts essential to support the claims. Alpha

Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super.

1983) (citations omitted).




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       41.    Pennsylvania Rule of Civil Procedure 1019(a) provides that “the material

facts on which a cause of action or defense is based shall be stated in a concise and

summary form.” Pa.R.C.P. 1019(a). As the Superior Court has noted,

              Rule 1019(a) requires fact pleading. The purpose of 1019(a)
              is to require the pleader to disclose the material facts sufficient
              to enable the adverse party to prepare his case. A complaint
              therefore must do more than give the defendant fair
              notice of what the plaintiff's claim is and the grounds
              upon which it rests. It should formulate the issues by fully
              summarizing the material facts. Material facts are
              ultimate facts, i.e., those facts essential to support the
              claim. Evidence from which such facts may be inferred
              not only need not but should not be alleged. Allegations
              will withstand challenge under 1019(a) if (1) they contain
              averments of all of the facts a plaintiff will eventually have
              to prove in order to recover, and (2) they are sufficiently
              specific so as to enable defendant to prepare his defense.

       Baker v. Rangos, 324 A,2d 498, 505-506 (Pa. Super. 1974) (citations and internal

quotations omitted) (emphasis added).

       42.    Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d

901 (Pa. 1953). “A plaintiff’s Complaint must set forth the extent, nature, location

and duration of the injuries suffered, and injuries that are permanent should be

stated specifically.” Miller v. Perrige, 71 Pa. D. & C.2d 476, 479–80 (Pa. Com. Pl. 1975).

See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa. Com. Pl. 1958) (“A catchall

averment of “other injuries” is nothing more than a generalized averment under which any

injuries whatever could be proved at the trial. Defendant would have no knowledge in

advance of the trial of what they are.”).




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       43.    As noted above, Plaintiffs’ Second Amended Complaint, just like their initial

two pleadings, is facially deficient with regard to the specificity of the product allegations.

The Second Amended Complaint alleges “Similac and/or Enfamil cow’s milk-based

products” were fed to J.C. “Upon information and belief,” Ex. A at ¶ 15, while specifying

J.C. was “exclusively fed” breast milk fortified with Similac Human Milk Fortifier Powder

24 cal/oz from October 23, 2014 to October 31, 2014. Ex. A at ¶ 14, 15. Despite having

more than two years and two previous opportunities to correct pleading deficiencies and

specify Mead Johnson product identification, see 7/25/2023 Order Setting Amended

Complaint Deadlines and 5/20/2024 Order Setting Amended Complaint Deadlines,

Plaintiffs have entirely failed to correct fatal pleading deficiencies. Plaintiffs’ Second

Amended Complaint should be stricken in its entirety.

       D.     MOTION TO STRIKE PLAINTIFFS’ COMPLAINT AS TIME-BARRED

       44.    Pennsylvania law establishes a two-year statute of limitations for any suit

alleging “personal injury.” See 42 Pa. Cons. Stat. § 5524(2) & (7); Pulli v. Ustin, 2011 Pa.

Super. LEXIS 1733, 24 A.3d 421, 421 n.4 (Pa. Super. Ct. Jul. 5, 2010).

       45.    A cause of action for personal injury “accrues, and thus the applicable

limitations period begins to run, when an injury is inflicted.” Wilson v. El-Daief, 600 Pa.

161, 173, 964 A.2d 354, 361 (Pa. 2009).

       46.    Plaintiff’s alleged injuries occurred on or about November 1, 2014. Thus,

the statutory period in which Plaintiff could file a complaint expired on or about November

1, 2016. But Plaintiff-parent did not file a complaint until March 24, 2022—almost 6 years

after the statute of limitations period had expired.

       47.    Absent tolling of the limitations period, Plaintiffs’ complaint is time-barred.



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       48.    Pennsylvania’s discovery rule is a “narrow approach to determining accrual

for limitations purposes and places a greater burden upon Pennsylvania plaintiffs vis-à-

vis the discovery rule than most other jurisdictions.” Gleason v. Borough of Moosic, 609

Pa. 353, 362-63, 15 A.3d 479, 484 (Pa. 2011) (emphasis added) (quotations and citation

omitted).

       49.    Plaintiffs' claims relate to a disease—necrotizing enterocolitis—that has

been known to the medical community for decades and involve a product that has

similarly been the standard of care in neonatal intensive care units for decades. The

entirety of Plaintiffs’ complaint rests on publicly available literature of which the

scientific and medical community has been aware. This is not the type of situation where

a plaintiff “was unable to discovery the operative facts for [the] cause of action [any]

sooner” despite exercising reasonable diligence. Dreischalick v. Dalkon Shield Claimants

Tr., 845 F. Supp. 310, 315–15 (W.D. Pa. 1994); see also Dalrymple v. Brown, 549 Pa.

217, 223, 701 A.2d 164, 167 (Pa. 1997).

       50.    Accordingly, the Court should sustain this preliminary objection and dismiss

plaintiff-parent’s claims as time barred.

       E.     MOTION TO STRIKE PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

       51.    In the Ad Damnum clauses of Counts I, II, III, IV, and V of the Second

Amended Complaint, Plaintiffs make baseless accusations that Moving Defendants

engaged in “oppressive, fraudulent, and/or malicious conduct” that allegedly justifies an

award of punitive damages. See Ex. A at ¶¶ 116(d) (Count I), 124(d) (Count II), 133(d)

(Count III), 143(d) (Count IV), and 154(d) (Count V).




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       52.    Punitive damages can be awarded only for conduct involving some element

of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania Supreme Court decisions establish that “punitive damages are an ‘extreme

remedy’ available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters,

584 Pa. 179, 188, 883 A.2d 439, 445 (2005)). Punitive damages may not be awarded for

misconduct that constitutes ordinary negligence such as inadvertence, mistake and errors

of judgment. Martin v. Johns-Manville Corp., 494 A.2d 1088, 1097 (Pa. 1985); McDaniel

v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

       53.    Where the facts as averred show nothing more than negligence, a lapse in

judgment, or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims

for punitive damages, often at the pleadings stage of litigation and even if the complaint

alleged severe injuries or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604,

606 (Pa. Com. Pl. 1985) (dismissing punitive damages claim where a plaintiff alleged that

a physician negligently performed a spinal fusion surgery that left the plaintiff with severe

neurological defects, and noting that “the mere pleading of outrageous conduct does

not, of course, satisfy the requirement stating facts which, if proven, would form a basis

for a jury concluding that the conduct was such that an award of punitive damages was

warranted.”) (emphasis added); Wagner, supra at *11 (contentions that physician failed

to prescribe antibiotics, order certain tests or request an infectious disease consult

constituted “nothing more than ordinary negligence and are insufficient to support an

award of punitive damages.”)




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       54.     Here, the Second Amended Complaint contains no specific allegations of

conduct that would permit recovery of punitive damages as to Moving Defendants. Read

most generously, Plaintiffs’ Second Amended Complaint alleges that Moving Defendants

failed to warn co-defendant HUP of a risk of NEC associated with its legally-marketed

cow’s milk-based product– a risk about which Plaintiff also alleges HUP was already

aware. See Ex. A at ¶ 161. And with respect to J.C.’s care, Plaintiffs merely allege that

“upon information and belief” J.C. may have—or may not have— been given a product

sold by Moving Defendants absent any context to indicate that such a product was

inappropriate based on the specific issues involved in J.C.’s medical care and condition

following birth.

       55.     Plaintiffs’ allegations of oppressive, malicious and similar conduct must be

rejected as mere boilerplate. Indeed, the fact that Plaintiffs have filed numerous lawsuits

against at least four other hospitals in Philadelphia based on identical claims belies the

contention that Moving Defendants engaged in outrageous or malicious conduct in selling

a cow’s milk-based product that was allegedly fed to J.C.

       56.     The facts underlying Plaintiffs’ bare assertions of oppressive, fraudulent

and/or malicious conduct do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Absent specific

factual allegations to justify the claim that Moving Defendants’ actions as they pertain to

Plaintiffs’ particular facts and circumstances were extreme and outrageous, there is no

basis for an award of punitive damages in this case, and Plaintiffs’ claims for such must

be stricken from the Second Amended Complaint pursuant to Rule 1028(a)(3).

       F.      MOTION TO STRIKE PLAINTIFF-PARENT’S CLAIMS_______________



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       57.    The Court should strike Plaintiff-parent’s claims to recover damages in her

own right and as the parent and natural guardian of J.C.

       58.    In each count of the Second Amended Complaint, Plaintiff-parent alleges

that she “suffered significant emotional distress, loss of income, and/or other harms” and

that “[h]er life has been significantly affected by the Injured Infant’s injuries.” See Ex. A at

¶¶ 116, 124, 133, 143, 153, and 167.

       59.    This is insufficient. Plaintiff-parent fails to meet the pleading requirements

of Pa.R.C.P. 1020(b), which provides as follows:

       If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       60.    Plaintiff-parent plainly does not allege any claim in separate counts or state

any cause of action. Rather, the claims are incorporated in a single, tagalong paragraphs

at the end of the existing counts.

       61.    Additionally, Plaintiff-parent does not complain of any physical injury. It is

well established that “no cause of action exists for negligence that results solely in

economic damages unaccompanied by physical injury or property damage.” Excavation

Techs., Inc. v. Columbia Gas Co. of Pa., 985 A.2d 840, 841 n.3 (Pa. 2009) (citing Adams

v. Copper Beach Townhome Comtys., L.P., 816 A.2d 301, 305 (Pa. Super. 2003)); Miller

v. Evenflo Co., Inc., 2009 WL 10689606, at *4 (W.D. Pa. Dec. 21, 2009) (dismissing

plaintiff-parents’ tort claims where only physical injury was to minor plaintiff). So too for

claims sounding in strict products liability. Schmidt v. Boardman Co., 11 A.3d 924, 953

(Pa. 2011) (“We would hold that, for purposes of a strict products liability claim, a plaintiff’s




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recovery for emotional distress is limited to that which is proximately caused by

contemporaneous physical impact”).

       G.     MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
              COMPLY WITH Pa.R.C.P. 1024

       62.    Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every

pleading containing a factual averment based upon the signer’s personal knowledge or

information and belief. Rule 1024(c) requires that the verification be made by one or more

of the parties filing the pleading. In this case, Plaintiffs’ counsel signed the verification for

the Complaint, in violation of Rule 1024. See Exhibit “A.” Accordingly, the Complaint

should be stricken for lack of an appropriate verification.

       WHEREFORE, Defendants Mead Johnson & Company, LLC and Mead Johnson

Nutrition Company respectfully request that this Honorable Court sustain the instant

Preliminary Objections and enter the attached proposed Order.

                                                    Respectfully submitted,

                                                    TUCKER LAW GROUP, LLC

Dated: August 7, 2024                               /s/ Kenneth A. Murphy
                                                    Kenneth A. Murphy, Esquire


                                                    WELSH & RECKER, P.C.

                                                    /s/ Catherine M. Recker
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 HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
 and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
 J.C., a Minor                         :
                                       : MARCH TERM, 2022
                         Plaintiff,    : No. 02588
         v.                            :
                                       :
 MEAD JOHNSON & COMPANY, LLC,          :
 et al.,                               :
                                       :
                         Defendants.   :

     MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
     DEFENDANTS MEAD JOHNSON & COMPANY, LLC AND MEAD JOHNSON
     NUTRITION COMPANY TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

I.    MATTER BEFORE THE COURT

      Preliminary Objections of Defendants Mead Johnson & Company, LLC and Mead

Johnson Nutrition Company (collectively, “Mead Johnson” or “Moving Defendants”) to

Plaintiffs’ Second Amended Complaint (“Second Amended Complaint”).




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       This case against Mead Johnson involves allegations that minor Plaintiff, J.C.,

developed a condition known as necrotizing enterocolitis (“NEC”) following a hospital’s

decision to administer Similac human milk fortifier – an Abbott product. Nowhere in their

sixty-one-page Second Amended Complaint do Plaintiffs identify any Mead Johnson

product that doctors administered to J.C. This is an error that Plaintiffs have had more

than two years to correct. See 7/25/2023 Order Setting Amended Complaint Deadlines

and 5/20/2024 Order Setting Amended Complaint Deadlines. Plaintiffs chose not to

correct it. Instead, Plaintiffs decided to sue Mead Johnson, again, without identifying a

Mead Johnson product, and, at least in this case, affirmatively identifying a different

company’s product.       Further, Plaintiffs’ claims rest entirely on the unsupported

conclusion that the product or products the hospital decided to feed J.C. cause NEC.

They do not, and Plaintiffs do not sufficiently allege anything to the contrary. The Court

should dismiss these claims.

       Plaintiffs acknowledge that premature infants such as J.C. have an inherently high

risk of developing NEC. See Ex. A at ¶ 23 (“Preterm and low-birth-weight infants are

especially susceptible to NEC because of their underdeveloped digestive systems.”). Not

only is the Second Amended Complaint entirely devoid of any claims regarding specific

Mead Johnson products fed to J.C., the Complaint also lacks factual support for Plaintiffs’

claim that any Mead Johnson’s product caused J.C. to develop NEC. Indeed, Plaintiffs

allege that J.C. was born on October 6, 2014 and was fed breast milk before being

“exclusively fed” breast milk fortified with “‘Similac Human Milk Fortifier Powder 24

cal/oz’, manufactured by Defendant Abbott” until being diagnosed with stage I NEC on

November 1, 2014. Id. at ¶¶ 12-17 (emphasis added). This alone is grounds for dismissal.



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       Even beyond the lack of Mead Johnson product identification, nowhere do plaintiffs

allege how cow’s milk, or cow’s milk-based products (of which Mead Johnson sells

multiple varieties for different purposes), purportedly cause NEC, or how the facts of

J.C.’s case square with any mechanism of action. Pennsylvania’s procedural rules do

not allow for such gaps in logic and omissions of material facts in a complaint. Northern

Forests II, Inc. v. Keta Realty Co., 130 A.3d 19, 35 (Pa. Super. 2015) (requiring plaintiffs

to aver sufficient facts, together with the documents and exhibits attached thereto, to

make out a prima facie case as to all elements of the cause of action, in order to survive

preliminary objections). Plaintiffs’ Second Amended Complaint should be dismissed.

       Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022,

against Moving Defendants as well as Co-Defendant Abbott, The Pennsylvania Hospital

of the University of Pennsylvania and The Trustees of the University of Pennsylvania

(“HUP”).

       On June 15, 2023, Moving Defendants filed Preliminary Objections to Plaintiffs’

Complaint arguing that, among other things, Plaintiffs failed to adequately allege

information about the products Plaintiff-minor allegedly received, the basis for their belief

that those products are unreasonably dangerous, and the injuries they allegedly

sustained. At the Court’s urging, Plaintiffs first amended their Complaint on September

8, 2023. Plaintiffs did not address any of these issues in the amended pleading. The First

Amended Complaint did not clarify what Mead Johnson or Abbott product—if any—was

fed to J.C., nor did it correct fatal pleading deficiencies in establishing causation and

alleging sufficient facts to support their claims. Mead Johnson raised these objections for

the second time in their Preliminary Objections to Plaintiffs’ Amended Complaint, filed



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September 28, 2023, in Case No. 2606, Christina Taylor v. Mead Johnson & Co., LLC, et

al. (See Preliminary Objections of Defendants Mead Johnson & Co., LLC and Mead

Johnson Nutrition Co. to Plaintiffs’ Am. Compl. at ¶ 5 (“Mead Johnson has filed these

preliminary objections in the instant action and advances them in each of the additional

20 actions where plaintiffs have filed an Amended Complaint”).

       Due to Plaintiffs’ ongoing and significant failure in identifying any specific products

allegedly fed to J.C., on May 20, 2024, this Court ordered Plaintiffs to file, within sixty

days, a second Amended Complaint that addresses the ongoing, significant product

identification deficiencies. The revisions would, in part, aim to correct the fact that the

approximately 30 NEC-related complaints then pending in Philadelphia had the same

impermissibly broad product allegation of “Mead Johnson and/or Abbott” products.

Plaintiffs filed their Second Amended Complaint, to which Mead Johnson replies herein,

on July 17, 2024. Notably, the Second Amended Complaint—filed more than two years

from Plaintiffs’ filing of their original Complaint, and after two rounds of preliminary

objections—is still a blatantly deficient third attempt at product allegation as it pertains to

Mead Johnson.

       There are currently 27 pending claims in this Court, against Moving Defendants,

Abbott, HUP, and other hospitals in Philadelphia based on claims relating to alleged

ingestion of cow’s milk-based products by premature infants following their birth.

       Plaintiffs allege that “upon information and belief,” the Plaintiff-minors, including

J.C., developed NEC, a gastrointestinal disorder that occurs in premature infants, caused

by either Moving Defendants’ products “and/or” the products of co-defendant Abbott. See

Ex. A, at ¶¶ 1, 16.



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         In addition to asserting product liability claims against Moving Defendants and

Abbott, as the infant formula manufacturers, Plaintiffs have brought claims against The

Pennsylvania Hospital of the University of Pennsylvania and The Trustees of the

University of Pennsylvania alleging liability on theories of failure to warn and corporate

liability.

         The factual background regarding the Plaintiff-minor’s birth, diagnosis and injuries

is set out in eleven paragraphs in the Second Amended Complaint.

         Plaintiffs aver that J.C. was born prematurely at Pennsylvania Hospital on October

6, 2014. Id. at ¶ 11. At birth, J.C.’s gestational age was approximately 24 weeks and he

weighed 655 grams. Id. at ¶ 12.

         Plaintiffs further aver that J.C. was fed breast milk from October 11, 2014 until

October 22, 2014. Id. at ¶ 13.

         Plaintiffs allege that “On October 23, 2014, the Pennsylvania Hospital NICU

physicians changed J.C.’s nutritional orders to be breast milk fortified with bovine-based

human milk fortifier (“HMF”), fortified to 24 cal/oz. Upon information and belief, J.C. was

exclusively fed this fortified breast milk from October 23, 2014 to October 31, 2014.” Id.

at ¶ 14.

         Plaintiffs further allege “Upon information and belief, the bovine based Human Milk

Fortifier that was fed to infant J.C. was ‘Similac Human Milk Fortifier Powder 24 cal/oz’,

manufactured by Defendant Abbott.” Id. at ¶ 15.

         Plaintiffs aver on November 1, 2014, “J.C. was diagnosed with stage I necrotizing

enterocolitis (“NEC”) after he developed sepsis, gaseous distension and ileus replogle. He




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was treated for fourteen days for Stage I Medical NEC with vancomycin and zosyn from

November 1, 2014 to November 14, 2014.” Id. at ¶ 17.

       Plaintiffs state that J.C. was discharged from the Pennsylvania Hospital NICU on

February 22, 2015. Id. at ¶ 19.

       Plaintiffs aver that “At discharge Plaintiff Holli Carter was instructed to continue

feeding J.C. with fortified breast milk to 24 calories and was provided with Abbott’s Similac

Human Milk Fortifier samples by Defendant Hospital at the time of discharge for use going

forward.” Id. at ¶ 20.

       Plaintiffs generally allege that J.C. “suffered injuries including a diagnosis of NEC,

treatment with antibiotics and blood transfusions, and suffers from developmental delay

secondary to NEC.” Id. at ¶ 21.

       Since filing their original complaint, Plaintiffs have added to the factual background

about their own circumstances only specific product identification for Abbott. Notably

absent from these amendments is any allegation of product identification for Mead

Johnson or further support for Plaintiffs’ unsubstantiated conclusion that the product or

products consumed by J.C. are unreasonably dangerous.

II.    STATEMENT OF QUESTIONS PRESENTED

       1.     Whether this Honorable Court should dismiss Count I of Plaintiffs’ Second

Amended Complaint “Strict Liability for Design Defect” cause of action with prejudice

because Plaintiffs’ Amended Complaint does not support the claim that cow’s milk-based

products are unreasonably dangerous, and Moving Defendants cannot be held liable for

a defective design?

Suggested Answer in the affirmative.



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        2.    Whether this Honorable Court should dismiss Count II of Plaintiffs’ Second

Amended Complaint “Strict Liability for Failure to Warn” cause of action with prejudice

because Plaintiffs’ Complaint does not support the claim that cow’s milk-based products

are unreasonably dangerous, and Moving Defendants cannot be held liable for failure-to-

warn?

Suggested Answer in the affirmative.

        3.    Whether this Honorable Court should dismiss Count III of Plaintiffs’ Second

Amended Complaint “Negligence” cause of action with prejudice on the basis of absence

of proof of an unreasonably dangerous product?

Suggested Answer in the affirmative.

        4.    Whether this Honorable Court should dismiss Count IV of Plaintiffs’ Second

Amended Complaint “Intentional Misrepresentation” cause of action with prejudice on the

basis of absence of proof of an unreasonably dangerous product, and failure to plead any

specific representation allegedly relied upon by Plaintiffs?

Suggested Answer in the affirmative.

        5.    Whether this Honorable Court should dismiss Count V of Plaintiffs’ Second

Amended Complaint “Negligent Misrepresentation” cause of action with prejudice on the

basis of absence of proof of an unreasonably dangerous product, and failure to plead any

specific representation allegedly relied upon by Plaintiffs?

Suggested Answer in the affirmative.

        6.    Whether this Honorable Court should strike Plaintiffs’ Second Amended

Complaint in its entirety for insufficient specificity of the facts and alleged injuries?

Suggested Answer in the affirmative.



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           7.       Whether this Honorable Court should strike Plaintiffs’ claims for punitive

damages as to Moving Defendants because the Second Amended Complaint fails to

plead facts providing a basis for an award of punitive damages?

Suggested Answer in the affirmative.

III.       INTRODUCTION AND FACTUAL BACKGROUND

           In approximately March 2022, Plaintiffs filed nearly 30 essentially identical lawsuits

against Moving Defendants and Abbott in Philadelphia based on claims relating to alleged

ingestion of cow’s milk-based products by premature infants in the hospital following their

birth. 1        Plaintiffs in this case allege that Plaintiff-infant J.C. developed NEC, a

gastrointestinal disorder that occurs in premature infants, as a result of healthcare

professionals’ decision to administer either Moving Defendants’ products “and/or” the

products of co-defendant Abbott. See Plaintiffs’ Second Amended Complaint, attached

as Ex. A at ¶¶ 1, 16. As discussed in detail below, Plaintiffs’ claims against Moving

Defendants are legally and factually deficient.

           Moving Defendants manufacture and sell products, including those under the

brand name “Enfamil,” to help meet the nutritional needs of infants. Id. at ¶ 4. Some of

their products are designed to be fed in the hospital to premature or low-birth-weight

infants who have special nutritional needs at birth. See id. at ¶¶ 64. These products

include formulas, which are given to infants who are not fed breast milk; and fortifiers,

which are used to supplement pumped breast milk with additional nutrients. See id. ¶ 70

(photo of Enfamil Human Milk Fortifier: “For premature and low-birth-weight infants fed



1 1 Lawsuits involving identical claims have been filed against Pennsylvania Hospital,

Temple University Hospital, Albert Einstein Medical Center and Thomas Jefferson
University Hospital.
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breast milk”). Some Enfamil products, particularly those intended to be fed to premature

or low-birth-weight infants, are intended to be used only under the supervision of a

physician. See id. (photo of Enfamil Human Milk Fortifier: “To be used only under the

supervision of a physician”). Co-Defendant Abbott also sells formulas and fortifiers meant

to be fed to premature or low-birth-weight infants under the brand name “Similac.” Id. at

¶ 5. Plaintiffs aver that Abbott sells at least seven types of products directed to preterm

and/or low birth weight infants, six of which use the name Similac, and that Mead Johnson

sells seven types of infant formulas and fortifiers using the Enfamil brand name. Id. at ¶¶

62-63.

         Infant formulas and fortifiers for pre-term and low-birth-weight infants are regulated

by the FDA. Mead Johnson is required to submit information about its pre-term products,

including their ingredients, to the FDA, 21 C.F.R. § 107.50(b)(3), and the FDA is required

to review that submission. The FDA may also impose changes to such a product's

composition or labeling. Id. at § 107(d)(1).

         The formula and fortifier products identified by Plaintiffs as being manufactured by

Moving Defendants are made using ingredients derived from cow’s milk. Ex. A at ¶ 4.

Although Plaintiffs aver that NEC is caused by cow’s milk-based products, Plaintiffs make

passing reference in their Second Amended Complaint to research studies and reports

that, at best, suggest only that NEC is more common in premature and low birth weight

infants fed with cow’s milk-based products as compared with similar infants fed with

breast milk, specifically mother’s own milk. They do not establish or prove causation. At

best, they provide support for what neonatologists around the country already know:

“Using human breast milk to feed preterm infants may reduce the risk of NEC, but it does



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not eliminate this risk.” News Release, Am. Academy of Pediatrics, AAP Statement In

Response to NEC Lawsuits.

       Each of these deficits was identified in Moving Defendants’ Preliminary Objections

to Plaintiffs’ originally filed Complaint. None has been remedied in this Second Amended

Complaint.

IV.    ARGUMENT

       A.     DEMURRER FOR FAILURE TO STATE A CLAIM AS TO COUNTS I, II,
              III, IV & V

       Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a

complaint, in the nature of a demurrer, for legal insufficiency in a pleading. A court should

grant a demurrer where, accepting as true all well pled facts, a legal cause of action

cannot be maintained upon those facts.          Pa.R.C.P. 1028(a)(4); see also, Willet v.

Pennsylvania Med. Catastrophe Loss Funds, 702 A.2d 850, 853 (Pa. 1997). In this case,

Counts I, II, III, IV, and V of Plaintiffs’ Second Amended Complaint should be stricken

pursuant to this Rule, as Plaintiffs have failed to plead with sufficient detail to survive the

pleading stage that Moving Defendants’ cow’s milk-based products were unreasonably

dangerous. Moreover, because Plaintiffs have failed to cure this deficiency even after

amending their complaint twice, the strike should be with prejudice.

       To survive preliminary objections, Plaintiffs must aver sufficient facts, together with

the documents and exhibits attached thereto, to make out a prima facie case as to all

elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co., 130 A.3d

19, 35 (Pa. Super. 2015). “The threshold inquiry in all products liability cases is whether

there is a defect which rendered the product unreasonably dangerous.”               Weiner v.

American Honda Motor Co., Inc., 718 A.2d 305, 307 (Pa. Super. 1998). “A product is

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defective when it is not safe for its intended use, i.e., the product left the supplier's control

lacking any element necessary to make it safe for its intended use.” Id. at 308. Whether

a product is “unreasonably dangerous” is a question of law. Id.

       It is black-letter law that a plaintiff must show a causal connection between a

defendant’s product and the alleged injury in order to sustain a product liability claim.

See, e.g., Lilley v. Johns-Manville Corp., 408 Pa. Super. 83, 96 (Pa. Super. Ct. 1991) ("in

order for liability to attach in a products liability action, a plaintiff must establish that his or

her injuries were caused by a particular product of a defendant manufacturer.")

       Plaintiffs allege in Counts I and II of the Second Amended Complaint that Moving

Defendants, “as the manufacturers and/or sellers of the products at issue in this litigation,”

owed Plaintiffs and the public a duty to manufacture, sell, and distribute their products in

a manner that was not unreasonably dangerous and to warn of unreasonable risk of harm

posed by their products. Plaintiffs similarly allege in Count III (Negligence) that Moving

Defendants, owed Plaintiffs and the public a duty to exercise reasonable care to design,

test, manufacture, inspect, and distribute products that were free of unreasonable risk of

harm, and in in Count IV (Intentional Misrepresentation) and Count V (Negligent

Misrepresentation) that they owed Plaintiffs and the public a duty to provide truthful,

accurate, and fulsome information about their cow’s milk-based products. Each count

brought against Moving Defendants therefore rests on Plaintiffs’ theory that cow’s milk-

based products are unreasonably dangerous, and for strict liability purposes in Counts I

& II, defective.

       In fact, the Moving Defendants’ cow’s milk-based products are regulated by FDA

and legally marketed for use in pre-term infants. Moreover, in Plaintiffs’ own Second



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Amended Complaint, they acknowledge that “[p]reterm and low-birth-weight infants are

especially susceptible to NEC.” See Ex. A at ¶ 23 (emphasis added).

      In support of their theories and claims, Plaintiffs offer only vague references to

unidentified “[e]xtensive scientific research, including numerous randomized controlled

trials” that purportedly prove Moving Defendants’ cow’s milk-based products cause NEC

in preterm and low-birth-weight infants.        Plaintiffs neither cite specifically to any

randomized trial or consensus statement nor offer an explanation of the purported method

of action by which cow’s milk-based formula products allegedly cause NEC.

      In their original complaint, Plaintiffs did specifically cite five publicly available

studies comparing cow’s milk-based products to breast milk, a Surgeon General report

on the subject, and a statement by the American Academy of Pediatrics. Those studies,

the report and the statement purportedly reference higher rates of NEC in preterm and

low birth weight infants fed cow’s milk-based diets than those fed breast milk. They do

not establish or prove causation. At best, they provide support for what neonatologists

around the country already know: “Using human breast milk to feed preterm infants may

reduce the risk of NEC, but it does not eliminate this risk.” News Release, Am. Academy

of Pediatrics, AAP Statement In Response to NEC Lawsuits. 2.




2 On July 27, 2024, the American Academy of Pediatrics issued a news release that

further explained:

      “Part of what is so challenging about NEC is that the causes are multifaceted and
      not completely understood. Our science does not tell us exactly how to prevent it.
      . . Special formulas designed for preterm infants provide an essential source of
      nutrition. Using human breast milk to feed preterm infants may reduce the risk of
      NEC, but it does not eliminate this risk. Donated human milk is also used when the
      mother’s own milk is not available in sufficient quantities, but there is not enough
      donated human milk to be used as the only source of nutrition for these infants.
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       Moreover, as Weiner notes, Plaintiffs must aver sufficient facts demonstrating the

Moving Defendants’ products are unreasonably dangerous for their intended use,

triggering Moving Defendants’ duty to warn. The only factual reference Plaintiffs make

with regard to intended use is to marketing campaigns, where Defendant Manufacturers

allegedly advertised that “cow’s milk-based products are necessary for proper growth and

development of preterm infants.” See Ex. A, at ¶ 54. Plaintiffs have not averred sufficient

facts to demonstrate that cow’s milk-based products are unreasonably dangerous for this

purpose.

       Consequently, Plaintiffs’ Counts I through V should be stricken with prejudice or

failure to state a claim.

       B.     DEMURRER FOR FAILURE TO STATE A CLAIM AS TO COUNTS
              IV & V

       Plaintiffs’ claims for intentional and negligent misrepresentation (Counts IV and V)

fail because Plaintiffs do not allege that they received and relied upon any specific

representation from Moving Defendants. See Bortz v. Noon, 729 A.2d 555, 560 (Pa.

1999) (setting forth the elements of intentional and negligent misrepresentation and

noting that both require a false representation upon which the plaintiff ultimately relied).

The Second Amended Complaint not only fails to identify the allegedly defective Mead

Johnson product that J.C. received, it fails even to allege that J.C. received any Mead




       Providing special formula is a routine and necessary part of care of these preterm
       infants.”

News Release, Am. Acad. of Pediatrics, AAP Statement in Response to NEC Lawsuit
Verdicts (July 27, 2024), https://www.aap.org/en/news-room/news-
releases/aap/2024/aap-statement-in-response-to-nec-lawsuit-
verdicts/?_ga=2.95418713.417221795.1722442775-1510920779.1722442775.
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Johnson product. See Ex. A, Am. Compl. ¶ 64 (alleging that Mead Johnson “markets and

sells multiple products specifically targeting premature infants); ¶ 111 (alleging that

“Abbott and/or Mead’s” products were fed) (emphasis added). Plaintiffs cannot claim

reliance on an alleged misrepresentation when there is no identified product to

misrepresent. Kepner v. Tine, No. 835 EDA 2015, 2015 Pa. Super. Unpub. LEXIS 4257,

at *6 (Pa. Super. Nov. 25, 2015) (affirming dismissal of a fraudulent misrepresentation

claim for failure to plead a particular misrepresentation).

       Pennsylvania law demands more. See Pa. R. Civ. P. 1019(b). Other courts around

the country have dismissed similar misrepresentation claims for lack of specificity. E.g.,

Ex. B, In re Mead Johnson Product Cases, CJC-23-005257, at 6–8 (Cal. Sup. Ct. July 7,

2023); Casino v. Bank of Am., 224 Cal. App. 4th 1462, 1469 (Cal. Ct. App. 2014) (“[W]hen

a plaintiff asserts fraud against a corporation, the plaintiff must allege the names of the

persons who made the allegedly fraudulent representations, their authority to speak, to

whom they spoke, what they said or wrote, and when it was said or written.”) (internal

quotation marks omitted); Peterson v. Clark Lake Homes Inc., 2022 WL 16910578, at *4

(Minn. Ct. App. (Nov. 14, 2022) (requiring identification of the “who, what, when, where,

and how” for a claim of fraud).

       Intentional misrepresentation requires: “(1) a representation; (2) which is material

to the transaction at hand; (3) made falsely with knowledge of its falsity or recklessness

as to whether it is true or false; (4) with the intent of misleading another into relying on it;

(5) justifiable reliance on the misrepresentation; and (6) the resulting injury was

proximately caused by the reliance.” Bortz, 729 A.2d at 560 (citing Gibbs v. Ernst, 647

A.2d 882, 889 (Pa. 1994)).



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       Negligent misrepresentation similarly requires a false representation and reliance,

“though the speaker need not know his or her words are untrue.” Id. at 561. Here,

Plaintiffs’ misrepresentation claims fail because they fail to sufficiently allege any

relationship between a specific misrepresentation (which they do not identify), a specific

product (which they do not identify), and an injury. See Kepner, No. 835 EDA 2015, 2015

Pa. Super. Unpub. LEXIS 4257, at *6 (requiring a particular misrepresentation); Cummins

v. Firestone Tire & Rubber Co., 495 A.2d 963, 969 (Pa. Super. Ct. 1985) (affirming

dismissal of negligence claim where plaintiff failed to properly identify the product or its

manufacturer). Causation is a hallmark of any tort action in Pennsylvania. Soldo v.

Sandoz Pharms. Corp., 244 F. Supp. 2d 434, 524 (W.D. Pa. 2003) (“Proof of causation

is a necessary element in a products liability action. Absent a causal relationship between

the defendant’s product and the plaintiff’s injury the defendant cannot be held liable on a

theory of negligence, strict product liability, or misrepresentation”) (applying Pennsylvania

law) (citing O’Brien v. Sofamar, S.N.C., No. CIV. A. 96–8015, 1999 WL 239414 (E.D.

Pa.1999)). Absent identification of the manufacturer of the allegedly defective product,

“there can be no allegations of . . . legal causation, and hence there can be no liability.”

Cummins, 495 A.2d at 968–69 (citing Hamil v. Bashline, 392 A.2d 1280 (Pa. 1978)).

Plaintiffs’ intentional and negligent misrepresentation claims against Moving Defendants

must therefore be dismissed.

       C.     MOTION TO STRIKE PLAINTIFFS’ COMPLAINT AS TIME-BARRED

       Plaintiffs’ complaint is time barred and should be dismissed. Pennsylvania law

establishes a two-year statute of limitations for any suit alleging “personal injury.” See 42

Pa. Cons. Stat. § 5524(2) & (7); Pulli v. Ustin, 2011 Pa. Super. LEXIS 1733, 24 A.3d 421,



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421 n.4 (Pa. Super. Ct. Jul. 5, 2010). A cause of action for personal injury “accrues, and

thus the applicable limitations period begins to run, when an injury is inflicted.” Wilson v.

El-Daief, 600 Pa. 161, 173, 964 A.2d 354, 361 (Pa. 2009).

       Plaintiffs’ alleged injuries occurred on or about November 1, 2014. Thus, the

statutory period in which Plaintiff could file a complaint expired on or about November 1,

2016. But Plaintiff-parent did not file a complaint until March 24, 2022—almost 6 years

after the statute of limitations period had expired. Absent tolling of the limitations period,

Plaintiffs’ complaint is time-barred.

       Pennsylvania’s discovery rule is a “narrow approach to determining accrual for

limitations purposes and places a greater burden upon Pennsylvania plaintiffs vis-à-vis

the discovery rule than most other jurisdictions.” Gleason v. Borough of Moosic, 609 Pa.

353, 362-63, 15 A.3d 479, 484 (Pa. 2011) (emphasis added) (quotations and citation

omitted).

       Plaintiffs' claims relate to a disease—necrotizing enterocolitis—that has been

known to the medical community for decades and involve a product that has similarly

been the standard of care in neonatal intensive care units for decades. The entirety of

Plaintiffs’ complaint rests on publicly available literature of which the scientific and

medical community has been aware. This is not the type of situation where a plaintiff

“was unable to discovery the operative facts for [the] cause of action [any] sooner” despite

exercising reasonable diligence. Dreischalick v. Dalkon Shield Claimants Tr., 845 F.

Supp. 310, 315–15 (W.D. Pa. 1994); see also Dalrymple v. Brown, 549 Pa. 217, 223, 701

A.2d 164, 167 (Pa. 1997).




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       Accordingly, the Court should sustain this preliminary objection and dismiss

plaintiff-parent’s claims as time barred.

       D.     MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
              SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading. Plaintiffs’ failure to

specify the nature of the products administered and injuries sustained serves as an

alternative ground on which all of their claims should be stricken.

       A plaintiff’s Complaint is required to provide a defendant with notice of what the

plaintiff’s claims are and the grounds upon which they rest, and the Complaint must also

formulate the issues by summarizing the facts essential to support the claims. Alpha Tau

Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super.

1983) (citations omitted).

       Pennsylvania Rule of Civil Procedure 1019(a) provides that “the material facts on

which a cause of action or defense is based shall be stated in a concise and summary

form.” Pa.R.C.P. 1019(a). As the Superior Court has noted,

              Rule 1019(a) requires fact pleading. The purpose of 1019(a)
              is to require the pleader to disclose the material facts sufficient
              to enable the adverse party to prepare his case. A complaint
              therefore must do more than give the defendant fair
              notice of what the plaintiff's claim is and the grounds
              upon which it rests. It should formulate the issues by fully
              summarizing the material facts. Material facts are
              ultimate facts, i.e., those facts essential to support the
              claim. Evidence from which such facts may be inferred
              not only need not but should not be alleged. Allegations
              will withstand challenge under 1019(a) if (1) they contain
              averments of all of the facts a plaintiff will eventually have
              to prove in order to recover, and (2) they are sufficiently
              specific so as to enable defendant to prepare his defense.



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       Baker v. Rangos, 324 A,2d 498, 505-506 (Pa. Super. 1974) (citations and internal

quotations omitted) (emphasis added).

       Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d

901 (Pa. 1953). “A plaintiff’s Complaint must set forth the extent, nature, location

and duration of the injuries suffered, and injuries that are permanent should be

stated specifically.” Miller v. Perrige, 71 Pa. D. & C.2d 476, 479–80 (Pa. Com. Pl.

1975). See also Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa. Com. Pl. 1958) (“A

catchall averment of “other injuries” is nothing more than a generalized averment under

which any injuries whatever could be proved at the trial. Defendant would have no

knowledge in advance of the trial of what they are.”).

       As noted above, Plaintiffs’ Second Amended Complaint is facially deficient with

regard to the specificity of the product allegations. The Second Amended Complaint

alleges “Similac and/or Enfamil cow’s milk-based products” were fed to J.C. “Upon

information and belief,” Ex. A at ¶ 15, while specifying J.C. was “exclusively fed” breast

milk fortified with Similac Human Milk Fortifier Powder 24 cal/oz from October 23, 2014

to October 31, 2014. Ex. A at ¶ 14, 15. These omissions are fatal defects in Plaintiffs’

Second Amended Complaint. Therefore, Plaintiffs’ Second Amended Complaint should

be stricken in its entirety.




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       E.     MOTION TO STRIKE PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

       As in the other infant formula cases, in the Ad Damnum clauses of Counts I, II, III,

IV, and V of the Amended Complaint, Plaintiffs make baseless accusations that Moving

Defendants engaged in oppressive, fraudulent, and/or malicious conduct that allegedly

justify an award of punitive damages. See Ex. A, at pp. 25, 28, 31, 34, and 37. However,

the Amended Complaint contains no specific allegations of conduct that would permit

recovery of punitive damages as to Moving Defendants. Accordingly, Plaintiffs’ claims

for punitive damages should be stricken.

       Punitive damages can be awarded only for conduct involving some element of

outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania Supreme Court decisions establish that “punitive damages are an ‘extreme

remedy’ available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters,

584 Pa. 179, 188, 883 A.2d 439, 445 (2005)). Punitive damages may not be awarded for

misconduct that constitutes ordinary negligence such as inadvertence, mistake and errors

of judgment. Martin v. Johns-Manville Corp., 494 A.2d 1088, 1097 (Pa. 1985); McDaniel

v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987). An award of punitive

damages must be supported by evidence of conduct more serious than the mere

commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Where the facts as averred show nothing more than negligence, a lapse in

judgment, or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims

for punitive damages, often at the pleadings stage of litigation and even if the complaint



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alleged severe injuries or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604,

606 (Pa. Com. Pl. 1985) (dismissing punitive damages claim where a plaintiff alleged that

a physician negligently performed a spinal fusion surgery that left the plaintiff with severe

neurological defects, and noting that “the mere pleading of outrageous conduct does

not, of course, satisfy the requirement stating facts which, if proven, would form a basis

for a jury concluding that the conduct was such that an award of punitive damages was

warranted.”) (emphasis added); Wagner, supra at *11 (contentions that physician failed

to prescribe antibiotics, order certain tests or request an infectious disease consult

constituted “nothing more than ordinary negligence and are insufficient to support an

award of punitive damages.”).

       Here, the Second Amended Complaint contains no specific allegations of conduct

that would permit recovery of punitive damages as to Moving Defendants. Read most

generously, Plaintiffs’ Second Amended Complaint alleges that Moving Defendants failed

to warn co-defendant HUP of a risk of NEC associated with its legally-marketed cow’s

milk-based product– a risk about which Plaintiff also alleges HUP was already aware.

See Ex. A at ¶ 161. And with respect to J.C.’s care, Plaintiffs merely allege that “upon

information and belief” J.C. may have—or may not have— been given a product sold by

Moving Defendants absent any context to indicate that such a product was inappropriate

based on the specific issues involved in J.C.’s medical care and condition following birth.

       Plaintiffs’ allegations of oppressive, malicious and similar conduct must be rejected

as mere boilerplate. Indeed, the fact that Plaintiffs have filed numerous lawsuits against

at least four other hospitals in Philadelphia based on identical claims belies the contention




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that Moving Defendants engaged in outrageous or malicious conduct in allegedly selling

a cow’s milk-based product that was used to feed the Plaintiff-minor.

       The facts underlying Plaintiffs’ bare assertions of oppressive, fraudulent and/or

malicious conduct do not even remotely meet the requisite standard under Pennsylvania

law that would permit an award of punitive damages. Absent specific factual allegations

to justify the claim that Moving Defendants’ actions as they pertain to Plaintiffs’ particular

facts and circumstances were extreme and outrageous, there is no basis for an award of

punitive damages in this case, and Plaintiffs’ claims for such must be stricken from the

Second Amended Complaint pursuant to Rule 1028(a)(3).

       F.     MOTION TO STRIKE PLAINTIFF-PARENT’S CLAIMS_______________

       The Court should strike Plaintiff-parent’s claims to recover damages in her own

right and as the parent and natural guardian of J.C., both because they are inadequately

pled and because she has not suffered physical injury.

       In each count of the Second Amended Complaint, Plaintiff-parent alleges that she

“suffered significant emotional distress, loss of income, and/or other harms” and that “[h]er

life has been significantly affected by the Injured Infant’s injuries.” See Ex. A at ¶¶ 116,

124, 133, 143, 153, and 167. This is insufficient. Plaintiff-parent fails to meet the pleading

requirements of Pa.R.C.P. 1020(b), which provides as follows:

       If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       Plaintiff-parent plainly does not allege any claim in separate counts or state any

cause of action. Rather, the claims are incorporated in a single, tagalong paragraphs at

the end of the existing counts.

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       Additionally, Plaintiff-parent does not complain of any physical injury. It is well

established that “no cause of action exists for negligence that results solely in economic

damages unaccompanied by physical injury or property damage.” Excavation Techs.,

Inc. v. Columbia Gas Co. of Pa., 985 A.2d 840, 841 n.3 (Pa. 2009) (citing Adams v. Copper

Beach Townhome Comtys., L.P., 816 A.2d 301, 305 (Pa. Super. 2003)); Miller v. Evenflo

Co., Inc., 2009 WL 10689606, at *4 (W.D. Pa. Dec. 21, 2009) (dismissing plaintiff-parents’

tort claims where only physical injury was to minor plaintiff). So too for claims sounding

in strict products liability. Schmidt v. Boardman Co., 11 A.3d 924, 953 (Pa. 2011) (“We

would hold that, for purposes of a strict products liability claim, a plaintiff’s recovery for

emotional distress is limited to that which is proximately caused by contemporaneous

physical impact”).

       G.     MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
              COMPLY WITH Pa.R.C.P. 1024

       Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every

pleading containing a factual averment based upon the signer’s personal knowledge or

information and belief. Rule 1024(c) requires that the verification be made by one or more

of the parties filing the pleading. In this case, Plaintiffs’ counsel signed the verification for

the Complaint, in violation of Rule 1024. See Exhibit “A.” Accordingly, the Complaint

should be stricken for lack of an appropriate verification.



V.     REQUESTED RELIEF

       For the foregoing reasons, Defendants Mead Johnson & Company, LLC and Mead

Johnson Nutrition Company respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.

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                                            Respectfully submitted,

                                            TUCKER LAW GROUP, LLC


Dated: August 7, 2024                       /s/ Kenneth A. Murphy
                                            Kenneth A. Murphy, Esquire



                                            WELSH & RECKER, P.C.

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                                            Mead Johnson Nutrition Company




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                             CERTIFICATE OF SERVICE

      I, Kenneth A. Murphy, Esquire, do hereby certify that on this day, I caused a true

and correct copy of the foregoing Preliminary Objections of Defendants Mead Johnson &

Company and Mead Johnson Nutrition Company to Plaintiffs’ Second Amended

Complaint, and accompanying Memorandum of Law, to be served via electronic filing, on

the following counsel of record, addressed as follows:

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                                       By:    /s/ Kenneth A. Murphy
                                              Kenneth A. Murphy, Esquire

Dated: August 7, 2024




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                        Exhibit
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By:




Timothy.burke@klinespecter.com


                                                 :   IN THE COURT OF COMMON PLEAS
HOLLI CARTER, on her own behalf and as           :   PHILADELPHIA COUNTY
Parent and Natural Guardian of J.C., a Minor,    :
                                                 :   CIVIL TRIAL DIVISION
                            Plaintiff,           :
                                                 :   MARCH TERM 2022
       v.
                                                 :   NO. 02588
                                                 :
MEAD JOHNSON & COMPANY, LLC, MEAD
                                                 :
JOHNSON NUTRITION COMPANY, ABBOTT
                                                 :
LABORATORIES, THE TRUSTEES OF THE
                                                 :
UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                 :
MEDICINE, and THE TRUSTEES OF THE
                                                 :
UNIVERSITY OF PENNSYLVANIA d/b/a
                                                 :
PENNSYLVANIA HOSPITAL,
                                                 :
                                                 :
                             Defendants.
                                                 :
                                                 :
                                                 :

                                         NOTICE TO DEFEND
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 NOTICE                                               ADVISO
 You have been sued in court. If you wish to defend Le han demandado a used en la corte. Si usted
 against the claims set forth in the following pages, quiere defenderse de estas demandas expuestas en
 you must take action within twenty (20) days after las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and notificacion. Hace falta asentar una comparencia
 filing in writing with the court your defenses or    escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You corte en forma escrita sus defensas o sus objeciones
 are warned that if you fail to do so the case may    a las demandas en contra de su persona. Sea avisado
 proceed without you and a judgment may be            que si usted no se defiende, la corte tomara medidas
 entered against you by the court without further     y puede continuar la demanda en contra suya sin
 notice for any money claimed in the complaint or previo aviso o notificacion. Ademas, la corte pueda
 for any other claim or relief requested by the       decidir a favor del demandante y requiere que usted
 plaintiff. You may lose money or property or other cumpla con todas las provisiones de esta demanda.
 rights important to you.                             Usted puede perder dinero o sus propiedades u otros
 YOU SHOULD TAKE THIS PAPER TO YOUR derechos importantes para usted.
 LAWYER AT ONCE. IF YOU DO NOT HAVE LLEVE ESTA DEMANDA A UN ABOGADO
 A LAWYER, GO TO OR TELEPHONE THE                     INMEDIATAMENTE, SI NO TIENE ABOGADO
 OFFICE SET FORTH BELOW. THIS OFFICE O SI NO TIENE EL DINERO SUFICIENTE DE
 CAN PROVIDE YOU WITH INFORMATION                     PAGAR TAL SERVICIO, VAYA EN PERSONA O
 ABOUT HIRING A LAWYER.                               LLAME POR TELEFONO A LA OFICINA CUYA
 IF YOU CANNOT AFFORD TO HIRE A                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
 LAWYER, THIS OFFICE MAY BE ABLE TO                   PARA AVERIGUAR DONDE SE PUEDE
 PROVIDE YOU WITH INFORMATION ABOUT CONSEGUIR ASISTENCIA LEGAL.
 AGENCIES THAT MAY OFFER LEGAL
 SERVICES TO ELIGIBLE PERSONS AT A                    Colegio de Abogados del Lackawanna
 REDUCED FEE OR NO FEE.                               233 Penn Avenue, Scranton, PA 18503
                                                      (570) 961-2714
 Lackawanna Bar Association
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  (570) 961-2714
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                                                     :   IN THE COURT OF COMMON PLEAS
 HOLLI CARTER, on her own behalf and as Parent       :   PHILADELPHIA COUNTY
 and Natural Guardian of J.C., a Minor,              :
                                                     :   CIVIL TRIAL DIVISION
                             Plaintiff,              :
                                                     :   MARCH TERM 2022
        v.
                                                     :   NO. 02588
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                     :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                     :
 LABORATORIES, THE TRUSTEES OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                     :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                     :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                     :
                                                     :
                              Defendants.
                                                     :


                            SECOND AMENDED COMPLAINT

       Plaintiff brings this Second Amended Complaint and Demand for Jury Trial (the “Second

Amended Complaint”) against Mead Johnson & Company, LLC, Mead Johnson Nutrition

Company, and Abbott Laboratories (collectively “the Defendant Manufacturers”), and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine and Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively “Penn


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Medicine” or “Pennsylvania Hospital”), together “Defendants.”         Plaintiff alleges the following

upon personal knowledge as to Plaintiff’s own acts and experiences and upon information and

belief, including investigation conducted by Plaintiff’s attorneys, as to all other matters.

                                    I.         INTRODUCTION

1.     This action arises out of the injuries suffered by a premature infant (the “Injured Infant”)

who was given the Defendant Manufacturers’ cow’s milk-based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant Manufacturers’ products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.         This caused the Injured Infant to

develop necrotizing enterocolitis (“NEC”), a life-altering and potentially deadly disease that

largely affects premature babies who are given cow’s milk-based feeding products.         As a result,

the Injured Infant was seriously injured, resulting in long term health effects and accompanying

harm to their parent (“the Plaintiff Parent”).

2.     Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant’s consumption of the Defendant Manufacturers’

unreasonably dangerous cow’s milk-based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                         II.     PARTIES

3.     Plaintiff Holli Carter is a natural adult person and a resident of New Jersey. Ms. Carter is

the parent and natural guardian of J.C., a minor. Ms. Carter’s address is 16 Carmen Drive, Cape

May Court House, New Jersey 08210-2563.

4.     Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws


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of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead

Johnson Nutrition Company and Mead Johnson & Company, LLC, (together, “Mead”) are

manufacturers of cow’s milk-based infant feeding products and market many of these products

under the “Enfamil” brand name.

5.      Defendant Abbott Laboratories (“Abbott”) is a corporation, incorporated under the laws of

the State of Illinois. Its principal place of business is in Illinois. Abbott is a manufacturer of cow’s

milk-based infant feeding products and markets many of its products under the “Similac” brand

name.

6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.               Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                              III.    JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants


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conduct authorized business in the Commonwealth of Pennsylvania.              They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

This suit arises out of Defendants’ forum-related activities, such that the Court of Common Pleas

of Philadelphia County’s exercise of jurisdiction would be consistent with traditional notions of

fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia

County, which is also the county where Plaintiff’s causes of action arose, and the county where

the occurrences took place out of which Plaintiff’s causes of action arose.

10.     This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.   FACTUAL ALLEGATIONS

                                       J.C.’s NEC Diagnosis

11.     J.C. was born prematurely at Pennsylvania Hospital in Philadelphia, Pennsylvania on

October 6, 2014.

12.     At birth, J.C.’s gestational age was approximately 24 weeks and he weighed 655 grams.

13.     J.C. was fed breast milk from October 11, 2014 until October 22, 2014.

14.     On October 23, 2014 the Pennsylvania Hospital NICU physicians changed J.C.’s

nutritional orders to be breast milk fortified with bovine-based human milk fortifier (“HMF”),

fortified to 24 cal/oz. Upon in formation and belief, J.C. was exclusively fed this fortified breast

milk from October 23, 2014 to October 31, 2014.


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15.     Upon information and belief, the bovine based Human Milk Fortifier that was fed to infant

J.C. was “Similac Human Milk Fortifier Powder 24 cal/oz”, manufactured by Defendant Abbott.

16.     Upon information and belief, J.C. was fed Similac and/or Enfamil cow’s milk-based

products by staff at Pennsylvania Hospital after his birth despite the fact that Pennsylvania Hospital

knew or should have known that cow’s milk-based products increase the risk of NEC and that

human milk decreases the risk of NEC.

17.     On November 1, 2014 J.C. was diagnosed with stage I necrotizing enterocolitis (“NEC”)

after he developed sepsis, gaseous distention and ileus replogle. He was treated for fourteen days

for Stage I Medical NEC with vancomycin and zosyn from November 1, 2014 to November 14,

2014.

18.     Upon information and belief, J.C. developed NEC after ingesting Defendant

Manufacturers’ products.

19.     J.C. was discharged from the Pennsylvania Hospital NICU on February 22, 2015.

20.     At discharge Plaintiff Holli Carter was instructed to continue feeding J.C. with fortified

breast milk to 24 calories and was provided with Abbott’s Similac Human Milk Fortifier samples

by Defendant Hospital at the time of discharge for use going forward, along with instructions as

to how to procure that herself going forward.

21.     J.C.’s diagnosis of NEC occurred during his course of treatment at Defendant Hospital’s

NICU. J.C. suffered injuries including a diagnosis of NEC, treatment with antibiotics and blood

transfusions, and suffers from developmental delay secondary to NEC.

                    Cow’s Milk-Based Feeding Products Are Known to Cause
                                            NEC

22.     NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

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causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

23.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow’s milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.

        Safer, Nutritionally Superior Alternatives to Cow’s Milk-Based Products Exist

24.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition. For example, in addition to the mother’s own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

25.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow’s milk-based products.

26.    The Defendant Manufacturers’ products not only pose a threat to infants’ health, but also

displace the human milk they could otherwise receive. This displacement only increases infants’

vulnerability to NEC.

27.    Human milk-based nutrition nourishes infants while creating a significantly lower risk of

NEC.

28.    At the time the Injured Infant was fed the Defendant Manufacturers’ products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the


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likelihood that a baby will develop NEC, leading to severe injury and often death.

29.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products’ packaging, guidelines,

instructions, or warnings.    Instead, they have continued to sell their unreasonably dangerous

products.   In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge. And, in fact,

the Defendant Manufacturers offer contracts to hospitals—which the hospitals accept—that

actually prevent the health care providers from offering alternative products—even safer ones—

on pain of risking the hospital’s advantageous formula pricing strategy.

30.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital fed Similac

and/or Enfamil cow’s milk-based products after her birth instead of mother’s human milk and/or

donor human milk.

31.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital did not properly

warn Ms. Wiger of those risks and alternatives to have avoided the cow’s milk-based products.

                                 Ms. Carter Discovers Her Claim

32.    Because of the Defendants’ concealment and misrepresentations, described more fully

herein, Ms. Carter did not know, and had no reason to know or suspect, that J.C.’s NEC could


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have been caused by the Defendant Manufacturers’ products.

         Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and
                      Would Not Have Revealed a Factual Basis Earlier
                 Because Defendants Hid the Cause of NEC from Ms. Carter

33.     Despite exercising reasonable diligence, Ms. Carter was unable to have made the discovery

earlier via a reasonable investigation because the Defendants in this litigation concealed the

wrongful cause of J.C.’s injuries.

34.     Amidst the physical and emotional trauma of preterm childbirth, and having her child in

the neonatal intensive care unit, shortly after learning of J.C.’s NEC diagnosis, Ms. Carter

undertook an investigation into the cause of the NEC by asking the doctors the cause of her NEC.

35.     The health care providers at Penn Medicine responded only that J.C. had gotten NEC

because she was born premature. Penn Medicine’s response did not indicate that her NEC was

caused by the Defendant Manufacturers’ products.

36.     Not one person at Penn Medicine mentioned that the Defendant Manufacturers’ formula

products could have caused J.C.’s injuries. Penn Medicine’s response at the time did not give Ms.

Carter any reason to suspect any wrongdoing on the part of the Defendants.

37.     Ms. Carter is a layperson with no medical background or training that would have given

her any reason to doubt the response she received from her Penn Medicine health care providers

at the time.

38.     Given that Penn Medicine’s health care providers were in charge of the care of her newborn

infant, Ms. Carter had no reason to doubt their word.

39.     Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling or

packaging of any of the Defendant Manufacturers’ products.




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40.       What is more, necrotizing enterocolitis is a disease that can occur in children who are not

fed the Defendant Manufacturers’ products, and the Defendant Manufacturers have worked to

mislead parents into a false sense of security about the use of those products.                        Publicly

disseminated materials from each Defendant Manufacturer disguise the role their products play in

causing the disease—and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.

41.       For example, Abbott’s website stays that “[t]he specific cause of NEC is unknown, but it’s

most often seen in very low birth weight premature babies,” and that “about 10% of babies who

are born prematurely develop NEC.” The website suggests that “new preliminary studies” suggest

for the first time that “NEC prevention may . . . be possible” with the use of human milk

oligosaccharides to “dramatically curb intestinal inflammation” and reduce the risk of NEC.

Abbott states that these human milk oligosaccharides are found in “certain Similac formulas”

although they are “not currently available in Similac’s premature infant formulas.” 1 Likewise, the

website for Mead Johnson’s products states that necrotizing enterocolitis is “one of the most

common and serious intestinal disease[s] among premature babies.” And it deflects responsibility

from Mead Johnson’s products: “Necrotizing enterocolitis happens when tissue in the small or

large intestine is injured or inflamed.” 2

    42.   Because of the misleading information distributed by the Defendant Manufacturers, as

further detailed infra, any research conducted by Ms. Carter immediately after J.C.’s diagnosis, or



1
 The Role of HMOs in Reducing NEC, https://www.nutritionnews.abbott/pregnancy-childhood/prenatal-
breastfeeding/the-promising-role-of-hmos-in-reducing-risk-of-nec/ (last visited July 28, 2023).

2
  Special Feeding Concerns for Preemies, https://www.enfamil.com/articles/special-feeding-concerns-for-preemies/
(last visited July 29, 2023).
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at any time prior to seeing an advertisement, would not have led a reasonable person to suspect

that the Defendant Manufacturers’ products could have caused J.C.’s injuries.

43.    Ms. Carter also did not know, and had no reason to know or suspect, that Penn Medicine

breached its duty of care by distributing the Defendant Manufacturers’ products to her. Not only

was Ms. Carter unaware that the Defendant Manufacturers’ products caused J.C.’s injuries, but the

Defendant Manufacturers’ distribution agreements with Penn Medicine—which allowed Penn

Medicine to secure sweetheart deals for otherwise expensive premature infant formula in exchange

for product placement and access to the hospital staff—were also not public or knowable to Ms.

Carter, nor could any reasonable investigation outside of litigation have uncovered the terms of

those agreements.

Despite Exercising Reasonable Diligence, the Defendants’ Fraudulently Concealed the Risks
 of NEC from Defendant Manufacturers’ Products to Divert, Prevent, and Mislead Plaintiff
                    Regarding the Cause of Her Child’s NEC Diagnosis

44.    In addition to the averments above, the Defendants have acted in concert to fraudulently

convey false and misleading information concerning the risk of NEC, and potentially death, caused

by Defendant Manufacturers’ preterm infant formula products.

45.    The Defendants’ actions as set forth herein constitute knowing misrepresentation,

omission, suppression, and concealment of material facts, made with the intent that Plaintiff would

rely upon such concealment, suppression, or omission, in connection with the use of Defendants’

preterm infant products.

46.    Plaintiff did not know, and could not learn, the truth concerning the uses, risks and benefits

of Defendant Manufacturers’ preterm infant products due to Defendants’ deliberate

misrepresentations and concealment, suppression and omission of material facts and important

information regarding the risks of NEC, and potentially death, from the products.


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47.    Moreover, Defendant Hospital further participated in the intentional concealment—on

information and belief, it allowed the Defendant Manufacturers’ sales representatives into its

hospital to provide samples and free products that did not warn of their serious dangers, and to

provide “education” to its NICU staff that was incomplete as to the true risks of feeding their

patients the Defendant Manufacturers’ products.

48.    Based upon information and belief, during the relevant time period, Pennsylvania Hospital,

Penn Medicine, and the Hospital of the University of Pennsylvania stocked formula products from

both Abbott and Mead.

 49.   Additionally, Defendant Hospital failed to inform Ms. Carter that the Defendant

Manufacturers’ products caused Plaintiff’s NEC, even when she directly asked the cause. As noted

above, after learning of Plaintiff’s NEC diagnosis, Ms. Carter was understandably concerned about

the degrading health of her newborn infant. As any concerned parent would do, Ms. Carter asked

Plaintiff’s health care providers at Defendant Hospital why a premature infant like J.C. was

suddenly diagnosed with a terrible disease like necrotizing enterocolitis; that is, she asked

Defendant Hospital what caused Plaintiff’s injury. But even though Defendant Hospital knew of

the increased risk of NEC from formula, it did not disclose that the formula provided to J.C. could

increase the risk of NEC to preterm infants, responding only that J.C. had gotten NEC solely

because she was born premature. Not one person at the NICU mentioned that the Defendant

Manufacturers’ formula products could have been the cause of Plaintiff’s injuries.

 50.   Defendant Hospital was aware that the Defendant Manufacturers’ products caused NEC in

premature infants. Defendant Hospital was also aware that the Defendant Manufacturers did not

provide warnings on their products. However, Defendant Hospital did not warn Ms. Carter of the

risks of the products. Instead, and notwithstanding the sweetheart deal Defendant Hospital agreed


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to in exchange for preterm infant formula at little to no cost, Defendant Hospital repeatedly

informed Ms. Carter that it would do everything it could possibly do to keep her infant safe.

Though this was clearly not true given the known risks of preterm formula for babies like J.C., it

was enough for Ms. Carter to trust that Defendant Hospital was providing preterm formula in the

best interest of her child.

51.     Defendants’ affirmative acts of fraud and concealment, as averred herein, diverted,

prevented, and/or mislead Plaintiff from discovering the medical cause of her child’s NEC

diagnosis.

   The Defendant Manufacturers’ False and Misleading Marketing Regarding Cow’s Milk-
                                 Based Infant Products

52.     Abbott and Mead have aggressively marketed their cow’s milk-based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

Injured Infant’s birth.

53.     Abbott’s and Mead’s marketing approach includes targeting the parents of preterm infants

while they are still in the hospital with messages that the Defendant Manufacturers’ cow’s milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother’s

supply of breast milk. None of the Defendant Manufacturers’ marketing materials, including their

promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

54.     For example, upon information and belief, Mead creates information booklets for parents

of premature infants to help answer some of their questions and concerns about having a premature

infant in the NICU that it provides to hospitals for dissemination to parents. While Mead’s

booklets explain feeding options for premature infants, including formula, they do not mention

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that Mead’s premature formula and fortifier products increase the risk of premature infants

developing necrotizing enterocolitis.     Instead, the booklets advise parents that sometimes a

combination of breast milk and formula may be best and that premature infants will be happy and

healthy or nourished and healthy regardless of whether they are receiving breast milk or formula.

55.    Similarly, upon information and belief, Abbott publishes a pediatric nutrition product guide

that is available online for anyone, including parents, to access wherein Abbott advises that

“human milk alone does not meet all the nutritional needs of preterm infants” and that the

formulations of its products, which are based on decades of research and scientific publications,

are “specially designed to meet the nutritional requirements of preterm infants and can be fed with

confidence to most of the preterm infants in the NICU.” Nowhere in its product guide does Abbott

reference that its products increase the risk of necrotizing enterocolitis.

56.    Abbott also has a consumer-facing website accessible to anyone online, including parents,

that specifically discusses nutrition for premature infants, wherein Abbott tells parents of

premature infants that “your baby’s nutrient needs are greater than what breast milk alone can

provide” and that a “human milk fortifier” may be added to breastmilk to “add[] proteins, vitamins,

and minerals to help support a preemie’s high nutrition needs for growth and development.”

Nowhere in its discussion of preterm infant fortifiers or formulas does Abbott state that its products

increase the risk of necrotizing enterocolitis or that they pose more of a risk that just providing

preterm infants with breast milk only. Nor does Abbott disclose that the “human milk fortifier” is

actually a cow’s milk based product and not a human milk-based product, which misleads

consumers.

57.    Upon information and belief, both Mead and Abbott also provide materials and programs

to the hospitals and the physicians and medical staff who are treating premature infants about the


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manufacturers’ preterm products. Upon information and belief, these materials represent that the

manufacturers’ preterm products are safe and necessary for preterm infants. Mead and Abbott rely

on the physicians and medical staff to not only use their products in the NICU, but to convey these

messages to the parents of premature infants in their care.

58.     Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message.

59.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes (“the Code”), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

60.     While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers’ aggressive marketing exploits new parents’ darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

61.    For example, Abbott’s website, on a paged titled “Infant Formula Marketing,” states: “We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recognize that for infants who aren’t

breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe




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alternative to meet babies’ nutritional needs.” This statement ignores the existence of donor milk,

as well as human milk-based formula.

62.    Abbott markets and sells multiple products specifically targeting preterm and low-

birthweight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products’

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac NeoSure, Abbott noted: “Your premature baby didn’t

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help support her development.” Yet, no mention was made of the accompanying

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.

63.    Abbott’s website also contains product information and a downloadable guide for each of

its products specifically targeting preterm and low-birth-weight infants, including Liquid Protein

Fortifier, Similac NeoSure, Similac Human Milk Fortifiers, Similac Special Care 20, Similac

Special Care 24, Similac Special Care 24 High Protein, and Similac Special Care 30. None of

these pages or guides contain any mention of NEC or that the products specifically increase the

risk of NEC. Indeed, a search of Abbott’s website for “necrotizing enterocolitis” returns no hits.

Instead, Abbott states that “enteral feeding” – which includes breast milk and donor milk – have

been “associated with” things like “[s]pitting up, abdominal distension” or “other signs of

intestinal dysfunction.” This statement is entirely misleading, as it improperly indicates that the


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risk of things like “spitting up” are the same for premature infants using Abbott’s products and

premature infants receiving breast milk or donor milk, equates formula to non-cow’s milk-based

feeding options like breast milk and donor milk, fails to mention NEC, and minimizes the risk of

its products.

64.    Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-edited webpage for Enfamil Enfacare stated: “Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants” and noted that Enfamil formulas include “expert-recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and

eye development.”

65.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil’s formula to breast milk, without any mention

of the product’s extreme risks. Indeed, the terms “human milk” and “breast milk” are used 13 times

in the advertisement, including in such statements as “for decades human milk has inspired the

advancements in Enfamil formulas and now through extensive global research, we are taking an

even closer look at human milk” and “only Enfamil NeuroPro has a fat blend of MFGM and DHA

previously found only in breast milk.” The webpage for the product has made similar manipulative


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claims, stating “Enfamil is backed by decades of breast milk research and multiple clinical studies”

and it claims that “to create our best formulas, we collaborated on some of the most extensive

breast milk studies to date[.]”

66.    Mead’s website also contains product information for each of its products specifically

targeting preterm and low-birth-weight infants, including Enfamil NeuroPro EnfaCare Infant

Formula, Enfamil Premature Infant Formula 24 Cal High Protein, Enfamil Premature Infant

Formula 30 Cal with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, Enfamil Premature

Infant Formula 20 Cal with Iron, Enfamil 24 Cal Infant Formula, and Enfamil Human Milk

Fortifier (acidified liquid and powder). None of these pages contain any mention of NEC or that

the products specifically increase the risk of NEC. Indeed, a search of Mead’s website for

“necrotizing enterocolitis” returns no hits. Instead, Mead advertises on its website that it “has led

the way in developing safe, high-quality, innovative products” – including preterm products – “to

help meet the nutritional needs of infants.”

67.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,

and even entire gift baskets to parents before their infants’ discharge from the NICU or hospital.

68.    Here, S.P was discharged from CHOP with the recommendation to continue use of

Abbott’s Similac Special Care 24 formula.

69.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a “medical blessing,” in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant Manufacturers’ giveaways and


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gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

70.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called “Similac Human Milk Fortifier,” and Mead developed “Enfamil Human Milk Fortifier.”

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow’s milk-based products. The packaging appears as:




71.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that: (1) cow’s milk-based products are safe, including for preterm

infants; (2) cow’s milk-based products are equal, or even superior, substitutes to breast milk; (3)

cow’s milk-based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant Manufacturers’ cow’s milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death that cow’s milk-based products pose to preterm infants like

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the Injured Infant.

72.     The Defendant Manufacturers have also designed powerful marketing campaigns to both

the general public and health care providers at hospitals like Pennsylvania Hospital.         The

Defendant Manufacturers know that sales made to hospitals are key drivers of brand loyalty, and

thus are a key opportunity to drive better downstream business—i.e., retail purchases by parents

after they have left the hospital. On information and belief, the Defendant Manufacturers know

that the formula products used in a hospital’s NICU are related to getting and keeping the overall

hospital contracts.    And the Defendant Manufacturers know that, just like any celebrity

endorsement, when mothers of newborn infants see medical professionals using a certain brand,

the mothers are more likely to continue to purchase that same brand after discharge. The

Defendant Manufacturers are thus heavily motivated to ensure that NICU departments are using

their products.

73.     Abbott and Mead Johnson focus their sales teams and training heavily on hospital NICU

departments. They train their sales representatives how to increase the number of babies on their

formula, and they emphasize the need to be the dominant formula manufacturer in the NICU so

they can own that profitable ground and secure a great return on their substantial investment in

NICU formula and other products.

74.     To leverage hospitals’ NICUs and secure babies in the hospital and at retail, the

Manufacturer Defendants pull out all the stops to convince hospitals, including Defendant

Hospital, to purchase their products. For example: Abbott and Mead Johnson provide samples of

their products to hospitals for free.

75.     On information and belief, to get the hospitals on board with supplying their formula for

premature infants, Abbott and Mead Johnson work with hospitals to secure contracts that have


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special pricing discounts if a certain level of the formula-fed babies in the hospital receive just that

one manufacturer’s products; similar to a restaurant being a Coke or Pepsi restaurant. And

notwithstanding the increased risk of the Defendant Manufacturers’ products for the hospitals’

most fragile patients—the preterm infants—the decision makers at these hospitals seek out these

types of contracts to better the hospitals’ own bottom lines.

76.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective company’s

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

77.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective companies’

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

78.     On information and belief, prior to J.C.’s birth, Abbott sent sales representatives to

Defendant Hospital. Those sales representatives provided information about Abbott’s products to

Defendant Hospital’s staff via conversations, presentations, and written pamphlets. This

information indicated that Abbott’s products were safe to give to preterm infants like J.C. Abbott


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maintains call logs that detail which sales representatives visited the hospitals, which days they

visited, and which products they discussed. These sales representatives did not disclose that

Abbott’s products could cause NEC in preterm infants.

79.    On information and belief, prior to J.C.’s birth, Mead Johnson sent sales representatives to

Defendant Hospital. Those sales representatives provided information about Mead Johnson’s

products to Defendant Hospital’s staff via conversations, presentations, and written pamphlets.

This information indicated that Mead Johnson’s products were safe to give to preterm infants like

J.C. Mead Johnson maintains call logs that detail which sales representatives visited the hospitals,

which days they visited, and which products they discussed. These sales representatives did not

disclose that Mead Johnson’s products could cause NEC in preterm infants.

80.    Mead Johnson and Abbott believed and intended that the misrepresentations that its sale

representatives shared with Defendant Hospital would be used to make feeding decisions for

preterm infants like J.C.

                      The Defendant Manufacturers’ Inadequate Warnings

81.    Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow’s milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

82.    The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

83.    Despite knowing of the risk of NEC, the packaging of Mead’s products does not warn of

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

with Mead’s products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.
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84.    Mead cites no medical literature or research to guide the use of its products.

85.    Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

86.    Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

87.    Mead Johnson failed to provide, and continues to fail to provide, a full accounting of the

risk of NEC as documented, by underrepresenting and misrepresenting the risk to the public and

the medical community.

88.    Despite knowing that its products were being fed to premature infants, often without the

parents’ informed consent, Mead failed to require or recommend that medical professionals inform

parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies. Like Mead, Abbott promotes an aggressive marketing campaign

designed to make parents believe that its products are safe and necessary for the growth of

premature infants, despite the products in fact being extremely dangerous for premature infants.

Abbott’s products significantly increase the chances of a premature infant getting potentially fatal

NEC.

89.    The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

90.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the


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magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

91.    Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

92.    Despite knowing of studies documenting an increased risk of NEC from its products,

Abbott did not act to make parents or the medical community aware of those risks, and instead

took steps to conceal or prevent those risks from becoming public. Despite knowing that its

products were being fed to premature infants, often without the parents’ informed consent, Abbott

failed to require or recommend that medical professionals inform parents of the significant risk of

NEC or to require that parental consent be obtained prior to the products being fed to their babies.

                                Penn Medicine’s Failure to Warn

93.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing Abbott’s and

Mead’s cow’s milk-based products to its premature infant patients. It knew or should have known

that feeding these cow’s milk-based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. It also knew or should have known that

human milk decreases the risk of NEC for premature infants. However, instead of warning of

the dangers, or supplying human milk-based feeding products to preterm infants like the Injured

Infant, Penn Medicine has continued to source, distribute, and supply the Defendant

Manufacturers’ products in its hospitals without any adequate warning. Further, the Defendant

Hospital created a study putting infants, such as J.C. at great risk by providing them with bovine

based formula instead of exclusive human milk-based products.


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94.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates. The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

“changing hospital systems and influencing policy,” and its findings were unequivocal:

       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

95.    Other Penn Medicine research has similarly concluded that “[h]uman milk decreases the

incidence and severity of . . . necrotizing enterocolitis (NEC).”

96.    Given it was known that human milk decreases the incidence and severity of NEC, it was

also known or should have been known that cows milk-based formula increases the incidence and

severity of NEC.

97.    Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 98.   Given it was known since at least the early 2000s, and as far back as the 1990s, that human

milk decreases the incidence and severity of NEC, it was also known or should have been known

that cows milk-based formula increases the incidence and severity of NEC.

 99.   Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.
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The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 100. Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant Manufacturers’ cow’s milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:

                 Donor milk is not inexpensive. It costs about $4.25 per ounce, but
                 the return on investment is huge. “Preemies given mother’s milk
                 get discharged three to four days sooner and also have a six to 10
                 times lower risk of getting a gastrointestinal complication called
                 necrotizing enterocolitis,” Carpenter said, adding that the
                 infection can cost up to $250,000 to treat. The average cost to
                 provide a preemie with donor milk: $125.

 101. These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk of NEC for premature infants posed by the Defendant Manufacturers’ products.

 102. Although Penn Medicine knew or should have known of the serious danger of the

Defendant Manufacturers’ products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.


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 103. Penn Medicine’s failure to warn of the risks posed by the Defendant Manufacturers’

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

Manufacturers’ cow’s milk-based products for free and/or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers’ own marketing strategies” and use of salespersons.

                                    Safer Alternative Designs

 104. The Defendant Manufacturers’ cow’s milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of cow’s milk in their products, which would have produced a safer

product.

 105. Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow’s milk. This alternative design

provides all the necessary nutrition for growth and development that cow’s milk-based products

provide, without the same unreasonably dangerous and deadly effects.

 106. On information and belief, Abbott and Mead were aware of the significantly increased risk

of NEC and death associated with their cow’s milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow’s milk as the

foundation of their products.




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                                CAUSES OF ACTION
                  COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

 107. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 108. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

 109. Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.

 110. Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow’s milk-based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer’s expectations.         Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

 111. The Injured Infant ingested Abbott and/or Mead’s unreasonably dangerous cow’s milk-

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

 112. Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

 113. Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

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facility.

 114. Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

 115. Abbott’s and/or Mead’s products were fed to the Injured Infant, which caused and/or

increased the risk of their NEC and injuries.

 116. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of the Defendants Manufacturers’

                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

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                         limit resulting from the Defendant Manufacturers’ oppressive, fraudulent,

                         and/or malicious conduct, as permitted by law;

               e.        For interest as permitted by law;

               f.        For attorney’s fees, expenses, and recoverable costs incurred in connection

                         with this action; and

               g.        For such other and further relief as the Court deems proper.

               COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                            (Against Abbott and Mead)

 117. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 118. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of

their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

 119. Abbott’s and Mead’s duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.         By

designing their products with cow’s milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death.        The failure to warn makes the

products at issue in this litigation unreasonably dangerous.

 120.               Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks

of the infant products at issue in this litigation because they knew or should have known that their

cow’s milk-based premature infant products would be fed to premature infants like the Injured

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Infant, and that their products might cause the Injured Infant to develop NEC, severe injury, or

death, yet they failed to provide adequate warnings of those risks.        Among other risks, the

Defendant Manufacturers:

           a. Failed to warn that cow’s milk-based products significantly increase the risk of

              NEC, severe injury, and death for the Injured Infant; and/or

           b. Failed to warn that cow’s milk-based products are unsafe and/or contraindicated

              for premature infants like the Injured Infant; and/or

           c. Inserted warnings and instructions on their products that are severely inadequate,

              vague, confusing, and provide a false sense of security in that they warn and instruct

              specifically on certain conditions, but do not warn of the significantly increased

              risk of NEC and death; and/or

           d. “Black box”-type warning that their cow’s milk-based products are known to

              significantly increase the risk of NEC and death when compared to breast milk in

              premature infant; and/or

           e. Failed to disclose well-researched and well-established studies that linked cow’s

              milk-based products to NEC and death in premature infants; and/or

           f. Failed to insert a warning or instruction to healthcare professionals and other

              medical staff in the hospital that parents should be provided information necessary

              to make an informed choice about whether to allow their babies to be fed the

              Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g. Failed to provide a warning in a method reasonably calculated or expected to reach

              the parents of newborns, like the Plaintiff Parent; and/or

           h. Failed to provide statistical evidence showing the magnitude of increased risk of


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               NEC in premature infants associated with cow’s milk-based products.

 121. Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

facility.

 122. As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing campaigns suggesting the safety and necessity of the Defendant Manufacturers’

products, the Injured Infant were fed cow’s milk-based products, which caused and/or increased

risk of their developing NEC.

 123. The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow’s milk-based formula, they would not have fed the Injured Infant those products.        Had the

Plaintiff Parent known of the significant risks of feeding the Injured Infant cow’s milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

 124. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.     Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,


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               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendants Manufacturers’ oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                                   COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

 125. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 126. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

 127. At all times relevant to this action, the Injured Infant’s healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

 128. Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, and/or distributed the cow’s milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

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 129. Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

           a. Failing to warn that cow’s milk-based products significantly increase the risk of

               NEC, severe injury, and death for the Injured Infant; and/or

           b. Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or

           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

               and provide a false sense of security in that they warn and instruct specifically on

               certain conditions, but do not warn of the significantly increased risk of NEC and

               death; and/or

           d. Failing to insert a large and prominent “black box”-type warning that their cow’s

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-established studies that linked cow’s

               milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed the

               Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns, like the Plaintiff Parent; and/or


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            h. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products.

 130. In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.

 131. As a direct and proximate result of the Defendant Manufacturers’ failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow’s milk-based

products, which caused and/or increased the risk of their developing NEC.

 132. Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow’s milk-based products.

 133. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs
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               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendants Manufacturers’ oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                   COUNT IV: INTENTIONAL MISREPRESENTATION
                              (Against Abbott and Mead)

 134. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 135. At all times relevant to this action, the Injured Infant consumed the Defendant

Manufacturers’ products in their intended manner and for their intended purpose.

 136. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

 137. Abbott and Mead breached their duty through misrepresentations made to consumers in

their advertising and promotional materials, as described in previous paragraphs and incorporated

herein, each of whom were foreseeable and intended recipients of this information.

 138. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including patient

consumers and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their

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products:

            a. That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

            b. That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

            c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

            d. That cow’s milk-based products were safe for premature infants; and/or

            e. That cow’s milk-based products were necessary for optimum growth; and/or

            f. That cow’s milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

            h. That their products were safe for and provided better nutrition and growth to

               premature infants than donor milk, a non-cow’s milk-based alternative to breast

               milk; and/or

            i. That their products can fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and health or nourished and

               health on their products; and/or

            j. That their products were based on up-to-date science, which made them safe for


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               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 139. Abbott and Mead had actual knowledge, or, at a minimum, a reckless indifference, to

whether the aforementioned misrepresentations were false.

 140. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent:

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

               Infant that their products significantly increased the risk of NEC in premature

               infants; and/or

           c. Representing that their cow’s milk-based products were safe and beneficial for

               premature infants on coupons, gift bags, other promotional materials, and the

               packaging and labeling of their product samples provided to Plaintiff Parent when

               they knew or should have known that their products were unreasonably dangerous

               and cause NEC, serious injury, and death in premature infants; and/or

           d. Representing that their cow’s milk-based products were safe and beneficial for

               premature infants on the packaging and labeling of their products provided to

               Injured Infant when they knew or should have known that their products were




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            unreasonably dangerous and cause NEC, serious injury, and death in premature

            infants; and/or

        e. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on coupons, gift bags, other promotional

            materials, and the packaging and labeling of their product samples provided to

            Plaintiff Parent when they knew or should have known that their products were not

            necessary to achieve adequate growth; and/or

        f. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on the packaging and labeling of their products

            provided to Injured Infant when they knew or should have known that their products

            were not necessary to achieve adequate growth; and/or

        g. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent; and/or

        h. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant; and/or

        i. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on coupons,

            gift bags, other promotional materials, and the packaging and labeling of their

            product samples provided to Plaintiff Parent; and/or




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        j. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on the

            packaging and labeling of their products provided to Injured Infant; and/or

        k. Representing that their cow’s milk-based products have no serious side effects on

            coupons, gift bags, other promotional materials, and the packaging and labeling of

            their product samples provided to Plaintiff Parent when they knew or should have

            known the contrary to be true; and/or

        l. Representing that their cow’s milk-based products have no serious side effects on

            the packaging and labeling of their products provided to Injured Infant when they

            knew or should have known the contrary to be true; and/or

        m. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent when they knew

            or should have known the contrary to be true; and/or

        n. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant when they knew or should have known the contrary to be true; and/or

        o. Representing that their cow’s milk-based products were safe for premature infants

            on coupons, gift bags, other promotional materials, and the packaging and labeling

            of their product samples provided to Plaintiff Parent; and/or

        p. Representing that their cow’s milk-based products were safe for premature infants

            on the packaging and labeling of their products provided to Injured Infant; and/or


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           q. Representing that their cow’s milk-based products were necessary for optimum

               growth on coupons, gift bags, other promotional materials, and the packaging and

               labeling of their product samples provided to Plaintiff Parent; and/or

           r. Representing that their cow’s milk-based products were necessary for optimum

               growth on the packaging and labeling of their products provided to Injured Infant;

               and/or

           s. Representing that their products were based on up-to-date science, which made

               them safe for premature infants on coupons, gift bags, other promotional materials,

               and the packaging and labeling of their product samples provided to Plaintiff

               Parent; and/or

           t. Representing that their products were based on up-to-date science, which made

               them safe for premature infants on the packaging and labeling of their products

               provided to Injured Infant.

 141. The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant Manufacturers’ misrepresentations induced the Plaintiff Parent to

allow their children to be fed Abbott’s and Mead’s infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

Manufacturers’ messaging.         Had Abbott and Mead not committed these intentional

misrepresentations, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products.

 142. As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

 143. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss


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of income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

          WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

             a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this Court’s arbitrational limit;

             b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained

                as a result of the Defendants Manufacturers’ conduct;

             c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

             d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                resulting from the Defendant Manufacturers’ oppressive, fraudulent, and/or

                malicious conduct, as permitted by law;

             e. For interest as permitted by law;

             f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

                this action; and

             g. For such other and further relief as the Court deems proper.

                     COUNT V: NEGLIGENT MISREPRESENTATIONS
                               (Against Abbott and Mead)

 144. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 145. At all times relevant to this action, the Injured Infant consumed the products at issue in

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their intended manner and for their intended purpose.

 146. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

 147. In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, in their advertising and promotional materials, as described

in previous paragraphs and incorporated herein, each of whom were foreseeable recipients of this

information.

 148. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including consumers,

and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their products:

           a. That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

           b. That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

           c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

           d. That cow’s milk-based products were safe for premature infants; and/or

           e. That cow’s milk-based products were necessary for optimum growth; and/or

           f. That cow’s milk-based products were similar or equivalent to breast milk; and/or


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           g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

           h. That their products were safe for and provided better nutrition and growth to

               premature infants that donor milk, a non-cow’s milk-based alternative to breast

               milk; and/or

           i. Thet their products can be fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and healthy or nourished and

               health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 149. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent.

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

               Infant that their products significantly increased the risk of NEC in premature

               infants; and/or


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        c. Representing that their cow’s milk-based products were safe and beneficial for

            premature infants on coupons, gift bags, other promotional materials, and the

            packaging and labeling of their product samples provided to Plaintiff Parent when

            they knew or should have known that their products were unreasonably dangerous

            and cause NEC, serious injury, and death in premature infants; and/or

        d. Representing that their cow’s milk-based products were safe and beneficial for

            premature infants on the packaging and labeling of their products provided to

            Injured Infant when they knew or should have known that their products were

            unreasonably dangerous and cause NEC, serious injury, and death in premature

            infants; and/or

        e. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on coupons, gift bags, other promotional

            materials, and the packaging and labeling of their product samples provided to

            Plaintiff Parent when they knew or should have known that their products were not

            necessary to achieve adequate growth; and/or

        f. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on the packaging and labeling of their products

            provided to Injured Infant when they knew or should have known that their products

            were not necessary to achieve adequate growth; and/or

        g. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent; and/or




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        h. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant; and/or

        i. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on coupons,

            gift bags, other promotional materials, and the packaging and labeling of their

            product samples provided to Plaintiff Parent; and/or

        j. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on the

            packaging and labeling of their products provided to Injured Infant; and/or

        k. Representing that their cow’s milk-based products have no serious side effects on

            coupons, gift bags, other promotional materials, and the packaging and labeling of

            their product samples provided to Plaintiff Parent when they knew or should have

            known the contrary to be true; and/or

        l. Representing that their cow’s milk-based products have no serious side effects on

            the packaging and labeling of their products provided to Injured Infant when they

            knew or should have known the contrary to be true; and/or

        m. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent when they knew

            or should have known the contrary to be true; and/or


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          n. Representing that their cow’s milk-based products were similar or equivalent to

              breast milk on the packaging and labeling of their products provided to Injured

              Infant when they knew or should have known the contrary to be true; and/or

          o. Representing that their cow’s milk-based products were safe for premature infants

              on coupons, gift bags, other promotional materials, and the packaging and labeling

              of their product samples provided to Plaintiff Parent; and/or

          p. Representing that their cow’s milk-based products were safe for premature infants

              on the packaging and labeling of their products provided to Injured Infant; and/or

          q. Representing that their cow’s milk-based products were necessary for optimum

              growth on coupons, gift bags, other promotional materials, and the packaging and

              labeling of their product samples provided to Plaintiff Parent; and/or

          r. Representing that their cow’s milk-based products were necessary for optimum

              growth on the packaging and labeling of their products provided to Injured Infant;

              and/or

          s. Representing that their products were based on up-to-date science, which made

              them safe for premature infants on coupons, gift bags, other promotional materials,

              and the packaging and labeling of their product samples provided to Plaintiff

              Parent; and/or

          t. Representing that their products were based on up-to-date science, which made

              them safe for premature infants on the packaging and labeling of their products

              provided to Injured Infant.

 150. Abbott and Mead were negligent or careless in not determining those representations to be

false.


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 151. The Defendant Manufacturers’ misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott’s and Mead’s infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

the Defendant Manufacturers’ messaging. Had Abbott and Mead not committed these negligent

misrepresentations, the Injured Infant would not have been exposed to their unreasonably

dangerous cow’s milk-based products.

 152. As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

 153. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendant Manufacturers’ oppressive, fraudulent, and/or


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               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                             COUNT VI: FAILURE TO WARN
                      (Against Penn Medicine and Pennsylvania Hospital)

 154. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 155. Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

 156. At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 157. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

treatment of the Injured Infant.

 158. Penn Medicine and Pennsylvania Hospital negligently, outrageously, and recklessly

supplied and distributed the Defendant Manufacturers’ milk-based infant feeding products to these

healthcare professionals and medical staff for use on premature infants, including the Injured

Infant.

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 159. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.        The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products to consumers, such as the Plaintiff Parent.

 160. Penn Medicine and Pennsylvania also knowingly, and intentionally, allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 161. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant Manufacturers’ cow’s milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

 162. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to warn that cow’s milk-based products significantly increase the risk of

               NEC, severe injury, and death in those babies; and/or

           b. Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or


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           c. Failing to warn or instruct its healthcare professionals and medical staff on the

               information that should be provided to parents in order to make an informed choice

               about whether to allow their babies to be fed the Defendant Manufacturers’

               products, notwithstanding their substantial risk; and/or

           d. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link cow’s milk-based products to NEC

               and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns; and/or

           f. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products; and/or

           g. Failing to prevent the Defendant Manufacturers’ sales representatives from

               misrepresenting to Pennsylvania Hospital’s healthcare professionals and medical

               staff that premature babies would not grow adequately with human milk and human

               milk products and that use of donor milk was not advised for premature infants.

 163. Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers’ products, and would have restricted the

ability of the Defendant Manufacturers’ sales representatives to market the Defendant

Manufacturers’ unreasonably dangerous products without adequate warning.

 164. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.


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 165. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant Manufacturers’ unreasonably

dangerous products, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ cow’s milk-based products.

 166. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

warn of the danger posed by the Defendant Manufacturers’ unreasonably dangerous cow’s milk-

based products, the Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based

products, which caused and/or increased the risk of developing NEC and significant injuries.

 167. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

failure to warn of the Defendant Manufacturers’ unreasonably dangerous products, the Plaintiff

Parent suffered significant emotional distress, loss of income, and/or other harms.      Her life has

been significantly affected by the Injured Infant’s injuries.

       WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine’s conduct;

           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit


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               resulting from Penn Medicine and Pennsylvania Hospital’s oppressive, outrageous,

               reckless, and/or malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.

          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                   (Against Penn Medicine and Pennsylvania Hospital)

 168. Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

 169. At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

 170. Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

 171. At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

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 172. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.         The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products.

 173. Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 174. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant Manufacturers’ cow’s milk-based infant products, including the access afforded

the Defendant Manufacturer’s sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.

 175. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that premature babies are increased risk for NEC.

 176. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that NEC increases the risk of permanent injury and death.

 177. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have


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known prior to that human milk (mother’s milk) was safest and best for premature infants.

 178. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have

known that human milk (mother’s milk) decreased the risk of NEC, serious injury, and death for

premature infants.

 179. By no later than 2012, Penn Medicine and Pennsylvania Hospital knew or reasonably

should have known that donor human milk decreased the risk of NEC, serious injury, and death

for premature infants.

 180. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

 181. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               required human milk (mother’s milk and/or donor milk) to be recommended to

               premature babies; and/or

           b. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               restricted or prevented the use of cow’s milk-based products for feeding premature

               babies; and/or

           c. Failing to formulae, adopt, and enforce adequate rules and policies that informed the

               Plaintiff Parent that human milk (mother’s milk and/or donor milk) significantly

               decrease the risk of NEC, severe injury, and death in premature babies, like the

               Injured Infant; and/or

           d. Failing to formulate, adopt, and enforce adequate rules and policies that warned the


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            Plaintiff Parent that cow’s milk-based products significantly increase the risk of

            NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

        e. Failing to formulate, adopt, and enforce adequate rules and policies that discussed

            the risks of cow’s milk-based products significantly increasing the risk of NEC,

            severe injury, and death in premature babies, like the Injured Infant; and/or

        f. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

            healthcare professionals and medical staff that cow’s milk-based products are

            unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

        g. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed the Defendant Manufacturers’ products, notwithstanding their

            substantial risk; and/or

        h. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

            healthcare professionals and medical staff with the well-researched and well-

            established studies that link cow’s milk-based products to NEC and death in

            premature infants; and/or

        i. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

            warning in a method reasonably calculated/expected to reach the parents of

            premature newborns, like the Plaintiff Parent; and/or

        j. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

            Defendant    Manufacturers’ sales      representative from     misrepresenting   to

            Pennsylvania Hospital’s healthcare professionals and medical staff that premature


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                  babies would not grow adequately with human milk and human milk products

                  and/or that use of donor milk was not advised for premature infants; and/or

           k. Failing to establish a donor milk program that was sufficient to meet the needs of

                  the premature babies, like the Injured Infant.

           l. Failing to formulate, adopt, and enforce adequate rules and policies regarding the

                  feeding of premature infants leaving it to the discretion of the medical team and

                  parent without a discussion of risks and benefits.

           m. Allowing parental preference to be the standard for feeding premature infants;

           n. Failing to follow the American Academy of Pediatrics recommendations relating

                  to feeding premature infants;

           o. Failing to follow the American Academy of Pediatrics recommendations to use

                  donor milk if mother’s milk was unavailable instead of cow’s milk-based products;

           p. Failing to recommend donor milk if mother’s milk was unavailable by no later than

                  2012; and

           q. Failing to transfer to a hospital by no later than 2012 where donor milk was

                  available if there was no donor milk available.

 182. A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow’s milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers’ cow’s

milk-based products, and restricting the marketing of the Defendant Manufacturers’ unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.


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 183. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its

patients, the Injured Infant would not have been exposed to the Defendant Manufacturers’ cow’s

milk-based products.

 184. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 185. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent, reckless, and outrageous conduct the Plaintiff Parent suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly affected by the Injured

Infant’s injuries.

 186. In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical

staff that provided the products at issue to infants under Pennsylvania Hospital’s care, including

the Injured Infant.

 187. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

 188. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly, and

outrageously breached its duty by:

            a. Failing to oversee its healthcare professionals and medical staff on their use of


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            cow’s milk-based products for feeding premature babies; and/or

        b. Failing to warn or instruct its healthcare professionals and medical staff that cow’s

            milk-based products significantly increase the risk of NEC, severe injury, and death

            in those babies; and/or

        c. Failing to warn or instruct its healthcare professionals and medical staff that cow’s

            milk-based products are unsafe and/or contraindicated for premature babies like the

            Injured Infant; and/or

        d. Failing to oversee its healthcare professionals and medical staff to restrict their

            feeding of cow’s milk-based products to premature babies; and/or

        e. Failing to warn or instruct its healthcare professionals and medical staff on the

            information that should be provided to parents in order to make an informed choice

            about whether to allow their babies to be fed the Defendant Manufacturers’

            products, notwithstanding their substantial risk; and/or

        f. Failing to provide its healthcare professionals and medical staff with the well-

            researched and well-established studies that link cow’s milk-based products to NEC

            and death in premature infants; and/or

        g. Failing to provide its healthcare professionals and medical staff with warnings

            about the dangers of the Defendants’ Manufacturers products in a method

            reasonably calculated/expected to reach the parents of newborns; and/or

        h. Failing to provide statistical evidence to its healthcare professionals and medical

            staff showing the magnitude of increased risk of NEC in premature infants

            associated with cow’s milk-based products; and/or

        i. Failing to oversee its healthcare professionals and medical staff to ensure that the


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               Defendant Manufacturers’ sales representatives’ misrepresentations that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants had not influenced the

               use and/or misuse of the Defendant Manufacturers’ products.

 189. A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

the Defendant Manufacturers’ products, and would have restricted the ability of the Defendant

Manufacturers’ sales representatives to market the Defendant Manufacturers’ unreasonably

dangerous products without adequate warning.

 190. A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with feeding cow’s milk-based formula to premature infants.

 191. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant Manufacturers’ cow’s milk-based products.

 192. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 193. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s


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injuries.

        WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine and Pennsylvania Hospital’s conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from Penn Medicine’s oppressive, fraudulent, and/or malicious conduct,

               as permitted by law;

            e. For interest as permitted by law;

            f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.

                                  DEMAND FOR JURY TRIAL
 194. Plaintiff hereby demands a jury trial for all claims triable.



Dated: July 16, 2024

                                                        Respectfully submitted,

                                                        KLINE & SPECTER, P.C.
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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 453 of 679 PageID #:2099




                      PRO HAC VICE
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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 457 of 679 PageID #:2103
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 458 of 679 PageID #:2104
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 459 of 679 PageID #:2105




                                                         PRO HAC VICE
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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 461 of 679 PageID #:2107
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 462 of 679 PageID #:2108




                                           PRO HAC VICE
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        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                          TRIAL DIVISION - CIVIL


 CHRISTINA TAYLOR, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
     v.                                       : No. 220302606
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                       :

 TERRAINE ABDULLAH, et al.,                   :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 02583
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 HOLLI CARTER, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302588
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 SHONDERA DRAYTON, et al.,                    :
             Plaintiff,                       :   MARCH TERM, 2022
      v.                                          No. 02594
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 CATHERINE McMILLIAN, et al.,                 :
             Plaintiff,                       :   APRIL TERM, 2022
      v.                                          No. 220400140
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 LOREN SANDERS, et al.,                       :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400153
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.

 SAMAYA SHORT, et al.,                        :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400159
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
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  ALICE STILLS, et al.,                              :
              Plaintiff,                             : MARCH TERM, 2022
       v.                                              No. 220302617
                                                     :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                     :
  Defendants.
  GINA WIEGER, et al.,                               :
              Plaintiff,                             :   MARCH TERM, 2022
       v.                                            :   No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                     :
  Defendants.
  STEPHANIE WILKERSON, et al.,                       :
              Plaintiff,                             :   SEPTEMBER TERM,2023
       v.                                            :   No. 230900730
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
              Defendants.                            :
  MELVENIA WILLIAMS, et al.,                         :
              Plaintiff,                             :   APRIL TERM, 2022
       v.                                            :   No. 220400141
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
              Defendants.                            :

                                         ORDER

       AND NOW this the ______ day of ______________________, 2024, upon consideration

of Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System and

                                                   Preliminary Objections to the Plaintiffs

Complaint, Plaintiffs Answer thereto, and all other appropriate considerations, it is hereby

ORDERED, ADJUDGED and DECREED that                              Preliminary Objections are

OVERRULED.

                                                 BY THE COURT



                                                 ____________________________
                                                       J.
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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  CHRISTINA TAYLOR, et al.,                     :
             Plaintiff,                         : MARCH TERM, 2022
      v.                                        : No. 220302606
  MEAD JOHNSON & COMPANY, LLC, et al.,          :
             Defendants.                        :

  TERRAINE ABDULLAH, et al.,                     :
              Plaintiff,                         : MARCH TERM, 2022
       v.                                          No. 02583
                                                 :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                 :
  Defendants.
                                                 :
  HOLLI CARTER, et al.,                          :
              Plaintiff,                         : MARCH TERM, 2022
       v.                                          No. 220302588
                                                 :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                 :
  Defendants.
                                                 :
  SHONDERA DRAYTON, et al.,                      :
              Plaintiff,                         : MARCH TERM, 2022
       v.                                          No. 02594
                                                 :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                 :
  Defendants.
                                                 :




                                        1
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 470 of 679 PageID #:2116




 CATHERINE McMILLIAN, et al.,                 :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400140
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 LOREN SANDERS, et al.,                       :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400153
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.

 SAMAYA SHORT, et al.,                        :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400159
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALICE STILLS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302617
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 GINA WIEGER, et al.,                         :
             Plaintiff,                       :   MARCH TERM, 2022
      v.                                      :   No. 220302601
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 STEPHANIE WILKERSON, et al.,                 :
             Plaintiff,                       :   SEPTEMBER TERM,2023
      v.                                      :   No. 230900730
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :
 MELVENIA WILLIAMS, et al.,                   :
             Plaintiff,                       :   APRIL TERM, 2022
      v.                                      :   No. 220400141
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :


PENNSYLVANIA HOSPITAL OF THE UNVIERSITY OF PENNSYLVANIA HEALTH
 SYSTEM AND THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA TO
                       SECOND AMENDED COMPLAINTS



                                        2
    Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 471 of 679 PageID #:2117




                                                                                                       Evidentiary

Exhibits as follows: 1

         1.       Admitted.

         2.       Admitted.

         3.       Admitted.

         4.       Admitted.

         5.       Admitted.

         6.       Denied as a conclusion of law to which no response is required. By way of further



         7.        Denied as a conclusion of law to which no response is required. By way of further



         8.       Admitted.

         9.       Admitted.

         10.      Admitted.

         11.      Admitted.



1
  To conserve judicial resources, and pursuant to the practice recommended by the Court at the July 24, 2023
conference, Plaintiffs file this opposition on the instant docket and incorporate by reference the arguments herein in
each of the following actions in which plaintiffs filed second amended complaints: Abdullah v. Mead Johnson &
Company, LLC, et al., No. 220302583; Carter v. Mead Johnson & Company, LLC, et al., No. 220302588; Drayton v.
Mead Johnson & Company, LLC, et al., No. 220302594; Gray v. Mead Johnson & Company, LLC, et al., No.
220400216; Hollingsworth v. Mead Johnson & Company, LLC, et al., No. 230900791; Kajuffa v. Mead Johnson &
Company, LLC, et al., No. 220302978; Mays v. Mead Johnson & Company, LLC, et al., No. 220302963; McMillian
v. Mead Johnson & Company, LLC, et al., No. 220400140; Parker v. Mead Johnson & Company, LLC, et al., No.
220302983; Ross v. Mead Johnson & Company, LLC, et al., No. 220302981; Sanders v. Mead Johnson & Company,
LLC, et al., No. 220400153; Short v. Mead Johnson & Company, LLC, et al., No. 220400159; Stills v. Mead Johnson
& Company, LLC, et al., No. 220302617; Taylor v. Mead Johnson & Company, LLC, et al., No. 220302606; Thomas
v. Mead Johnson & Company, LLC, et al., No. 220400158; Tucker v. Mead Johnson & Company, LLC, et al., No.
230900867; Wieger v. Mead Johnson & Company, LLC, et al., No. 220302601; Wilkerson v. Mead Johnson &
Company, LLC, et al., No. 230900730; and Williams v. Mead Johnson & Company, LLC, et al., No. 220400141.

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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 472 of 679 PageID #:2118




     12.    Denied as a conclusion of law to which no response is required. By way of further



     13.    Denied as a conclusion of law to which no response is required. By way of further



     14.    Denied as a conclusion of law to which no response is required. By way of further



     15.    Denied as a conclusion of law to which no response is required. By way of further



     16.    Denied as a conclusion of law to which no response is required. By way of further



     17.    Denied as a conclusion of law to which no response is required. By way of further



     18.    Denied as a conclusion of law to which no response is required. By way of further



     19.    Denied as a conclusion of law to which no response is required. By way of further



     20.    Denied as a conclusion of law to which no response is required. By way of further



     21.    Denied as a conclusion of law to which no response is required. By way of further



     22.    Denied as a conclusion of law to which no response is required. By way of further




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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 473 of 679 PageID #:2119




     23.    Denied as a conclusion of law to which no response is required. By way of further



     24.    Denied as a conclusion of law to which no response is required. By way of further



     25.    Denied as a conclusion of law to which no response is required. By way of further



     26.    Denied as a conclusion of law to which no response is required. By way of further



     27.    Denied as a conclusion of law to which no response is required. By way of further



     28.    Denied as a conclusion of law to which no response is required. By way of further



     29.    Denied as a conclusion of law to which no response is required. By way of further



     30.    Denied as a conclusion of law to which no response is required. By way of further



     31.    Denied as a conclusion of law to which no response is required. By way of further



     32.    Denied as a conclusion of law to which no response is required. By way of further



     33.    Denied as a conclusion of law to which no response is required. By way of further




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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 474 of 679 PageID #:2120




     34.    Denied as a conclusion of law to which no response is required. By way of further



     35.    Denied as a conclusion of law to which no response is required. By way of further



     36.    Denied as a conclusion of law to which no response is required. By way of further



     37.    Denied as a conclusion of law to which no response is required. By way of further



     38.    Denied as a conclusion of law to which no response is required. By way of further



     39.    Denied as a conclusion of law to which no response is required. By way of further



     40.    Denied as a conclusion of law to which no response is required. By way of further



     41.    Denied as a conclusion of law to which no response is required. By way of further



     42.    Denied as a conclusion of law to which no response is required. By way of further



     43.    Denied as a conclusion of law to which no response is required. By way of further



     44.    Denied as a conclusion of law to which no response is required. By way of further




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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 475 of 679 PageID #:2121




     45.    Denied as a conclusion of law to which no response is required. By way of further



     46.    Denied as a conclusion of law to which no response is required. By way of further



     47.    Denied as a conclusion of law to which no response is required. By way of further



     48.    Denied as a conclusion of law to which no response is required. By way of further



     49.    Denied as a conclusion of law to which no response is required. By way of further



     50.    Denied as a conclusion of law to which no response is required. By way of further



     51.    Denied as a conclusion of law to which no response is required. By way of further



     52.    Denied as a conclusion of law to which no response is required. By way of further



     53.    Denied as a conclusion of law to which no response is required. By way of further



     54.    Denied as a conclusion of law to which no response is required. By way of further



     55.    Denied as a conclusion of law to which no response is required. By way of further




                                            7
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 476 of 679 PageID #:2122




     56.    Denied as a conclusion of law to which no response is required. By way of further



     57.    Denied as a conclusion of law to which no response is required. By way of further



     58.    Denied as a conclusion of law to which no response is required. By way of further



     59.    Denied as a conclusion of law to which no response is required. By way of further



     60.    Denied as a conclusion of law to which no response is required. By way of further



     61.    Denied as a conclusion of law to which no response is required. By way of further



     62.    Denied as a conclusion of law to which no response is required. By way of further



     63.    Denied as a conclusion of law to which no response is required. By way of further



     64.    Denied as a conclusion of law to which no response is required. By way of further



     65.    Denied as a conclusion of law to which no response is required. By way of further



     66.    Denied as a conclusion of law to which no response is required. By way of further




                                            8
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 477 of 679 PageID #:2123




     67.    Denied as a conclusion of law to which no response is required. By way of further



     68.    Denied as a conclusion of law to which no response is required. By way of further



     69.    Denied as a conclusion of law to which no response is required. By way of further



     70.    Denied as a conclusion of law to which no response is required. By way of further



     71.    Denied as a conclusion of law to which no response is required. By way of further



     72.    Denied as a conclusion of law to which no response is required. By way of further



     73.    Denied as a conclusion of law to which no response is required. By way of further



     74.    Denied as a conclusion of law to which no response is required. By way of further



     75.    Denied as a conclusion of law to which no response is required. By way of further



     76.    Denied as a conclusion of law to which no response is required. By way of further



     77.    Denied as a conclusion of law to which no response is required. By way of further




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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 478 of 679 PageID #:2124




     78.    Denied as a conclusion of law to which no response is required. By way of further



     79.    Denied as a conclusion of law to which no response is required. By way of further



     80.    Denied as a conclusion of law to which no response is required. By way of further



     81.    Denied as a conclusion of law to which no response is required. By way of further



     82.    Denied as a conclusion of law to which no response is required. By way of further



     83.    Denied as a conclusion of law to which no response is required. By way of further



     84.    Denied as a conclusion of law to which no response is required. By way of further



     85.    Denied as a conclusion of law to which no response is required. By way of further



     86.    Denied as a conclusion of law to which no response is required. By way of further



     87.    Denied as a conclusion of law to which no response is required. By way of further



     88.    Denied as a conclusion of law to which no response is required. By way of further




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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 479 of 679 PageID #:2125




     89.    Denied as a conclusion of law to which no response is required. By way of further



     90.    Denied as a conclusion of law to which no response is required. By way of further



     91.    Denied as a conclusion of law to which no response is required. By way of further



     92.    Denied as a conclusion of law to which no response is required. By way of further



     93.    Denied as a conclusion of law to which no response is required. By way of further



     94.    Denied as a conclusion of law to which no response is required. By way of further



     95.    Denied as a conclusion of law to which no response is required. By way of further



     96.    Denied as a conclusion of law to which no response is required. By way of further



     97.    Denied as a conclusion of law to which no response is required. By way of further



     98.    Denied as a conclusion of law to which no response is required. By way of further



     99.    Denied as a conclusion of law to which no response is required. By way of further




                                            11
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 480 of 679 PageID #:2126




     100.   Denied as a conclusion of law to which no response is required. By way of further



     101.   Denied as a conclusion of law to which no response is required. By way of further



     102.   Denied as a conclusion of law to which no response is required. By way of further



     103.   Denied as a conclusion of law to which no response is required. By way of further



     104.   Denied as a conclusion of law to which no response is required. By way of further



     105.   Denied as a conclusion of law to which no response is required. By way of further



     106.   Denied as a conclusion of law to which no response is required. By way of further



     107.   Denied as a conclusion of law to which no response is required. By way of further



     108.   Denied as a conclusion of law to which no response is required. By way of further



     109.   Denied as a conclusion of law to which no response is required. By way of further



     110.   Denied as a conclusion of law to which no response is required. By way of further




                                            12
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 481 of 679 PageID #:2127




     111.   Denied as a conclusion of law to which no response is required. By way of further



     112.   Denied as a conclusion of law to which no response is required. By way of further



     113.   Denied as a conclusion of law to which no response is required. By way of further



     114.   Denied as a conclusion of law to which no response is required. By way of further



     115.   Denied as a conclusion of law to which no response is required. By way of further



     116.   Denied as a conclusion of law to which no response is required. By way of further



     117.   Denied as a conclusion of law to which no response is required. By way of further



     118.   Denied as a conclusion of law to which no response is required. By way of further



     119.   Denied as a conclusion of law to which no response is required. By way of further



     120.   Denied as a conclusion of law to which no response is required. By way of further



     121.   Denied as a conclusion of law to which no response is required. By way of further




                                            13
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 482 of 679 PageID #:2128




       122.    Denied as a conclusion of law to which no response is required. By way of further



       123.    Denied as a conclusion of law to which no response is required. By way of further



       124.    Denied as a conclusion of law to which no response is required. By way of further



       125.    Denied as a conclusion of law to which no response is required. By way of further



       126.    Denied as a conclusion of law to which no response is required. By way of further




Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their Complaint.

                                                      Respectfully submitted,

                                                      KLINE & SPECTER,
                                                      A Professional Corporation
Date: September 3, 2024                       By:     /s/Timothy A. Burke, Esquire
                                                      THOMAS KLINE, ESQUIRE
                                                      TOBI MILLROOD, ESQUIRE
                                                      ELIZABETH CRAWFORD, ESQUIRE
                                                      TIMOTHY BURKE, ESQUIRE
                                                      Attorneys for Plaintiffs


                                                      KELLER POSTMAN
                                                      BEN WHITING, ESQUIRE (Pro Hac Vice)
                                                      AMELIA FRENKEL, ESQURIE
                                                      Attorneys for Plaintiffs



                                                 14
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 483 of 679 PageID #:2129




KLINE & SPECTER, P.C.
THOMAS R. KLINE, ESQUIRE
Attorney I.D. No. 28895
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Attorney I.D. No. 77764
ELIZABETH CRAWFORD, ESQUIRE
Attorney I.D. No. 313702
MELISSA MERK, ESQUIRE
Attorney I.D. No. 90363
TIMOTHY A. BURKE, ESQUIRE
Attorney I.D. 320927
1525 Locust Street, 19th Floor
Philadelphia, PA 19102
(215) 772-1000/(215) 772-1359 fax.          Attorney for Plaintiffs

         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  CHRISTINA TAYLOR, et al.,                     :
             Plaintiff,                         : MARCH TERM, 2022
      v.                                        : No. 220302606
  MEAD JOHNSON & COMPANY, LLC, et al.,          :
             Defendants.                        :

  TERRAINE ABDULLAH, et al.,                     :
              Plaintiff,                         : MARCH TERM, 2022
       v.                                          No. 02583
                                                 :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                 :
  Defendants.
                                                 :
  HOLLI CARTER, et al.,                          :
              Plaintiff,                         : MARCH TERM, 2022
       v.                                          No. 220302588
                                                 :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                 :
  Defendants.
                                                 :
  SHONDERA DRAYTON, et al.,                      :
              Plaintiff,                         : MARCH TERM, 2022
       v.                                          No. 02594
                                                 :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                 :
  Defendants.
                                                 :




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Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 484 of 679 PageID #:2130




 CATHERINE McMILLIAN, et al.,                 :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400140
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 LOREN SANDERS, et al.,                       :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400153
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.

 SAMAYA SHORT, et al.,                        :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400159
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALICE STILLS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302617
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 GINA WIEGER, et al.,                         :
             Plaintiff,                       :   MARCH TERM, 2022
      v.                                      :   No. 220302601
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 STEPHANIE WILKERSON, et al.,                 :
             Plaintiff,                       :   SEPTEMBER TERM,2023
      v.                                      :   No. 230900730
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :
 MELVENIA WILLIAMS, et al.,                   :
             Plaintiff,                       :   APRIL TERM, 2022
      v.                                      :   No. 220400141
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :

            MEMORANDUM OF LAW IN SUPPORT OF THEIR REPSONSE TO
PRELMINIARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNVIERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
                                                        SECOND
                      AMENDED COMPLAINTS

                                        2
    Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 485 of 679 PageID #:2131




      I.       Matter Before the Court




Exhibits as follows: 2

      II.      Counter Statement of Questions Involved

            1. Whether this Honorable Court should

                                                   claims where Plaintiffs have adequately alleged that

               bovine-based formula is unreasonably dangerous and substantially increases the risk

               for the development of NEC in preterm infants, and where Plaintiffs are not required

               under the pleading standard to cite to evidence (such as medical studies) in their

               Complaint in support of ultimate issues that will have to be proven at trial?

               Suggested answer in the affirmative.

            2. Whether this Honorable Court should

                                                      claims where Plaintiffs have adequately alleged

               Defendants breached their duty as the hospital system and/or healthcare provider by

               failing to adequately communicate the facts, risks, benefits, and alternatives associated


2
  To conserve judicial resources, and pursuant to the practice recommended by the Court at the July 24, 2023
conference, Plaintiffs file this opposition on the instant docket and incorporate by reference the arguments herein in
each of the following actions in which plaintiffs filed second amended complaints: Abdullah v. Mead Johnson &
Company, LLC, et al., No. 220302583; Carter v. Mead Johnson & Company, LLC, et al., No. 220302588; Drayton v.
Mead Johnson & Company, LLC, et al., No. 220302594; Gray v. Mead Johnson & Company, LLC, et al., No.
220400216; Hollingsworth v. Mead Johnson & Company, LLC, et al., No. 230900791; Kajuffa v. Mead Johnson &
Company, LLC, et al., No. 220302978; Mays v. Mead Johnson & Company, LLC, et al., No. 220302963; McMillian
v. Mead Johnson & Company, LLC, et al., No. 220400140; Parker v. Mead Johnson & Company, LLC, et al., No.
220302983; Ross v. Mead Johnson & Company, LLC, et al., No. 220302981; Sanders v. Mead Johnson & Company,
LLC, et al., No. 220400153; Short v. Mead Johnson & Company, LLC, et al., No. 220400159; Stills v. Mead Johnson
& Company, LLC, et al., No. 220302617; Taylor v. Mead Johnson & Company, LLC, et al., No. 220302606; Thomas
v. Mead Johnson & Company, LLC, et al., No. 220400158; Tucker v. Mead Johnson & Company, LLC, et al., No.
230900867; Wieger v. Mead Johnson & Company, LLC, et al., No. 220302601; Wilkerson v. Mead Johnson &
Company, LLC, et al., No. 230900730; and Williams v. Mead Johnson & Company, LLC, et al., No. 220400141.

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          with the use of bovine-                                                     the parents

          could knowingly choose whether to consent on behalf of preterm infants?

          Suggested answer in the affirmative.

     3. Whether this Honorable Court should



          engaged in systemic negligence by failing to enact policies and procedures to prevent

          bovine-milk based formula from being fed to pre-term infants.

          Suggested answer in the affirmative.

     4.



          University of Pennsylvania are a governing body and overseer of the Hospital of the

          University of Pennsylvania             , who are in charge of enacting the HUP policies

                                                     Complaint

          Corporate Negligence claims.

          Suggested answer in the affirmative.

     5. Whether this Honorable Court should deny Defendants Preliminary Objections as to

          sufficiency of the pleadings where Plaintiffs have sufficient and adequately

          summarized material facts that inform and notify the Defendants of the claims which

          they must defendant?

          Suggested answer in the affirmative.

     6. Whether this Honorable Court should deny Defendants Preliminary Objections as to

          punitive damages where Plaintiffs have adequately plead facts providing a basis for

          punitive damages?



                                                 4
Case: 1:24-cv-11760 Document #: 1-6 Filed: 10/31/24 Page 487 of 679 PageID #:2133




             Suggested answer in the affirmative.

          7. Whether this Honorable Court should deny Defendants Preliminary Objections for

             Plaintiff Parents claims where the Plaintiff parents have sufficient plead counts for

             individual harm as well as the harm on behalf of the Minor Plaintiff in the Complaint

             and where those claims are not barred by the statute of limitations?

             Suggested answer in the affirmative.

          8. Whether this Honorable Court should deny Defendants Preliminary Objections where



                        Complaint?

             Suggested answer in the affirmative.

   III.      Plaintiffs Have Sufficiently Alleged that Pennsylvania Hospital and HUP Failed
             to Warn Healthcare Professionals and Parents of the Unreasonable Risk of NEC
             Posed by Bovine-Based Formula to Premature Infants under Count VI.
          The moving Hospital Defendants failed to warn parents of premature infants, and their

guardian parents, of the risk associated with goods they were supplying to those infants while

under their care. A supplier of goods will be liable for their negligent failure to warn foreseeable

users of that chattel under Section 388 of the Second Restatement of Torts, which has been

incorporated into Pennsylvania law, if:

          One who supplies directly or through a third person a chattel for another to use is
          subject to liability to those whom the supplier should expect to use the chattel with
          the consent of the other or to be endangered by its probable use, for the physical
          harm caused by the use of the chattel in the manner for which and by a person for
          whose use it is supplied, if the supplier
          (a) knows or has reason to know that the chattel is or is likely to be dangerous for
          the use for which it is supplied; and
          (b) has no reason to believe that those for whose use the chattel is supplied will
          realize its dangerous condition; and
          (c) fails to exercise reasonable care to inform them of its dangerous condition or of
          the facts which make it likely to be dangerous.

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       RST 2 § 388.
See, e.g., Binder v. Jones & Laughlin Steel Corp., 360 Pa. Super. 390, 396 (1987) (applying RST

2 § 388 to a metal part supplier). Section 388 applies to any supplier of a chattel to another, as




       this Topic apply to determine the liability of any person who for any purpose or in
       any manner gives possession of a chattel for another's use, or who permits another
       to use or occupy it while it is in his own possession or control, without disclosing
       his knowledge that the chattel is dangerous for the use for which it is supplied or
       for which it is permitted to be used. These rules, therefore, apply to sellers, lessors,
       donors, or lenders, irrespective of whether the chattel is made by them or by a third
       person. They apply to all kinds of bailors, irrespective of whether the bailment is
       for a reward or gratuitous, and irrespective of whether the bailment is for use,
       transportation, safekeeping, or repair. They also apply to one who undertakes the
       repair of a chattel and who delivers it back with knowledge that it is defective
       because of the work which he is employed to do upon it.
See § 403 RST 2 § 388 cmt. C; see also Maize v. Atlantic Refin. Co.

court has laid down the rule that anyone who is responsible for the existence of any dangerous




       A supplier under this Section will be liable if they supply a chattel for use, which they

know or should have known is dangerous, and they fail to warn the user of that danger and to

advise proper precautions. See Hopkins v. E.I. Du Pont De Nemours & Co., 199 F.2d 930, 932-33

(3d Cir. 1952) (applying Pennsylvania law) (citing Maize, 352 Pa. at 55). Under this Section, a



                                                  Binder, 360 Pa. Super. at 398. The greater the

potential danger of the instrumentality, the greater the duty to warn against foreseeable and known

dangers.                               , 424 Pa. 365, 369-

be exercised in a particular case must always be proportionate to the seriousness of the


                                                  6
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consequences which are reasonably



                                                                                              ape the

duty to disclose by cavalierly relying on the [other actor] to somehow pass the information along

                      Id.

       In this case, Defendants failed to adequately communicate the facts, risks, benefits, and

alternatives associated with the use of bovine-



was even greater by virtue of the fact that parents could not be expected to know the risk of NEC

associated with bovine-based formula and given the seriousness of NEC as a disease.

       Defendants Pennsylvania Hospital and Hospital of the University of Pennsylvania argue

that Plaintiff cannot state a claim for failure to warn because they were not a manufacturer of

formula. However, since Plaintiffs claims sounds in negligence, Defendant does not need to be a

commercial manufacturer. Here, Defendants were responsible for providing the infant formula to

medical practitioners and the NICU at their hospitals and by extension, to patients, and were

therefore, suppliers for purposes of Section 388. Moreover, Plaintiff has alleged that the formula

caused an increased risk when fed to infants, in other words, when it was used for its intended

usage. Plaintiffs Complaint alleges that hospitals, including HUP, entered into financially

advantageous relationships with codefendant manufacturers Abbott and Mead at various times to

purchase, supply, and distribute bovine-based formula to their medical professionals, knowing that

these products would then be provided to infants being treated by these providers in their facilities.

Hence, Defendants knowingly supplied these instrumentalities to end users, who were not merely

foreseeable, but th



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negated by the fact that others acted as intermediaries when they negligently failed to warn their

own providers of these risks and facilitated their providers receiving inaccurate information, which

inaccurately downplayed the risk of NEC, from the manufa

shown by their own internal correspondence and the relevant academic and medical literature

surrounding NEC and bovine-formula in pre-term infants, Defendants knew or should have known

that bovine-based formula posed an increased risk of NEC to premature infants. Since NEC is a

dangerous and potentially fatal disease, there was an even greater duty on Defendants to adequately

warn foreseeable users of this known risk or take steps to make sure that the intermediaries they

controlled, namely medical professionals, reliably communicated these risks to parents. Hence, the

Hospitals failed to warn parents of the dangerous conditions associated with the formula, which

parents had no reason to suspect, while supplying this formula for purposes of Section 388.

    IV.
             Corporate Liability of The Moving Health Care Provers, Thus These Claims
             Should not Be Dismissed

          In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.

          In considering whether the plaintiff could sustain corporate negligence claims based on

these allegations, the Edwards court analyzed the Thompson decision and delineated the standards

required to sustain such a claim:



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        The Thompson theory of corporate liability will not be triggered every time
        something goes wrong in a hospital which harms a patient . . . To establish corporate
        negligence, a plaintiff must show more than an act of negligence by an individual
        for whom the hospital is responsible. Rather, Thompson requires a plaintiff to show
        that the hospital itself is breaching a duty and is somehow
        substandard

Id. at 1386-87 (citations omitted and emphasis added).




practice of entering into financially advantageous relationships with codefendant manufacturers

Abbott and Mead at various times to purchase, supply, and distribute bovine-based formula to their

medical professionals, knowing that these products would then be provided to infants being treated

by these providers in their facilities. Hence, Defendants knowingly supplied these instrumentalities

to end users, who were not merely foreseeable, but the intended recipients of the formula. Further,

                                     ed by the fact that others acted as intermediaries when they

negligently failed to warn their own providers of these risks and facilitated their providers

receiving inaccurate information, which inaccurately downplayed the risk of NEC, from the

manufacture                     , because it is alleged that the hospitals themselves decided which

                                                                                        -term infant

hospital facilities.

        Further, Plaintiffs allege in their Complaint that:

        A reasonable hospital under the same or similar circumstances would have overseen
        and managed its healthcare professionals and medical staff to ensure that they

        milk-based formula to premature infants. Had Penn Medicine and Pennsylvania
        Hospital exercised reasonable care by satisfying its duty to oversee its healthcare
        professionals and medical staff who provide patient care, the Injured Infant would
        not have been exposed to th                                                  -based
        products. As a direct and proximate result of Penn Medicine and Pennsylvania
                             oversee its healthcare professionals and medical staff on the

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           danger posed by the Defendant
           milk-based products, the Injured Infant was fed the
                     -based products, which caused and/or increased the risk of developing
           NEC and significant injuries.

See               Complaint, at ¶¶190-192.

           Moreover, as shown by their own internal correspondence and the relevant academic and

medical literature surrounding NEC and bovine-formula in pre-term infants, Defendants knew or

should have known that bovine-based formula posed an increased risk of NEC to premature

infants. See Ex. A, Taylor v. Abbott Laboratories, et al. Second Amended Complaint, at ¶¶168-

193.

           Finally, corporate liability can attach to a hospital system when there is a duty to formulate,

adopt and enforce adequate rules and policies to ensure quality care for patients. Here Moving

Defendants are the responsible corporate entities of Pennsylvania Hospital and Hospital of the

University of Pennsylvania (HUP). Defendants had the duty to formulate, adopt, and enforce

adequate rules and policies regarding the administration of certain formulations of baby formulas

to pre-term infants in their care, and to not supply and/or have a policy of not administering bovine

based formula to preterm infants which is shown in the literature to increase risk of developing

NEC to those patients. Id.

dismissed.

      V.
              and Sell Dangerous Products, and Failed to Warn Medical Practitioners of these
              Risks.
              Dismissed.



                                                                                    Hutchison v. Luddy,

582 Pa. 114, 121 (2005) (quoting Feld v. Merriam, 506 Pa. 383, 395 (1984)). Punitive damages



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Pennsylvania, to withstand preliminary objections, a plaintiff must allege that (1) a defendant had

a subjective appreciation of the risk of harm to which the plaintiff was exposed and that (2) he

acted, or failed to act, as the case may be, in conscious disregard of that risk. Id. Pennsylvania

courts have repeatedly held that a jury should determine whether punitive damages are warranted.



                         outrageous conduct lies within the sound discretion of the fact-finder and



Furthermore, to the extent that there is any doubt about whether the standard for punitive damages

                                                                                   See Theodore v.

Del. Valley Sch. Dist., 575 Pa. 321, 333 (2003).

       For example, in Hall v. Episcopal Long Term Care, plaintiffs alleged that the neglect of a

                                        -                                    -95 (Pa. Super. 2012).



facility conditions, and improper treatment of the deceased' s pain, all of which Episcopal failed



punitive damages. Id. at 394-95. The trial court concluded that punitive damages were not



Id.

verdict on the issue of punitive damages and held that the issue of punitive damages should have

                                                                    lishing Episcopal acted in an

outrageous fashion in reckless disregard to the rights of others and created an unreasonable risk of

                                                          Id. at 396-97. In so holding, the Court

discussed Scampone, where the Superior Court likewise held that the issue of punitive damages



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against one defendant should have proceeded to a jury, since they jointly engaged in conduct with

a codefendant that warranted punitive damages against that defendant. Scampone v. Grane

Healthcare Co.



employees in some of the actions that warranted imposition of punitive damages, i.e., the alteration



         In this case, Plaintiff has alleged that Penn Medicine and HUP purchased, supplied, and

distributed bovine-based products, manufactured by codefendants Abbott and Mead, which they

knew posed an increased risk of a serious and deadly disease to infants, in order to cut costs. The

Hospital Defendants colluded with codefendants to supply

professionals at HUP and failed to warn these professionals about the known risks of these

products. Defendants failed to warn healthcare professionals of the known risks of NEC posed by

these products, and failed to establish a practice or policy of ensuring that these products were not

fed to premature infants, as established in scientific literature, and instead arranged for these



sales representatives from making misrepresentations about the increased risk of NEC posed by

bovine, instead of human-nutrition based products, and failed to correct these misrepresentations.



knew would provide them to patients, in order to save costs to the Hospitals. Hence, Defendants

colluded to pose an unreasonable risk of harm to minor Plaintiff and other infants.

   VI.      Plaintiff Has Adequately Pled the Facts and Damages at Issue

         Defendant asserts that Plaintiff   Complaint fails to adequately plead facts regarding

liability and injuries claimed. Defendant is wrong and their Preliminary Objections should be



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overruled.

of the material facts that support those claims. Pa. R.C.P. 1019(a). As the Superior Court has noted:

        Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
        to disclose the material facts sufficient to enable the adverse party to prepare
        his case. A complaint therefore must do more than give the defendant fair notice of
        what the plaintiff's claim is and the grounds upon which it rests. It should formulate
        the issues by fully summarizing the material facts. Material facts are ultimate facts,
        i.e., those facts essential to support the claim. Evidence from which such facts
        may be inferred not only need not but should not be alleged. Allegations will
        withstand challenge under 1019(a) if (1) they contain averments of all of the
        facts a plaintiff will eventually have to prove in order to recover, and (2) they
        are sufficiently specific so as to enable defendant to prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

        In assessing whether particular paragraphs in a complaint satisfy this requirement, they

must be read in context with all other allegations in the complaint to determine whether the

defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord

Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine



it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

is sought so that he may know without question upon what grounds to make                         McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).

        Defendants advance several arguments regarding the alleged deficiencies of facts and

injuries, all of which are incorrect:

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            Defendants assert that Plaintiff Complaint does not state whether the infant
            actually ingested the product at issue. In contrast, Plaintiffs have pled that the infant
                                                            -                  and developed NEC
                                                                      See Ex. A
            Complaint at ¶¶ 11-12.

            Defendants                          Complaint does not indicate which product was

                                                           -                 Id. at ¶ 11. Absent
            discovery, Plaintiff is limited to the detail provided in the medical records, the
            details of which are                                                    previously at
            oral argument, Plaintiff must be allowed to conduct full discovery to determine
            which manufacturer and brand each Hospital system had a distribution agreement
            with during certain periods of time, as that information, such as brand, is not often
            elicited in the medical records. Further, the Defendants themselves are the ones
            with the information such as purchasing receipts and or purchasing agreements with
            either Abbott or Mead.

            Defendants argue that Plaintiffs have not met their burden under fact pleading to

                                                                              Complaint
            Def. Preliminary Objections, at 8. However, as noted above, the Superior Court has
            ruled that in relation to pleading facts, evidence from which such facts may be
            inferred not only need not but should not be alleged, which is entirely contrary to
                                     herein. See Baker v. Rangos, 324 A.2d 498, 505-506 (Pa.
            Super. 1974)

            Defendants assert that Plaintiff has not pled the period of time during which the
            product at issue was ingested. However, Plaintiff alleged in the Complaint that the
                                                                   -based products by [hospital
            staff] after her birt  Id.           birth date is included in the Complaint.

            Defendants assert that Plaintiff failed to plead when the minor was diagnosed with
                                                               These feeds occurred despite the
            fact that Pennsylvania Hospital knew or should have                         -based
            products increase the risk of NEC and that human milk can decrease the risk of
            NEC. Id. at ¶ 15. Plaintiffs averments adequately summarize the material facts
            necessary such that the Defendants are on notice of the claim of which they must
            defend, and notably the moving Defendants are the exact hospitals where the
            Plaintiff was initially treated for NEC, thus they have access to the exact same
            medical as the Plaintiffs which show the exact dates of treatment which are
            summarily                             Complaint.

            Defendants assert that Plaintiffs did not plead the treatment the infant received
            following the ingestion of the NEC and resulting injuries. Defendant cites no
            authority for the proposition that a plaintiff must describe the specific treatment an

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               injured party underwent following injuries resulting from the tortious conduct of a
               defendant.

               Defendants assert that Plaintiffs have not adequately pled the injuries suffered as a
               result of the product. Plaintiff has adequately pled the injuries suffered by the infant

               described infra, I.H. suffered injuries, including but not limited to, a diagnosis of
               NEC, treatment with surgery and resection of a portion of her bowels, short gut
               syndrome secondary to NEC, intestinal and feeding difficulties, neurological
               injuries, left lower extremity amputation at the forearm, and she continues to suffer
               developmental delays and feeding difficulties secondary to bowel resection and
               short gut syndrome. Id. at ¶ 22.

                                                                                         as Plaintiffs

Allegations should withstand challenge under 1019(a) because they contain averments of all of the

facts a plaintiff will eventually have to prove in order to recover, and they are sufficiently specific

so as to enable Defendants to prepare their defense.

   VII.    Plaintiff-                                                                         -Barred
           And Should Not Be Dismissed
       Plaintiffs have clearly plead claims sounding in negligence on behalf of all plaintiffs, not

just the injured minor plaintiff. Indeed, in the complaint, Plaintiff lists under Counts VI and VII,



negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected

                             Complaint at ¶167, 185, 193. Therefore, Defendants no additional

                                                                                            Complaint

complies with Pa.R.C.P. 1020, which does not require Plaintiff Parents and Plaintiffs Minors to

plead separate claims for sperate Plaintiffs as Defendant suggests.

       Further, Plaintiff-

grounds. The discovery rule is an exception [to the statute of limitations] that tolls the statute of

                                                                       In re Risperdal Litig., 656 Pa.

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plaintiff knows, or reasonably should have known, that: (1) an injury has been sustained; and (2)

                                                           Ward v. Rice, 828 A.2d 1118, 1121 (Pa.

Super. 2003) (citing Citsay v. Reich, 380 Pa. Super. 366, 369 (1988)). For the discovery rule to

apply, the plaintiff must have exercised the due diligence that would be expected of a reasonable

                              tion. 828 A.2d at 1121. A plaintiff must begin exercising reasonable

                                                                                               who or

what caused it Romah v. Hygienic Sanitation Co., 705 A.2d 841, 857 (Pa. Super. 1997) (emphasis



account differences between persons, their capacity to meet certain situations and circumstances

confronting them at the time in question. In short, the standard of conduct required is a uniform

                                                                                         -22 (quoting

                        -

determined by the collective judgment, wisdom, and experience of jurors who have been selected

                                                                       Petri v. Smith, 307 Pa. Super.

261, 271-72 (1982).



lull the patient into a false sense of security, this may toll the statute of limitations. See Acker v.

Palena, 260 Pa. Super. 214, 222 (1978); Barshady v. Schlosser, 226 Pa. Super. 260, 263-64 (1973).



layperson may be charged with knowledge greater than that which was communicated to her by

the medical professionals who pro                                      In re Risperdal Litig., 656 Pa.

at 662 (citing Wilson v. El-Daief, 600 Pa. 161, 179-180 (2009)). If a plaintiff alleges that their



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delay was due to their reasonably relying upon the reassurances of their physicians, then, while



not be time-barred. Acker v. Palena, 260 Pa. Super. 214, 223-24 (1978).

       Likewise, the under the similar but distinct doctrine of fraudulent concealment, a form of



reliance on the fraudulent concealment of the defendant. Nesbitt v. Erie Coach Co., 416 Pa. 89,

95-

vigilance or deviate from his right of inquiry, the defendant is estopped from invoking the bar of

                             Romah, 705 A.2d at 857 (internal quotations omitted). A defendant does

not need to intentionally deceive a plaintiff for the doctrine of fraudulent concealment to apply;




whether a defendant made representations that could have induced this reliance on the part of the

plaintiff. Id. For example, in Romah, the Superior Court held that the issue of whether the



concealed studies and other information from the EPA and the public that showed that the

                                        risk of blood cell depression in men was a factual issue for

the jury. 705 A.2d at 861.

       Plaintiffs have alleged that all of the medical providers that Plaintiff-parents interacted with

at the Hospital failed to provide them with any information regarding the increased risk of NEC to

premature infants posed by the bovine-based formula that the practitioners provided. Likewise,

plaintiffs have alleged that the parents were not presented with the comparative risk of NEC of

these products as compared to any other alternatives. Plaintiff-parents relied upon the



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representations, or lack thereof, provided by the medical professionals who were treating their

infant. Further, Plaintiff alleged that Plaintiff-parents had no medical background or training and

therefore could not be expected to have greater medical knowledge than these providers. Plaintiff-

parents thereby reasonably relied upon, and were lulled into a false sense of security by, the

assurances of the physicians treating their children. Moreover, Plaintiff has alleged that Defendants

made false representations, in line with their financially advantageous relationship that they

possessed with codefendant manufacturers Abbott and Mead, about the relative risks of bovine-

based formula, in order to induce reliance on the part of Plaintiff-parents and thereby conceal the




would mislead medical providers about the risk of NEC posed by its products. Thus, under both

the discovery rule and doctrine of fraudulent concealment, Plaintiff-                               -

barred.

    VIII. Plaintiffs Have Filed the Proper Verifications For Their Complaint

          Pennsylvania Rule of Civil Procedure 1024 requires that pleadings containing averments



personal knowledge or information and belief and shall be verified. See Pa.R.C.P. 1024. Plaintiff



objection should be overruled. All such verifications have been or will be attached by way of a

praecipe to attach filed to Plai      Complaint.

    IX.      Request In The Alternative To Amend The Complaint




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       Although Plaintiff strenuously maintains the sufficiency of all of the Counts contained



Preliminary Objections, Plaintiff respectfully requests permission to amend the pleadings.

       WHEREFORE



Preliminary Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their

Complaint.

                                                      Respectfully submitted,



                                                      KLINE & SPECTER,
                                                      A Professional Corporation
Date: September 3, 2024                        By:    /s/Timothy A. Burke, Esquire
                                                      THOMAS KLINE, ESQUIRE
                                                      TOBI MILLROOD, ESQUIRE
                                                      ELIZABETH CRAWFORD, ESQUIRE
                                                      TIMOTHY BURKE, ESQUIRE
                                                      Attorneys for Plaintiffs


                                                      KELLER POSTMAN
                                                      BEN WHITING, ESQUIRE (Pro Hac Vice)
                                                      AMELIA FRENKEL, ESQURIE
                                                      Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 3, 2024, I caused a true and correct copy of the foregoing

document to be served by electronic filing to all counsel of record.



                                                     Respectfully submitted,



                                                     KLINE & SPECTER,
                                                     A Professional Corporation
Date: September 3, 2024                       By:    /s/Timothy A. Burke, Esquire
                                                     TIMOTHY A. BURKE, ESQUIRE




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By:




Timothy.burke@klinespecter.com


                                                :   IN THE COURT OF COMMON PLEAS
CHRISTINA TAYLOR, on her own behalf and as      :   PHILADELPHIA COUNTY
Parent and Natural Guardian of I.H., a Minor,   :
                                                :   CIVIL TRIAL DIVISION
                           Plaintiff,           :
                                                :   MARCH TERM 2022
      v.
                                                :   NO. 02606
                                                :
MEAD JOHNSON & COMPANY, LLC, MEAD
                                                :
JOHNSON NUTRITION COMPANY, ABBOTT
                                                :
LABORATORIES, THE TRUSTEES OF THE
                                                :
UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                :
MEDICINE, and THE TRUSTEES OF THE
                                                :
UNIVERSITY OF PENNSYLVANIA d/b/a
                                                :
PENNSYLVANIA HOSPITAL,
                                                :
                                                :
                           Defendants.
                                                :
                                                :
                                                :

                                        NOTICE TO DEFEND
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 NOTICE                                               ADVISO
 You have been sued in court. If you wish to defend Le han demandado a used en la corte. Si usted
 against the claims set forth in the following pages, quiere defenderse de estas demandas expuestas en
 you must take action within twenty (20) days after las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and notificacion. Hace falta asentar una comparencia
 filing in writing with the court your defenses or    escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You corte en forma escrita sus defensas o sus objeciones
 are warned that if you fail to do so the case may    a las demandas en contra de su persona. Sea avisado
 proceed without you and a judgment may be            que si usted no se defiende, la corte tomara medidas
 entered against you by the court without further     y puede continuar la demanda en contra suya sin
 notice for any money claimed in the complaint or previo aviso o notificacion. Ademas, la corte pueda
 for any other claim or relief requested by the       decidir a favor del demandante y requiere que usted
 plaintiff. You may lose money or property or other cumpla con todas las provisiones de esta demanda.
 rights important to you.                             Usted puede perder dinero o sus propiedades u otros
 YOU SHOULD TAKE THIS PAPER TO YOUR derechos importantes para usted.
 LAWYER AT ONCE. IF YOU DO NOT HAVE LLEVE ESTA DEMANDA A UN ABOGADO
 A LAWYER, GO TO OR TELEPHONE THE                     INMEDIATAMENTE, SI NO TIENE ABOGADO
 OFFICE SET FORTH BELOW. THIS OFFICE O SI NO TIENE EL DINERO SUFICIENTE DE
 CAN PROVIDE YOU WITH INFORMATION                     PAGAR TAL SERVICIO, VAYA EN PERSONA O
 ABOUT HIRING A LAWYER.                               LLAME POR TELEFONO A LA OFICINA CUYA
 IF YOU CANNOT AFFORD TO HIRE A                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
 LAWYER, THIS OFFICE MAY BE ABLE TO                   PARA AVERIGUAR DONDE SE PUEDE
 PROVIDE YOU WITH INFORMATION ABOUT CONSEGUIR ASISTENCIA LEGAL.
 AGENCIES THAT MAY OFFER LEGAL
 SERVICES TO ELIGIBLE PERSONS AT A                    Colegio de Abogados del Lackawanna
 REDUCED FEE OR NO FEE.                               233 Penn Avenue, Scranton, PA 18503
                                                      (570) 961-2714
 Lackawanna Bar Association
 233 Penn Avenue
 Scranton, PA 18503
  (570) 961-2714
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 By:




                                                     :   IN THE COURT OF COMMON PLEAS
 CHRISTINA TAYLOR, on her own behalf and as          :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of I.H., a Minor,       :
                                                     :   CIVIL TRIAL DIVISION
                             Plaintiff,              :
                                                     :   MARCH TERM 2022
        v.
                                                     :   NO. 02606
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                     :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                     :
 LABORATORIES, THE TRUSTEES OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                     :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                     :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                     :
                                                     :
                              Defendants.
                                                     :


                            SECOND AMENDED COMPLAINT

       Plaintiff brings this Second Amended Complaint and Demand for Jury Trial (the Second

Amended                 against Mead Johnson & Company, LLC, Mead Johnson Nutrition

Company, and Abbott Laboratories (collectively             Defendant Manufacturers    and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine and Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively


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           or                                                         Plaintiff alleges the following

upon                                                         experiences and upon information and

belief, including investigation conducted by

                                    I.          INTRODUCTION

1.

                                                                 -based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant                  products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.          This caused the Injured Infant to

develop necrotizing                                    -altering and potentially deadly disease that

largely affects premature babies who are given           milk-based feeding products.     As a result,

the Injured Infant was seriously injured, resulting in long term health effects and accompanying



2.     Plaintiff brings these causes of action against Defendants to recover for injuries that are the



                                         -based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                          II.     PARTIES

3.     Plaintiff Christina Taylor is a natural adult person and a resident of Delaware. Ms. Taylor

is the parent and natural guardian of I.H., a minor. Ms. Taylor     address is 9 Aidone Drive, New

Castle, Delaware 19720.

4.     Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws


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of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead



                                -based infant feeding products and market many of these products



5.

the State of Illinois. Its principal place of business is in Illinois.

milk-

name.

6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.                  Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                               III.    JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants


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conduct authorized business in the Commonwealth of Pennsylvania.          They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

                                        -related activities, such that the Court of Common Pleas



fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia




10.     This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.    FACTUAL ALLEGATIONS

                                      I.H. NEC Diagnosis

11.     Infant plaintiff I.H. was born premature at Pennsylvania Hospital in Philadelphia,

Pennsylvania on October 9, 2010.

12.     At birth, I.H. gestational age was approximately 25 weeks and she weighed 879 grams.

13.     Starting on October 9, 2010

fortified with bovine-based Human Milk Fortifier (HMF), which upon information and belief was

manufactured by Defendants Abbott and/or Mead.

14.     Subsequently, between November 2, 2010 and November 19, 2010 I.H. was fed full

                                                                                -based formula.


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15.     These feeds occurred despite the fact that Pennsylvania Hospital knew or should have

                       -based products increase the risk of NEC and that human milk can decrease

the risk of NEC.

16.     On November 20, 2010, Dr. Kelly Wade of the NICU diagnosed I.H. with stage II Medical

NEC                                                    and other symptoms consistent with NEC.

17.     B                                                                                      using

antibiotics without success, and on November 23 ordered for I.H. to be emergently transferred to



18.     Upon arrival

NEC, the most advanced and life-threatening stage of NEC, which indicates a perforation of the

                       .

19.     On Nov 23, 2010 I.H. underwent surgical intervention at                     , undergoing an

intestinal resection of the jejunum and distal ileum, removing part of her small intestines, as well

as a primary anastomosis procedure to attach the two ends of the resected bowels together. At the

end of the surgery, I.H. was placed on a wound VAC to assist in healing and blood clotting.

20.     Subsequent, and secondary to the surgery and wound VAC placement, necrosis spread to

                and forearm, and the NICU physicians                                           from

the forearm down on December 8, 2010.

21.                                                             er discharge home on February 15,

2011.

22.                                actions described infra, I.H. suffered injuries, including but not

limited to, a diagnosis of NEC, treatment with surgery and resection of a portion of her bowels,

short gut syndrome secondary to NEC, intestinal and feeding difficulties, neurological injuries,


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left lower extremity amputation at the forearm, and she continues to suffer developmental delays

and feeding difficulties secondary to bowel resection and short gut syndrome.

                           Milk-Based Feeding Products Are Known to Cause
                                             NEC

23.    NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

24.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that      milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.

        Safer, Nutritionally Superior Alternatives to         Milk-Based Products Exist

25.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition.

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

26.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

                            -based products.

27.

displace the human milk they could otherwise receive.

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vulnerability to NEC.

28.    Human milk-based nutrition nourishes infants while creating a significantly lower risk of

NEC.

29.    At the time the Injured Infant was fed the Defendant                     products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the

likelihood that a baby will develop NEC, leading to severe injury and often death.

30.    Despite the scientific evidence                                                         -based

products present a dire threat to the health and development of preterm infants, the Defendant



instructions, or warnings.    Instead, they have continued to sell their unreasonably dangerous

products.   In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge. And, in fact,

the Defendant Manufacturers offer contracts to hospitals         which the hospitals accept       that

actually prevent the health care providers from offering alternative products      even safer ones



31.    Despite the scientific evidence                                                         -based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital fed Similac

and/or Enfamil          milk-based products after her birth

donor human milk.

32.    Despite the scientific evidence                                                         -based

products present a dire threat to the health and development of preterm infants and Pennsylvania


                                                  7
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Hospital knew or should have known of that threat, staff of Pennsylvania Hospital did not properly

warn Ms. Wiger                                                                 -based products.

                                Ms. Taylor Discovers Her Claim

33.

herein, Ms. Taylor did not know, and had no reason to know or suspect, that I.H.   NEC could



         Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and
                      Would Not Have Revealed a Factual Basis Earlier
                 Because Defendants Hid the Cause of NEC from Ms. Taylor

34.     Despite exercising reasonable diligence, Ms. Taylor was unable to have made the discovery

earlier via a reasonable investigation because the Defendants in this litigation concealed the

wrongful cause of I.H. injuries.

35.     Amidst the physical and emotional trauma of preterm childbirth, and having her child in

the neonatal intensive care unit, shortly after learning of I.H.    NEC diagnosis, Ms. Taylor

undertook an investigation into the cause of the NEC by asking the doctors the cause of her NEC.

36.     The health care providers at Penn Medicine responded only that I.H. had gotten NEC

because she was born premature.                      response did not indicate that her NEC was



37.     Not one person at Penn Medicine

products could have caused I.H. injuries.                    response at the time did not give Ms.

Taylor any reason to suspect any wrongdoing on the part of the Defendants.

38.     Ms. Taylor is a layperson with no medical background or training that would have given

her any reason to doubt the response she received from her Penn Medicine health care providers

at the time.


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39.      Given that                    health care providers were in charge of the care of her newborn

infant, Ms. Taylor had no reason to doubt their word.

40.      Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling or

packaging of any                                                  .

41.      What is more, necrotizing enterocolitis is a disease that can occur in children who are not



mislead parents into a false sense of security about the use of those products.                     Publicly

disseminated materials from each Defendant Manufacturer disguise the role their products play in

causing the disease     and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.

42.




Abbott states that these human milk oligosacchari
                                                                                          1
                                                                                              Likewise, the




1
 The Role of HMOs in Reducing NEC, https://www.nutritionnews.abbott/pregnancy-childhood/prenatal-
breastfeeding/the-promising-role-of-hmos-in-reducing-risk-of-nec/ (last visited July 28, 2023).


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                                            2



    43.   Because of the misleading information distributed by the Defendant Manufacturers, as

further detailed infra, any research conducted by Ms. Taylor immediately after I.H.                            or

at any time prior to seeing an advertisement, would not have led a reasonable person to suspect

                                                                         I.H. injuries.

44.       Ms. Taylor also did not know, and had no reason to know or suspect, that Penn Medicine

breached its duty of care                                                                         er. Not only

was Ms. Taylor                                                                             I.H.    injuries, but

                                                                     Penn Medicine which allowed Penn

Medicine to secure sweetheart deals for otherwise expensive premature infant formula in exchange

for product placement and access to the hospital staff           were also not public or knowable to Ms.

Taylor, nor could any reasonable investigation outside of litigation have uncovered the terms of

those agreements.

    Despite Exercising Reasonable Diligence, the Defendants                          ly Concealed the Risks
     of NEC                                                                               Mislead Plaintiff


45.       In addition to the averments above, the Defendants have acted in concert to fraudulently

convey false and misleading information concerning the risk of NEC, and potentially death, caused



46.

omission, suppression, and concealment of material facts, made with the intent that Plaintiff would




2
  Special Feeding Concerns for Preemies, https://www.enfamil.com/articles/special-feeding-concerns-for-preemies/
(last visited July 29, 2023).
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rely upon such concealment, suppression,

preterm infant products.

47.    Plaintiff did not know, and could not learn, the truth concerning the uses, risks and benefits



misrepresentations and concealment, suppression and omission of material facts and important

information regarding the risks of NEC, and potentially death, from the products.

48.    Moreover, Defendant Hospital further participated in the intentional concealment           on



hospital to provide samples and free products that did not warn of their serious dangers, and to




49.    Based upon information and belief, during the relevant time period, Pennsylvania Hospital,

Penn Medicine, and the Hospital of the University of Pennsylvania stocked formula products from

both Abbott and Mead.

 50.   Additionally, Defendant Hospital failed to inform Ms. Taylor that the Defendant



                                                            Taylor was understandably concerned

about the degrading health of her newborn infant. As any concerned parent would do, Ms. Taylor

                                                     Hospital why a premature infant like I.H. was

suddenly diagnosed with a terrible disease like necrotizing enterocolitis; that is, she asked

Defendant Hospital                                                                Hospital knew of

the increased risk of NEC from formula, it did not disclose that the formula provided to I.H. could

increase the risk of NEC to preterm infants, responding only that I.H. had gotten NEC solely


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because she was born premature. Not one person at the NICU mentioned that the Defendant

                 formula

 51.

premature infants. Defendant Hospital was also aware that the Defendant Manufacturers did not

provide warnings on their products. However, Defendant Hospital did not warn Ms. Taylor of the

risks of the products. Instead, and notwithstanding the sweetheart deal Defendant Hospital agreed

to in exchange for preterm infant formula at little to no cost, Defendant Hospital repeatedly

informed Ms. Taylor that it would do everything it could possibly do to keep her infant safe.

Though this was clearly not true given the known risks of preterm formula for babies like I.H., it

was enough for Ms. Taylor to trust that Defendant Hospital was providing preterm formula in the

best interest of her child.

52.



diagnosis.

   The Defendant                    False and Misleading                                       -
                                     Based Infant Products

53.                                                                           -based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the



54.



formulas and fortifiers are necessary for the growth and development of their vulnerable children.




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promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

55.    For example, upon information and belief, Mead creates information booklets for parents

of premature infants to help answer some of their questions and concerns about having a premature

infant in the NICU that it provides to hospitals for dissemination to

booklets explain feeding options for premature infants, including formula, they do not mention



developing necrotizing enterocolitis.     Instead, the booklets advise parents that sometimes a

combination of breast milk and formula may be best and that premature infants will be happy and

healthy or nourished and healthy regardless of whether they are receiving breast milk or formula.

56.    Similarly, upon information and belief, Abbott publishes a pediatric nutrition product guide

that is available online for anyone, including parents, to access wherein Abbott advises that



formulations of its products, which are based on decades of research and scientific publications,



confidence to most of the preterm i

reference that its products increase the risk of necrotizing enterocolitis.

57.    Abbott also has a consumer-facing website accessible to anyone online, including parents,

that specifically discusses nutrition for premature infants, wherein Abbott tells parents of

                                                                               breast milk alone can




Nowhere in its discussion of preterm infant fortifiers or formulas does Abbott state that its products


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increase the risk of necrotizing enterocolitis or that they pose more of a risk that just providing



                                                                    -based product, which misleads

consumers.

58.    Upon information and belief, both Mead and Abbott also provide materials and programs

to the hospitals and the physicians and medical staff who are treating premature infants about the

                preterm products. Upon information and belief, these materials represent that the

                         products are safe and necessary for preterm infants. Mead and Abbott rely

on the physicians and medical staff to not only use their products in the NICU, but to convey these

messages to the parents of premature infants in their care.

59.    Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message.

60.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly     the decision-making body of the World Health Organization                  developed the

International Code of Marketing of Breast-                                                            d

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

61.    While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.




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that the nutrition they are supplying to their child will not provide the best chance of survival

while wholly failing to warn that their products come with a significantly increased risk of NEC.

62.

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recogniz

breastfed   for medical reasons or otherwise         infant formula is the only appropriate, safe



as well as human milk-based formula.

63.    Abbott markets and sells multiple products specifically targeting preterm and low-

birthweight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasiz

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac Ne

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help su

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.

64.

its products specifically targeting preterm and low-birth-weight infants, including Liquid Protein

Fortifier, Similac NeoSure, Similac Human Milk Fortifiers, Similac Special Care 20, Similac


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Special Care 24, Similac Special Care 24 High Protein, and Similac Special Care 30. None of

these pages or guides contain any mention of NEC or that the products specifically increase the



                                               which includes breast milk and donor milk      have



                                 tement is entirely misleading, as it improperly indicates that the



premature infants receiving breast milk or donor milk, equates formula to non-              -based

feeding options like breast milk and donor milk, fails to mention NEC, and minimizes the risk of

its products.

65.    Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

                                                                                   -recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and




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66.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is




advancements in Enfamil formulas and now through extensive global research, we are taking an

                                               amil NeuroPro has a fat blend of MFGM and DHA




and it claim



67.

targeting preterm and low-birth-weight infants, including Enfamil NeuroPro EnfaCare Infant

Formula, Enfamil Premature Infant Formula 24 Cal High Protein, Enfamil Premature Infant

Formula 30 Cal with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, Enfamil Premature

Infant Formula 20 Cal with Iron, Enfamil 24 Cal Infant Formula, and Enfamil Human Milk

Fortifier (acidified liquid and powder). None of these pages contain any mention of NEC or that




the way in developing safe, high-                                including preterm products



68.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,


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69.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the



the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant                       giveaways and

gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

70.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product



These names are misleading in that they suggest that the products are derived from breast milk,

                                   -based products. The packaging appears as:




71.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that:                  -based products are safe, including for preterm

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                       -based products are equal, or even superior, substitutes to breast milk; (3)

           -based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant                         milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death                  -based products pose to preterm infants like

the Injured Infant.

72.    The Defendant Manufacturers have also designed powerful marketing campaigns to both

the general public and health care providers at hospitals like Pennsylvania Hospital.          The

Defendant Manufacturers know that sales made to hospitals are key drivers of brand loyalty, and

thus are a key opportunity to drive better downstream business     i.e., retail purchases by parents

after they have left the hospital. On information and belief, the Defendant Manufacturers know

                                              NICU are related to getting and keeping the overall

hospital contracts.   And the Defendant Manufacturers know that, just like any celebrity

endorsement, when mothers of newborn infants see medical professionals using a certain brand,

the mothers are more likely to continue to purchase that same brand after discharge. The

Defendant Manufacturers are thus heavily motivated to ensure that NICU departments are using

their products.

73.    Abbott and Mead Johnson focus their sales teams and training heavily on hospital NICU

departments. They train their sales representatives how to increase the number of babies on their

formula, and they emphasize the need to be the dominant formula manufacturer in the NICU so

they can own that profitable ground and secure a great return on their substantial investment in

NICU formula and other products.




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74.

Manufacturer Defendants pull out all the stops to convince hospitals, including Defendant

Hospital, to purchase their products. For example: Abbott and Mead Johnson provide samples of

their products to hospitals for free.

75.     On information and belief, to get the hospitals on board with supplying their formula for

premature infants, Abbott and Mead Johnson work with hospitals to secure contracts that have

special pricing discounts if a certain level of the formula-fed babies in the hospital receive just that




most fragile patients   the preterm infants    the decision makers at these hospitals seek out these



76.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective company s

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

77.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf,

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that


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the preterm infant formula products were safe and without risk, even though that is not what the

science said.

78.    On information and belief, prior to I.H.        birth, Abbott sent sales representatives to

Defendant Hospital.

                        staff via conversations, presentations, and written pamphlets. This

                                                                                       I.H. Abbott

maintains call logs that detail which sales representatives visited the hospitals, which days they

visited, and which products they discussed. These sales representatives did not disclose that



79.    On information and belief, prior to I.H.




This information

I.H. Mead Johnson maintains call logs that detail which sales representatives visited the hospitals,

which days they visited, and which products they discussed. These sales representatives did not



80.    Mead Johnson and Abbott believed and intended that the misrepresentations that its sale

representatives shared with Defendant Hospital would be used to make feeding decisions for

preterm infants like I.H.

                      The Defendant                     Inadequate Warnings

81.    Although Mead promotes an aggressive marketing campaign designed to convince parents

                   -based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.
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82.    The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

83.

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

                                                      increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.

84.    Mead cites no medical literature or research to guide the use of its products.

85.    Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

86.    Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

87.    Mead Johnson failed to provide, and continues to fail to provide, a full accounting of the

risk of NEC as documented, by underrepresenting and misrepresenting the risk to the public and

the medical community.

88.    Despite knowing that its products were being fed to premature infants, often without the



parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies. Like Mead, Abbott promotes an aggressive marketing campaign

designed to make parents believe that its products are safe and necessary for the growth of

premature infants, despite the products in fact being extremely dangerous for premature infants.


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NEC.

89.    The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

90.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

91.    Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

92.    Despite knowing of studies documenting an increased risk of NEC from its products,

Abbott did not act to make parents or the medical community aware of those risks, and instead

took steps to conceal or prevent those risks from becoming public. Despite knowing that its



failed to require or recommend that medical professionals inform parents of the significant risk of

NEC or to require that parental consent be obtained prior to the products being fed to their babies.

                                Penn              Failure to Warn

93.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing            and

                milk-based products to its premature infant patients. It knew or should have known

that feeding these            -based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. It also knew or should have known that


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human milk decreases the risk of NEC for premature infants. However, instead of warning of

the dangers, or supplying human milk-based feeding products to preterm infants like the Injured

Infant, Penn Medicine has continued to source, distribute, and supply the Defendant

                                                                             Further, the Defendant

Hospital created a study putting infants, such as I.H. at great risk by providing them with bovine

based formula instead of exclusive human milk-based products.

94.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates. The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience



       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

95.



96.    Given it was known that human milk decreases the incidence and severity of NEC, it was

also known or should have been known that cows milk-based formula increases the incidence and

severity of NEC.

97.

           which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.



preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.



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not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 98.   Given it was known since at least the early 2000s, and as far back as the 1990s, that human

milk decreases the incidence and severity of NEC, it was also known or should have been known

that cows milk-based formula increases the incidence and severity of NEC.

 99.   Penn Medicine also purports to adhere to the tenets of

            which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.



preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.



not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 100. Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant                             milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:

                 Donor milk is not inexpensive. It costs about $4.25 per ounce, but

                 get discharged three to four days sooner and also have a six to 10
                 times lower risk of getting a gastrointestinal complication called

                 infection can cost up to $250,000 to treat. The average cost to
                 provide a preemie with donor milk: $125.

 101. These statements demonstrate that Penn Medicine knew or should have known of the high



 102. Although Penn Medicine knew or should have known of the serious danger of the




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products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

                                                                    -based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.

 103.

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

                            -based products for free and/or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

                                                                            f salespersons.

                                      Safer Alternative Designs

 104. The Defendant                             milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of         milk in their products, which would have produced a safer

product.

 105. Prolacta Bioscience manufactures and sells breast milk-based feeding products,

                                                                              This alternative design

                                                                                      -based products

provide, without the same unreasonably dangerous and deadly effects.


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 106. On information and belief, Abbott and Mead were aware of the significantly increased risk

                                                      -based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued t

foundation of their products.

                                CAUSES OF ACTION
                  COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

 107. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 108. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

 109. Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.

 110. Abbott and Mead knew that their products would be used to feed premature infants like the

                                                                                               -based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

                                                                                        Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

 111.                                                                                                -

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury


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and death from NEC.

 112. Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

 113.

facility.

 114. Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

 115.

increased the risk of their NEC and injuries.

 116. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this          arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-



                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost
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                          revenue, and/or lost profits, and/or lost business opportunity, lost earning

                          capacity, and costs related to medical or mental health treatment which have

                          or may be recommended;

               d.



                          and/or malicious conduct, as permitted by law;

               e.         For interest as permitted by law;

               f.

                          with this action; and

               g.         For such other and further relief as the Court deems proper.

               COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                            (Against Abbott and Mead)

 117. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 118. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of

their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

 119.               and         duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.         By

designing their products with           milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death.        The failure to warn makes the

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products at issue in this litigation unreasonably dangerous.

 120.             Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks

of the infant products at issue in this litigation because they knew or should have known that their

        milk-based premature infant products would be fed to premature infants like the Injured

Infant, and that their products might cause the Injured Infant to develop NEC, severe injury, or

death, yet they failed to provide adequate warnings of those risks.          Among other risks, the

Defendant Manufacturers:

            a.                                    -based products significantly increase the risk of

                 NEC, severe injury, and death for the Injured Infant; and/or

            b.                                    -based products are unsafe and/or contraindicated

                 for premature infants like the Injured Infant; and/or

            c. Inserted warnings and instructions on their products that are severely inadequate,

                 vague, confusing, and provide a false sense of security in that they warn and instruct

                 specifically on certain conditions, but do not warn of the significantly increased

                 risk of NEC and death; and/or

            d.    B           -                                       -based products are known to

                 significantly increase the risk of NEC and death when compared to breast milk in

                 premature infant; and/or

            e. Failed to disclose well-researched and well-

                 milk-based products to NEC and death in premature infants; and/or

            f. Failed to insert a warning or instruction to healthcare professionals and other

                 medical staff in the hospital that parents should be provided information necessary

                 to make an informed choice about whether to allow their babies to be fed the


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                Defendant                   products, notwithstanding their substantial risks; and/or

            g. Failed to provide a warning in a method reasonably calculated or expected to reach

                the parents of newborns, like the Plaintiff Parent; and/or

            h. Failed to provide statistical evidence showing the magnitude of increased risk of

                NEC in                                                 -based products.

 121.            and          products contained         milk at the time they left the manufacturing

facility.

 122. As a direct and proximate result of the inadequacy of the warnings and the pervasive



                                                    -based products, which caused and/or increased

risk of their developing NEC.

 123. The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

        milk-based formula, they would not have fed the Injured Infant those products.       Had the

Plaintiff Parent known of                                                                     -based

formula, they would not have allowed such products to be fed to the Injured Infant.

 124. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this          arbitrational limit;


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           b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained



           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

           d.



                malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f.                        expenses, and recoverable costs incurred in connection with

                this action; and

           g. For such other and further relief as the Court deems proper.

                                   COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

 125. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 126. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

 127. At all times relevant to this action, the Injured         healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

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 128. Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

                                                                                                      -

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

 129. Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their        milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

           a.                                     -based products significantly increase the risk of

                NEC, severe injury, and death for the Injured Infant; and/or

           b.                                milk-based products are unsafe and/or contraindicated

                for premature infants like the Injured Infant; and/or

           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

                and provide a false sense of security in that they warn and instruct specifically on

                certain conditions, but do not warn of the significantly increased risk of NEC and

                death; and/or

           d.                                                           -

                milk-based products are known to significantly increase the risk of NEC and death

                when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-

                milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

                medical staff in the hospital that parents should be provided information necessary


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               to make an informed choice about whether to allow their babies to be fed the

               Defendant                    products, notwithstanding their substantial risks; and/or

            g. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns, like the Plaintiff Parent; and/or

            h. Failing to provide statistical evidence showing the magnitude of increased risk of

                                                                       -based products.

 130. In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their       milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.

 131.

reasonably prudent manner and their breach of duty, the Injured Infant was fed            milk-based

products, which caused and/or increased the risk of their developing NEC.

 132. Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their                                    milk-based products.

 133. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this         arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of
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                life, pain and suffering, mental anguish, and other non-economic losses sustained



           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

           d.



                malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f.

                this action; and

           g. For such other and further relief as the Court deems proper.

                   COUNT IV: INTENTIONAL MISREPRESENTATION
                              (Against Abbott and Mead)

 134. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 135. At all times relevant to this action, the Injured Infant consumed the Defendant



 136. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

 137. Abbott and Mead breached their duty through misrepresentations made to consumers in

their advertising and promotional materials, as described in previous paragraphs and incorporated

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herein, each of whom were foreseeable and intended recipients of this information.

 138. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including patient

consumers and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their

products:

            a. That their       milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

            b. That their        milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

            c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

            d. That         milk-based products were safe for premature infants; and/or

            e. That         milk-based products were necessary for optimum growth; and/or

            f. That         milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of         milk when, in fact, the



               death; and/or

            h. That their products were safe for and provided better nutrition and growth to

               premature infants than donor milk, a non-               -based alternative to breast

               milk; and/or


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           i. That their products can fed with confidence to most of the preterm infants in the

                NICU and/or that premature infants would be happy and health or nourished and

                health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

                in premature infants, including omitting this material fact from their publicly

                available product information, marketing materials, and websites.

 139. Abbott and Mead had actual knowledge, or, at a minimum, a reckless indifference, to

whether the aforementioned misrepresentations were false.

 140. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent:

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

                and labeling of their product samples provided to Plaintiff Parent that their products

                significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

                Infant that their products significantly increased the risk of NEC in premature

                infants; and/or

           c.                                           -based products were safe and beneficial for

                premature infants on coupons, gift bags, other promotional materials, and the

                packaging and labeling of their product samples provided to Plaintiff Parent when

                they knew or should have known that their products were unreasonably dangerous

                and cause NEC, serious injury, and death in premature infants; and/or


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        d.                                         -based products were safe and beneficial for

             premature infants on the packaging and labeling of their products provided to

             Injured Infant when they knew or should have known that their products were

             unreasonably dangerous and cause NEC, serious injury, and death in premature

             infants; and/or

        e.                                         -based products were necessary to the growth

             and nutrition of premature infants on coupons, gift bags, other promotional

             materials, and the packaging and labeling of their product samples provided to

             Plaintiff Parent when they knew or should have known that their products were not

             necessary to achieve adequate growth; and/or

        f.                                         -based products were necessary to the growth

             and nutrition of premature infants on the packaging and labeling of their products

             provided to Injured Infant when they knew or should have known that their products

             were not necessary to achieve adequate growth; and/or

        g.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent; and/or

        h.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant; and/or

        i.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                      -based products or breast milk on coupons,


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             gift bags, other promotional materials, and the packaging and labeling of their

             product samples provided to Plaintiff Parent; and/or

        j.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                          -based products or breast milk on the

             packaging and labeling of their products provided to Injured Infant; and/or

        k.                                         -based products have no serious side effects on

             coupons, gift bags, other promotional materials, and the packaging and labeling of

             their product samples provided to Plaintiff Parent when they knew or should have

             known the contrary to be true; and/or

        l.                                         -based products have no serious side effects on

             the packaging and labeling of their products provided to Injured Infant when they

             knew or should have known the contrary to be true; and/or

        m.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent when they knew

             or should have known the contrary to be true; and/or

        n.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant when they knew or should have known the contrary to be true; and/or

        o.                                      -based products were safe for premature infants

             on coupons, gift bags, other promotional materials, and the packaging and labeling

             of their product samples provided to Plaintiff Parent; and/or


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           p.                                      -based products were safe for premature infants

                on the packaging and labeling of their products provided to Injured Infant; and/or

           q.                                         -based products were necessary for optimum

                growth on coupons, gift bags, other promotional materials, and the packaging and

                labeling of their product samples provided to Plaintiff Parent; and/or

           r.                                         -based products were necessary for optimum

                growth on the packaging and labeling of their products provided to Injured Infant;

                and/or

           s. Representing that their products were based on up-to-date science, which made

                them safe for premature infants on coupons, gift bags, other promotional materials,

                and the packaging and labeling of their product samples provided to Plaintiff

                Parent; and/or

           t. Representing that their products were based on up-to-date science, which made

                them safe for premature infants on the packaging and labeling of their products

                provided to Injured Infant.

 141. The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant                    misrepresentations induced the Plaintiff Parent to

allow their children to be fed         and            infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

                                   Had Abbott and Mead not committed these intentional

misrepresentations, the Injured Infant would not have been exposed to the Defendant

                                                       -based products.

 142.


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Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

 143. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                 $50,000 and this          arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                 life, pain and suffering, mental anguish, and other non-economic losses sustained



            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

            d.



                 malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For

                 this action; and

            g. For such other and further relief as the Court deems proper.

                      COUNT V: NEGLIGENT MISREPRESENTATIONS
                                (Against Abbott and Mead)

 144. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

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herein.

 145. At all times relevant to this action, the Injured Infant consumed the products at issue in

their intended manner and for their intended purpose.

 146. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

 147. In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, in their advertising and promotional materials, as described

in previous paragraphs and incorporated herein, each of whom were foreseeable recipients of this

information.

 148. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including consumers,

and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their products:

           a. That their         milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

           b. That their         milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

           c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

           d. That          milk-based products were safe for premature infants; and/or


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           e. That          milk-based products were necessary for optimum growth; and/or

           f. That          milk-based products were similar or equivalent to breast milk; and/or

           g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of          milk when, in fact, the

                                                       capable of causing NEC, serious injury, and

               death; and/or

           h. That their products were safe for and provided better nutrition and growth to

               premature infants that donor milk, a non-                -based alternative to breast

               milk; and/or

           i. Thet their products can be fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and healthy or nourished and

               health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 149. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent.

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or




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        b. Omitting from the packaging and labeling of their products provided to Injured

             Infant that their products significantly increased the risk of NEC in premature

             infants; and/or

        c.                                        -based products were safe and beneficial for

             premature infants on coupons, gift bags, other promotional materials, and the

             packaging and labeling of their product samples provided to Plaintiff Parent when

             they knew or should have known that their products were unreasonably dangerous

             and cause NEC, serious injury, and death in premature infants; and/or

        d.                                        -based products were safe and beneficial for

             premature infants on the packaging and labeling of their products provided to

             Injured Infant when they knew or should have known that their products were

             unreasonably dangerous and cause NEC, serious injury, and death in premature

             infants; and/or

        e.                                        -based products were necessary to the growth

             and nutrition of premature infants on coupons, gift bags, other promotional

             materials, and the packaging and labeling of their product samples provided to

             Plaintiff Parent when they knew or should have known that their products were not

             necessary to achieve adequate growth; and/or

        f.                                        -based products were necessary to the growth

             and nutrition of premature infants on the packaging and labeling of their products

             provided to Injured Infant when they knew or should have known that their products

             were not necessary to achieve adequate growth; and/or




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        g.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent; and/or

        h.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant; and/or

        i.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                       -based products or breast milk on coupons,

             gift bags, other promotional materials, and the packaging and labeling of their

             product samples provided to Plaintiff Parent; and/or

        j.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                          -based products or breast milk on the

             packaging and labeling of their products provided to Injured Infant; and/or

        k.                                         -based products have no serious side effects on

             coupons, gift bags, other promotional materials, and the packaging and labeling of

             their product samples provided to Plaintiff Parent when they knew or should have

             known the contrary to be true; and/or

        l.                                         -based products have no serious side effects on

             the packaging and labeling of their products provided to Injured Infant when they

             knew or should have known the contrary to be true; and/or




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        m.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent when they knew

             or should have known the contrary to be true; and/or

        n.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant when they knew or should have known the contrary to be true; and/or

        o.                                      -based products were safe for premature infants

             on coupons, gift bags, other promotional materials, and the packaging and labeling

             of their product samples provided to Plaintiff Parent; and/or

        p.                                      -based products were safe for premature infants

             on the packaging and labeling of their products provided to Injured Infant; and/or

        q.                                         -based products were necessary for optimum

             growth on coupons, gift bags, other promotional materials, and the packaging and

             labeling of their product samples provided to Plaintiff Parent; and/or

        r.                                         -based products were necessary for optimum

             growth on the packaging and labeling of their products provided to Injured Infant;

             and/or

        s. Representing that their products were based on up-to-date science, which made

             them safe for premature infants on coupons, gift bags, other promotional materials,

             and the packaging and labeling of their product samples provided to Plaintiff

             Parent; and/or




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            t. Representing that their products were based on up-to-date science, which made

                them safe for premature infants on the packaging and labeling of their products

                provided to Injured Infant.

 150. Abbott and Mead were negligent or careless in not determining those representations to be

false.

 151.

the Plaintiff Parent to allow their child to be fed          and       infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

                                                Had Abbott and Mead not committed these negligent

misrepresentations, the Injured Infant would not have been exposed to their unreasonably

                        -based products.

 152.

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

 153. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

         WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this           arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained




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           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

           d.



                malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f.

                this action; and

           g. For such other and further relief as the Court deems proper.

                             COUNT VI: FAILURE TO WARN
                      (Against Penn Medicine and Pennsylvania Hospital)

 154. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 155. Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

 156.                                                                                 -based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 157. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

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treatment of the Injured Infant.

 158. Penn Medicine and Pennsylvania Hospital negligently, outrageously, and recklessly

                                                            -based infant feeding products to these

healthcare professionals and medical staff for use on premature infants, including the Injured

Infant.

 159. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant                    sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.

representatives were encouraged to interact with Pennsylvania             healthcare professionals

and medical staff. These interactions provided the Defendant                  sales representatives

an opportunity to co-



unreasonably dangerous products to consumers, such as the Plaintiff Parent.

 160. Penn Medicine and Pennsylvania also knowingly, and intentionally, allowed the Defendant




including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 161. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant                       milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

 162. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,


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and recklessly, and breached its duty by:

           a.                                     -based products significantly increase the risk of

                NEC, severe injury, and death in those babies; and/or

           b. Failing to warn                     -based products are unsafe and/or contraindicated

                for premature infants like the Injured Infant; and/or

           c. Failing to warn or instruct its healthcare professionals and medical staff on the

                information that should be provided to parents in order to make an informed choice



                products, notwithstanding their substantial risk; and/or

           d. Failing to provide its healthcare professionals and medical staff with the well-

                researched and well-established studies that link       milk-based products to NEC

                and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

                the parents of newborns; and/or

           f. Failing to provide statistical evidence showing the magnitude of increased risk of

                                                                        -based products; and/or

           g.



                staff that premature babies would not grow adequately with human milk and human

                milk products and that use of donor milk was not advised for premature infants.

 163. Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff       as well as

patients   on the safe use of the Defendant                  products, and would have restricted the


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 164. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding          milk-based formula to premature infants.

 165. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant                     unreasonably

dangerous products, the Injured Infant would not have been exposed to the Defendant

                            -based products.

 166. As a direct and

                                                                                                    -

                                                                                              -based

products, which caused and/or increased the risk of developing NEC and significant injuries.

 167. As a further direct and proximate result of Penn Medicine and Pennsylvania



Parent suffered significant emotional distress, loss of income, and/or other harms.      Her life has



       WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this           arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained


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            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

            d.

                                                                                           outrageous,

                 reckless, and/or malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f.

                 this action; and

            g. For such other and further relief as the Court deems proper.

          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                   (Against Penn Medicine and Pennsylvania Hospital)

 168. Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

 169. At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

 170. Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

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distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

 171.                                                                                -based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 172. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

                                                                       market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.

representatives were encouraged to interact with Pennsylvania               healthcare professionals

and medical staff. These interactions provided the Defendant                    sales representatives

an opportunity to co-

assisting with the marketing, distribution, and/or sale of the Defendant

unreasonably dangerous products.

 173. Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant



                                                                                                     ,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 174. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant                         milk-based infant products, including the access afforded

the Defendant                  sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.


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 175. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that premature babies are increased risk for NEC.

 176. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that NEC increases the risk of permanent injury and death.

 177. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have



 178. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have



premature infants.

 179. By no later than 2012, Penn Medicine and Pennsylvania Hospital knew or reasonably

should have known that donor human milk decreased the risk of NEC, serious injury, and death

for premature infants.

 180. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding     milk-based formula to premature infants.

 181. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to formulate, adopt, and enforce adequate rules and policies that would have



               premature babies; and/or

           b. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               restricted or prevented                     -based products for feeding premature

               babies; and/or


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        c. Failing to formulae, adopt, and enforce adequate rules and policies that informed the

            Plaintiff

            decrease the risk of NEC, severe injury, and death in premature babies, like the

            Injured Infant; and/or

        d. Failing to formulate, adopt, and enforce adequate rules and policies that warned the

                                               -based products significantly increase the risk of

            NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

        e. Failing to formulate, adopt, and enforce adequate rules and policies that discussed

                                       -based products significantly increasing the risk of NEC,

            severe injury, and death in premature babies, like the Injured Infant; and/or

        f. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

                                                                            -based products are

            unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

        g. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed the Defendant                  products, notwithstanding their

            substantial risk; and/or

        h. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

            healthcare professionals and medical staff with the well-researched and well-

                                                        -based products to NEC and death in

            premature infants; and/or

        i. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a


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            warning in a method reasonably calculated/expected to reach the parents of

            premature newborns, like the Plaintiff Parent; and/or

         j. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

            Defendant                       sales   representative from   misrepresenting     to



            babies would not grow adequately with human milk and human milk products

            and/or that use of donor milk was not advised for premature infants; and/or

         k. Failing to establish a donor milk program that was sufficient to meet the needs of

            the premature babies, like the Injured Infant.

         l. Failing to formulate, adopt, and enforce adequate rules and policies regarding the

            feeding of premature infants leaving it to the discretion of the medical team and

            parent without a discussion of risks and benefits.

         m. Allowing parental preference to be the standard for feeding premature infants;

         n. Failing to follow the American Academy of Pediatrics recommendations relating

            to feeding premature infants;

         o. Failing to follow the American Academy of Pediatrics recommendations to use

                                                                              -based products;

         p. Failing to rec

            2012; and

         q. Failing to transfer to a hospital by no later than 2012 where donor milk was

            available if there was no donor milk available.

182. A reasonable hospital under the same or similar circumstances would have formulated,

                                                                                          -based


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products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants

milk-based products, and restricting the marketing of the Defendant                    unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.

 183. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its



milk-based products.

 184. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

                  unreasonably dangerous        milk-based products, the Injured Infant was fed the

                                       -based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 185. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent, reckless, and outrageous conduct the Plaintiff Parent suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly affected by the Injured

        injuries.

 186. In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical



the Injured Infant.

 187. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare


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professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

 188. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly, and

outrageously breached its duty by:

           a. Failing to oversee its healthcare professionals and medical staff on their use of

                           -based products for feeding premature babies; and/or

           b. Failing to warn or instruct its healthcare professionals and medical staff that

               milk-based products significantly increase the risk of NEC, severe injury, and death

               in those babies; and/or

           c. Failing to warn or instruct its healthcare professionals and medical staff that

               milk-based products are unsafe and/or contraindicated for premature babies like the

               Injured Infant; and/or

           d. Failing to oversee its healthcare professionals and medical staff to restrict their

                                        -based products to premature babies; and/or

           e. Failing to warn or instruct its healthcare professionals and medical staff on the

               information that should be provided to parents in order to make an informed choice

               about

               products, notwithstanding their substantial risk; and/or

           f. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link       milk-based products to NEC

               and death in premature infants; and/or

           g. Failing to provide its healthcare professionals and medical staff with warnings




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               reasonably calculated/expected to reach the parents of newborns; and/or

           h. Failing to provide statistical evidence to its healthcare professionals and medical

               staff showing the magnitude of increased risk of NEC in premature infants

                                            -based products; and/or

           i. Failing to oversee its healthcare professionals and medical staff to ensure that the

               Defendant                    sales                   misrepresentations that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants had not influenced the

               use and/or misuse of the Defendant

 189. A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

                                products, and would have restricted the ability of the Defendant



dangerous products without adequate warning.

 190. A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with                    milk-based formula to premature infants.

 191. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant                              milk-based products.

 192.

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

                unreasonably dangerous              milk-based products, the Injured Infant was fed the


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                                          -based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 193. As a further direct and proximate result of Penn Medicine and

negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms.         Her

injuries.

        WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                 $50,000 and this          arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                 life, pain and suffering, mental anguish, and other non-economic losses sustained



            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

            d.



                 as permitted by law;

            e. For interest as permitted by law;

            f.

                 this action; and

            g. For such other and further relief as the Court deems proper.


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                                 DEMAND FOR JURY TRIAL
 194. Plaintiff hereby demands a jury trial for all claims triable.



Dated: July 16, 2024

                                                      Respectfully submitted,




                                              By:     /s/ Tobias L. Millrood




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        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                          TRIAL DIVISION - CIVIL


 CHRISTINA TAYLOR, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
     v.                                       : No. 220302606
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                       :

 TERRAINE ABDULLAH, et al.,                   :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 02583
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 HOLLI CARTER, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302588
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 SHONDERA DRAYTON, et al.,                    :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 02594
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 TONYA GRAY, et al.,                          :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400216
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 ROCHELLE HOLLINGSWORTH, et al.,              :
           Plaintiff,                         : SEPTEMBER TERM, 2023
    v.                                        : No. 230900791
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.
 KRISTEN KAJUFFA, et al.,                     :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302978
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
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 NAFEESA MAYS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302963
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 CATHERINE McMILLIAN, et al.,                 :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400140
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NYDIA PARKER, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302983
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALEXANDRIA ROSS, et al.,                     :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302981
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 LOREN SANDERS, et al.,                       :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400153
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.

 SAMAYA SHORT, et al.,                        :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400159
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALICE STILLS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302617
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NATISHA THOMAS, et al.,                      :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220400158
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
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  NIKIA TUCKER, et al.,                                  :
              Plaintiff,                                 : SEPTEMBER TERM, 2023
       v.                                                  No. 230900867
                                                         :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                         :
  Defendants.
  GINA WIEGER, et al.,                                   :
              Plaintiff,                                 :   MARCH TERM, 2022
       v.                                                :   No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                                         :
  Defendants.
  STEPHANIE WILKERSON, et al.,                           :
              Plaintiff,                                 :   SEPTEMBER TERM,2023
       v.                                                :   No. 230900730
  MEAD JOHNSON & COMPANY, LLC, et al.,                   :
              Defendants.                                :
  MELVENIA WILLIAMS, et al.,                             :
              Plaintiff,                                 :   APRIL TERM, 2022
       v.                                                :   No. 220400141
  MEAD JOHNSON & COMPANY, LLC, et al.,                   :
              Defendants.                                :


                                             ORDER

       AND NOW this the ______ day of ______________________, 2024, upon consideration

of Defendant

                                                                         Preliminary Objections to

the Plaintiffs Complaint, Plaintiffs Answer thereto, and all other appropriate considerations, it is

hereby ORDERED, ADJUDGED and DECREED that Moving                                        Preliminary

Objections are OVERRULED.

                                                     BY THE COURT



                                                     ____________________________
                                                           J.
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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  CHRISTINA TAYLOR, et al.,                   :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                      : No. 220302606
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
             Defendants.                      :

  TERRAINE ABDULLAH, et al.,                  :
              Plaintiff,                      : MARCH TERM, 2022
       v.                                       No. 02583
                                              :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
  Defendants.
                                              :
  HOLLI CARTER, et al.,                       :
              Plaintiff,                      : MARCH TERM, 2022
       v.                                       No. 220302588
                                              :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
  Defendants.
                                              :
  SHONDERA DRAYTON, et al.,                   :
              Plaintiff,                      : MARCH TERM, 2022
       v.                                       No. 02594
                                              :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
  Defendants.
                                              :



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 TONYA GRAY, et al.,                          :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400216
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 ROCHELLE HOLLINGSWORTH, et al.,              :
           Plaintiff,                         : SEPTEMBER TERM, 2023
    v.                                        : No. 230900791
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.
 KRISTEN KAJUFFA, et al.,                     :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302978
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NAFEESA MAYS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302963
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 CATHERINE McMILLIAN, et al.,                 :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400140
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NYDIA PARKER, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302983
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALEXANDRIA ROSS, et al.,                     :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302981
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 LOREN SANDERS, et al.,                       :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400153
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.



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 SAMAYA SHORT, et al.,                        :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400159
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALICE STILLS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302617
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NATISHA THOMAS, et al.,                      :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220400158
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NIKIA TUCKER, et al.,                        :
             Plaintiff,                       : SEPTEMBER TERM, 2023
      v.                                        No. 230900867
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 GINA WIEGER, et al.,                         :
             Plaintiff,                       :   MARCH TERM, 2022
      v.                                      :   No. 220302601
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 STEPHANIE WILKERSON, et al.,                 :
             Plaintiff,                       :   SEPTEMBER TERM,2023
      v.                                      :   No. 230900730
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :
 MELVENIA WILLIAMS, et al.,                   :
             Plaintiff,                       :   APRIL TERM, 2022
      v.                                      :   No. 220400141
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :


                         IN OPPOSITION TO              PRELMINIARY
                                    SECOND AMENDED COMPLAINTS




                                        3
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         Plaintiffs, by and through their counsel, Kline & Specter, P.C., hereby oppose Defendant



                                                                  Preliminary Objections and responds to

Defendant Preliminary Objections and Evidentiary Exhibits as follows: 1

         1.       Denied as a conclusion of law to which no response is required. By way of further



         2.       Denied as a conclusion of law to which no response is required. By way of further



         3.       Admitted.

         4.       Admitted only that Plaintiff has filed suits against the named defendants, denied

that each complaint is identical, as each Complaint and subsequent Amended Complaints pleaded

facts and damages specific to each Plaintiff and injured infant.

         5.       Admitted.

         6.       Admitted.

         7.       Admitted.

         8.       Admitted.

         9.       Admitted.


1
  To conserve judicial resources, and pursuant to the practice recommended by the Court at the July 24, 2023
conference, Plaintiffs file this opposition on the instant docket and incorporate by reference the arguments herein in
each of the following actions in which plaintiffs filed second amended complaints: Abdullah v. Mead Johnson &
Company, LLC, et al., No. 220302583; Carter v. Mead Johnson & Company, LLC, et al., No. 220302588; Drayton v.
Mead Johnson & Company, LLC, et al., No. 220302594; Gray v. Mead Johnson & Company, LLC, et al., No.
220400216; Hollingsworth v. Mead Johnson & Company, LLC, et al., No. 230900791; Kajuffa v. Mead Johnson &
Company, LLC, et al., No. 220302978; Mays v. Mead Johnson & Company, LLC, et al., No. 220302963; McMillian
v. Mead Johnson & Company, LLC, et al., No. 220400140; Parker v. Mead Johnson & Company, LLC, et al., No.
220302983; Ross v. Mead Johnson & Company, LLC, et al., No. 220302981; Sanders v. Mead Johnson & Company,
LLC, et al., No. 220400153; Short v. Mead Johnson & Company, LLC, et al., No. 220400159; Stills v. Mead Johnson
& Company, LLC, et al., No. 220302617; Taylor v. Mead Johnson & Company, LLC, et al., No. 220302606; Thomas
v. Mead Johnson & Company, LLC, et al., No. 220400158; Tucker v. Mead Johnson & Company, LLC, et al., No.
230900867; Wieger v. Mead Johnson & Company, LLC, et al., No. 220302601; Wilkerson v. Mead Johnson &
Company, LLC, et al., No. 230900730; and Williams v. Mead Johnson & Company, LLC, et al., No. 220400141.

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     10.    Admitted.

     11.    Admitted.

     12.    This is an incorporation paragraph to which no response is required.

     13.    Denied as a conclusion of law to which no response is required. By way of further



     14.    Denied as a conclusion of law to which no response is required. By way of further



     15.    Denied as a conclusion of law to which no response is required. By way of further



     16.    Denied as a conclusion of law to which no response is required. By way of further



     17.    Denied as a conclusion of law to which no response is required. By way of further



     18.    Denied as a conclusion of law to which no response is required. By way of further



     19.    Denied as a conclusion of law to which no response is required. By way of further



     20.    Denied as a conclusion of law to which no response is required. By way of further



     21.    Denied as a conclusion of law to which no response is required. By way of further



     22.    Denied as a conclusion of law to which no response is required. By way of further




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     23.    Denied as a conclusion of law to which no response is required. By way of further



     24.    Denied as a conclusion of law to which no response is required. By way of further



     25.    Denied as a conclusion of law to which no response is required. By way of further



     26.    Denied as a conclusion of law to which no response is required. By way of further



     27.    Denied as a conclusion of law to which no response is required. By way of further



     28.    Denied as a conclusion of law to which no response is required. By way of further



     29.    Denied as a conclusion of law to which no response is required. By way of further



     30.    Denied as a conclusion of law to which no response is required. By way of further



     31.    Denied as a conclusion of law to which no response is required. By way of further



     32.    Denied as a conclusion of law to which no response is required. By way of further



     33.    Denied as a conclusion of law to which no response is required. By way of further




                                            6
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     34.    Denied as a conclusion of law to which no response is required. By way of further



     35.    Denied as a conclusion of law to which no response is required. By way of further



     36.    Denied as a conclusion of law to which no response is required. By way of further



     37.    Denied as a conclusion of law to which no response is required. By way of further



     38.    Denied as a conclusion of law to which no response is required. By way of further



     39.    Denied as a conclusion of law to which no response is required. By way of further



     40.    Denied as a conclusion of law to which no response is required. By way of further



     41.    Denied as a conclusion of law to which no response is required. By way of further



     42.    Denied as a conclusion of law to which no response is required. By way of further



     43.

     44.    Denied as a conclusion of law to which no response is required. By way of further



     45.    Denied as a conclusion of law to which no response is required. By way of further




                                            7
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     46.    Denied as a conclusion of law to which no response is required. By way of further



     47.    Denied as a conclusion of law to which no response is required. By way of further



     48.    Denied as a conclusion of law to which no response is required. By way of further



     49.    Denied as a conclusion of law to which no response is required. By way of further



     50.    Denied as a conclusion of law to which no response is required. By way of further



     51.    Denied as a conclusion of law to which no response is required. By way of further



     52.    Denied as a conclusion of law to which no response is required. By way of further



     53.    Denied as a conclusion of law to which no response is required. By way of further



     54.    Denied as a conclusion of law to which no response is required. By way of further



     55.    Denied as a conclusion of law to which no response is required. By way of further



     56.    Denied as a conclusion of law to which no response is required. By way of further




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     57.    Denied as a conclusion of law to which no response is required. By way of further



     58.    Denied as a conclusion of law to which no response is required. By way of further



     59.    Denied as a conclusion of law to which no response is required. By way of further



     60.    Denied as a conclusion of law to which no response is required. By way of further



     61.    Denied as a conclusion of law to which no response is required. By way of further



     62.    Denied as a conclusion of law to which no response is required. By way of further



     63.    Denied as a conclusion of law to which no response is required. By way of further



     64.    Denied as a conclusion of law to which no response is required. By way of further



     65.    Denied as a conclusion of law to which no response is required. By way of further



     66.    Denied as a conclusion of law to which no response is required. By way of further



     67.    Denied as a conclusion of law to which no response is required. By way of further




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       68.    Denied as a conclusion of law to which no response is required. By way of further



       69.    Denied as a conclusion of law to which no response is required. By way of further



       70.    Denied as a conclusion of law to which no response is required. By way of further



       71.    Denied as a conclusion of law to which no response is required. By way of further




   WHEREFORE, for the reasons more fully set forth in Plaintiffs accompanying Memorandum

of Law, Plaintiffs respectfully request that this Honorable Court deny Defendant   Preliminary

Objections, or, in the alternative, Order that Plaintiffs are permitted leave to amend their

Complaint.

                                                   Respectfully submitted,

                                                   KLINE & SPECTER,
                                                   A Professional Corporation
Date: September 3, 2024                    By:     /s/Timothy A. Burke, Esquire
                                                   THOMAS KLINE, ESQUIRE
                                                   TOBI MILLROOD, ESQUIRE
                                                   ELIZABETH CRAWFORD, ESQUIRE
                                                   TIMOTHY BURKE, ESQUIRE
                                                   Attorneys for Plaintiffs


                                                   KELLER POSTMAN
                                                   BEN WHITING, ESQUIRE (Pro Hac Vice)
                                                   MARK WEINSTEIN, ESQURIE
                                                   Attorneys for Plaintiffs




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Attorneys for Plaintiffs

         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  CHRISTINA TAYLOR, et al.,                   :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                      : No. 220302606
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
             Defendants.                      :

  TERRAINE ABDULLAH, et al.,                  :
              Plaintiff,                      : MARCH TERM, 2022
       v.                                       No. 02583
                                              :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
  Defendants.
                                              :
  HOLLI CARTER, et al.,                       :
              Plaintiff,                      : MARCH TERM, 2022
       v.                                       No. 220302588
                                              :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
  Defendants.
                                              :
  SHONDERA DRAYTON, et al.,                   :
              Plaintiff,                      : MARCH TERM, 2022
       v.                                       No. 02594
                                              :
  MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
  Defendants.
                                              :



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 TONYA GRAY, et al.,                          :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400216
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
                                              :
 ROCHELLE HOLLINGSWORTH, et al.,              :
           Plaintiff,                         : SEPTEMBER TERM, 2023
    v.                                        : No. 230900791
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.
 KRISTEN KAJUFFA, et al.,                     :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302978
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NAFEESA MAYS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302963
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 CATHERINE McMILLIAN, et al.,                 :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400140
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NYDIA PARKER, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302983
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALEXANDRIA ROSS, et al.,                     :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302981
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 LOREN SANDERS, et al.,                       :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400153
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.



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 SAMAYA SHORT, et al.,                        :
             Plaintiff,                       : APRIL TERM, 2022
      v.                                        No. 220400159
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 ALICE STILLS, et al.,                        :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220302617
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NATISHA THOMAS, et al.,                      :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                        No. 220400158
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 NIKIA TUCKER, et al.,                        :
             Plaintiff,                       : SEPTEMBER TERM, 2023
      v.                                        No. 230900867
                                              :
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 GINA WIEGER, et al.,                         :
             Plaintiff,                       :   MARCH TERM, 2022
      v.                                      :   No. 220302601
 MEAD JOHNSON & COMPANY, LLC, et al.,
                                              :
 Defendants.
 STEPHANIE WILKERSON, et al.,                 :
             Plaintiff,                       :   SEPTEMBER TERM,2023
      v.                                      :   No. 230900730
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :
 MELVENIA WILLIAMS, et al.,                   :
             Plaintiff,                       :   APRIL TERM, 2022
      v.                                      :   No. 220400141
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
             Defendants.                      :


             MEMORANDUM OF LAW IN SUPPORT OF THEIR REPSONSE IN
     OPPOSITION TO              PRELMINIARY OBJECTIONS TO
                      SECOND AMENDED COMPLAINTS



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      I.       Matter Before the Court
            Plaintiffs, by and through their counsel, Kline & Specter, P.C., hereby oppose Defendant



                                                               Preliminary Objections and respond to the
                                                                                                   2
Moving

      II.      Counter Statement of Questions Involved

            1. Whether this Honorable Court should deny Defendant                  Preliminary Objections as to

                          Counts I-V where Plaintiffs have adequately plead and alleged that bovine-

               based formula is unreasonably dangerous and substantially increases the risk for the

               development of NEC in preterm infants, and where Plaintiffs are not required under the

               pleading standard to cite to evidence (such as any medical studies) in their Complaint

               in support of ultimate issues that will have to be proven at trial?

               Suggested answer in the affirmative.

            2. Whether this Honorable Court should deny Defendant                  Preliminary Objections as to



               plead and legally sufficient?

               Suggested answer in the affirmative.


2
  To conserve judicial resources, and pursuant to the practice recommended by the Court at the July 24, 2023
conference, Plaintiffs file this opposition on the instant docket and incorporate by reference the arguments herein in
each of the following actions in which plaintiffs filed second amended complaints: Abdullah v. Mead Johnson &
Company, LLC, et al., No. 220302583; Carter v. Mead Johnson & Company, LLC, et al., No. 220302588; Drayton v.
Mead Johnson & Company, LLC, et al., No. 220302594; Gray v. Mead Johnson & Company, LLC, et al., No.
220400216; Hollingsworth v. Mead Johnson & Company, LLC, et al., No. 230900791; Kajuffa v. Mead Johnson &
Company, LLC, et al., No. 220302978; Mays v. Mead Johnson & Company, LLC, et al., No. 220302963; McMillian
v. Mead Johnson & Company, LLC, et al., No. 220400140; Parker v. Mead Johnson & Company, LLC, et al., No.
220302983; Ross v. Mead Johnson & Company, LLC, et al., No. 220302981; Sanders v. Mead Johnson & Company,
LLC, et al., No. 220400153; Short v. Mead Johnson & Company, LLC, et al., No. 220400159; Stills v. Mead Johnson
& Company, LLC, et al., No. 220302617; Taylor v. Mead Johnson & Company, LLC, et al., No. 220302606; Thomas
v. Mead Johnson & Company, LLC, et al., No. 220400158; Tucker v. Mead Johnson & Company, LLC, et al., No.
230900867; Wieger v. Mead Johnson & Company, LLC, et al., No. 220302601; Wilkerson v. Mead Johnson &
Company, LLC, et al., No. 230900730; and Williams v. Mead Johnson & Company, LLC, et al., No. 220400141.

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     3. Whether this Honorable Court should deny Defendant           Preliminary Objections as to



          legally sufficient.

          Suggested answer in the affirmative.

     4.



          claim is properly plead and legally sufficient?

          Suggested answer in the affirmative.

     5.

                                            where Plaintiff has adequately pleaded all necessary

                                                                                                ?

          Suggested answer in the affirmative.

     6. Whether this Honorable Court should deny Defendants Preliminary Objections as to

          the Plaintiff Parents claims for Negligent Infliction of Emotional Distress where those

          claims are tolled and therefore not barred by the statute of limitations?

          Suggested answer in the affirmative.

     7. Whether this Honorable Court should deny Defendants Preliminary Objections as to



          where Plaintiffs have adequately plead conduct which is sufficiently plead and

          adequate for a subsequent finding by a jury for Punitive Damages?

          Suggested answer in the affirmative.




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          8. Whether this Honorable Court should deny Defendants Preliminary Objections where

             Plaintiff   necessary verifications have been filed and/or are being filed by way of a

                                              Second Amended Complaints?

             Suggested answer in the affirmative.

   III.
             Dangerous



                                                              incorrect in this assertion, and their

Preliminary Objections should be overruled.

                                   Objections on this argument seem to rely heavily on their distrust

of the science cited by Plaintiff regarding the dangers of their products. This argument is

inappropriate at the Preliminary Objections stage. Rather, a complaint must only give a defendant



claims. Pa. R.C.P. 1019(a).

somehow inadequate to show the product is unreasonably dangers, Defendants fail to realize that

Pennsylvania law does require Plaintiffs to support any pleadings with evidence to pass

preliminary objection. Indeed, the Superior Court has previously held that [e]vidence from which

such facts [alleged in a complaint] may be inferred not only need not but should not be alleged.

Allegations will withstand challenge under 1019(a) if (1) they contain averments of all of the facts

a plaintiff will eventually have to prove in order to recover, and (2) they are sufficiently specific

so as to enable defendant to prepare his defense. Baker v. Rangos, 324 A.2d 498, 505-506 (Pa.

Super. 1974) (citations and internal quotations omitted)(emphasis added).

          Further, in assessing whether particular paragraphs in a complaint satisfy this requirement,

they must be read in context with all other allegations in the complaint to determine whether the


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defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord

Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine



it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

is                                                                                          McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).

                                                  Amended Complaints are




product.



seven factors:

                 (1) The usefulness and desirability of the product its utility to the
                 user and to the public as a whole.
                 (2) The safety aspects of a product the likelihood that it will cause
                 injury, and the probable seriousness of the injury.
                 (3) The availability of a substitute product which would meet the
                 same need and not be as unsafe.
                 (4) The manufacturer's ability to eliminate the unsafe character of
                 the product without impairing its usefulness or making it too
                 expensive to maintain its utility.
                 (5) The user's ability to avoid danger by the exercise of care in the
                 use of the product.
                 (6) The user's anticipated awareness of the dangers inherent in the
                 product and their avoidability, because of general public knowledge



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               of the obvious condition of the product, or of the existence of
               suitable warnings or instructions.
               (7) The feasibility on the part of the manufacturer, of spreading the
               loss of setting the price of the product or carrying liability insurance.

Riley v. Warren Mfg., Inc., 688 A.2d 221, 225 (1997). The Court need not make a finding on all

seven factors to determine that a product is unreasonably dangerous. Id.

       Here, Plaintiffs Second Amended Complaints have adequately pled that the products at



                                        -

                                                                                              -based

                    the science clearly demonstrated to Defendants that these products cause NEC

and greatly increase the likelihood that a baby will develop NEC, leading to severe injury and often

        See Ex. A, Plaintiff Second Amended Complaint in McMillian, at ¶¶ 21-30. Further, as

                                                       Complaints details how Defendant, including

through their product labels, failed to warn doctor and parents of the increased risk of NEC.



                                  ate the danger, including donor breast milk, pasteurized breast

milk, breast milk fortifiers, and breast milk-based products designed for pre-term infants. Id. at ¶¶

23-30, 103-105.

       Defendant cites Orange Stones Co. v. City of Reading, a case involving violation of an

ordinance by a business in support of its contentions that Plaintiffs have not adequately plead that

their products are unreasonably dangerous. There, the party filing preliminary objections claimed



                                                                                             Orange

Stones Co. v. City of Reading, 87 A.3d 1014, 1025 (Pa. Commw. Ct. 2014). The trial court

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sustained the preliminary objections, agreeing that the plaintiff had pled no facts to support this

contention. Id. at 1                                                                               Id.

          Here, the instant Plaintiffs allegations are not merely bald assertions. As discussed above,

Plaintiffs have pled dozens of paragraphs to support their contention that the products at issue are

                              and specifically plead that medical studies show that feeding preterm

                       -based formula, as opposed to human breast milk (donor or otherwise),

substantially increases the risk of them developing NEC and possibly dying or being otherwise

seriously injured. Accordingly, because Plaintiff       Amended Complaint adequately pleads that



denied.

   IV.                 Amended Complaints Have Adequately Identified The Products At
             Issue For Both Their Product Liability and Negligence Claims



at issue. Defendant is wrong and their Preliminary Objections should be overruled.

          A complaint must give

of the material facts that support those claims. Pa. R.C.P. 1019(a). In assessing whether particular

paragraphs in a complaint satisfy this requirement, they must be read in context with all other

allegations in the complaint to determine whether the defendant has been provided adequate notice

of the claim against which it must defend. Yacoub v. Lehigh Valley Med. Associates, P.C., 805

A.2d 579, 589 (Pa. Super. Ct. 2002). When determining whether certain allegations are sufficiently

specific, Pennsylvania Law requires that the allegation be read in the context of the entire

Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69 D&C 2d 420 (1974); Duchess

Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord Cmwlth v. Bell Tel Co., 121 Pa.

Cmwlth 642, 649, 551 A2d 602

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sufficiently clear to enable the Defendant to prepare his defense or [if it] informs the Defendant

with accuracy and completeness of the specific basis on which recovery is sought so that he may

                                                                       McNeil v. Jordan, 814 A.2d 234,

237-38 (Pa. Super. 2002).

        Plaintiff has clearly and adequately identified the product that caused the injury at issue to

the best of their ability at this time. Specifically, Plaintiff pled that the infant was fed the

Defendants specific                                                -                    See Plaintiff

Amended Complaint at ¶ 13. Absent discovery on the supply of each particular brand to each

particular hospital, Plaintiff is limited to the detail provided in the medical records and the Plaintiff

parents recollection, all of which are included in Plaintiff     Second Amended Complaints. In the

Second Amended Complaints, where evidence of the particular brand of formula exists after a

preliminary review of the available medical records, Plaintiffs have included the exact formula and

amounts given in the amended Complaints. See e.g. Ex A, McMillian v. Mead Johnson, et al; see

also Ex. B, Taylor v. Abbott Laboratories, et al. Additionally, there are certain cases among the

19 existing NEC coordinated cases which clearly evidence of both Abbott and Mead formula

products being administered to the injured infants prior to diagnosis with NEC. See Ex. C, Short

v. Abbott Laboratories, Mead Johnson, et al.

        Further, in almost all of the Second Amended Complaints, Plaintiff adduced evidence that

in additional to being fed formula in the NICU, injured infants were often also fed bovine based

human milk fortifier, the brand of which is not always recorded in the medical records. Deposition

evidence taken in this case has shown that both Abbott and Mead products were stocked on the

                                                             , and discovery on supply issues is still

ongoing in this litigation. Therefore, were the medical records themselves do not evidence which



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brand of forum and or fortifier was used, Plaintiff have pleaded that the fortifier was Abbott and/or

Mead based upon evidence that both were in supply at various times.

        As advanced previously at oral argument, Plaintiffs must be allowed to conduct full

discovery to determine which of the two manufacturers brand                     -based formula each

Hospital system had a supply agreement with during certain periods of time, as that information,

such as the formula brand, is not often elicited in the medical records. In fact, the hospital

Defendants themselves are the ones with the best access to the information needed such as

purchasing receipts and or purchasing agreements with either Abbott or Mead.

        Defendant cites Cummins v. Firestone Tire & Rubber Co. in support of their position that

Plaintiffs have not adequately identified the product at issue. 495 A.2d 963 (Pa. Super. Ct. 1985).

In Cummins, preliminary objections were sustained because the                                   could

not be determined, even if the plaintiff were afforded discovery. Id. at 968. Here, the manufacturer



discovery will likely reveal even further detail about those products and which brand was fed to

the Plaintiff during certain period of time, namely around the birth of each Plaintiff. As such,



   V.        Plaintiff Has Adequately Pled the Facts and Damages at Issue

        Defendant asserts that                                    s fail to adequately plead facts

regarding liability and injuries claimed. Defendant is wrong and their Preliminary Objections



summary of the material facts that support those claims. Pa. R.C.P. 1019(a). As the Superior Court

has noted:

        Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
        to disclose the material facts sufficient to enable the adverse party to prepare

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        his case. A complaint therefore must do more than give the defendant fair notice of
        what the plaintiff's claim is and the grounds upon which it rests. It should formulate
        the issues by fully summarizing the material facts. Material facts are ultimate facts,
        i.e., those facts essential to support the claim. Evidence from which such facts
        may be inferred not only need not but should not be alleged. Allegations will
        withstand challenge under 1019(a) if (1) they contain averments of all of the
        facts a plaintiff will eventually have to prove in order to recover, and (2) they
        are sufficiently specific so as to enable defendant to prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

        In assessing whether particular paragraphs in a complaint satisfy this requirement, they

must be read in context with all other allegations in the complaint to determine whether the

defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord

Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine



it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

is sought so that he may know without question upon what grounds to make                         McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).

        Defendants advance several arguments regarding the alleged deficiencies of facts and

injuries, all of which are incorrect:


                infant actually ingested the product at issue. In contrast, Plaintiffs have pled that
                                                                              -
                                                                                          See Ex. A,
                Plaintiff s Second Amended Complaint in McMillian at ¶¶ 11-20.

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            product was ingested. However, Plaintiff has pled that the infant was fed the
                                                                   -based products After
            birth, T.M. was made NPO, with no feedings until day of life (DOL) 2, when
            formula feeds and breastmilk fortified with EPF24 were started. These feeds
            continued until November 19, when the NIC-
            continuous feeds of exclusively EPF24. Based upon information and belief,

            a bovine milk based formula. See
            in McMillian at ¶¶ 11-20. Absent discovery, Plaintiff is limited to the detail

            Complaint. As advanced previously at oral argument, Plaintiff must be allowed to
            conduct full discovery to determine which manufacturer and brand each Hospital
            system had a distribution agreement with during certain periods of time, as that
            information, such as brand, is not often elicited in the medical records. Further, the
            Defendants themselves are the ones with the information such as purchasing
            receipts and or purchasing agreements with either Abbott or Mead.

            Defendants argue that Plaintiffs have not met their burden under fact pleading to


                                     reliminary Objections. However, as noted above, the
                                                                         vidence from which
            such facts may be inferred not only need not but should not be alleged
                                                    ts herein. See Baker v. Rangos, 324 A.2d
            498, 505-506 (Pa. Super. 1974)

            Defendants assert that Plaintiff has not pled the period of time during which the
            product at issue was ingested. However, Plaintiff alleged in the Complaint that the
                                                                   -based products by [hospital
                                   Id.           birth date is included in the Complaint.

            Defendants assert that Plaintiff failed to plead when the minor was diagnosed with

                                                                                  Id. at ¶ 11-20.

            the Defendants are on notice of the claim of which they must defend, and notably
            the moving Defendants are the exact hospitals where the Plaintiff was initially
            treated for NEC, thus they have access to the exact same medical as the Plaintiffs
            which show the exact dates of treatment which are summarily referred to in


            Defendants assert that Plaintiffs did not plead the treatment the infant received
            following the ingestion of the NEC and resulting injuries. Defendant cites no
            authority for the proposition that a plaintiff must describe the specific treatment an

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               injured party underwent following injuries resulting from the tortious conduct of a
               defendant.

               Defendants assert that Plaintiffs have not adequately pled the injuries suffered as a
               result of the product. Plaintiff has adequately pled the injuries suffered by the infant
                                                                    As a result of the Medical NEC
               diagnosis and associated treatment, infant T.M. experienced permanent
               developmental delay, including neurodevelopmental delay Id. at ¶ 20.



should withstand challenge under 1019(a) because they contain averments of all of the facts a

plaintiff will eventually have to prove in order to recover, and they are sufficiently specific so as

to enable Defendants to prepare their defense.

   VI.     Plaintiffs Have Plead Their Intentional and Negligent Misrepresentation Claims
           With Adequate Specificity, They Therefore Should Not Be Dismissed



to a misrepresentation claim are satisfied if a plaintiff pleads facts sufficient to permit defendants

to prepare a defense. Commonwealth v. National Apartment Leasing Company, 108

Pa.Commonwealth Ct. 300, 529 A.2d 1157 (1987); see also McGinn v. Valloti, 363 Pa.Superior

Ct. 88, 525 A.2d 732 (1987); see also Foster v. Peat Marwick Main & Co., 138 Pa. Cmwlth. 147,

156, 587 A.2d 382, 387 (1991), aff'd sub nom. Foster v. Mut. Fire, Marine & Inland Ins. Co., 544

Pa. 387, 676 A.2d 652 (1996). Here, when the complaint is examined in its entirety, it clearly

describes a course of conduct alleged to be fraudulent or misrepresentative sufficient to notify

Abbott for purposes of defending the claim. See National Apartment Leasing, supra. In fact,

Plaintiffs devote several pages of their Second Amended Complaints to facts describing the

misrepresentation conduct of Defendant Mead wherein they allege, inter alia, that:




               written pamphlets.

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                 safe to give to preterm infants like [Plaintiffs]. Mead maintains call logs
                 that detail which sales representatives visited the hospitals, which days they
                 visited, and which products they discussed. These sales representatives did

                 Mead Johnson and Mead believed and intended that the misrepresentations
                 that its sale representatives shared with Defendant Hospital would be used
                                                                                        Despite
                 knowing of the risk of NEC, Mead did not warn of the significantly
                 increased risk of NEC (and resulting medical conditions, and/or death)
                 associated with its products, or of the magnitude of this increased risk. Mead
                 likewise did not provide instructions or guidance for how to avoid NEC.
See                                            -62, 72 (emphasis added).
       Further, after instruction from the Court to expand upon their misrepresentation claims

through amendment of their complaints, the Plaintiffs have added the following factual averments

to their amended complaints in support of their misrepresentation claims in ¶¶ 51-79:


           53. For example, upon information and belief, Mead creates information booklets for
               parents of premature infants to help answer some of their questions and concerns
               about having a premature infant in the NICU that it provides to hospitals for
               dissemination to

                 formula and fortifier products increase the risk of premature infants developing
                 necrotizing enterocolitis. Instead, the booklets advise parents that sometimes a
                 combination of breast milk and formula may be best and that premature infants will
                 be happy and healthy or nourished and healthy regardless of whether they are
                 receiving breast milk or formula.

           56. Upon information and belief, both Mead and Abbott also provide materials
               and programs to the hospitals and the physicians and medical staff who are

                 information and belief, these mat
                 preterm products are safe and necessary for preterm infants. Mead and
                 Abbott rely on the physicians and medical staff to not only use their
                 products in the NICU, but to convey these messages to the parents of
                 premature infants in their care.

           65.
                 specifically targeting preterm and low-birth-weight infants, including
                 Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant
                 Formula 24 Cal High Protein, Enfamil Premature Infant Formula 30 Cal
                 with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, Enfamil
                 Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal Infant Formula,

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              and Enfamil Human Milk Fortifier (acidified liquid and powder). None of
              these pages contain any mention of NEC or that the products specifically

                                                          Instead, Mead advertises on its
                                                                     -quality, innovative
                          including preterm products


See Ex. A, Taylor v. Abbott, et al. Second Amended Complaint, at ¶¶ 53-79.

       Further, Plaintiffs have since amended their Complaints to include the following

allegations in Counts IV and Count V of their Complaints, starting in Count IV at ¶¶ 137 and 139,

and repeated for Count V at 147 and 148:

      147.Specifically, upon information and belief, Abbott and Mead made the following
          false statements of material fact on an ongoing and repeated basis to the public,
          including consumers, and parents like Plaintiff Parent and prior to the time the
          Injured Infant was fed their products:

           a. That their       milk-based products were safe and beneficial for premature
              infants when they knew or should have known that their products were
              unreasonably dangerous and cause NEC, serious injury, and death in
              premature infants; and/or
           b. That their         milk-based products were necessary to the growth and
              nutrition of premature infants, when they knew or should have known that
              their products were not necessary to achieve adequate growth; and/or
           c. That their products have no serious side effects, when they knew or should
              have known the contrary to be true; and/or
           d. That         milk-based products were safe for premature infants; and/or
           e. That        milk-based products were necessary for optimum growth; and/or
           f. That         milk-based products were similar or equivalent to breast milk;
              and/or
           g. That their products were safe and more like breast milk than other infant
              products and that they had removed the harmful ingredients of            milk
              when, in fact,                                                       causing
              NEC, serious injury, and death; and/or
           h. That their products were safe for and provided better nutrition and growth
              to premature infants that donor milk, a non-            -based alternative to
              breast milk; and/or
           i. Thet their products can be fed with confidence to most of the preterm infants
              in the NICU and/or that premature infants would be happy and healthy or
              nourished and health on their products; and/or
           j. That their products were based on up-to-date science, which made them safe
              for premature infants; and/or

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        k. Omitting the material fact that their products significantly increased the risk
           of NEC in premature infants, including omitting this material fact from their
           publicly available product information, marketing materials, and websites.

     148. In addition to the above, Abbott and Mead, upon information and belief, also
          made the following false statements of material fact to Plaintiff Parent.

        a. Omitting from coupons, gift bags, other promotional materials, and the
           packaging and labeling of their product samples provided to Plaintiff Parent
           that their products significantly increased the risk of NEC in premature
           infants; and/or
        b. Omitting from the packaging and labeling of their products provided to
           Injured Infant that their products significantly increased the risk of NEC in
           premature infants; and/or
        c.                                     -based products were safe and beneficial
           for premature infants on coupons, gift bags, other promotional materials,
           and the packaging and labeling of their product samples provided to
           Plaintiff Parent when they knew or should have known that their products
           were unreasonably dangerous and cause NEC, serious injury, and death in
           premature infants; and/or
        d.                                     -based products were safe and beneficial
           for premature infants on the packaging and labeling of their products
           provided to Injured Infant when they knew or should have known that their
           products were unreasonably dangerous and cause NEC, serious injury, and
           death in premature infants; and/or
        e.                                       -based products were necessary to the
           growth and nutrition of premature infants on coupons, gift bags, other
           promotional materials, and the packaging and labeling of their product
           samples provided to Plaintiff Parent when they knew or should have known
           that their products were not necessary to achieve adequate growth; and/or
        f.                                       -based products were necessary to the
           growth and nutrition of premature infants on the packaging and labeling of
           their products provided to Injured Infant when they knew or should have
           known that their products were not necessary to achieve adequate growth;
           and/or
        g.                                           -based products were similar or
           equivalent to breast milk on coupons, gift bags, other promotional materials,
           and the packaging and labeling of their product samples provided to
           Plaintiff Parent; and/or
        h.                                           -based products were similar or
           equivalent to breast milk on the packaging and labeling of their products
           provided to Injured Infant; and/or
        i.                                         -based products could be fed with
           confidence to premature infants and/or that premature infants would be
                                                                         -based products
           or breast milk on coupons, gift bags, other promotional materials, and the

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           packaging and labeling of their product samples provided to Plaintiff
           Parent; and/or
        j.                                       -based products could be fed with
           confidence to premature infants and/or that premature infants would be
                                                                        -based products
           or breast milk on the packaging and labeling of their products provided to
           Injured Infant; and/or
        k.                                      -based products have no serious side
           effects on coupons, gift bags, other promotional materials, and the
           packaging and labeling of their product samples provided to Plaintiff Parent
           when they knew or should have known the contrary to be true; and/or
        l.                                      -based products have no serious side
           effects on the packaging and labeling of their products provided to Injured
           Infant when they knew or should have known the contrary to be true; and/or
        m.                                         -based products were similar or
           equivalent to breast milk on coupons, gift bags, other promotional materials,
           and the packaging and labeling of their product samples provided to
           Plaintiff Parent when they knew or should have known the contrary to be
           true; and/or
        n.                                         -based products were similar or
           equivalent to breast milk on the packaging and labeling of their products
           provided to Injured Infant when they knew or should have known the
           contrary to be true; and/or
        o.                                    -based products were safe for premature
           infants on coupons, gift bags, other promotional materials, and the
           packaging and labeling of their product samples provided to Plaintiff
           Parent; and/or
        p.                                    -based products were safe for premature
           infants on the packaging and labeling of their products provided to Injured
           Infant; and/or
        q.                                       -based products were necessary for
           optimum growth on coupons, gift bags, other promotional materials, and the
           packaging and labeling of their product samples provided to Plaintiff
           Parent; and/or
        r.                                       -based products were necessary for
           optimum growth on the packaging and labeling of their products provided
           to Injured Infant; and/or
        s. Representing that their products were based on up-to-date science, which
           made them safe for premature infants on coupons, gift bags, other
           promotional materials, and the packaging and labeling of their product
           samples provided to Plaintiff Parent; and/or
        t. Representing that their products were based on up-to-date science, which
           made them safe for premature infants on the packaging and labeling of their
           products provided to Injured Infant.




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See Ex. A, McMillian v. Mead Johnson, et al. Second Amended Complaint, at ¶¶ 137-39,

147-48.

        Clearly, Plaintiffs have articulated their two misrepresentation claims with sufficient

particularity to allow for Defendant Abbott to have adequate notice of their claim and know the

material facts such

Complaint states 1) the misrepresentations of safety that were relayed by Abbott, 2) that those

misrepresentations were made by Abbott to the to the Plaintiff Parents, 3) who then relied upon

the misrepresentation of safety to decide what formula to allow to be fed to their children, and

finally 4) that Abbott was aware of the potential for their formula to case NEC prior to the

                                                                    laintiffs have failed to articulate

what misrepresentations were made such that they can adequately form a defense are spurious, and

their preliminary objections should be summarily denied.

    VII.
            Disregarded the Risks Posed by the Products that they Manufactured,
            Distributed, and Sold Absent Adequate Warnings, Supporting Punitive Damages



                                                                                  Hutchison v. Luddy,

582 Pa. 114, 121 (2005) (quoting Feld v. Merriam, 506 Pa. 383, 395 (1984)). Punitive damages



Pennsylvania, to survive preliminary objections, a plaintiff must allege that (1) a defendant had a

subjective appreciation of the risk of harm to which the plaintiff was exposed and that (2) he acted,

or failed to act, as the case may be, in conscious disregard of that risk. Id. For instance, in Engle v.

BT Indus. AB, 41 Pa. D. & C.4th 25, 26, 33-34 (Pa.C.P. 1999), plaintiffs brought a products




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a defective product into the stream of commerce with the knowledge of defects and the possible

harm that they would cause. Such conduct, if proven, may well be interpreted as exhibiting the

                                                                   Id. Hence, when a manufacturer

has a subjective appreciation of the risk of harm posed by a product, and then introduces said

product into the stream of commerce regardless, this conduct may rise to the level of conscious

disregard required to warrant punitive damages. Further, to the extent that there is any doubt about

whether the standard for punitive damages is met, that doubt must be resolved in the Plai

favor at this stage. See Theodore v. Del. Valley Sch. Dist., 575 Pa. 321, 333 (2003).

       Plaintiffs have alleged that Abbott and Mead knowingly distributed a product that they

knew posed an extreme danger to infants for profit. Abbott and Mead knew that the bovine-based

products they supplied posed an increased risk of NEC, an extremely serious disease which can

cause death, to premature infants, as compared to other economically and technologically feasible

alternatives, such as human nutrition-based alternatives. Instead, Abbott and Mead chose to

continue to produce bovine-based products, marketing them specifically towards pre-term infants,

and not formulate alternatives that they knew would reduce the risk of NEC to premature infants.

Hence, Abbott and Mead knowingly produced products that they knew could cause harm to infants

and chose to place them into the stream of commerce, in some cases marketing those products for

use with pre-term infants, in conscious disregard of the risk posed to infants.

       Abbott and Mead also knew that the ordinary consumer would not expect these products

to pose an increased risk of NEC and despite this, failed to warn consumers about the increased

risk of NEC posed by their bovine-based products. Plaintiff alleges that Abbott and Mead failed

to provide warnings to consumers that adequately and thoroughly described the increased risk of



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NEC posed by their products, as demonstrated by significant scientific evidence, in a way that was

reasonably calculated to communicate these risks to parents of infants. Similarly, this failure to

disclose substantial risks and communicate them in a way that would adequately inform parents

was knowing and intentional conduct on the part of Abbott and Mead that evinces a conscious

disregard of the risk posed by their products. Therefore, these allegations rise to the level of

conscious disregard required to justify the issue of punitive damages proceeding at this stage.

    VIII. Plaintiff-                            Defendants Are Not Time-Barred And Should
          Not Be Dismissed



                                       brought under the bystander theory of liability, conforms

with Pennsylvania legal precedent. Plaintiff-Parents contemporaneously observed a traumatic

event injuring their child which satisfies the requisite element of an NIED claim.

        Under Pennsylvania law, a plaintiff may pursue a claim for NIED in four different



where the plaintiff was subjected to a physical impact; (3) where the plaintiff was in a zone

of danger, thereby reasonably experiencing a fear of impending physical injury; or (4) where the

                                                        Toney v. Chester County Hosp., 961 A.2d

192, 197 98 (Pa. Super. 2008),        36 A.3d 83 (Pa. 2011). The fourth scenario

theory of liability

              See Sinn v. Burd, 404 A.2d 672, 686 (Pa. 1979).

        Based on the precedent set forth in Sinn v. Burd, Pennsylvania courts permit a plaintiff to




one who was a distance away from it, (2) whether the shock resulted from a direct emotional


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impact upon plaintiff from the sensory and contemporaneous observance of the accident, as

contrasted with learning of the accident from others after its occurrence, and (3) whether plaintiff

and the victim were closely related, as contrasted with an absence of any relationship or the

                                           Sinn, 404 A.2d at 685 (quoting Dillon v. Legg, 441 P.2d



                                                          Turner v. Med. Ctr., Beaver, PA, Inc., 686

A.2d 830, 832 33 (Pa. Super. 1996) (quoting Love v. Cramer, 606 A.2d 1175, 1177 (Pa. Super.

1992)). While interpreting Sinn, the Pennsylvania Superior Court has held the definition of



immediate and direct rather than distant and indirect, and not upon the sense employed in seeing

the accident. Krysmalski by Krysmalski v. Tarasovich, 622 A.2d 298, 303 (Pa. Super. 1993). The

plaintiff alleging NIED must also assert a physical manifestation of the emotional harm. See

Banyas v. Lower Bucks County Hospital, 437 A.2d 1236, 1239 40 (Pa. Super. 1981).



physically present to witness the severely deteriorated and near-death state of their child resulting

                                                                   direct emotional impact from their

contemporaneous observance of their child in the hospital. Finally, Plaintiffs and their child are



foreseeable and has resulted in physical manifestations including depression and other harms.

        In their Preliminary Objections, Defendants argue that Plaintiff did not assert a specific

cause of action. However, Defendants fail to recognize it is well-settled Pennsylvania law that a

complaint that contains facts that support a specific cause of action does, in fact, assert said action.

Bartanus v. Lis                                                              ven though appellant did



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not separate his factual allegations into separate counts specifying the legal theories underlying the

complaint, the trial court was obligated to consider what causes of action were supported by the

                                                           the material facts upon which a cause of

                ).

        Pennsylvania is a fact pleading state whereby the Complaint must provide defendants with

notice of the basis of the claim and a summary of the facts essential to support that claim. Alpha

Tau Omega Fraternity, 464 A.2d at 1352. Under the Pennsylvania Rules of Civil Procedure, a



Pa.R.C.P. 1019(a); see Thompson Coal Co. v. Pike Cole Co., 412 A.2d 466, 468 (Pa. 1979).

        When read in the context of the Complaint as a whole, as required by law, Plaintiff clearly

asserts an NIED claim. Notably, Plaintiff includes extensive factual allegations in paragraphs

eleven (11) through eighty-two (82), the entirety of which must be considered when interpreting

every other paragraph of the Complaint. See                               82. Within those extensive

factual allegations,                                                                        -

distress is a foreseeable r

negligence. See Sinn v. Burd, 404 A.2d 672, 686 (Pa. 1979).



Plaintiffs were physically present to witness the severely deteriorated and near-death state of their



contemporaneous observance of their child in the hospital.

        Further, Plaintiff-                             -barred because Defendant Mead prevented

Plaintiff-

exception [to the statute of limitations] that tolls the statute of limitations when an injury or its



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should have known, that: (1) an injury has been sustained; and (2) the injury has been caused by

                           Ward v. Rice, 828 A.2d 1118, 1121 (Pa. Super. 2003) (citing Citsay v.

Reich, 380 Pa. Super. 366, 369 (1988)). For the discovery rule to apply, the plaintiff must have

exercised the due diligence th

position. 828 A.2d at 1121. A plaintiff must begin exercising reasonable diligence once they know

                                                                                               Romah

v. Hygienic Sanitation Co., 705 A.2d 841, 857 (Pa. Super. 1997) (emphasis added). While



differences between persons, their capacity to meet certain situations and circumstances

confronting them at the time in question. In short, the standard of conduct required is a uniform

                                                                                         -22 (quoting

                        -c). Whether someone has exe

determined by the collective judgment, wisdom, and experience of jurors who have been selected

                                                                       Petri v. Smith, 307 Pa. Super.

261, 271-72 (1982).



lull the patient into a false sense of security, this may toll the statute of limitations. See Acker v.

Palena, 260 Pa. Super. 214, 222 (1978); Barshady v. Schlosser, 226 Pa. Super. 260, 263-64 (1973).



layperson may be charged with knowledge greater than that which was communicated to her by

the medical professionals who pro



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at 662 (citing Wilson v. El-Daief, 600 Pa. 161, 179-180 (2009)). If a plaintiff alleges that their

delay was due to their reasonably relying upon the reassurances of their physicians, then, while

                                                                                                ms will

not be time-barred. Acker v. Palena, 260 Pa. Super. 214, 223-24 (1978).

        Likewise, the under the similar but distinct doctrine of fraudulent concealment, a form of



reliance on the fraudulent concealment of the defendant. Nesbitt v. Erie Coach Co., 416 Pa. 89,

95-

vigilance or deviate from his right of inquiry, the defendant is estopped from invoking the bar of

                           Romah, 705 A.2d at 857 (internal quotations omitted). A defendant does

not need to intentionally deceive a plaintiff for the doctrine of fraudulent concealment to apply;



                           Nesbitt, supra, 416 Pa. at 96 (citation omitted). It is for the factfinder to

determine whether a defendant made representations that could have induced this reliance on the

part of the plaintiff. Id. For example, in Romah, the Superior Court held that the issue of whether



concealed studies and other information from the EPA and the public that showed that the

                     caused increased risk of blood cell depression in men was a factual issue for

the jury. Romah, supra, 705 A.2d at 861.

        Plaintiffs have alleged that manufacturers Abbott and Mead took numerous steps to prevent

Plaintiff-

materials to the public that intentionally misled parents about the risk of NEC posed by their

products, which affirmatively stated, and still state, that their products do not cause the disease, or



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worse still, may reduce the risk of NEC. For instance, Mead published numerous misleading

statements on its publicly available website that misrepresented the link between its bovine-based

formula and the risk of NEC in premature infants. In addition, Defendant manufacturers trained

and directed its sales personnel to mislead medical providers about the risk of NEC posed by its

products. Further, Defendant manufacturers did not provide warnings on their packaging or

products, thereby also concealing the known risk of NEC from parents. Thus, under both the

discovery rule and doctrine of fraudulent concealment, Plaintiff-                                    -

barred.

   IX.       Plaintiffs Have Filed the Proper Verifications For Their Amended Complaints

          Pennsylvania Rule of Civil Procedure 1024 requires that pleadings containing averments

of fact not appearing

personal knowledge or information and belief and shall be verified. See Pa.R.C.P. 1024. Plaintiff



objection should be overruled. All such verifications have been and/or will immediately be



   X.        Request In The Alternative To Amend The Complaint

          Although Plaintiff strenuously maintains the sufficiency of all of the Counts contained



Preliminary Objections, Plaintiff respectfully requests permission to amend the pleadings.

          WHEREFORE



Preliminary Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their

Complaint.


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                                            Respectfully submitted,



                                            KLINE & SPECTER,
                                            A Professional Corporation
Date: September 3, 2024              By:    /s/Timothy A. Burke, Esquire
                                            THOMAS KLINE, ESQUIRE
                                            TOBI MILLROOD, ESQUIRE
                                            ELIZABETH CRAWFORD, ESQUIRE
                                            TIMOTHY BURKE, ESQUIRE
                                            Attorneys for Plaintiffs


                                            KELLER POSTMAN
                                            BEN WHITING, ESQUIRE (Pro Hac Vice)
                                            MARK WEINSTEIN, ESQURIE
                                            Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 3, 2024, I caused a true and correct copy of the foregoing

document to be served by electronic filing to all counsel of record.



                                                     Respectfully submitted,



                                                     KLINE & SPECTER,
                                                     A Professional Corporation
Date: September 3, 2024                       By:    /s/Timothy A. Burke, Esquire
                                                     TIMOTHY A. BURKE, ESQUIRE




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By:




Timothy.burke@klinespecter.com


                                                :   IN THE COURT OF COMMON PLEAS
CHRISTINA TAYLOR, on her own behalf and as      :   PHILADELPHIA COUNTY
Parent and Natural Guardian of I.H., a Minor,   :
                                                :   CIVIL TRIAL DIVISION
                           Plaintiff,           :
                                                :   MARCH TERM 2022
      v.
                                                :   NO. 02606
                                                :
MEAD JOHNSON & COMPANY, LLC, MEAD
                                                :
JOHNSON NUTRITION COMPANY, ABBOTT
                                                :
LABORATORIES, THE TRUSTEES OF THE
                                                :
UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                :
MEDICINE, and THE TRUSTEES OF THE
                                                :
UNIVERSITY OF PENNSYLVANIA d/b/a
                                                :
PENNSYLVANIA HOSPITAL,
                                                :
                                                :
                           Defendants.
                                                :
                                                :
                                                :

                                        NOTICE TO DEFEND
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 NOTICE                                               ADVISO
 You have been sued in court. If you wish to defend Le han demandado a used en la corte. Si usted
 against the claims set forth in the following pages, quiere defenderse de estas demandas expuestas en
 you must take action within twenty (20) days after las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and notificacion. Hace falta asentar una comparencia
 filing in writing with the court your defenses or    escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You corte en forma escrita sus defensas o sus objeciones
 are warned that if you fail to do so the case may    a las demandas en contra de su persona. Sea avisado
 proceed without you and a judgment may be            que si usted no se defiende, la corte tomara medidas
 entered against you by the court without further     y puede continuar la demanda en contra suya sin
 notice for any money claimed in the complaint or previo aviso o notificacion. Ademas, la corte pueda
 for any other claim or relief requested by the       decidir a favor del demandante y requiere que usted
 plaintiff. You may lose money or property or other cumpla con todas las provisiones de esta demanda.
 rights important to you.                             Usted puede perder dinero o sus propiedades u otros
 YOU SHOULD TAKE THIS PAPER TO YOUR derechos importantes para usted.
 LAWYER AT ONCE. IF YOU DO NOT HAVE LLEVE ESTA DEMANDA A UN ABOGADO
 A LAWYER, GO TO OR TELEPHONE THE                     INMEDIATAMENTE, SI NO TIENE ABOGADO
 OFFICE SET FORTH BELOW. THIS OFFICE O SI NO TIENE EL DINERO SUFICIENTE DE
 CAN PROVIDE YOU WITH INFORMATION                     PAGAR TAL SERVICIO, VAYA EN PERSONA O
 ABOUT HIRING A LAWYER.                               LLAME POR TELEFONO A LA OFICINA CUYA
 IF YOU CANNOT AFFORD TO HIRE A                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
 LAWYER, THIS OFFICE MAY BE ABLE TO                   PARA AVERIGUAR DONDE SE PUEDE
 PROVIDE YOU WITH INFORMATION ABOUT CONSEGUIR ASISTENCIA LEGAL.
 AGENCIES THAT MAY OFFER LEGAL
 SERVICES TO ELIGIBLE PERSONS AT A                    Colegio de Abogados del Lackawanna
 REDUCED FEE OR NO FEE.                               233 Penn Avenue, Scranton, PA 18503
                                                      (570) 961-2714
 Lackawanna Bar Association
 233 Penn Avenue
 Scranton, PA 18503
  (570) 961-2714
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 By:




                                                     :   IN THE COURT OF COMMON PLEAS
 CHRISTINA TAYLOR, on her own behalf and as          :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of I.H., a Minor,       :
                                                     :   CIVIL TRIAL DIVISION
                             Plaintiff,              :
                                                     :   MARCH TERM 2022
        v.
                                                     :   NO. 02606
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                     :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                     :
 LABORATORIES, THE TRUSTEES OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                     :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                     :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                     :
                                                     :
                              Defendants.
                                                     :


                            SECOND AMENDED COMPLAINT

       Plaintiff brings this Second Amended Complaint and Demand for Jury Trial (the Second

Amended                 against Mead Johnson & Company, LLC, Mead Johnson Nutrition

Company, and Abbott Laboratories (collectively             Defendant Manufacturers    and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine and Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively


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           or                                                         Plaintiff alleges the following

upon                                                         experiences and upon information and

belief, including investigation conducted by

                                    I.          INTRODUCTION

1.

                                                                 -based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant                  products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.          This caused the Injured Infant to

develop necrotizing                                    -altering and potentially deadly disease that

largely affects premature babies who are given           milk-based feeding products.     As a result,

the Injured Infant was seriously injured, resulting in long term health effects and accompanying



2.     Plaintiff brings these causes of action against Defendants to recover for injuries that are the



                                         -based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                          II.     PARTIES

3.     Plaintiff Christina Taylor is a natural adult person and a resident of Delaware. Ms. Taylor

is the parent and natural guardian of I.H., a minor. Ms. Taylor     address is 9 Aidone Drive, New

Castle, Delaware 19720.

4.     Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws


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of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead



                                -based infant feeding products and market many of these products



5.

the State of Illinois. Its principal place of business is in Illinois.

milk-

name.

6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.                  Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                               III.    JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants


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conduct authorized business in the Commonwealth of Pennsylvania.          They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

                                        -related activities, such that the Court of Common Pleas



fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia




10.     This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.    FACTUAL ALLEGATIONS

                                      I.H. NEC Diagnosis

11.     Infant plaintiff I.H. was born premature at Pennsylvania Hospital in Philadelphia,

Pennsylvania on October 9, 2010.

12.     At birth, I.H. gestational age was approximately 25 weeks and she weighed 879 grams.

13.     Starting on October 9, 2010

fortified with bovine-based Human Milk Fortifier (HMF), which upon information and belief was

manufactured by Defendants Abbott and/or Mead.

14.     Subsequently, between November 2, 2010 and November 19, 2010 I.H. was fed full

                                                                                -based formula.


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15.     These feeds occurred despite the fact that Pennsylvania Hospital knew or should have

                       -based products increase the risk of NEC and that human milk can decrease

the risk of NEC.

16.     On November 20, 2010, Dr. Kelly Wade of the NICU diagnosed I.H. with stage II Medical

NEC                                                    and other symptoms consistent with NEC.

17.     B                                                                                      using

antibiotics without success, and on November 23 ordered for I.H. to be emergently transferred to



18.     Upon arrival

NEC, the most advanced and life-threatening stage of NEC, which indicates a perforation of the

                       .

19.     On Nov 23, 2010 I.H. underwent surgical intervention at                     , undergoing an

intestinal resection of the jejunum and distal ileum, removing part of her small intestines, as well

as a primary anastomosis procedure to attach the two ends of the resected bowels together. At the

end of the surgery, I.H. was placed on a wound VAC to assist in healing and blood clotting.

20.     Subsequent, and secondary to the surgery and wound VAC placement, necrosis spread to

                and forearm, and the NICU physicians                                           from

the forearm down on December 8, 2010.

21.                                                             er discharge home on February 15,

2011.

22.                                actions described infra, I.H. suffered injuries, including but not

limited to, a diagnosis of NEC, treatment with surgery and resection of a portion of her bowels,

short gut syndrome secondary to NEC, intestinal and feeding difficulties, neurological injuries,


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left lower extremity amputation at the forearm, and she continues to suffer developmental delays

and feeding difficulties secondary to bowel resection and short gut syndrome.

                           Milk-Based Feeding Products Are Known to Cause
                                             NEC

23.    NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

24.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that      milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.

        Safer, Nutritionally Superior Alternatives to         Milk-Based Products Exist

25.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition.

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

26.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

                            -based products.

27.

displace the human milk they could otherwise receive.

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vulnerability to NEC.

28.    Human milk-based nutrition nourishes infants while creating a significantly lower risk of

NEC.

29.    At the time the Injured Infant was fed the Defendant                     products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the

likelihood that a baby will develop NEC, leading to severe injury and often death.

30.    Despite the scientific evidence                                                         -based

products present a dire threat to the health and development of preterm infants, the Defendant



instructions, or warnings.    Instead, they have continued to sell their unreasonably dangerous

products.   In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge. And, in fact,

the Defendant Manufacturers offer contracts to hospitals         which the hospitals accept       that

actually prevent the health care providers from offering alternative products      even safer ones



31.    Despite the scientific evidence                                                         -based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital fed Similac

and/or Enfamil          milk-based products after her birth

donor human milk.

32.    Despite the scientific evidence                                                         -based

products present a dire threat to the health and development of preterm infants and Pennsylvania


                                                  7
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Hospital knew or should have known of that threat, staff of Pennsylvania Hospital did not properly

warn Ms. Wiger                                                                 -based products.

                                Ms. Taylor Discovers Her Claim

33.

herein, Ms. Taylor did not know, and had no reason to know or suspect, that I.H.   NEC could



         Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and
                      Would Not Have Revealed a Factual Basis Earlier
                 Because Defendants Hid the Cause of NEC from Ms. Taylor

34.     Despite exercising reasonable diligence, Ms. Taylor was unable to have made the discovery

earlier via a reasonable investigation because the Defendants in this litigation concealed the

wrongful cause of I.H. injuries.

35.     Amidst the physical and emotional trauma of preterm childbirth, and having her child in

the neonatal intensive care unit, shortly after learning of I.H.    NEC diagnosis, Ms. Taylor

undertook an investigation into the cause of the NEC by asking the doctors the cause of her NEC.

36.     The health care providers at Penn Medicine responded only that I.H. had gotten NEC

because she was born premature.                      response did not indicate that her NEC was



37.     Not one person at Penn Medicine

products could have caused I.H. injuries.                    response at the time did not give Ms.

Taylor any reason to suspect any wrongdoing on the part of the Defendants.

38.     Ms. Taylor is a layperson with no medical background or training that would have given

her any reason to doubt the response she received from her Penn Medicine health care providers

at the time.


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39.      Given that                    health care providers were in charge of the care of her newborn

infant, Ms. Taylor had no reason to doubt their word.

40.      Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling or

packaging of any                                                  .

41.      What is more, necrotizing enterocolitis is a disease that can occur in children who are not



mislead parents into a false sense of security about the use of those products.                     Publicly

disseminated materials from each Defendant Manufacturer disguise the role their products play in

causing the disease     and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.

42.




Abbott states that these human milk oligosacchari
                                                                                          1
                                                                                              Likewise, the




1
 The Role of HMOs in Reducing NEC, https://www.nutritionnews.abbott/pregnancy-childhood/prenatal-
breastfeeding/the-promising-role-of-hmos-in-reducing-risk-of-nec/ (last visited July 28, 2023).


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                                            2



    43.   Because of the misleading information distributed by the Defendant Manufacturers, as

further detailed infra, any research conducted by Ms. Taylor immediately after I.H.                            or

at any time prior to seeing an advertisement, would not have led a reasonable person to suspect

                                                                         I.H. injuries.

44.       Ms. Taylor also did not know, and had no reason to know or suspect, that Penn Medicine

breached its duty of care                                                                         er. Not only

was Ms. Taylor                                                                             I.H.    injuries, but

                                                                     Penn Medicine which allowed Penn

Medicine to secure sweetheart deals for otherwise expensive premature infant formula in exchange

for product placement and access to the hospital staff           were also not public or knowable to Ms.

Taylor, nor could any reasonable investigation outside of litigation have uncovered the terms of

those agreements.

    Despite Exercising Reasonable Diligence, the Defendants                          ly Concealed the Risks
     of NEC                                                                               Mislead Plaintiff


45.       In addition to the averments above, the Defendants have acted in concert to fraudulently

convey false and misleading information concerning the risk of NEC, and potentially death, caused



46.

omission, suppression, and concealment of material facts, made with the intent that Plaintiff would




2
  Special Feeding Concerns for Preemies, https://www.enfamil.com/articles/special-feeding-concerns-for-preemies/
(last visited July 29, 2023).
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rely upon such concealment, suppression,

preterm infant products.

47.    Plaintiff did not know, and could not learn, the truth concerning the uses, risks and benefits



misrepresentations and concealment, suppression and omission of material facts and important

information regarding the risks of NEC, and potentially death, from the products.

48.    Moreover, Defendant Hospital further participated in the intentional concealment           on



hospital to provide samples and free products that did not warn of their serious dangers, and to




49.    Based upon information and belief, during the relevant time period, Pennsylvania Hospital,

Penn Medicine, and the Hospital of the University of Pennsylvania stocked formula products from

both Abbott and Mead.

 50.   Additionally, Defendant Hospital failed to inform Ms. Taylor that the Defendant



                                                            Taylor was understandably concerned

about the degrading health of her newborn infant. As any concerned parent would do, Ms. Taylor

                                                     Hospital why a premature infant like I.H. was

suddenly diagnosed with a terrible disease like necrotizing enterocolitis; that is, she asked

Defendant Hospital                                                                Hospital knew of

the increased risk of NEC from formula, it did not disclose that the formula provided to I.H. could

increase the risk of NEC to preterm infants, responding only that I.H. had gotten NEC solely


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because she was born premature. Not one person at the NICU mentioned that the Defendant

                 formula

 51.

premature infants. Defendant Hospital was also aware that the Defendant Manufacturers did not

provide warnings on their products. However, Defendant Hospital did not warn Ms. Taylor of the

risks of the products. Instead, and notwithstanding the sweetheart deal Defendant Hospital agreed

to in exchange for preterm infant formula at little to no cost, Defendant Hospital repeatedly

informed Ms. Taylor that it would do everything it could possibly do to keep her infant safe.

Though this was clearly not true given the known risks of preterm formula for babies like I.H., it

was enough for Ms. Taylor to trust that Defendant Hospital was providing preterm formula in the

best interest of her child.

52.



diagnosis.

   The Defendant                    False and Misleading                                       -
                                     Based Infant Products

53.                                                                           -based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the



54.



formulas and fortifiers are necessary for the growth and development of their vulnerable children.




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promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

55.    For example, upon information and belief, Mead creates information booklets for parents

of premature infants to help answer some of their questions and concerns about having a premature

infant in the NICU that it provides to hospitals for dissemination to

booklets explain feeding options for premature infants, including formula, they do not mention



developing necrotizing enterocolitis.     Instead, the booklets advise parents that sometimes a

combination of breast milk and formula may be best and that premature infants will be happy and

healthy or nourished and healthy regardless of whether they are receiving breast milk or formula.

56.    Similarly, upon information and belief, Abbott publishes a pediatric nutrition product guide

that is available online for anyone, including parents, to access wherein Abbott advises that



formulations of its products, which are based on decades of research and scientific publications,



confidence to most of the preterm i

reference that its products increase the risk of necrotizing enterocolitis.

57.    Abbott also has a consumer-facing website accessible to anyone online, including parents,

that specifically discusses nutrition for premature infants, wherein Abbott tells parents of

                                                                               breast milk alone can




Nowhere in its discussion of preterm infant fortifiers or formulas does Abbott state that its products


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increase the risk of necrotizing enterocolitis or that they pose more of a risk that just providing



                                                                    -based product, which misleads

consumers.

58.    Upon information and belief, both Mead and Abbott also provide materials and programs

to the hospitals and the physicians and medical staff who are treating premature infants about the

                preterm products. Upon information and belief, these materials represent that the

                         products are safe and necessary for preterm infants. Mead and Abbott rely

on the physicians and medical staff to not only use their products in the NICU, but to convey these

messages to the parents of premature infants in their care.

59.    Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message.

60.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly     the decision-making body of the World Health Organization                  developed the

International Code of Marketing of Breast-                                                            d

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

61.    While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.




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that the nutrition they are supplying to their child will not provide the best chance of survival

while wholly failing to warn that their products come with a significantly increased risk of NEC.

62.

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recogniz

breastfed   for medical reasons or otherwise         infant formula is the only appropriate, safe



as well as human milk-based formula.

63.    Abbott markets and sells multiple products specifically targeting preterm and low-

birthweight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasiz

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac Ne

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help su

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.

64.

its products specifically targeting preterm and low-birth-weight infants, including Liquid Protein

Fortifier, Similac NeoSure, Similac Human Milk Fortifiers, Similac Special Care 20, Similac


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Special Care 24, Similac Special Care 24 High Protein, and Similac Special Care 30. None of

these pages or guides contain any mention of NEC or that the products specifically increase the



                                               which includes breast milk and donor milk      have



                                 tement is entirely misleading, as it improperly indicates that the



premature infants receiving breast milk or donor milk, equates formula to non-              -based

feeding options like breast milk and donor milk, fails to mention NEC, and minimizes the risk of

its products.

65.    Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

                                                                                   -recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and




                                                16
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66.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is




advancements in Enfamil formulas and now through extensive global research, we are taking an

                                               amil NeuroPro has a fat blend of MFGM and DHA




and it claim



67.

targeting preterm and low-birth-weight infants, including Enfamil NeuroPro EnfaCare Infant

Formula, Enfamil Premature Infant Formula 24 Cal High Protein, Enfamil Premature Infant

Formula 30 Cal with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, Enfamil Premature

Infant Formula 20 Cal with Iron, Enfamil 24 Cal Infant Formula, and Enfamil Human Milk

Fortifier (acidified liquid and powder). None of these pages contain any mention of NEC or that




the way in developing safe, high-                                including preterm products



68.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,


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69.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the



the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant                       giveaways and

gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

70.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product



These names are misleading in that they suggest that the products are derived from breast milk,

                                   -based products. The packaging appears as:




71.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that:                  -based products are safe, including for preterm

                                                 18
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                       -based products are equal, or even superior, substitutes to breast milk; (3)

           -based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant                         milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death                  -based products pose to preterm infants like

the Injured Infant.

72.    The Defendant Manufacturers have also designed powerful marketing campaigns to both

the general public and health care providers at hospitals like Pennsylvania Hospital.          The

Defendant Manufacturers know that sales made to hospitals are key drivers of brand loyalty, and

thus are a key opportunity to drive better downstream business     i.e., retail purchases by parents

after they have left the hospital. On information and belief, the Defendant Manufacturers know

                                              NICU are related to getting and keeping the overall

hospital contracts.   And the Defendant Manufacturers know that, just like any celebrity

endorsement, when mothers of newborn infants see medical professionals using a certain brand,

the mothers are more likely to continue to purchase that same brand after discharge. The

Defendant Manufacturers are thus heavily motivated to ensure that NICU departments are using

their products.

73.    Abbott and Mead Johnson focus their sales teams and training heavily on hospital NICU

departments. They train their sales representatives how to increase the number of babies on their

formula, and they emphasize the need to be the dominant formula manufacturer in the NICU so

they can own that profitable ground and secure a great return on their substantial investment in

NICU formula and other products.




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74.

Manufacturer Defendants pull out all the stops to convince hospitals, including Defendant

Hospital, to purchase their products. For example: Abbott and Mead Johnson provide samples of

their products to hospitals for free.

75.     On information and belief, to get the hospitals on board with supplying their formula for

premature infants, Abbott and Mead Johnson work with hospitals to secure contracts that have

special pricing discounts if a certain level of the formula-fed babies in the hospital receive just that




most fragile patients   the preterm infants    the decision makers at these hospitals seek out these



76.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective company s

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

77.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf,

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that


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the preterm infant formula products were safe and without risk, even though that is not what the

science said.

78.    On information and belief, prior to I.H.        birth, Abbott sent sales representatives to

Defendant Hospital.

                        staff via conversations, presentations, and written pamphlets. This

                                                                                       I.H. Abbott

maintains call logs that detail which sales representatives visited the hospitals, which days they

visited, and which products they discussed. These sales representatives did not disclose that



79.    On information and belief, prior to I.H.




This information

I.H. Mead Johnson maintains call logs that detail which sales representatives visited the hospitals,

which days they visited, and which products they discussed. These sales representatives did not



80.    Mead Johnson and Abbott believed and intended that the misrepresentations that its sale

representatives shared with Defendant Hospital would be used to make feeding decisions for

preterm infants like I.H.

                      The Defendant                     Inadequate Warnings

81.    Although Mead promotes an aggressive marketing campaign designed to convince parents

                   -based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.
                                                  21
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82.    The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

83.

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

                                                      increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.

84.    Mead cites no medical literature or research to guide the use of its products.

85.    Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

86.    Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

87.    Mead Johnson failed to provide, and continues to fail to provide, a full accounting of the

risk of NEC as documented, by underrepresenting and misrepresenting the risk to the public and

the medical community.

88.    Despite knowing that its products were being fed to premature infants, often without the



parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies. Like Mead, Abbott promotes an aggressive marketing campaign

designed to make parents believe that its products are safe and necessary for the growth of

premature infants, despite the products in fact being extremely dangerous for premature infants.


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NEC.

89.    The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

90.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

91.    Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

92.    Despite knowing of studies documenting an increased risk of NEC from its products,

Abbott did not act to make parents or the medical community aware of those risks, and instead

took steps to conceal or prevent those risks from becoming public. Despite knowing that its



failed to require or recommend that medical professionals inform parents of the significant risk of

NEC or to require that parental consent be obtained prior to the products being fed to their babies.

                                Penn              Failure to Warn

93.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing            and

                milk-based products to its premature infant patients. It knew or should have known

that feeding these            -based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. It also knew or should have known that


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human milk decreases the risk of NEC for premature infants. However, instead of warning of

the dangers, or supplying human milk-based feeding products to preterm infants like the Injured

Infant, Penn Medicine has continued to source, distribute, and supply the Defendant

                                                                             Further, the Defendant

Hospital created a study putting infants, such as I.H. at great risk by providing them with bovine

based formula instead of exclusive human milk-based products.

94.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates. The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience



       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

95.



96.    Given it was known that human milk decreases the incidence and severity of NEC, it was

also known or should have been known that cows milk-based formula increases the incidence and

severity of NEC.

97.

           which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.



preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.



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not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 98.   Given it was known since at least the early 2000s, and as far back as the 1990s, that human

milk decreases the incidence and severity of NEC, it was also known or should have been known

that cows milk-based formula increases the incidence and severity of NEC.

 99.   Penn Medicine also purports to adhere to the tenets of

            which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.



preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.



not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 100. Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant                             milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:

                 Donor milk is not inexpensive. It costs about $4.25 per ounce, but

                 get discharged three to four days sooner and also have a six to 10
                 times lower risk of getting a gastrointestinal complication called

                 infection can cost up to $250,000 to treat. The average cost to
                 provide a preemie with donor milk: $125.

 101. These statements demonstrate that Penn Medicine knew or should have known of the high



 102. Although Penn Medicine knew or should have known of the serious danger of the




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products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

                                                                    -based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.

 103.

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

                            -based products for free and/or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

                                                                            f salespersons.

                                      Safer Alternative Designs

 104. The Defendant                             milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of         milk in their products, which would have produced a safer

product.

 105. Prolacta Bioscience manufactures and sells breast milk-based feeding products,

                                                                              This alternative design

                                                                                      -based products

provide, without the same unreasonably dangerous and deadly effects.


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 106. On information and belief, Abbott and Mead were aware of the significantly increased risk

                                                      -based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued t

foundation of their products.

                                CAUSES OF ACTION
                  COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

 107. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 108. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

 109. Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.

 110. Abbott and Mead knew that their products would be used to feed premature infants like the

                                                                                               -based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

                                                                                        Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

 111.                                                                                                -

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury


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and death from NEC.

 112. Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

 113.

facility.

 114. Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

 115.

increased the risk of their NEC and injuries.

 116. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this          arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-



                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost
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                          revenue, and/or lost profits, and/or lost business opportunity, lost earning

                          capacity, and costs related to medical or mental health treatment which have

                          or may be recommended;

               d.



                          and/or malicious conduct, as permitted by law;

               e.         For interest as permitted by law;

               f.

                          with this action; and

               g.         For such other and further relief as the Court deems proper.

               COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                            (Against Abbott and Mead)

 117. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 118. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of

their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

 119.               and         duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.         By

designing their products with           milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death.        The failure to warn makes the

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products at issue in this litigation unreasonably dangerous.

 120.             Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks

of the infant products at issue in this litigation because they knew or should have known that their

        milk-based premature infant products would be fed to premature infants like the Injured

Infant, and that their products might cause the Injured Infant to develop NEC, severe injury, or

death, yet they failed to provide adequate warnings of those risks.          Among other risks, the

Defendant Manufacturers:

            a.                                    -based products significantly increase the risk of

                 NEC, severe injury, and death for the Injured Infant; and/or

            b.                                    -based products are unsafe and/or contraindicated

                 for premature infants like the Injured Infant; and/or

            c. Inserted warnings and instructions on their products that are severely inadequate,

                 vague, confusing, and provide a false sense of security in that they warn and instruct

                 specifically on certain conditions, but do not warn of the significantly increased

                 risk of NEC and death; and/or

            d.    B           -                                       -based products are known to

                 significantly increase the risk of NEC and death when compared to breast milk in

                 premature infant; and/or

            e. Failed to disclose well-researched and well-

                 milk-based products to NEC and death in premature infants; and/or

            f. Failed to insert a warning or instruction to healthcare professionals and other

                 medical staff in the hospital that parents should be provided information necessary

                 to make an informed choice about whether to allow their babies to be fed the


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                Defendant                   products, notwithstanding their substantial risks; and/or

            g. Failed to provide a warning in a method reasonably calculated or expected to reach

                the parents of newborns, like the Plaintiff Parent; and/or

            h. Failed to provide statistical evidence showing the magnitude of increased risk of

                NEC in                                                 -based products.

 121.            and          products contained         milk at the time they left the manufacturing

facility.

 122. As a direct and proximate result of the inadequacy of the warnings and the pervasive



                                                    -based products, which caused and/or increased

risk of their developing NEC.

 123. The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

        milk-based formula, they would not have fed the Injured Infant those products.       Had the

Plaintiff Parent known of                                                                     -based

formula, they would not have allowed such products to be fed to the Injured Infant.

 124. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this          arbitrational limit;


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           b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained



           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

           d.



                malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f.                        expenses, and recoverable costs incurred in connection with

                this action; and

           g. For such other and further relief as the Court deems proper.

                                   COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

 125. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 126. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

 127. At all times relevant to this action, the Injured         healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

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 128. Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

                                                                                                      -

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

 129. Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their        milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

           a.                                     -based products significantly increase the risk of

                NEC, severe injury, and death for the Injured Infant; and/or

           b.                                milk-based products are unsafe and/or contraindicated

                for premature infants like the Injured Infant; and/or

           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

                and provide a false sense of security in that they warn and instruct specifically on

                certain conditions, but do not warn of the significantly increased risk of NEC and

                death; and/or

           d.                                                           -

                milk-based products are known to significantly increase the risk of NEC and death

                when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-

                milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

                medical staff in the hospital that parents should be provided information necessary


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               to make an informed choice about whether to allow their babies to be fed the

               Defendant                    products, notwithstanding their substantial risks; and/or

            g. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns, like the Plaintiff Parent; and/or

            h. Failing to provide statistical evidence showing the magnitude of increased risk of

                                                                       -based products.

 130. In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their       milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.

 131.

reasonably prudent manner and their breach of duty, the Injured Infant was fed            milk-based

products, which caused and/or increased the risk of their developing NEC.

 132. Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their                                    milk-based products.

 133. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this         arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of
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                life, pain and suffering, mental anguish, and other non-economic losses sustained



           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

           d.



                malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f.

                this action; and

           g. For such other and further relief as the Court deems proper.

                   COUNT IV: INTENTIONAL MISREPRESENTATION
                              (Against Abbott and Mead)

 134. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 135. At all times relevant to this action, the Injured Infant consumed the Defendant



 136. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

 137. Abbott and Mead breached their duty through misrepresentations made to consumers in

their advertising and promotional materials, as described in previous paragraphs and incorporated

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herein, each of whom were foreseeable and intended recipients of this information.

 138. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including patient

consumers and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their

products:

            a. That their       milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

            b. That their        milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

            c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

            d. That         milk-based products were safe for premature infants; and/or

            e. That         milk-based products were necessary for optimum growth; and/or

            f. That         milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of         milk when, in fact, the



               death; and/or

            h. That their products were safe for and provided better nutrition and growth to

               premature infants than donor milk, a non-               -based alternative to breast

               milk; and/or


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           i. That their products can fed with confidence to most of the preterm infants in the

                NICU and/or that premature infants would be happy and health or nourished and

                health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

                in premature infants, including omitting this material fact from their publicly

                available product information, marketing materials, and websites.

 139. Abbott and Mead had actual knowledge, or, at a minimum, a reckless indifference, to

whether the aforementioned misrepresentations were false.

 140. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent:

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

                and labeling of their product samples provided to Plaintiff Parent that their products

                significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

                Infant that their products significantly increased the risk of NEC in premature

                infants; and/or

           c.                                           -based products were safe and beneficial for

                premature infants on coupons, gift bags, other promotional materials, and the

                packaging and labeling of their product samples provided to Plaintiff Parent when

                they knew or should have known that their products were unreasonably dangerous

                and cause NEC, serious injury, and death in premature infants; and/or


                                                   37
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        d.                                         -based products were safe and beneficial for

             premature infants on the packaging and labeling of their products provided to

             Injured Infant when they knew or should have known that their products were

             unreasonably dangerous and cause NEC, serious injury, and death in premature

             infants; and/or

        e.                                         -based products were necessary to the growth

             and nutrition of premature infants on coupons, gift bags, other promotional

             materials, and the packaging and labeling of their product samples provided to

             Plaintiff Parent when they knew or should have known that their products were not

             necessary to achieve adequate growth; and/or

        f.                                         -based products were necessary to the growth

             and nutrition of premature infants on the packaging and labeling of their products

             provided to Injured Infant when they knew or should have known that their products

             were not necessary to achieve adequate growth; and/or

        g.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent; and/or

        h.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant; and/or

        i.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                      -based products or breast milk on coupons,


                                              38
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             gift bags, other promotional materials, and the packaging and labeling of their

             product samples provided to Plaintiff Parent; and/or

        j.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                          -based products or breast milk on the

             packaging and labeling of their products provided to Injured Infant; and/or

        k.                                         -based products have no serious side effects on

             coupons, gift bags, other promotional materials, and the packaging and labeling of

             their product samples provided to Plaintiff Parent when they knew or should have

             known the contrary to be true; and/or

        l.                                         -based products have no serious side effects on

             the packaging and labeling of their products provided to Injured Infant when they

             knew or should have known the contrary to be true; and/or

        m.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent when they knew

             or should have known the contrary to be true; and/or

        n.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant when they knew or should have known the contrary to be true; and/or

        o.                                      -based products were safe for premature infants

             on coupons, gift bags, other promotional materials, and the packaging and labeling

             of their product samples provided to Plaintiff Parent; and/or


                                              39
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           p.                                      -based products were safe for premature infants

                on the packaging and labeling of their products provided to Injured Infant; and/or

           q.                                         -based products were necessary for optimum

                growth on coupons, gift bags, other promotional materials, and the packaging and

                labeling of their product samples provided to Plaintiff Parent; and/or

           r.                                         -based products were necessary for optimum

                growth on the packaging and labeling of their products provided to Injured Infant;

                and/or

           s. Representing that their products were based on up-to-date science, which made

                them safe for premature infants on coupons, gift bags, other promotional materials,

                and the packaging and labeling of their product samples provided to Plaintiff

                Parent; and/or

           t. Representing that their products were based on up-to-date science, which made

                them safe for premature infants on the packaging and labeling of their products

                provided to Injured Infant.

 141. The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant                    misrepresentations induced the Plaintiff Parent to

allow their children to be fed         and            infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

                                   Had Abbott and Mead not committed these intentional

misrepresentations, the Injured Infant would not have been exposed to the Defendant

                                                       -based products.

 142.


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Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

 143. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                 $50,000 and this          arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                 life, pain and suffering, mental anguish, and other non-economic losses sustained



            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

            d.



                 malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For

                 this action; and

            g. For such other and further relief as the Court deems proper.

                      COUNT V: NEGLIGENT MISREPRESENTATIONS
                                (Against Abbott and Mead)

 144. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

                                                   41
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herein.

 145. At all times relevant to this action, the Injured Infant consumed the products at issue in

their intended manner and for their intended purpose.

 146. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

 147. In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, in their advertising and promotional materials, as described

in previous paragraphs and incorporated herein, each of whom were foreseeable recipients of this

information.

 148. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including consumers,

and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their products:

           a. That their         milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

           b. That their         milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

           c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

           d. That          milk-based products were safe for premature infants; and/or


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           e. That          milk-based products were necessary for optimum growth; and/or

           f. That          milk-based products were similar or equivalent to breast milk; and/or

           g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of          milk when, in fact, the

                                                       capable of causing NEC, serious injury, and

               death; and/or

           h. That their products were safe for and provided better nutrition and growth to

               premature infants that donor milk, a non-                -based alternative to breast

               milk; and/or

           i. Thet their products can be fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and healthy or nourished and

               health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 149. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent.

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or




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        b. Omitting from the packaging and labeling of their products provided to Injured

             Infant that their products significantly increased the risk of NEC in premature

             infants; and/or

        c.                                        -based products were safe and beneficial for

             premature infants on coupons, gift bags, other promotional materials, and the

             packaging and labeling of their product samples provided to Plaintiff Parent when

             they knew or should have known that their products were unreasonably dangerous

             and cause NEC, serious injury, and death in premature infants; and/or

        d.                                        -based products were safe and beneficial for

             premature infants on the packaging and labeling of their products provided to

             Injured Infant when they knew or should have known that their products were

             unreasonably dangerous and cause NEC, serious injury, and death in premature

             infants; and/or

        e.                                        -based products were necessary to the growth

             and nutrition of premature infants on coupons, gift bags, other promotional

             materials, and the packaging and labeling of their product samples provided to

             Plaintiff Parent when they knew or should have known that their products were not

             necessary to achieve adequate growth; and/or

        f.                                        -based products were necessary to the growth

             and nutrition of premature infants on the packaging and labeling of their products

             provided to Injured Infant when they knew or should have known that their products

             were not necessary to achieve adequate growth; and/or




                                             44
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        g.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent; and/or

        h.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant; and/or

        i.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                       -based products or breast milk on coupons,

             gift bags, other promotional materials, and the packaging and labeling of their

             product samples provided to Plaintiff Parent; and/or

        j.                                      -based products could be fed with confidence to

             premature infants and/or that premature infants would be healthy regardless of

                                                          -based products or breast milk on the

             packaging and labeling of their products provided to Injured Infant; and/or

        k.                                         -based products have no serious side effects on

             coupons, gift bags, other promotional materials, and the packaging and labeling of

             their product samples provided to Plaintiff Parent when they knew or should have

             known the contrary to be true; and/or

        l.                                         -based products have no serious side effects on

             the packaging and labeling of their products provided to Injured Infant when they

             knew or should have known the contrary to be true; and/or




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        m.                                         -based products were similar or equivalent to

             breast milk on coupons, gift bags, other promotional materials, and the packaging

             and labeling of their product samples provided to Plaintiff Parent when they knew

             or should have known the contrary to be true; and/or

        n.                                         -based products were similar or equivalent to

             breast milk on the packaging and labeling of their products provided to Injured

             Infant when they knew or should have known the contrary to be true; and/or

        o.                                      -based products were safe for premature infants

             on coupons, gift bags, other promotional materials, and the packaging and labeling

             of their product samples provided to Plaintiff Parent; and/or

        p.                                      -based products were safe for premature infants

             on the packaging and labeling of their products provided to Injured Infant; and/or

        q.                                         -based products were necessary for optimum

             growth on coupons, gift bags, other promotional materials, and the packaging and

             labeling of their product samples provided to Plaintiff Parent; and/or

        r.                                         -based products were necessary for optimum

             growth on the packaging and labeling of their products provided to Injured Infant;

             and/or

        s. Representing that their products were based on up-to-date science, which made

             them safe for premature infants on coupons, gift bags, other promotional materials,

             and the packaging and labeling of their product samples provided to Plaintiff

             Parent; and/or




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            t. Representing that their products were based on up-to-date science, which made

                them safe for premature infants on the packaging and labeling of their products

                provided to Injured Infant.

 150. Abbott and Mead were negligent or careless in not determining those representations to be

false.

 151.

the Plaintiff Parent to allow their child to be fed          and       infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

                                                Had Abbott and Mead not committed these negligent

misrepresentations, the Injured Infant would not have been exposed to their unreasonably

                        -based products.

 152.

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

 153. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.

injuries.

         WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this           arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained




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           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

           d.



                malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f.

                this action; and

           g. For such other and further relief as the Court deems proper.

                             COUNT VI: FAILURE TO WARN
                      (Against Penn Medicine and Pennsylvania Hospital)

 154. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 155. Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

 156.                                                                                 -based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 157. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

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treatment of the Injured Infant.

 158. Penn Medicine and Pennsylvania Hospital negligently, outrageously, and recklessly

                                                            -based infant feeding products to these

healthcare professionals and medical staff for use on premature infants, including the Injured

Infant.

 159. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant                    sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.

representatives were encouraged to interact with Pennsylvania             healthcare professionals

and medical staff. These interactions provided the Defendant                  sales representatives

an opportunity to co-



unreasonably dangerous products to consumers, such as the Plaintiff Parent.

 160. Penn Medicine and Pennsylvania also knowingly, and intentionally, allowed the Defendant




including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 161. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant                       milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

 162. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,


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and recklessly, and breached its duty by:

           a.                                     -based products significantly increase the risk of

                NEC, severe injury, and death in those babies; and/or

           b. Failing to warn                     -based products are unsafe and/or contraindicated

                for premature infants like the Injured Infant; and/or

           c. Failing to warn or instruct its healthcare professionals and medical staff on the

                information that should be provided to parents in order to make an informed choice



                products, notwithstanding their substantial risk; and/or

           d. Failing to provide its healthcare professionals and medical staff with the well-

                researched and well-established studies that link       milk-based products to NEC

                and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

                the parents of newborns; and/or

           f. Failing to provide statistical evidence showing the magnitude of increased risk of

                                                                        -based products; and/or

           g.



                staff that premature babies would not grow adequately with human milk and human

                milk products and that use of donor milk was not advised for premature infants.

 163. Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff       as well as

patients   on the safe use of the Defendant                  products, and would have restricted the


                                                  50
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 164. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding          milk-based formula to premature infants.

 165. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant                     unreasonably

dangerous products, the Injured Infant would not have been exposed to the Defendant

                            -based products.

 166. As a direct and

                                                                                                    -

                                                                                              -based

products, which caused and/or increased the risk of developing NEC and significant injuries.

 167. As a further direct and proximate result of Penn Medicine and Pennsylvania



Parent suffered significant emotional distress, loss of income, and/or other harms.      Her life has



       WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this           arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained


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            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

            d.

                                                                                           outrageous,

                 reckless, and/or malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f.

                 this action; and

            g. For such other and further relief as the Court deems proper.

          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                   (Against Penn Medicine and Pennsylvania Hospital)

 168. Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

 169. At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

 170. Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

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distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

 171.                                                                                -based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 172. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

                                                                       market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.

representatives were encouraged to interact with Pennsylvania               healthcare professionals

and medical staff. These interactions provided the Defendant                    sales representatives

an opportunity to co-

assisting with the marketing, distribution, and/or sale of the Defendant

unreasonably dangerous products.

 173. Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant



                                                                                                     ,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 174. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant                         milk-based infant products, including the access afforded

the Defendant                  sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.


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 175. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that premature babies are increased risk for NEC.

 176. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that NEC increases the risk of permanent injury and death.

 177. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have



 178. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have



premature infants.

 179. By no later than 2012, Penn Medicine and Pennsylvania Hospital knew or reasonably

should have known that donor human milk decreased the risk of NEC, serious injury, and death

for premature infants.

 180. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding     milk-based formula to premature infants.

 181. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to formulate, adopt, and enforce adequate rules and policies that would have



               premature babies; and/or

           b. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               restricted or prevented                     -based products for feeding premature

               babies; and/or


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        c. Failing to formulae, adopt, and enforce adequate rules and policies that informed the

            Plaintiff

            decrease the risk of NEC, severe injury, and death in premature babies, like the

            Injured Infant; and/or

        d. Failing to formulate, adopt, and enforce adequate rules and policies that warned the

                                               -based products significantly increase the risk of

            NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

        e. Failing to formulate, adopt, and enforce adequate rules and policies that discussed

                                       -based products significantly increasing the risk of NEC,

            severe injury, and death in premature babies, like the Injured Infant; and/or

        f. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

                                                                            -based products are

            unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

        g. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed the Defendant                  products, notwithstanding their

            substantial risk; and/or

        h. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

            healthcare professionals and medical staff with the well-researched and well-

                                                        -based products to NEC and death in

            premature infants; and/or

        i. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a


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            warning in a method reasonably calculated/expected to reach the parents of

            premature newborns, like the Plaintiff Parent; and/or

         j. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

            Defendant                       sales   representative from   misrepresenting     to



            babies would not grow adequately with human milk and human milk products

            and/or that use of donor milk was not advised for premature infants; and/or

         k. Failing to establish a donor milk program that was sufficient to meet the needs of

            the premature babies, like the Injured Infant.

         l. Failing to formulate, adopt, and enforce adequate rules and policies regarding the

            feeding of premature infants leaving it to the discretion of the medical team and

            parent without a discussion of risks and benefits.

         m. Allowing parental preference to be the standard for feeding premature infants;

         n. Failing to follow the American Academy of Pediatrics recommendations relating

            to feeding premature infants;

         o. Failing to follow the American Academy of Pediatrics recommendations to use

                                                                              -based products;

         p. Failing to rec

            2012; and

         q. Failing to transfer to a hospital by no later than 2012 where donor milk was

            available if there was no donor milk available.

182. A reasonable hospital under the same or similar circumstances would have formulated,

                                                                                          -based


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products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants

milk-based products, and restricting the marketing of the Defendant                    unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.

 183. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its



milk-based products.

 184. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

                  unreasonably dangerous        milk-based products, the Injured Infant was fed the

                                       -based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 185. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent, reckless, and outrageous conduct the Plaintiff Parent suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly affected by the Injured

        injuries.

 186. In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical



the Injured Infant.

 187. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare


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professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

 188. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly, and

outrageously breached its duty by:

           a. Failing to oversee its healthcare professionals and medical staff on their use of

                           -based products for feeding premature babies; and/or

           b. Failing to warn or instruct its healthcare professionals and medical staff that

               milk-based products significantly increase the risk of NEC, severe injury, and death

               in those babies; and/or

           c. Failing to warn or instruct its healthcare professionals and medical staff that

               milk-based products are unsafe and/or contraindicated for premature babies like the

               Injured Infant; and/or

           d. Failing to oversee its healthcare professionals and medical staff to restrict their

                                        -based products to premature babies; and/or

           e. Failing to warn or instruct its healthcare professionals and medical staff on the

               information that should be provided to parents in order to make an informed choice

               about

               products, notwithstanding their substantial risk; and/or

           f. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link       milk-based products to NEC

               and death in premature infants; and/or

           g. Failing to provide its healthcare professionals and medical staff with warnings




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               reasonably calculated/expected to reach the parents of newborns; and/or

           h. Failing to provide statistical evidence to its healthcare professionals and medical

               staff showing the magnitude of increased risk of NEC in premature infants

                                            -based products; and/or

           i. Failing to oversee its healthcare professionals and medical staff to ensure that the

               Defendant                    sales                   misrepresentations that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants had not influenced the

               use and/or misuse of the Defendant

 189. A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

                                products, and would have restricted the ability of the Defendant



dangerous products without adequate warning.

 190. A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with                    milk-based formula to premature infants.

 191. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant                              milk-based products.

 192.

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

                unreasonably dangerous              milk-based products, the Injured Infant was fed the


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                                          -based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 193. As a further direct and proximate result of Penn Medicine and

negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms.         Her

injuries.

        WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                 $50,000 and this          arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                 life, pain and suffering, mental anguish, and other non-economic losses sustained



            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

            d.



                 as permitted by law;

            e. For interest as permitted by law;

            f.

                 this action; and

            g. For such other and further relief as the Court deems proper.


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                                 DEMAND FOR JURY TRIAL
 194. Plaintiff hereby demands a jury trial for all claims triable.



Dated: July 16, 2024

                                                      Respectfully submitted,




                                              By:     /s/ Tobias L. Millrood




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                                                      KELLER POSTMAN LLC
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              IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                TRIAL DIVISION - CIVIL

 HOLLI CARTER, ON HER OWN BEHALF
 AND AS PARENT AND NATURAL
 GUARD OF J.C.., A MINOR.                           MARCH Term, 2022

                 Plaintiff,                         No. 02588

         v.
                                                    JURY TRIAL DEMANDED
 MEAD JOHNSON & COMPANY, LLC,
 et al.

                 Defendants.




  PRAECIPE TO ATTACH VERIFICATION TO SECOND AMENDED COMPLAINT

       Please attach Plaintiff s Verifications to the Second Amended Complaint filed of record

on July 17, 2024, with regard to the above-captioned matter.
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                                     Respectfully submitted,

                                     KLINE & SPECTER, P.C.
Dated: September 6, 2024

                                     /s/ Timothy A. Burke
                                     TIMOTHY A. BURKE, ESQ.
                                     Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2024, I caused a true and correct copy of the

foregoing document to be served by electronic filing to all counsel of record.



Dated: September 6, 2024                          /s/ Timothy A. Burke
                                             TIMOTHY A. BURKE
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     07/23/2024
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